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                       Exhibit 91
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Disruption of Iron Homeostasis in Mesothelial Cells
after Talc Pleurodesis
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1
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The mechanism for biological effects after exposure to particles is
incompletely understood. One postulate proposed to explain bio                            CLINICAL RELEVANCE
logical effects after exposure to particles involves altered iron
homeostasis in the host. The fibro inflammatory properties of                             This research concerns the disruption in iron homeostasis
mineral oxide particles are exploited therapeutically with the instil                     that occurs in the pleura and lungs of patients treated with
lation of massive quantities of talc into the pleural space, to provide                   talc pleurodesis. The accumulation of this metal, the ac
sclerosis. We tested the postulates that (1) in vitro exposure to                         companying oxidative stress, and inflammatory events after
talc induces a disruption in iron homeostasis, oxidative stress, and                      exposure to talc are comparable to those with other forms of
a biological effect, and (2) talc pleurodesis in humans alters iron                       particulate matter. Pleurodesis can function as a model of
homeostasis. In vitro exposures of both mesothelial and airway                            particle related biological effect.
epithelial cells to 100 mg/ml talc significantly increased iron impor
tation and concentrations of the storage protein ferritin. Using
dichlorodihydrofluorescein, exposure to talc was associated with
a time dependent and concentration dependent generation of oxi                          obstructive pulmonary disease, respiratory cancers, coronary
dants in both cell types. The expression of proinflammatory media                       heart disease, stroke, and other cerebrovascular diseases (1 3).
tors was also increased after in vitro exposures of mesothelial and                         The production of reactive oxygen species (ROS) is fundamen
airway epithelial cells to talc. Relative to control lung tissue, lung                  tal to the biological effect of PM (4), but the specific mechanism of
tissue from patients treated with sclerodesis demonstrated an accu                      both the generation of oxidants and its relationship with the
mulation of iron and increased expression of iron related proteins,                     biological effect after exposure to particles is incompletely un
including ferritin, the importer divalent metal transport 1 and the                     derstood. One postulate to explain the biological effect after
exporter ferroportin 1. Talc was also observed to translocate to the                    exposure to particles involves altered iron homeostasis in the host
parenchyma, and changes in iron homeostasis were focally distrib                        after exposure. Exposure to particles introduces a solid liquid
uted to sites of retention. We conclude that exposure to talc disrupts                  interface into cells. Oxygen containing functional groups on the
iron homeostasis, is associated with oxidative stress, and results in
                                                                                        PM surface provide the capacity to complex cations, and as a re
a biological effect (i.e., a fibro inflammatory response). Talc pleu
                                                                                        sult of its high affinity for oxygen donor ligands, iron is frequently
rodesis can function as a model of the human response to mineral
                                                                                        preferred. Such functional groups can include alcohols, alde
oxide particle exposure, albeit a massive one.
                                                                                        hydes, and carboxylates on incompletely combusted carbon
Keywords: talc; iron; ferritin; pleurodesis; particulate matter                         (e.g., cigarette smoke, diesel exhaust, and ambient air pollution
                                                                                        particles), and silanol groups on silica and silicates. Particles re
Humans are routinely exposed to the particulate matter (PM) in                          tained in the lung consistently demonstrate a capacity to disrupt
cluded in air pollution, cigarette smoke, environmental tobacco                         iron homeostasis and accumulate host metal (5). Endpoints
smoke, forest fires, gas and wood stoves, and the burning of biomass                    reflecting oxidative stress and a biological effect can be corre
other than wood, as well as those particles contacted during the min                    lated with this accumulation of iron that follows in vivo expo
ing and processing of coal and mineral oxides. Many of the major                        sure to particles (6).
global causes of death reported by the World Health Organization                            Pathologic processes observed in lungs among individuals ex
(http://www.who.int/mediacentre/factsheets/fs310/en/index.html)                         posed to particles include both inflammation and fibrosis (4, 7). In
are related to particle exposure, and contact with PM will in                           patients with recurrent pleural effusions, the fibro inflammatory
crease human morbidity and mortality. This particle related mor                         properties of mineral oxide particles are exploited therapeutically
bidity and mortality include lower respiratory infections, chronic                      with the instillation of massive quantities (i.e., grams) of talc into
                                                                                        the pleural space to provide sclerosis (8). This therapeutic use
                                                                                        affords an opportunity to examine human tissue for evidence of
(Received in original form May 27, 2011; accepted in final form August 5, 2011)         a disruption in iron homeostasis after an extreme exposure to
Disclaimer: This report was reviewed by the National Health and Environmental           mineral oxide particles. We accordingly tested the postulates that
Effects Research Laboratory of the United States Environmental Protection               (1) in vitro exposure to talc induces a disruption of iron homeo
Agency and was approved for publication. Approval does not signify that the
contents necessarily reflect the views and policies of the Agency, nor does men-
                                                                                        stasis, oxidative stress, and a biological effect, and (2) talc pleu
tion of trade names or commercial products constitute endorsement or recom-             rodesis in humans is also associated with altered iron homeostasis
mendation for use.                                                                      and an accumulation of metal.
Correspondence and requests for reprints should be addressed to Andrew Ghio,
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Environmental Protection Agency, Campus Box 7315, 104 Mason Farm Road,                  MATERIALS AND METHODS
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                                                                                        Iron Uptake in an Acellular Environment
This article has an online supplement, which is accessible from this issue’s table of
contents at www.atsjournals.org                                                         Talc (Sclerosol, Bryan Corp., Woburn, MA) was agitated in either H2O
Am J Respir Cell Mol Biol Vol 46, Iss. 1, pp 80–86, Jan 2012                            or 1,000 mM ferric ammonium citrate for 1 hour, centrifuged, and
Originally Published in Press as DOI: 10.1165/rcmb.2011-0168OC on November 17, 2011     washed with H2O (designated talc and talc Fe, respectively). Ionizable
Internet address: www.atsjournals.org                                                   metal concentrations associated with talc and talc Fe were measured
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Figure 1. Particle size, composition, and capacity for generation of oxidants. (A) Talc was examined in a JEOL (Peabody, MA) scanning electron
microscope at a screening magnification of approximately 31,000 and a diameter ranging between 10 and 50 mm. (B) Energy dispersive X ray
spectroscopy confirmed two peaks consistent with magnesium and silicon. (C). Talc demonstrated a capacity to generate hydroxyl radical in an
acellular environment. This generation of oxidants was increased with a further complexation of surface iron by the talc, and was inhibited by
inclusion of the metal chelator deferoxamine or the hydroxyl radical scavenger dimethylthiourea (DMTU) during incubation. *Significantly increased
relative to saline. **Significantly increased relative to both saline and talc.


using inductively coupled plasma optical emission spectroscopy               polymerase, with detection on an ABI Prism 7500 Sequence Detector
(ICPOES; Model Optima 4300DV; Perkin Elmer, Norwalk, CT).                    (Applied Biosystems, Foster City, CA).

Generation of Acellular Oxidants                                             Cell Iron Homeostasis
The generation of acellular oxidants by talc and talc Fe particles was mea   Mesothelial and BEAS 2B cells were exposed for 4 hours to 200 mM
sured with the thiobarbituric acid reactive products of deoxyribose (9).     ferric ammonium citrate (FAC), 100 mg/ml talc, and both FAC and
                                                                             talc. Cells were then scraped into 1.0 ml 3 N HCl/10% trichloroacetic
                                                                             acid. After hydrolysis, concentrations of iron and zinc were determined
Cell Culture
                                                                             using ICPOES. Cell incubations were repeated for 24 hours, scraped
Mesothelial cells (MeT 5A; American Type Culture Collection,                 into 0.5 ml PBS, and disrupted, and ferritin concentrations in the
Manassas, VA) were cultured in complete growth medium. In addition,          lysates were measured using an enzyme immunoassay (Microgenics
BEAS 2B cells on uncoated, plastic 12 well plates in keratinocyte            Corp., Concord, CA).
growth medium (Lonza, Walkersville, MD) were used.
                                                                             Generation of Cellular Oxidants
RT PCR                                                                       Mesothelial and BEAS 2B cells were grown to confluence in 96 well,
Mesothelial and BEAS 2B cells were exposed to either medium alone            white walled, tissue culture treated plates (CoStar, Lowell, MA). We
or 100 mg/ml talc. Quantitative PCR was performed using Taqman               loaded 2979 dichlorodihydrofluorescein (DCF; 20 mM) diacetate (Sigma




Figure 2. Cellular concentrations of nonheme metal and ferritin after in vitro exposure to talc. Mesothelial (A) and BEAS 2B cells (B) both increased
cell nonheme iron after exposure to 100 mg/ml talc and 200 mM iron. The co incubation of cells with both talc and iron further elevated nonheme iron.
Cell zinc concentration showed no change after exposures to talc and iron. (C) Corresponding to concentrations of nonheme iron, concentrations of cell
ferritin increased in both cell types after exposures to talc and iron. *Significantly increased, relative to PBS. FAC, ferric ammonium citrate.
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                                                                                            Figure 3. Cellular generation of oxidants after in vitro
                                                                                            exposure to talc. Using 2979 dichlorodihydrofluorescein
                                                                                            (DCF) diacetate fluorescence, mesothelial cells (A) and
                                                                                            BEAS 2B cells (B) demonstrated a time dependent and
                                                                                            concentration dependent generation of oxidants.




Chemical Co., St. Louis, MO), baseline readings were taken on a Perkin       RESULTS
Elmer HTS 7000 fluorimeter using 485 nm excitation/535 nm emission
filters, and PBS with and without talc was added. Fluorescence was           Scanning electron microscopy of the talc showed significant variabil
measured at 0, 60, 120, and 180 minutes after addition.                      ity in PM size, with diameters of individual particles ranging from
                                                                             less than 10 mm to greater than 50 mm (Figure 1A). However, the
Cellular Release of IL 8 and IL 6                                            majority of particles had diameters between 10 and 50 mm. No
                                                                             fibers were evident in the talc sample. Energy dispersive X ray
Cells were exposed to either medium or 100 mg/ml talc in medium for          spectroscopy revealed two peaks consistent with magnesium and
24 hours. Concentrations of IL 8 and IL 6 in the cell medium were
                                                                             silicon (Figure 1B). This finding is in agreement with the ideal
measured using commercially available ELISA kits (R&D Systems,
Minneapolis, MN).
                                                                             molecular formula of talc (Mg3Si4O10(OH)2).
                                                                                 Comparable to numerous silicates (13), talc demonstrated
                                                                             a capacity for iron uptake in an acellular environment. Concen
Histochemistry and Immunohistochemisty
                                                                             trations of ionizable iron were measured at 0.46 6 0.11 ppm and
Our protocol was approved by the Institutional Review Board of the           6.48 6 1.08 ppm, respectively, for talc and talc Fe, whereas
Duke University Health System. Staining was performed on six surgical        concentrations of ionizable zinc were measured at 0.03 6 0.01
specimens collected from patients who (1) had manifested talc pleurod        and 0.01 6 0.00 ppm, respectively. The capacity of particles to
esis 2 15 months previously (mean 6 SD, 7 6 6 months), followed by (2)
                                                                             support the in vitro generation of oxidants in an acellular envi
an extrapleural pneumonectomy. Sections were stained for iron, using
Perl’s Prussian blue (Sigma). Immunohistochemistry for ferritin was          ronment was significantly affected by the concentration of asso
performed using an human anti ferritin antibody (Dako, Carpinteria,          ciated iron, with talc Fe producing a significantly greater signal
CA) at a dilution of 1:100 (10) and antibodies to divalent metal transport   for malondialdehyde relative to talc (Figure 1C). This generation
1 (DMT1) and ferroportin 1 (FPN1) at a dilution of 1:200 (11, 12).           of oxidants was inhibited by the inclusion of either 1,000 mM
Control lung tissue was obtained from (1) patients who had undergone         deferoxamine, a metal chelator, or 1,000 mM dimethylthiourea,
a pneumonectomy for lung cancer, and (2) individuals diagnosed with          a hydroxyl radical scavenger (Figure 1C).
idiopathic pulmonary fibrosis (IPF) and undergoing an autopsy.                   The in vitro exposure of mesothelial cells to talc for 4 hours
                                                                             resulted in an accumulation of nonheme iron. Cell zinc concen
Statistical Analysis                                                         trations did not change (Figure 2A). The exposure to FAC
Data are expressed as mean values 6 standard errors, unless specified        alone confirmed the ability of mesothelial cells to import iron
otherwise. Differences between multiple groups were compared using           (Figure 2A). Co incubation with both talc and FAC was asso
ANOVA.                                                                       ciated with a greater accumulation of iron relative to FAC




                                                                                            Figure 4. Release of IL 8 and changes in RNA for IL 8
                                                                                            and IL 6 after in vitro exposure to talc. (A) Concentra
                                                                                            tions of IL 8 were increased after exposure to 100 mg/ml
                                                                                            talc in both cell types. (B) Changes in RNA for IL 8 and
                                                                                            IL 6 were increased 4 hours after exposure to 100 mg/ml
                                                                                            talc. *    significantly increased relative to PBS (A) and
                                                                                            media (B).
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                                                                              could deplete intracellular sources of iron, and resulting in the
                                                                              importation of greater quantities of metal. Comparable to cell
                                                                              nonheme iron concentration, an increase in cell ferritin occurred
                                                                              after exposures of mesothelial and airway epithelial cells to talc,
                                                                              and this increase was even greater after exposures to both FAC
                                                                              and talc (Figure 2C). RNA for ferritin, DMT1 (a major iron
                                                                              importer), and FPN1 (a major iron exporter) did not signifi
                                                                              cantly change 4 hours after exposure of mesothelial cells to
                                                                              100 mg/ml talc (Table E1 in the online supplement).
                                                                                  A fluorescence method using DCF diacetate demonstrated an
                                                                              increased generation of ROS by both mesothelial and BEAS 2B
                                                                              cells after exposure to talc (Figures 3A and 3B). This cellular
                                                                              generation of oxidants after exposure to particles was both time
                                                                              dependent and concentration dependent, supporting a capacity of
                                                                              cells to produce ROS after exposure to talc. RNA for heme oxy
                                                                              genase and cyclooxygenase, which are potential intracellular sour
                                                                              ces of oxidative stress, showed conflicting responses, with heme
                                                                              oxygenase significantly increasing in both mesothelial and airway
                                                                              epithelial cells 4 hours after exposure to 100 mg/ml talc, and the
                                                                              concentration of cyclooxygenase not changing (Table E1). Fi
                                                                              nally, mesothelial and BEAS 2B cells both increased the
                                                                              release of IL 8 after exposure to 100 mg/ml talc (Figure 4A).
                                                                              IL 6 demonstrated a trend toward increasing after exposure to
                                                                              talc, but significant differences were not evident. RNA for IL 8
                                                                              and IL 6 similarly increased after a 4 hour exposure to talc in
                                                                              both mesothelial cells and BEAS 2B cells (Figure 4B). This
                                                                              increased release of proinflammatory mediators reflects a re
                                                                              levant in vitro biological response in both cell types after talc
                                                                              exposure.
                                                                                  All patients with pleurodesis were male. Their mean age
                                                                              (6 SD) was 56 6 18 years. All but one manifested malignant
                                                                              mesothelioma (the exception underwent surgical intervention
                                                                              for repeated pneumothoraces). Tissue specimens, used as con
                                                                              trol samples, were collected at the time of pneumonectomy for
                                                                              lung cancer (n ¼ 6) and at autopsy of patients with IPF (n ¼ 6).
                                                                              These individuals manifested no pleurodesis. The specimens
Figure 5. Stains for iron and ferritin in resected lung tissues. (A) Pleura   obtained during pneumonectomy reflected tissue uninvolved
from control lung tissue demonstrated no staining for iron by the             by fibrosis, whereas specimens from patients diagnosed with
pleura. Those tissue samples acquired after pleurodesis all showed pos
                                                                              IPF included fibrotic specimens unrelated to mineral oxide
itive iron staining. This staining included the parietal pleura (B) and
                                                                              exposure. Control tissue collected during pneumonectomy and
visceral pleura (C). With translocation of the talc to both the subpleural
                                                                              autopsy were from men with mean ages (6 SD) of 70 6 15 years
region (C; arrows designate talc particles) and the parenchyma (D;
arrow designates talc particle) of the lung, positive iron staining was
                                                                              and 68 6 9 years, respectively. Control lungs demonstrated no
evident in cells adjacent to the particle (D). (E) A small amount of          staining for iron in the pleura or parenchyma (Figure 5A). Sig
uptake for the ferritin antibody by the pleura occurred in samples            nificant iron staining occurred in all specimens collected after
resected from patients treated with pneumonectomy. Specifically, this         pleurodesis. Iron was localized to both the parietal (Figure 5B)
staining localized to the single cell layer of mesothelial cells and the      and visceral (Figure 5C) pleura. Some of the talc was observed
loose fibrous tissue immediately beneath it. (F) Some expression of           to be subpleural (Figure 5C), and particles were also evident in
ferritin was also evident in chronic inflammatory cells resident in the       the parenchyma of the lungs (Figure 5D). When particles
lungs of patients with idiopathic pulmonary fibrosis (IPF; arrows desig       moved subpleurally and into the parenchyma, they retained
nate areas of chronic inflammation distorting the alveolar and septal         their capacity to accumulate the metal (Figure 5D). Some up
regions). (G) However, in patients with pleurodesis, talc was evident in      take of the ferritin antibody by pleura occurred in the control
the subpleural region, and uptake of the ferritin antibody by the pleura      specimens collected from patients with lung cancer (Figure 5E)
was very strong (arrows designate particles). (H) Talc was also detected      and IPF, but this uptake was minimal. Among patients with IPF,
in the lung parenchyma, and ferritin staining was similarly increased in      uptake for the ferritin body corresponded to areas of inflamma
cells adjacent to the particle (arrow designates particle). The expression    tion (Figure 5F). After exposure to talc, the staining for ferri
of ferritin in the lungs of patients with pleurodesis was focally distrib     tin was so intense that the visceral pleura appeared black
uted to sites of talc retention. Magnification, approximately 3100.           (Figure 5G). After transport to the lung parenchyma, talc
                                                                              continued to demonstrate an association with an increased
                                                                              expression of ferritin protein (Figure 5H). The expression of
exposure alone (Figure 2A). BEAS 2B cells exposed to talc and                 this storage protein was focally distributed to the talc, with in
FAC revealed similar increases in cell nonheme metal. Again,                  creased staining immediately adjacent to the particle.
co incubations revealed an increased cell iron import relative to                 Little staining for DMT1 was evident in the pleura of lungs
either talc or FAC alone (Figure 2B). These results demonstrate               resected from control patients, and this staining was limited to
that the capacity of talc to complex iron in an acellular environ             respiratory epithelia (Figures 6A and 6B). The expression of
ment is retained during in vitro mesothelial and airway                       this major iron importer in the pleura increased enormously
epithelial cell exposures. In addition, these data suggest that talc          after pleurodesis with talc (Figure 6C). Uptake for the iron
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                                                                                                                 Figure 6. Divalent metal trans
                                                                                                                 port 1 (DMT1) and ferroportin
                                                                                                                 1 (FPN1) staining in resected
                                                                                                                 lung tissue. Some binding of
                                                                                                                 the antibody to both DMT1
                                                                                                                 and FPN1 was evident in lung
                                                                                                                 tissue resected from patients
                                                                                                                 unexposed to talc (A and D,
                                                                                                                 respectively). Similarly, the up
                                                                                                                 take of antibodies for DMT1
                                                                                                                 and FPN1 in autopsy samples
                                                                                                                 from patients with IPF was low
                                                                                                                 (B and E, respectively). How
                                                                                                                 ever, the expression of the iron
                                                                                                                 importer DMT1 and iron ex
                                                                                                                 porter FPN1 both increased
                                                                                                                 significantly among patients
                                                                                                                 treated with pleurodesis (C
                                                                                                                 and F, respectively). Compara
                                                                                                                 ble to the expression of ferritin,
                                                                                                                 increased uptake for the anti
                                                                                                                 bodies to DMT1 and FPN1 oc
                                                                                                                 curred after translocation of the
                                                                                                                 particle to the lung parenchyma
                                                                                                                 (F; arrows designate particles).
                                                                                                                 Magnification, approximately
                                                                                                                 3100.


exporter FPN1 was negligible among lungs resected from con               Fe31 has a high affinity for oxygen donor ligands (16, 17), and
trol patients (Figures 6D and 6E). Among those patients with             reacts with the silanol group to form a silicato iron coordination
talc pleurodesis, the expression of FPN1 was greatly increased at        complex (18):
the pleura and in the lung cells immediately adjacent to trans
located particles (Figure 6F). Finally, trichrome staining for col
lagen demonstrated minuscule, subpleural staining in the control                     Fe311 mð SiOHÞ→FeðOSiÞ3m m 1 1 mH 1:
specimens taken during pneumonectomy for lung cancer (Figure
7A). In contrast, sheets of collagen were verified by trichrome              The dose dependent adsorption of inorganic iron was demon
staining in lung tissue resected after talc pleurodesis (Figure 7B).     strated for surface silanol groups on crystalline silicates, with crit
In the lungs of patients with pleurodesis, the talc appeared at the      ical stability constants up to 1 3 1017.15 (critical stability constant ¼
periphery of the fibrosis (Figure 7B).                                   17.15) (19, 20). Our investigation confirmed the capacity of talc
                                                                         to complex iron from an acellular source comparable to other
                                                                         silica and silicate particles (13). The in vitro exposure to talc
                                                                         similarly affected an accumulation of nonheme iron in both
DISCUSSION                                                               mesothelial and airway epithelial cells. Although the source of
The surfaces of silica and silicate particles, including talc, contain   this accumulated iron was not identified, the talc surface may
some concentration of silanol groups (Si OH). Si41 has a high elec       complex host metal originally associated with ATP, ADP, GTP,
tron affinity, and the Si O bond consequently has a significant          citrate, DNA, free amino acids (21), and mitochondrial sources.
ionic character and an acidic dissociation constant favoring disso       However, the cell will recognize this loss of requisite iron, and
ciation at physiologic pH (14). The dissociation of silanol groups       subsequently increases metal import. After integration of the
contributes to a net negative charge on the particle surface, which      particle’s capacity for complexation into the cell’s requirement
generates a capacity for the adsorption and exchange of cations          for iron, increased metal uptake and storage would occur.
(15). The open network of negatively charged silanol groups on           Reflecting these processes, concentrations of ferritin increased
a silica and silicate surface presents spaces large enough to accom      after in vitro exposure to talc. As a result of posttranscriptional
modate adsorbed metal cations. As a result of its electropositivity,     control acting as a major contributor to expression (22 24), the




                                                                                         Figure 7. Masson’s trichrome stain for collagen in
                                                                                         resected lung tissue. (A) Control lungs demonstrated
                                                                                         little trichrome staining (blue). (B) In contrast, tissue
                                                                                         collected from patients with pleurodesis showed dense
                                                                                         sheets of collagen. Talc was evident at the periphery of
                                                                                         this collagen deposition, comparable to a silica nodule
                                                                                         (arrows designate particles). Magnification, approxi
                                                                                         mately 3100.
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RNA for ferritin, DMT1, and FPN1 did not change in mesothe             talc included the increased release of IL 8 and an elevation of
lial and BEAS 2B cells.                                                RNA for both IL 8 and IL 6, comparable to those for many
    Comparable to in vitro accumulation of iron after exposure         particles (27). Among patients treated with talc pleurodesis,
to talc, significant metal accumulation occurred in vivo after         the deposition of collagen was obvious on trichrome staining,
pleurodesis. Perl’s Prussian blue staining demonstrated metal          again analogous to numerous particle exposures (6). The indices
in close proximity to retained talc particles in both the              of both inflammation and fibrosis after exposure to mineral
mesothelial cells of the pleura and the macrophages and airway         oxide particles were demonstrated to correlate with changes
epithelial cells of the parenchyma. Because the iron originally        in iron homeostasis. The release of inflammatory mediators
associated with the talc approximated normal cell and tissue           can directly correspond to the concentration of metal com
concentrations, the accumulation of metal after pleurodesis            plexed to a particle surface (28). Regarding the relationship
had to originate from host sources of iron. Immunohisto                between iron and fibrotic injury, exposure to metal chelators
chemistry for ferritin showed elevations in expression by              such as bleomycin can increase the activity of prolyl hydroxy
mesothelial cells at the pleura and in parenchymal cells after         lase, resulting in a deposition of collagen (29). In vitro and
the introduction of talc. The stain for ferritin suggested a very      in vivo exposures both confirm that biological effects after talc
focal response, with cells either directly contacting or immedi        include those proinflammatory and fibrotic events previously
ately adjacent to the particle demonstrating uptake of the anti        associated with mineral oxide particles.
body to this storage protein. Similarly, the expression of the            We conclude that exposure to talc disrupts iron homeostasis
iron importer DMT1 and the iron exporter FPN1 both in                  in mesothelial and airway epithelial cells, and is associated with
creased on staining in those patients treated with talc pleurod        both oxidative stress and a biological effect, comparable to those
esis. In control tissue from patients with lung cancer and IPF, no     of other particles. The resultant accumulation of iron and alter
positive staining for iron was evident. The uptake of the anti         ations in iron related proteins are evident among patients with
body to ferritin, DMT1, and FPN1 in these same tissues was             pleurodesis. Sclerosis after exposure to talc can be regarded
minimal, but was evident in mesothelial cells of the visceral          as a model of therapeutic benefit after a massive and focal expo
pleura, airway epithelial cells, and alveolar macrophages. In          sure to a mineral oxide particle.
addition, ferritin was evident in the chronic inflammatory cells
                                                                       Author Disclosure: A.J.G., J.M.S., L.A.D., J.H.R., J.L.T., and E.N.P. do not have a
of autopsy samples from patients with IPF. The evidence for            financial relationship with a commercial entity that has an interest in the subject
disrupted iron homeostasis in IPF was not compelling and this          of this manuscript. V.L.R. has testified in cases involving talc manufacturers in
pathway is not proposed as a mechanism of biological effect in         asbestos litigation.
all fibrotic injuries.
    Elevations in tissue concentrations of ferritin, DMT1, and         References
FPN1 in tissues collected after pleurodesis challenge current
                                                                        1. Brook RD, Rajagopalan S, Pope CA III, Brook JR, Bhatnagar A, Diez
understanding, because the controls of expression can be dia                 Roux AV, Holguin F, Hong Y, Luepker RV, Mittleman MA, et al.
metrically opposite to each other (22). The expression of these              Particulate matter air pollution and cardiovascular disease: an update
three proteins involves the same posttranscriptional mecha                   to the scientific statement from the American Heart Association.
nism, using the iron responsive element (IRE). For ferritin                  Circulation 2010;121:2331 2378.
and FPN1, a specific sequence at the 59 untranslated end of             2. Pelucchi C, Negri E, Gallus S, Boffetta P, Tramacere I, La Vecchia C.
ferritin mRNA (i.e., the IRE) binds a cubane iron sulfur clus                Long term particulate matter exposure and mortality: a review of
ter, referred to as the iron regulatory protein (IRP), when the              European epidemiological studies. BMC Public Health 2009;9:453.
IRP exists in the apoprotein form. Elevated concentrations of           3. Zhang JJ, Smith KR. Household air pollution from coal and biomass
                                                                             fuels in China: measurements, health impacts, and interventions.
available iron react with IRP to alter its conformation, decrease
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affinity of the protein to the mRNA, and displace it from the
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mRNA, allowing translation to proceed. In contrast, DMT1                     and silicosis. Am J Respir Crit Care Med 1998;157:1666 1680.
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                       Exhibit 92
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Cytotoxicity and Apoptosis Induction by
Nanoscale Talc Particles from Two Different
Geographical Regions in Human Lung Epithelial
Cells
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ABSTRACT: We have characterized the physicochemical properties of nanotalc particles from two different
geographical regions and examined their toxicity mechanisms in human lung epithelial (A549) cells. Indigenous
nanotalc (IN) of Indian origin and commercial nanotalc (CN) of American origin were used in this study.
Physicochemical properties of nanotalc particles were characterized by X-ray diffraction (XRD), transmission
electron microscopy (TEM), energy dispersive X-ray spectroscopy (EDS), Brunauer-Emmet-Teller (BET), and
dynamic light scattering (DLS). Results showed that both IN and CN particles significantly induce cytotoxicity
and alteration in cell cycle phases. Both IN and CN particles were found to induce oxidative stress indicated
by induction of reactive oxygen species (ROS), lipid peroxidation, and depletion of antioxidant levels. DNA
fragmentation and caspase-3 enzyme activation due to IN and CN particles exposure were also observed. We
further showed that after iron chelation, IN and CN particles produce significantly less cytotoxicity, oxidative
stress, and genotoxicity to A549 cells as compared with nonchelated particles. In conclusion, this study
demonstrated that redox active iron plays significant role in the toxicity of IN and CN particles, which may be
mediated through ROS generation and oxidative stress. # 2012 Wiley Periodicals, Inc. Environ Toxicol 29: 394 406, 2014.
Keywords: nanotalc particles; physicochemical characterization; iron chelation; toxicity; apoptosis



INTRODUCTION                                                              Talc is widely used due to its intrinsic properties such as
                                                                          high thermal stability, low electrical conductivity, good
Talc is a mineral compound [Mg3Si4O10 (OH)2] with                         absorption and adsorption properties, and high crystallinity
unique attributes and significant commercial importance.                  (Pérez-Maqueda et al., 2005; Nkoumbou et al., 2008).
                                                                          Talc is utilized in various applications including paper,
    Correspondence to: M. Ahamed; e mail: maqusood@gmail.com or           paint, cosmetic, plastic, ceramic, pesticide, and pharma-
mahamed@ksu.edu.sa                                                        ceuticals (Carretero, 2002; Bizi et al., 2003; Petit et al.,
    Contract grant sponsor: King Abdulaziz City for Science and Technol   2004). Hence, occupational and consumer exposures to
ogy (KACST) under the National Plan for Science and Technology            talc particles are wide and complex (Jaynes and Zartman,
(NPST).                                                                   2005). It has been reported that talc mine workers show
    Contract grant number: 10 NAN1201 02
    Contract grant sponsor: University Grants Commission (UGC), New
                                                                          higher rates of lung cancer and other respiratory diseases
Delhi, India (to M.J.A.)                                                  (National Toxicology Program, 1993). Epidemiologic evi-
    Published online 13 February 2012 in Wiley Online Library             dence also suggests a possible association between genital
(wileyonlinelibrary.com). DOI 10.1002/tox.21766                           use of talcum powder and risk of ovarian cancer (Wild,
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2006; Buz’Zard and Lau, 2007; Gates et al., 2008; Lang-         MATERIALS AND METHODS
seth et al., 2008). Talc also appears to induce reactive oxy-
gen species (ROS) generation, oxidative stress, and inflam-     Nanotalc Particles and Reagents
mation (Harlow and Hartge, 1995; Buz’Zard and Lau,
2007).                                                          We have utilized the nanotalc particles from two different
    Due to enhanced intrinsic properties, nanoscale talc par-   geographical regions. Indigenous nanotalc (IN) particles
ticles are extensively utilized in many commercial and          were collected from Rajasthan, India, as reported in our
industrial products (Akhtar et al., 2008; Balamurugan and       previous publication (Akhtar et al., 2010a). American ori-
Maiti, 2010; Sakthivel and Pitchumani, 2011). Despite the       gin commercial nanotalc (CN) particles (size 70 12 nm)
wide-spread applications, there is a serious lack of informa-   were purchased from M.K. Impex (Mississauga, Canada).
tion concerning the mechanisms of toxicity of nanotalc par-        Fetal bovine serum (FBS), penicillin-streptomycin,
ticles. Previously, we have observed that human cells           DMEM/F-12 medium, and HBSS were purchased from
exposed to nanotalc particles induce oxidative stress-medi-     Invitrogen Co. (Carlsbad, CA). MTT [3-(4,5-dimethylthia-
ated cytotoxicity (Akhtar et al., 2010a). However, physico-     zol-2-yl)-2,5 diphenyltetrazolium bromide], 2,7-dichloro-
chemical characterization of nanotalc particles and their       fluorescin diacetate (DCFH-DA), deferoxamine mesylate
association with the toxicological response in human cells      (DFOM), glutathione (GSH), thiobarbituric acid (TBA),
is still remains unclear.                                       propidium iodide (PI), RNase A, diethylenetriaminepenta-
    There are numerous reports suggesting that ROS is an        acetic acid (DETAPAC), N-acetyl-asp-glu-val-asp-
important mediator of the toxicity of minerals such as          7-amido-4-trifluoromethylcoumarin       (Ac-DEVD-AFC),
asbestos and silica (Aung et al., 2007; Akhtar et al.,          7-amido-4-trifluoromethylcoumarin (AFC) standard, Brad-
2010b). It has been known for years that the surface iron       ford reagent, and bovine serum albumin (BSA) were
(II) or leachable iron (II) on mineral surfaces reduces mo-     obtained from Sigma-Aldrich (St. Louis, MO). Apoptotic
lecular oxygen to superoxide anion, which is then dismu-        DNA Ladder Kit was bought from Roche. All other chemi-
tated to hydrogen peroxide (Shukla et al., 2003). In the        cals used were of the highest purity available from
presence of asbestos or silica, hydrogen peroxide and           commercial sources.
superoxide react via a Fenton reaction and/or Haber Weiss
reaction driven by iron to form the potent hydroxyl radical     Characterization of Nanotalc Particles
in vitro leading to cellular oxidative damage (Persson
et al., 2003).                                                  Crystalline nature of both IN and CN particles were exam-
    The aim of this work was to characterize the physico-       ined by taking X-ray diffraction (XRD) pattern at room
chemical properties of nanotalc particles and to deter-         temperature with the help of PANalytical X’Pert X-ray dif-
mine the role of iron in the toxicity mechanisms of             fractometer equipped with a Ni filtered using Cu-Ka (k 5
nanotalc particles in human lung epithelial (A549) cells.       1.54056 Å) radiations as X-ray source. Morphology and
We utilized two types of nanotalc particles from differ-        size of IN and CN particles were examined by field emis-
ent geographical origins; indigenous nanotalc (IN) of In-       sion transmission electron microscopy (FETEM) (JEM-
dian origin and commercial nanotalc (CN) of American            2100F, JEOL Inc., Tokyo, Japan) at an accelerating voltage
origin. Cytotoxicity of IN and CN particles was exam-           of 200 kV. To check the purity of IN and CN particles, an
ined by MTT and LDH assays. Oxidative stress response           energy dispersive X-ray spectroscopy (EDS) analysis was
of IN and CN particles was assessed by measuring reac-          performed. Brunauer-Emmet-Teller (BET) surface area
tive oxygen species (ROS), lipid peroxidation (LPO),            measurement of IN and CN particles was determined by
glutathione (GSH), superoxide dismutase (SOD), and cat-         multipoint nitrogen adsorption at 77 K using a Beckman
alase (CAT). Apoptotic response of IN and CN particles          Coulter SA3100 device.
was evaluated by cell cycle analysis, DNA fragmenta-               Dynamic light scattering (DLS) and laser Doppler veloc-
tion, and caspase-3 enzyme activity. To explore the role        imetry (LDV) for the characterization of hydrodynamic
of iron in the toxicity of IN and CN particles, we uti-         size and zeta potential (f) of IN and CN particles in distilled
lized deferoxamine mesylate (DFOM), a well-known                water and cell culture media were performed on a Malvern
iron chelator. The physicochemical properties of IN and         Instruments Zetasizer Nano-ZS instrument as described by
CN particles were characterized by X-ray diffraction            Murdock et al. (2008).
(XRD), transmission electron microscopy (TEM), energy
dispersive X-ray spectroscopy (EDS), Brunauer-Emmet-
                                                                Treatment of Nanotalc Particles with
Teller (BET), and dynamic light scattering (DLS). The
                                                                Deferoxamine Mesylate
A549 cells, derived from human lung carcinoma, have
been widely utilized in toxicological studies (Zhang            We treated both IN and CN particles with DFOM for iron
et al., 2010; Akhtar et al., 2010a,b; Ahamed et al.,            chelation. In brief, IN and CN particles were incubated
2011a,b,c).                                                     with 10 mM DFOM at a concentration of 1000 lg/mL for


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20 h as described by Aung et al. (2007). Then particles        membrane integrity is disrupted, LDH leaks into culture
were washed three times with cell culture medium by cen-       media and its extracellular level is elevated. LDH assay
trifuging at 4000 rpm for 10 min followed by resuspension.     was carried out with the method described earlier (Wro-
                                                               blewski and LaDue, 1955; Welder et al., 1991). In brief,
                                                               10,000 cells per well were seeded in 96-well plate and
Cell Culture and Exposure to Nanotalc                          exposed to IN and CN particles at the concentration of 200
Particles                                                      lg/mL for 48 h. After the exposure completed, the 96-well
Human lung epithelial (A549) cells were obtained from          plate was centrifuged at 2500 rpm for 10 min to get the cell
National Centre for Science (NCCS), Pune, India. Cells         culture media. Then, a 100 lL of culture media transferred
were used between passages 10 and 20. Cells were cul-          to new fresh tube containing 100 lL of sodium pyruvate
tured in DMEM/F-12 medium supplemented with 10%                (2.5 mg/mL phosphate buffer) and 100 lL of reduced nico-
FBS and 100 U/mL penicillin-streptomycin at 5% CO2             tinamide adenine dinucleotide (NADH) (2.5 mg/mL phos-
and 378C. At 85% confluence, cells were harvested using        phate buffer) in a total volume of 3.0 mL (0.1 M potassium
0.25% trypsin and were subcultured into 75 cm2 flasks,         phosphate buffer, pH 7.4). The rate of NADH oxidation
6-well plates, or 96-well plates according to selection of     was determined by following the decrease in absorbance at
experiments. Cells were allowed to attach the surface for      340 nm for 3 min at 30-s interval using a spectrophotometer
24 h before treatment. IN and CN particles were sus-           (Thermo-Spectronic).
pended in cell culture medium and diluted to a appropriate
concentration (200 lg/mL). Suspension of nanotalc par-
ticles were then sonicated using a sonicator bath at room      Cell Cycle Analysis
temperature for 10 min at 40 W to avoid particles agglom-
eration before administration to the cells. The selection of   Cell cycle distribution was assayed by determining DNA
the 200 lg/mL concentration of nanotalc particles was          content. Cells were treated with IN and CN particles for 48
based on our previous publication (Akhtar et al., 2010a).      h. After exposure, cells were fixed in 3% (w/v) paraformal-
All the data presented in this study was that of 48 h expo-    dehyde for 10 min, permeabilized on ice in phosphate
sure. Cells not exposed to nanotalc particles served as con-   buffer saline-0.5% Triton X-100 for 15 min, washed and
trols in each experiment.                                      resuspended in 0.5 ml of phosphate buffer saline containing
                                                               1% FBS, 1 mg/ml RNaseA, and 50 lg/ml propidium iodide.
                                                               The samples were incubated for 30 min at 378C. The data
Cell Viability Assay                                           were acquired and analyzed on FACS-Calibur flow cytome-
                                                               ter (Becton-Dickinson LSR II, San Jose, CA) using Cell
Viability of A549 cells after exposure to nanotalc particles   Quest 3.3 software.
was assessed by MTT assay as described by Mossman
(1983). The MTT assay assesses the mitochondrial function
by measuring ability of viable cells to reduce MTT into
blue formazon product. In brief, 10,000 cells per well were    Measurement of Reactive Oxygen Species
seeded in 96-well plate and exposed to IN and CN particles     For the measurement of ROS generation, cells were cul-
at the concentration of 200 lg/mL for 48 h. After the expo-    tured in 12-well plate. The production of intracellular ROS
sure completed, the medium was removed from each well          was measured using 2,7-dichlorofluorescin diacetate
to avoid interference of particles and replaced with new       (DCFH-DA) (Wang and Joseph, 1999). The DCFH-DA
medium containing MTT solution in an amount equal to           passively enters the cell where it reacts with ROS to form
10% of culture volume, and incubated for 3 h at 378C until     the highly fluorescent compound dichlorofluorescein
a purple colored formazan product developed. The resulting     (DCF). Briefly, 10 mM DCFH-DA stock solution (in meth-
formazan product was dissolved in acidified isopropanol.       anol) was diluted in culture medium without serum or other
Further, the 96-well plate was centrifuged at 2500 rpm for     additive to yield a 100 lM working solution. After expo-
5 min to settle down the remaining particles present in the    sure to IN and CN particles, cells were washed twice with
solution. Then, a 100 lL supernatant was transferred to        HBSS and then incubated in 1 mL working solution of
other fresh wells of 96-well plate and absorbance was          DCFH-DA at 378C for 30 min. Cells were lysed in alkaline
measured at 570 by using a microplate reader (FLUOstar-        solution and centrifuged at 3000 rpm for 10 min. Then, a
Omega).                                                        200 lL supernatant (from 12-well plate) was transferred to
                                                               the fresh well of black 96-well plates and fluorescence was
                                                               measured using at 485 nm excitation and 520 nm emission
Lactate Dehydroganase Leakage Assay
                                                               using a microplate reader (FLUOstar-Omega). The values
Lactate dehydrogenase (LDH) is an enzyme widely present        of ROS were expressed as percent of fluorescence intensity
in cytosol that converts lactate to pyruvate. When plasma      relative to controls.


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Membrane Lipid Peroxidation Assay                              unit of SOD. The results were expressed as units/min/mg
                                                               protein.
The extent of membrane lipid peroxidation (LPO) was esti-         CAT activities were assayed by the method described by
mated by measuring the formation of thiobarbituric acid re-    Claiborne (1985). One unit of CAT activity is defined as
active species (TBARS) using the method of Ohkawa et al.       the amount of enzyme that decomposes 1 lmol H2O2/min.
(1979). Briefly, cells were cultured in 75 cm2 culture flask   CAT activities were given as lmol H2O2 decomposed/min/
and exposed to IN and CN particles at the concentration of     mg protein.
200 lg/mL for 48 h. After the treatment, a 200 lL of cell
suspension was mixed with 800 lL of LPO assay cocktail
containing TBA (0.4%, w/v), sodium dodecyl sulphate
(0.5%, w/v), and acetic acid (5 %, v/v). Reaction mixture
                                                               DNA Ladder Assay
was then incubated at 958C for 1 h. After cooling to room      Cells were cultured in 6-well plate and exposed to IN and
temperature the reaction mixture was centrifuged at 5000       CN particles at the concentration of 200 lg/mL for 48 h. At
rpm for 5 min. The absorbance of the supernatants was read     the end of exposure DNA was extracted using an apoptotic
at 532 nm against the standard. The amount of TBARS was        DNA Ladder Kit (Roche, Cat# 11835246001). The
expressed as nmol/mg protein.                                  extracted DNA was then evaluated on a 1% agarose gel
                                                               using ethidium bromide. DNA fragmentation pattern was
                                                               documented by a gel documentation system.
Intracellular Glutathione Assay
Intracellular GSH was quantified using the method of
Hissin and Hilf (1976). Briefly, cells were cultured in 75     Assay of Caspase-3 Enzyme
cm2 culture flask and exposed to IN and CN particles at
the concentration of 200 lg/mL for 48 h. After the expo-       Cells were cultured in 6-well plate and exposed to IN and
sure completed, cells were lysed in 20 mM Tris (pH 7.0)        CN particles at the concentration of 200 lg/mL for 48 h.
and the centrifuged at 10,000 rpm for 10 min at 48C.           Activity of caspase-3 enzyme was determined using a
Further, protein of the supernatant was precipitated using     standard fluorometric microplate assay (Walsh et al., 2008)
1% perchloric acid and again centrifuged at 10,000 rpm         with some modifications. A reaction mixture containing 30
for 5 min at 48C to get supernatant. Then 20 lL of su-         lL of cell lysate, 20 lL of Ac-DEVD-AFC (caspase-3 sub-
pernatant was mixed with 160 lL of 0.1M potassium              strate), and 150 lL of protease reaction buffer (50 mM
phosphate-5 mM EDTA buffer (pH 8.3) and 20 lL                  Hepes, 1 mM EDTA, and 1 mM DTT), pH 7.2, was incu-
O-phthalaldehyde (1 mg/mL in methanol) in a black              bated for 15 min. Fluorescence of reaction mixture was
96-well plate. After 2 h of incubation at room tempera-        measured at 5 min interval for 15 min at excitation/emis-
ture in the dark, fluorescence was measured at emission        sion wavelengths of 430/535 nm using a microplate reader
wavelength of 460 nm and excitation wavelength of              (FLUOstar-Omega). A standard of 7-amido-4-trifluorome-
350 nm. The amount of GSH was expressed as nmol                thylcoumarin (AFC) ranging from 5 to 15 lM was prepared
GSH/mg protein.                                                and its fluorescence was recorded for calculation of cas-
                                                               pase-3 activity in terms of pmol AFC released/min/mg
                                                               protein.
Antioxidant Enzymes Activity Assay
Cells were cultured in 75 cm2 culture flask and exposed
to IN and CN particles at the concentration of 200 lg/mL       Estimation of Protein
for 48 h. After the exposure completed, cells were har-        The protein content was measured by the method of Brad-
vested in ice-cold phosphate buffer saline and washed          ford (1976) using Bradford reagent (Sigma-Aldrich, St.
twice with phosphate buffer saline at 48C. The cell pellets    Louis, MO), along with bovine serum albumin as standard.
were then lysed in cell lysis buffer. Following centrifuga-
tion (10,000 rpm for 10 min 48C) the supernatant (i.e.
cell lysate) was maintained on ice until assayed for activ-
                                                               Statistics
ity of superoxide dismutase (SOD) and catalase (CAT)
enzymes. The total SOD was determined using pyrogallol         All the data represented in this study are means 6 SD of
assay following the procedure described by Marklund and        three identical experiments made in three replicate. Statisti-
Marklund (1974), based on the competition between pyro-        cal significance was determined by one-way analysis of
gallol oxidation by superoxide radicals and superoxide         variance (ANOVA) followed by Dunnett’s multiple com-
dismutation by SOD, and spectrophotometrically read at         parison test. Significance was ascribed at p \ 0.05. All
420 nm. The amount of SOD inhibiting the reaction rate         analyses were conducted using the Prism software package
by 50% in the given assay conditions was defined as one        (GraphPad Software).


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ROS generation from fibers results in the generation of             Ahamed M, Akhtar MJ, Raja M, Ahmad I, Siddiqui MKJ, AlSalhi
hydroxyl radicals through the Fenton reaction and the                 MS, Alrokayan SA. 2011b. ZnO nanorod induced apoptosis via
Haber-Weiss cycle. Iron-dependent ROS generation                      p53, survivin and bax/bcl 2 pathways mediated by oxidative
requires redox cycling of iron and does not necessarily               stress in human alveolar adenocarcinoma cells. Nano
                                                                      medcine:NBM 7:904 913.
require H2O2 or ROS (Halliwell and Gutteridge, 1990). The
differential amount of iron present in the two types of nano-       Ahamed M, Akhtar MJ, Siddiqui MA, Ahmad J, Musarrat J, Al
talc particles prompted us to investigate the role of iron by         Khedhairy AA, AlSalhi MS, Alrokayan SA. 2011c. Oxidative
                                                                      stress mediated apoptosis induced by nickel ferrite nanopar
sequestering them with an iron chelator, deferoxamine
                                                                      ticles in cultured A549 cells. Toxicology 283:101 108.
mesylate (DFOM). Sequestering of redox active iron from
                                                                    Akhtar S, Shukla D, Kumar V. 2008. Studies on effect of nano
IN and CN particles by DFOM caused significantly less cy-
                                                                      talc filler on nucleation, crystal morphology and crystallization
totoxicity, oxidative stress, and genotoxicity than those of
                                                                      behaviour of semi crystalline plastics. Solid State Phenomena
the nonchelated IN and CN particles. Similarly, incubation            136:161 174.
of crocidolite or chrysotile fibers overnight with deferoxa-
                                                                    Akhtar MJ, Kumar S, Murthy RC, Ashquin M, Khan MI, Patil G,
mine (5 mM) to inactivate iron catalyzed oxygen radical               Ahmad I. 2010a. The primary role of iron mediated lipid peroxi
production also significantly decreased asbestos-induced              dation in the differential cytotoxicity caused by two varieties of
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                       Exhibit 93
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Alterations in Gene Expression in Human Mesothelial
Cells Correlate with Mineral Pathogenicity
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University of Alabama at Birmingham School of Medicine, Birmingham, Alabama


Human mesothelial cells (LP9/TERT 1) were exposed to low and high
(15 and 75 mm2/cm2 dish) equal surface area concentrations of                           CLINICAL RELEVANCE
crocidolite asbestos, nonfibrous talc, fine titanium dioxide (TiO2), or
glass beads for 8 or 24 hours. RNA was then isolated for Affymetrix                     Results of work here suggest that transcriptional profiling
microarrays, GeneSifter analysis and QRT PCR. Gene changes by                           can be used to reveal molecular events by mineral dusts
asbestos were concentration and time dependent. At low nontoxic                         that are predictive of their pathogenicity in mesothelioma.
concentrations, asbestos caused significant changes in mRNA ex
pression of 29 genes at 8 hours and of 205 genes at 24 hours, whereas
changes in mRNA levels of 236 genes occurred in cells exposed to
high concentrations of asbestos for 8 hours. Human primary pleural
                                                                                      of asbestos associated diseases, how these contribute to cell
mesothelial cells also showed the same patterns of increased gene                     toxicity and transformation are unclear. Moreover, the early
expression by asbestos. Nonfibrous talc at low concentrations in                      molecular events leading to injury by asbestos fibers and other
LP9/TERT 1 mesothelial cells caused increased expression of 1 gene                    pathogenic or innocuous particulates in human cells that may be
Activating Transcription Factor 3 (ATF3) at 8 hours and no changes at                 targets for the development of disease remain enigmatic.
24 hours, whereas expression levels of 30 genes were elevated at                          The objective of work here was to compare acute toxicity
8 hours at high talc concentrations. Fine TiO2 or glass beads caused                  and gene expression profiles of crocidolite asbestos, the type of
no changes in gene expression. In human ovarian epithelial (IOSE)                     asbestos most pathogenic in the causation of human mesothe
cells, asbestos at high concentrations elevated expression of two                     lioma (3, 4), to nonfibrous talc, fine titanium dioxide (TiO2), and
genes (NR4A2, MIP2) at 8 hours and 16 genes at 24 hours that were                     glass beads in a contact inhibited, hTERT immortalized human
distinct from those elevated in mesothelial cells. Since ATF3 was the                 mesothelial cell line (5). In comparative studies, we also evalu
most highly expressed gene by asbestos, its functional importance in                  ated toxicity of particulates and gene expression changes in
cytokine production by LP9/TERT 1 cells was assessed using siRNA                      a contact inhibited SV40 Tag immortalized human ovarian epi
approaches. Results reveal that ATF3 modulates production of in                       thelial cell line (IOSE) (6). This cell type is not implicated in
flammatory cytokines (IL 1b, IL 13, G CSF) and growth factors (VEGF                   asbestos induced diseases, but is occasionally linked to inflam
and PDGF BB) in human mesothelial cells.                                              mation and the development of ovarian cancer after use of tal
                                                                                      cum powder in the pelvic region, although such links are highly
Keywords: mesothelioma; crocidolite asbestos; talc; titanium dioxide;
gene profiling
                                                                                      controversial (7).
                                                                                          Although most studies have evaluated the biological effects
A myriad of natural and synthetic fibers and particles, including                     of particles and fibers on an equal mass or weight basis, the
nanomaterials, are being introduced into the workplace and                            number, surface area, and reactivity of particulates at equal
environment, and in vitro screening tests on human cell types are                     weight concentrations may be vastly different. Moreover, recent
needed to predict their toxicity and mechanisms of action,                            in vitro (8, 9) and in vivo (10 12), studies have confirmed that
especially in target cells of disease. Asbestos is a group of well                    toxicity, oxidative stress, and inflammatory effects of ultrafine
characterized fibrous minerals that are associated with the                           and other particles are related directly to surface area. For these
development of nonmalignant (asbestosis) and malignant (lung                          reasons, and to avoid possible confounding alterations in gene
cancers, pleural, and peritoneal mesotheliomas) diseases in occu                      expression or toxicity that might reflect or be masked in cells in
pational cohorts (1 3), yet the molecular mechanisms of asbestos                      different phases of the cell cycle, we introduced particulates at
related diseases are poorly understood. Although it is widely                         equal surface areas to confluent monolayers of human meso
acknowledged that fibrous geometry, surface and chemical com                          thelial (LP9/TERT 1) and human ovarian epithelial (IOSE)
position, and durability are important features in the development                    cells in a maintenance medium. Moreover, our studies included
                                                                                      a nonfibrous talc sample and fine TiO2 and glass particles, both
                                                                                      traditionally used as nontoxic and nonpathogenic control par
(Received in original form April 11, 2008 and in final form November 24, 2008)
                                                                                      ticles in in vitro and animal experiments (reviewed in Refs. 13
                                                                                      and 14). Our studies provide novel insight into the early
* These authors contributed equally to this research.
                                                                                      molecular events and responses occurring in human cells after
This work was supported by NIEHS training grant T32ES007122 to B.T.M.,
                                                                                      exposure to asbestos and these materials.
a contract from EUROTALC and the Industrial Minerals Association of North
America, and NCI P01 CA 114,047 (H.I.P. and B.T.M.).
Correspondence and requests for reprints should be addressed to Arti Shukla,          MATERIALS AND METHODS
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                                                                                      Human Mesothelial and Ovarian Epithelial Cell Cultures
This article contains microarray data which can be found as a repository using the    Human mesothelial LP9/TERT 1 (LP9) cells, an hTERT immortal
accession number GSE14034.                                                            ized cell line phenotypically and functionally resembling normal
Am J Respir Cell Mol Biol Vol 41. pp 114–123, 2009
                                                                                      human mesothelial cells (5), were obtained from Dr. James Rhein
Originally Published in Press as DOI: 10.1165/rcmb.2008-0146OC on December 18, 2008   wald (Dana Farber Cancer Research Institute, Boston, MA). Human
Internet address: www.atsjournals.org                                                 pleural mesothelial cells (NYU474) were isolated surgically from
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cancer free patients by Dr. Harvey Pass (New York University, New                     were mixed with 0.4% trypan blue stain, which is retained by dead cells.
York, NY). Briefly, tissue sample 2 3 2 cm2 was harvested into saline                 After 5 minutes, unstained cells were counted using a hemocytometer to
solution and rinsed immediately with PBS (13) and Dulbecco’s                          determine the total number of viable cells per dish.
modified Eagle’s medium (DMEM) (13). The tissue was then                                  Based on the results of cell viability studies, asbestos and nonfibrous
digested with 0.2% Collagenase type 1 (MP Biomedical Inc., Solon,                     talc were evaluated in LP9 mesothelial cells for changes in gene
OH) for 3 hours at 378C. Finally, the digested tissue was scraped and                 expression at both low and high concentrations (15 and 75 mm2/cm2
cells collected were centrifuged for 5 minutes at 300 3 g. The cell                   dish) at 8 hours, and at low concentrations of minerals (15 mm2/cm2
pellet thus obtained was resuspended in DMEM containing 10% fetal                     dish) at 24 hours. These concentrations did not cause morphologic or
bovine serum (FBS) and 2% penicillin streptomycin, transferred into                   toxic cellular changes at these time points. Negative control groups
6 well plate, and allowed to grow at 5% CO2 and 378C. Mesothelial                     included cells exposed to fine TiO2 (15 mm2/cm2 dish) at 8 and 24 hours
cells were characterized by staining with calretinin antibody. An SV40                and glass beads (75 mm2/cm2) at 24 hours. In IOSE cells, gene
Tag immortalized, anchorage dependent human ovarian epithelial                        expression of all particulates was evaluated at 75 mm2/cm2 at 8 and
cell line (IOSE 398) (6) was a kind gift from Dr. Nelly Auersperg                     24 hours, as preliminary experiments revealed that no significant
(Canadian Ovarian Tissue Bank, University of British Columbia,                        changes in mRNA levels were observed at 15 mm2/cm2 dish of asbestos.
Vancouver, BC, Canada). LP9/TERT 1 cells were maintained in 50:50                     In NYU474 human mesothelial cells, QRT PCR was used to validate
DMEM/F 12 medium containing 10% FBS, and supplemented with pen                        a selected subset of gene expression changes identified by arrays in
icillin (50 units/ml), streptomycin (100 mg/ml), hydrocortisone (100 mg/ml),          LP9/TERT 1 cells. Cells were exposed to 15 and 75 mm2/cm2 asbestos
insulin (2.5 mg/ml), transferrin (2.5 mg/ml), and selenium (2.5 mg/ml).               for 24 hours, and 8 genes highly expressed in LP9 cells were examined
IOSE cells were maintained in 50:50 199/MCB105 medium containing                      by QRT PCR (see below).
10% FBS and 50 mg/ml gentamicin. Cells at near confluence were switched
to maintenance medium containing 0.5% FBS for 24 hours before par                     RNA Preparation
ticulate exposure. NYU474 cells were grown to near confluence in DMEM
                                                                                      Total RNA was prepared using an RNeasy Plus Mini Kit according to
containing 10% FBS and supplemented with penicillin (50 units/ml) and
                                                                                      the manufacturers’ protocol (Qiagen, Valencia, CA), as previously
streptomycin (100 mg/ml).
                                                                                      described (17).
Characterization of Mineral Preparations
                                                                                      Affymetrix Gene Profiling
The physical and chemical characterization of the NIEHS reference
sample of crocidolite asbestos has been reported previously (15). The                 Microarrays were performed on samples from three independent
surface area of asbestos fibers and particles was measured using nitrogen             experiments. All cell types, time points, and mineral types and con
gas sorption analysis to allow computation of identical amounts of sur                cenrations were included in all three experiments. For each experi
face areas of particulates to be added to cells. Fiber and particle size              ment, n 5 3 dishes were pooled into one sample per treatment group.
dimensions were determined by scanning electron microscopy (SEM) as                   Each of the pooled samples was analyzed on a separate array (i.e., n 5 3
described previously (16). In addition, talc was examined using field emis            arrays per condition [3 independent biological replicates]). All proce
sion scanning electron microscopy (FESEM) and transmission electron                   dures were performed by the Vermont Cancer Center DNA facility
microscopy (TEM). The chemical composition, surface area, mean size,                  using standard Affymetrix protocol as previously described (14, 17).
and source of each particulate preparation is presented in Table 1.                   Each probe array, Human U133A 2.0 (Affymetrix, Santa Clara, CA)
                                                                                      was scanned twice (Hewlett Packard GeneArray Scanner, Palo Alto,
Introduction of Particulates to Cells                                                 CA), the images overlaid, and the average intensities of each probe cell
After sterilization under ultraviolet light overnight to avoid endotoxin              compiled. Microarray data were analyzed using GeneSifter software
and microbial contamination, particulates were suspended in HBSS at                   (VizX Labs, Seattle, WA). This program used a ‘‘t test’’ for pairwise
1 mg/ml, sonicated for 15 minutes in a water bath sonicator, and                      comparison and a Benjamini Hochberg test for false discovery rate
triturated five times through a 22 gauge needle. This suspension was                  (FDR 5%) to adjust for multiple comparisons. A 2 fold cutoff limit was
added to cells in medium.                                                             used for analysis.

SEM to Determine Particulate/Cell Interactions                                        Quantitative Real Time PCR
Cells were grown on Thermonox plastic cover slips (Nalge Nunc                         Total RNA (1 mg) was reverse transcribed with random primers using the
International, Naperville, IL), exposed to particulates for 24 hours,                 Promega AMV Reverse Transcriptase kit (Promega, Madison, WI)
and then processed for SEM as described previously (16). After                        according to the recommendations of the manufacturer, as described
samples were critical point dried, they were mounted on aluminum                      previously (17). In NYU474 mesothelial cells, eight genes (ATF3, SOD2,
specimen stubs and dried before being sputter coated with gold and                    PTGS2, FOSB, TFPI2, PDK4, NR4A2, and IL 8) most highly expressed
palladium in a Polaron sputter coater (Model 5100; Quorum Technol                     in LP9 cells were evaluated using the DDCt method. Duplicate or
ogies, Guelph, ON, Canada) and examined on a JSM 6060 scanning                        triplicate assays were performed with RNA samples isolated from at
electron microscope (JEOL USA, Inc., Peabody, MA).                                    least three independent experiments. The values obtained from cDNAs
                                                                                      and hypoxanthine phosphoribosyl transferase (hprt) controls provided
Cell Viability Studies                                                                relative gene expression levels for the gene locus investigated. The
After 24 hours, cells were collected with Accutase cell detachment                    primers and probes used to validate gene expression as observed in
reagent, and final cell suspensions in Accutase/complete medium/HBSS                  microarrays were purchased from Applied Biosystems (Foster City, CA).



TABLE 1. CHARACTERIZATION OF PARTICULATES
Name                             Chemical Composition                 Mean Surface Area 6 SE (m2/g)              Mean Size (mm)*                       Source

Crocidolite Asbestos           Na2Fe321Fe231Si8O22(OH)2                       14.97 6 0.605                         7.4 3 0.25                NIEHS Reference Sample
Talc (MP 10-52)†               Mg3Si4O10(OH)2                                 16.03 6 0.654                            1.1                    Barrett’s Minerals, Inc.
Titanium Dioxide               TiO2                                            9.02 6 0.185                            0.69                   Fisher Scientific
Glass Beads                    SiO2                                            2.78 6 0.215                            2.06                   Polysciences Inc.

  * Length X width for crocidolite asbestos, and diameter for nonfibrous talc, TiO2, and glass beads.
  †
    Although standard reference samples of asbestos and some particulates are available for use by the scientific community, reference samples of talc currently do not
exist. For these reasons, the nonfibrous talc sample was also characterized for physical properties, particle size distribution (0.70 mm minimum to 1.20 mm maximum),
and chemical/mineralogical (talc 95%, chlorite 4.5–5%, dolomite 0.3%) composition. For complete analysis or obtaining samples, please contact Brooke Mossman,
Mark Ellis (markellis@ima-na.org), or Michelle Wyart at EUROTALC (mwyart@ima-europe.eu).
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                                                                                                      Figure 1. Interaction of fibers and par
                                                                                                      ticles with (A E ) LP9/TERT 1 human me
                                                                                                      sothelial cells and (F ) IOSE ovarian
                                                                                                      epithelial cells after 24 hours of exposure
                                                                                                      to (B, E, F ) high and (C, D) low concen
                                                                                                      trations of particulates. (G) Field emission
                                                                                                      scanning electron microscopy (FESEM)
                                                                                                      and (H ) transmission electron micros
                                                                                                      copy (TEM) show structure of nonfibrous
                                                                                                      talc. (A) Morphology of unexposed near
                                                                                                      confluent LP9/TERT 1 cells. (B) Mem
                                                                                                      brane blebbing and piling up of cells in
                                                                                                      response to crocidolite asbestos (arrows).
                                                                                                      (C ) Nonfibrous talc and (D) fine TiO2
                                                                                                      (arrows) on cell surface. (E ) Single and
                                                                                                      small clumps of glass beads on plasma
                                                                                                      membrane. (F ) Interaction of asbestos
                                                                                                      fibers (arrows) with IOSE cells that exhibit
                                                                                                      an exudate and membrane ruffling in
                                                                                                      response to fibers. Bars        10 mm. (G)
                                                                                                      FESEM and (H ) TEM showing morphol
                                                                                                      ogy of platy talc bulk material. Bars
                                                                                                      2 mm.




Transfection of LP9 Cells with siRNA                                      asbestos for 24 hours, a multiplex suspension protein array was
                                                                          performed using the Bio Plex protein array system as described pre
On Target plus Non targeting siRNA #1 (scrambled control), and On
                                                                          viously (17) and a Human Cytokine 27 plex panel (Bio Rad, Hercules,
Target plus SMART pool human ATF3 siRNA (100 nM; Dharmacon,
                                                                          CA). Three biological replicates were used for each treatment group.
Lafayette, CO) were transfected into LP9 cells at near confluence using
Lipofectamine 2000 (Invitrogen, Carlsbad, CA), following the manu
facturer’s protocol. The efficiency of ATF3 knockdown was determined      Statistical Analysis
by QRT PCR after 48 and 72 hours.                                         Data from QRT PCR and cell viability assays were evaluated by
Bio Plex Analysis of Cytokine and Chemokine Concentrations                ANOVA using the Student Neuman Keul’s procedure for adjust
                                                                          ment of multiple pairwise comparisons between treatment groups or
in Medium of LP9/TERT 1 Cells                                             using the nonparametric Kruskal Wallis and Mann Whitney tests.
To quantify cytokine and chemokine levels in conditioned medium of        Differences with P values < 0.05 were considered statistically
cells transfected with siATF3 or scrambled control and exposed to         significant.
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Figure 2. Cell viability after 24 hours of exposure to asbestos fibers and particles in (A C ) LP 9/TERT 1 and (D) IOSE (D). Mean 1/2 SE of 1 (A, B) or
3 (C, D) individual experiments where n 3 per group per experiment. * P < 0.05 compared with untreated (0) groups.



RESULTS                                                                       Asbestos Fibers, but Not Particle Preparations, Cause
                                                                              Dose and Time Related Changes in Gene Expression in
Characterization of Particulate Preparations
                                                                              Human LP9 Mesothelial Cells
Table 1 shows the major chemical formulas of crocidolite                      Figure 3 shows a summary of significantly increased or de
asbestos fibers (defined as having a greater than 3:1 length to               creased (. 2 fold compared with untreated controls) gene
width ratio) and particle samples used in experiments, although               expression by asbestos (Figures 3A 3C) and nonfibrous talc
trace amounts of other elements occur in the NIEHS asbestos                   (Figure 3D) in LP9/TERT 1 cells as well as the classification of
standards (15). In addition, we examined the morphology and                   genes by ontology. These studies revealed that gene expression
cellular interactions of asbestos fibers, talc, and other particles           changes by low concentrations of asbestos were less (29
using SEM (Figure 1). These studies revealed that only high                   increases) than at high concentrations (236 alterations including
(75 mm2/cm2) surface area concentrations of asbestos caused                   decreases) at 8 hours. Moreover, numbers of significant mRNA
membrane blebbing and other toxic manifestations in cells                     level alterations (205) at low concentrations of asbestos in
(Figures 1B and 1F). In contrast, particles of nonfibrous talc                creased over time. In contrast, fewer numbers (30) of gene
(Figure 1C), fine TiO2 (Figure 1D), and glass beads (Figure 1E)               expression increases were observed at high concentrations of
were nontoxic. Both asbestos fibers and particles were observed               talc at 8 hours compared with identical surface areas of asbestos
on the cell surface and were encompassed by cells. Nonfibrous                 (236 changes), and no decreases in gene expression were
talc occurred in platy particles that were uniform in appearance              observed. No significant alterations in gene expression were
as viewed by FESEM (Figure 1G) and TEM (Figure 1H).                           observed with low concentrations of talc at 24 hours or with
                                                                              TiO2 or glass beads at either concentration or time point (data
Asbestos Fibers at High Concentrations Are Toxic to LP9/
                                                                              not shown). The major genes affected by asbestos or talc in LP9/
TERT 1 Human Mesothelial Cells and Less So to Ovarian
                                                                              TERT 1 cells are listed in Tables 2 4. This information reveals
Epithelial Cells in Contrast to Particle Preparations                         that the fold increases in common genes expressed by asbestos
Figure 2 shows the results of trypan blue exclusion tests in LP9/             treated cells increase in a dose related fashion at 8 hours.
TERT 1 and IOSE cells. In LP9/TERT 1 cells (Figures 2A 2C),                   Although dose responses were observed with talc at 8 hours,
asbestos at high surface area concentrations (75 mm2/cm2)                     the numbers of significant gene increases as well as fold in
caused significant decreases (50 80%) in cell viability that were             creases were less than that observed with asbestos and decreased
more striking than those observed in IOSE cells (Figure 2D).                  over time. Since mRNA expression of ATF3 and IL8 were
Nonfibrous talc at 75 mm2/cm2 was nontoxic, and significant                   increased by either asbestos or talc in LP9/TERT 1 cells, the
increases in toxicity were only achieved with addition of talc                increased expression of these genes was verified by QRT PCR in
at > 3 fold higher concentrations in LP9/TERT 1 cells (Figure                 mineral exposed cells as compared with untreated control cells
2A), but not in IOSE cells (data not shown). Neither TiO2 nor                 (Figure 4).
glass beads were significantly toxic to either cell type over                    In NYU474 cells, QRT PCR was used to validate that eight
a range of concentrations (Figure 2B).                                        asbestos induced genes in LP9 cells were up regulated in
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Figure 3. Numbers of changes (P < 0.05) in gene expression and classification by ontology in LP9/TERT 1 cells after exposure to (A C ) crocidolite
asbestos or (D) nonfibrous talc.



normal human mesothelial cells (ATF3, PTGS2 or COX2,                       Inhibition of ATF3 by siRNA Alters Asbestos Induced
FOSB, IL8, NR4A2, and TFPI2). Results showed that mRNA                     Cytokines in LP9/TERT 1 Cells
levels of six of the eight genes evaluated were increased in               Since ATF3 was a common gene up regulated by asbestos in
a dose responsive fashion after exposure to asbestos for 24                mesothelial cells its functional role in cytokine production in LP9
hours (Figure 5).                                                          cells was evaluated. As shown in Figure 6A, ATF3 was success
                                                                           fully inhibited in LP9/TERT 1 cells using siATF3 as described in
IOSE Ovarian Epithelial Cells Exhibit Few Gene Expression
                                                                           MATERIALS AND METHODS. Cells transfected with control siRNA
Changes in Response to Asbestos                                            or siATF3 were then exposed to asbestos (75 mm2/cm2 n 5 3) for
In contrast to LP9/TERT 1 and NYU474 mesothelial cells, IOSE               24 hours, and medium was collected and analyzed for cytokines
cells showed no significant gene up regulation or down regulation          and growth factors using Bio Plex analyses. Inhibition of ATF3
in response to lower concentrations of asbestos at 8 or 24 hours           altered levels of asbestos induced inflammatory cytokines (IL
(data not shown). At high concentrations of asbestos at 8 hours,           1b, IL 13, G CSF) and the growth factor (PGDF BB) in LP9/
mRNA levels of only two genes (NR4A2 and CXCL2 or MIP2)                    TERT 1 cells (Figure 6B). Trends in diminishing levels of VEGF
were increased in comparison to untreated IOSE cells (Table 4).            were also observed, although not statistically significant.
At 24 hours, high concentrations of asbestos caused less than 4
fold increases in expression of only 16 genes, and decreased
                                                                           DISCUSSION
expression of 1 gene, Profilin 1 (data not shown). No significant
mRNA changes were observed with nonfibrous talc, fine TiO2 or              Gene expression analysis has been used for the classification of
glass beads at either time point.                                          soluble toxicants in rodent and human cells in vitro. Models of
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                TABLE 2. TOP 10 GENES AFFECTED BY CROCIDOLITE ASBESTOS AT 8 AND 24 H IN LP9/TERT 1
                HUMAN MESOTHELIAL CELLS
                                                                                                     Low                      High
                Concentration                                                                    (15 mm2/cm2)             (75 mm2/cm2)

                Time                                                                        8h                  24 h          8h

                                                                                                            Fold Change

                Up-regulated
                  Activating transcription factor 3 (ATF3)                                   9                   9            27
                  Prostaglandin-endoperoxide synthase 2 (PTGS2)                              7                   8            16
                  Superoxide Dismutase 2 (SOD2)                                              6                   6             2
                  Chemokine (C-X-C motif) ligand 3 (CXCL3)                                   4                  NC            16
                  FBJ murine osteosarcoma viral oncogene homolog B (FOSB)                    4                  NC            NC
                  Tissue factor pathway inhibitor 2 (TFPI2)                                  4                  14            11
                  Pyruvate dehydrogenase kinase, isozyme 4 (PDK4)                            3                   9            15
                  Chemokine (C-X-C motif) ligand 2 (CXCL2)                                   3                  NC            NC
                  Angiopoietin-like 4 (ANGPLT4)                                              3                  NC            NC
                  Kruppel-like factor 4 (gut) (KLF4)                                         3                  NC            NC
                  Interleukin 8 C-terminal variant, 211506 s t (IL8)                        NC                   8            12
                  Interleukin 1 receptor-like 1 (IL1R1)                                     NC                   6            11
                  Nuclear receptor subfamily 4 (NR4A2)                                      NC                  NC            11
                  Solute carrier family 7 (SLC7A2)                                          NC                   6            10
                  Pleckstrin homology-like domain (PHLDA1)                                  NC                   7            NC
                  Interleukin 8 (IL8)                                                       NC                   6            NC
                Down-regulated
                  Inhibitor of DNA binding 3 (ID3)                                          NC                  NC             5
                  Inhibitor of DNA binding 1 (ID1)                                          NC                  NC             3
                  Cytochrome P450, family 24 (CYP24A1)                                      NC                  NC             3
                  Basic helix-loop-helix domain (BHLHB3)                                    NC                  NC             3
                  SMAD family member 6 (SMAD6)                                              NC                  NC             3
                  S-phase kinase associated protein 2 (SKP2)                                NC                  NC             3
                  Cadherin 10, type 2 (CDH10)                                               NC                  NC             3
                  START domain containing 5 (STARD5)                                        NC                  NC             3
                  211042 x at                                                               NC                  NC             2
                  Interferon-induced protein with tetratricopeptide (IFIT1)                 NC                  NC             2
                  Oxytocin receptor (OXTR)                                                  NC                   6            NC
                  Transcribed locus                                                         NC                   5            NC
                  Chromosome 5 open reading frame (C5orf13)                                 NC                   5            NC
                  Cytochrome P450, family 24 (CYP24A1)                                      NC                   4            NC
                  Chromosome 21 open reading frame (C21orf7)                                NC                   3            NC
                  KIAA1199                                                                  NC                   3            NC
                  Methyltransferase like 7A (METTL7A)                                       NC                   3            NC
                  PDZ domain containing RING finger 3 (PDZRN3)                              NC                   3            NC
                  Periplakin (PPL)                                                          NC                   3            NC
                  Phospholipase-C-like 1 (PLCL1)                                            NC                   3            NC

                  Definition of abbreviation: NC, no significant (P < 0.05) change . 2-fold from control.



transcript profiling for discrimination of toxic and nontoxic                     (21), our studies suggest that the increased numbers of gene
compounds in liver and other organs have also been developed                      expression alterations observed in LP9/TERT 1 human meso
in rodents (18), confirming the hypothesis that predictive                        thelial cells reflect elevated sensitivity of this cell type to
modeling for classification of toxic agents and carcinogens is                    asbestos. NYU474 human mesothelial cells were more resistant
feasible. Here we used toxicogenomic approaches in human                          that LP9/TERT 1 cells to asbestos toxicity, permitting us to
mesothelial cells, a cell type exquisitely sensitive to asbestos                  perform QRT PCR studies at both concentrations of asbestos at
(19) and human contact inhibited ovarian epithelial cells, a cell                 24 hours. These results confirmed common dose related pat
type not linked to carcinogenesis by asbestos, to determine                       terns of gene expression in mesothelial cells versus ovarian
whether the magnitude of altered gene expression by insoluble                     epithelial (IOSE) cells.
particulates correlated with their toxicity to cells and docu                        It is generally recognized that geometry and length and
mented pathogenicity in humans. Although a recent study has                       width (i.e., aspect ratio) of durable fibers such as amphibole
examined gene expression profiles comparatively in crocidolite                    asbestos types (crocidolite, amosite) are important properties
asbestos exposed human lung adenocarcinoma (A549) and                             determining toxicity, transforming potential, and carcinogeniciy
SV40 immortalized bronchial (BEAS 2B) or pleural mesothe                          in rodents and humans (13, 22, 23). Since talc can occur in
lial cell lines (MET5A) by cluster analysis (20), our studies are                 various geometries (nonfibrous and fibrous) and can be contam
the first to examine gene expression changes by asbestos in                       inated with other minerals, including amphiboles, in some mining
comparison to other well characterized particles in a human cell                  deposits (reviewed in Ref. 24), we used a well characterized,
line that exhibits features of normal mesothelial cells (5).                      nonfibrous talc sample here to allow evaluation of a particle not
Although strict comparisons between cell types are not justified                  causing mesotheliomas or pleural sarcomas in rodents (23).
because SV40 Tag was used to immortalize the IOSE ovarian                         Moreover, nonfibrous talc is regarded as noncarcinogenic in
epithelial cell line (6), and SV40 infection is known to decrease                 humans (25). Since talc is a magnesium silicate, and Mg21 may
sensitivity of human mesothelial cell lines to toxicity by asbestos               interact with negatively charged molecules on the cell surface to
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TABLE 3. GENES UP REGULATED BY NONFIBROUS TALC IN
LP9/TERT 1 HUMAN MESOTHELIAL CELLS
Gene                                                               Fold Increase

8 h Low (15 mm2/cm2)
  Activating transcription factor 3 (ATF3)                                3
8 h High (75 mm2/cm2)
  Activating transcription factor 3 (ATF3)                              13
  Inhibin, beta A (INHBA)                                                9
  Chemokine (C-X-C motif) ligand 3 (CXCL3)                               7
  Superoxide dismutase 2 (SOD2)                                          7
  Interleukin 8 C-terminal variant, 211506 s t (IL8)                     6
  Prostaglandin-endoperoxide synthase 2 (PTGS2)                          5
  Interleukin 8 (IL8)                                                    5
  FBJ murine osteosarcoma viral oncogene homolog B (FOSB)                5
  Tumor necrosis factor alpha-induced protein 6 (TNFAIP6)                4
  Tissue factor pathway inhibitor 2 (TFPI2)                              4
  Chemokine (C-X-C motif) ligand 2 (CXCL2)                               3
Intercellular adhesion molecule 4 (CICAM4)                               3
ChaC, cation transport regulator homolog 1 (ChaC 1)                      3
Nuclear receptor subfamily 4, group A, member 3 (NR4A3)                  3
Pleckstrin homology-like domain, family A, member 1 (PHLDA1)             3
Interleukin 6 (IL-6)                                                     3
Phorbol -12-myristate-13-acetate-induced protein 1 (PMA1P1)              3
Oxidized low density lipoprotein (lectin-like) receptor 1 (OLR1)         3
Chemokine (C-C motif) ligand 20 (CCL20)                                  3          Figure 4. QRT PCR confirms significant increases in ATF3 and IL8
v-maf musculoaponeurotic fibrosarcoma oncogene homolog F                 3          expression by crocidolite asbestos at low concentrations and non
Interleukin 1, alpha (IL-1a)                                             2          fibrous talc at high concentrations in LP9/TERT 1 mesothelial cells. *P ,
Tumor necrosis factor-a induced protein 3 (TNFA1P3)                      2          0.05 as compared to untreated (0) groups.
Interleukin 1 receptor-like 1 (IL1RL1)                                   2
Angiopoieten-like 4 (ANGPLT4)                                            2
Kruppel-like factor 4 (KLF4)                                             2
GTP binding protein overexpressed in skeletal muscle (GEM)               2          types. Likewise, in the rat, inhalation of fine TiO2 (defined as
Pentraxin-related gene, rapidly induced by IL-1 beta (PTX3)              2          particles . 0.1 mm in diameter), in contrast to ultrafine
Interleukin 1 beta (IL-1b)                                               2
HSPB (heat shock 27 kD) associated protein 1 (HSPBAP1)                   2
                                                                                    (particles , 0.1 mm in diameter) does not give rise to predictive
Kynureninase (KYNU)                                                      2          markers of toxicity, inflammation, pulmonary fibrosis, or oxi
                                                                                    dative stress, as indicated by elevated levels of Mn containing
                                                                                    superoxide dismutase (SOD2) in cells from bronchopulmonary
                                                                                    lavage (27). The increased reactivity and toxicity of ultrafine
disturb cell homeostasis (reviewed in Ref. 26), this may explain                    particles as compared with larger fine or coarse particles have
the few mRNA expression increases that were observed initially                      also been confirmed in a number of in vitro and in vivo experi
with talc at 8 hours. However, these changes were not observed                      ments and is often attributed to their increased surface area and/
at 24 hours, suggesting that human mesothelial cells adapt to or                    or ability to penetrate lung cells.
undergo repair after exposure to this mineral.                                         Our studies reveal a number of novel genes induced by
   Our gene profiling data here and in inhalation studies using                     asbestos in LP9/TERT 1 cells. As previously described in a lung
chrysotile asbestos (14) also support the concept that fine TiO2                    epithelial cell line (C10) or mouse lungs after inhalation of
is nontoxic and nonpathogenic to mesothelial or other cell                          crocidolite asbestos (28), increases in expression of the early
                                                                                    response gene, FOSB, that encodes a dimer of the activator
                                                                                    protein 1 transcription factor, were seen. Increases in
TABLE 4: GENES UPREGULATED BY CROCIDOLITE ASBESTOS
IN IOSE HUMAN OVARIAN CELLS                                                         expression of several other genes linked to cell signaling
                                                                                    proteins and transcription factor activation were observed in
Gene                                                                Fold increase   asbestos exposed cells, including NR4A2 and PDK4. A novel
8 h High (75 mm2/cm2)                                                               gene up regulated at all time points and concentrations of
  Nuclear receptor subfamily 4 (NR4A2)                                   4          asbestos or talc in human mesothelial cells was activating
  Chemokine (C-X-C motif) ligand 2 (MIP2)                                2          transcription factor 3 (ATF3), a member of the cAMP re
24 h High (75 mm2/cm2)                                                              sponsive element binding (CREB) transcription factor family
  Nuclear receptor subfamily 4 (NR4A2)                                   4          that encodes two different isoforms leading to repression or
  DNA-damage-inducible transcript 3 (DDIT3)                              3
  Stromal cell-derived factor 2-like 1(SDF2L1)                           3
                                                                                    activation of genes. Silencing of ATF3 in the present study by
  Heat shock 70 kD protein 1A (HSPA1A)                                   3          siRNA significantly altered expression of a number of asbestos
  DnaJ (Hsp40) homolog, subfamily C (DNAJC3)                             2          induced inflammatory cytokines and growth factors docu
  Paraspeckle component 1                                                2          mented in malignant mesotheliomas (29, 30). In support of
  Heat shock 70 kD protein 1B (HSPA1B)                                   2          our results here, other studies using ATF3 deficient mice and
  Homocysteine-inducible, endoplasmic reticulum stress-inducible,        2          in vitro approaches have shown that ATF3 is a negative
ubiquitin-like domain member (HERPUD1)
  Serum/glucocorticoid regulated kinase family, member 3 (SKG3)          2
                                                                                    regulator of pulmonary inflammation, eosinophilia, and airway
  DnaJ (Hsp40) homolog, subfamily B, member 9 (DNAJB9)                   2          responsiveness (31). Moreover, ATF3 also negatively regulates
  Arginine-rich, mutated in early stage tumors (ARMET)                   2          IL 6 gene transcription in an NF kB model of up regulation
  Syntaxin 1A (brain) (STX1A)                                            2          using melanoma cells (32). In addition, trends in production of
  Heat shock 70 kD protein 5 (HSPA5)                                     2          VEGF, a known important angiogenic peptide and independent
  ADAM metallopeptidase with thrombospondin type 1 motif                 2          prognostic factor in human mesotheliomas (33), were observed.
  Heat shock protein 90kDa beta (Grp94), member 1 (HSP90B1)              2
                                                                                    We have recently shown that an extracellular signal related
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                                                                                                    Figure 5. QRT PCR confirms that human
                                                                                                    primary pleural mesothelial cells (NYU474)
                                                                                                    show similar patterns of asbestos induced
                                                                                                    gene expression when compared with LP9/
                                                                                                    TERT 1 mesothelial cells. NYU474 cells were
                                                                                                    exposed to crocidolite asbestos (15 or
                                                                                                    75 mm2/cm2) for 24 hours and cDNA was
                                                                                                    used for QRT PCR. *P < 0.05 as compared
                                                                                                    with untreated cells (0).




CREB pathway in C10 lung epithelial cells modulates apoptosis              poietin 4 is also thought to play a role in inhibition of tumor cell
after asbestos exposure (34), and recent studies are focusing on           motility and metastasis. KLF4 (Kruppel like factor 4) is a negative
the effects of silencing CREB or ATF3 on other functional and              regulator of cell proliferation and can be a positive or negative
phenotypic changes in human mesothelial and mesothelioma                   modulator of DNA transcription.
cells (A. Shukla and colleagues, unpublished data).                           Increased expression of genes encoding different cytokines/
   Several other genes up regulated by talc at 8 hours or affected         chemokines (i.e., IL8) and their receptors or ligands (e.g., IL 8
by asbestos at both 8 and 24 hours may be important in repair from         C terminal variant, IL1R1, CXCL2 or MIP2, CXCL3, and TFP12)
mineral induced responses. For example, SOD2, (Mn containing               by asbestos or talc suggests that the mesothelial cell also may
superoxide dismutase) is an antioxidant protein occurring in the           play a role in chemotaxis, inflammation, and blood coagulation.
mitochondria, a target cell organ of asbestos induced apoptosis            A number of gene expression changes by asbestos also support
(35). PTGS2 (prostaglandin endoperoxide syntase or cyclooxyge              the hypothesis that this fibrous mineral affects calcium depen
nase) is a key enzyme in prostenoid biosynthesis associated with           dent processes including related protein kinase cascades, cell
modulation of mitogenesis and inflammation. More recently, this            adhesion, and protein/lipid metabolism (Table 2). Although
pathway has been explored after interaction of ultrafine particles         numbers of changes were more modest in IOSE cells, with the
with alveolar macrophages (9). ANG PTL4 (angiopoietin 4)                   exception of NR4A2 and CXCL2, a unique subset of genes was
encodes a serum hormone directly involved in regulating glucose            induced by asbestos in this cell type (Table 4).
homeostasis and lipid metabolism and is an apoptosis survival                 Results of work here suggest that transcriptional profiling
factor for vascular endothelial cells. The up regulation of angio          can be used to reveal molecular events by mineral dusts that are
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compared with siC; †P < 0.05 as compared with siC Asb group. (B)                          Mol Biol 2007;36:333 342.
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at 24 hours using Bio Plex analyses. *P < 0.05 as compared with                           Taatjes DJ, Davis GS, Vacek P, Nakayama KI, et al. Asbestos
control groups (siC and siATF3), respectively; †P < 0.05 as compared                      induced peribronchiolar cell proliferation and cytokine production
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                       Exhibit 94
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shown that Pyc selectively induced cell death in estab-      Cell viability assay. The CellTiter 96® AQueous One
lished malignant ovarian germ cells in vitro (Buz’Zard       Solution Cell Proliferation Assay was used to measure
and Lau, 2004). This study now reports that Pyc pre-         cell viability (Buz’Zard and Lau, 2004). The MTS
vents talc-induced neoplastic transformation of normal       [3-(4,5-dimethylthiazolyl-2-yl)-5-(3-carboxymethoxyphe-
ovarian cells, in vitro.                                     nyl)-2-(4-sulfophenyl)-2H-tetrazolium, inner salt] solu-
                                                             tion was used according to manufacturer’s instructions.
                                                             The absorbance was read at 490 nm using a model
                                                             3550 Microplate Reader (Bio-Rad). The percent cell
MATERIALS AND METHODS                                        viability was calculated as the absorbance of the treated
                                                             cells divided by the absorbance of the untreated-
Reagents and chemicals. Pycnogenol® was supplied by          control cells multiplied by 100.
Horphag Research (Geneva, Switzerland). Talc, crystal
violet, Giemsa stain, RPMI-1640 medium and other             Neoplastic transformation assay. A characteristic of
miscellaneous chemicals were purchased from Sigma            cancer cells is their ability to grow and to divide when
(St Louis, MO). Polymorphoprep™ was purchased from           held in suspension without attachment or with minimal
Greiner Bio-One, Inc. (Longwood, FL). Dulbecco’s             attachment to a rigid surface (Leung et al., 2004). Thus,
modiﬁcation of Eagle’s Medium (DMEM), Ham’s                  growth in soft agar demonstrates in vitro transforma-
F-12 medium and penicillin–streptomycin (P-S) were           tion of cells to their neoplastic counterparts (Morales
purchased from Cellgro (Herndon, VA). Fetal bovine           et al., 2003). After 72 h of incubation in the presence of
serum (FBS) was purchased from HyClone (Logan,               talc; or in the presence of 0–500 µg/mL Pyc for 24 h
UT). The CellTiter 96® AQueous One Solution Cell             followed by 5 µg/mL talc for 72 h, cells were collected,
Proliferation Assay was purchased from Promega               washed and suspended in 0.35% agarose at 5000 cells/
(Madison, WI). High strength analytical grade agarose        well and layered on top of a base of 0.5% agar. The
was purchased from Bio-Rad (Hercules, CA). Ionagar           plates were incubated at 37 °C in a humidiﬁed incuba-
No. 2 was purchased from Oxoid (London, UK).                 tor for 14 days. The cells were stained with 0.005%
5-(and-6)-Carboxy-2′,7′-dichlorodihydroﬂuorescein            crystal violet and colonies were counted using an in-
diacetate (carboxy-H2DCFDA) was purchased from               verted microscope (Cory et al., 1987).
Molecular Probes (Carlsbad, CA).
                                                             Reactive oxygen species (ROS) detection. Carboxy-
Water soluble extraction of Pycnogenol®. Pyc was             H2DCFDA is a non-ﬂuorescent dye that permeates the
incubated at 56 °C for 5 h in double distilled water,        cells where it is deacetylated by viable cells to 2′,7′-
allowed to cool to room temperature and ﬁltered              dichloroﬂuorescin (DCFH), which is then oxidized to
using a Steriﬂip® Vacuum Filtration System (0.22 µm          ﬂuorescent 2′,7′-dichloroﬂuorescein (DCF) by endo-
Durapore PVDF membrane; Millipore Corporation,               genous hydrogen peroxide (H2O2) (Wan et al., 1993).
Bedford, MA).                                                The cells were seeded in Optilux™ 96-well plates (BD
                                                             Falcon, Bedford, MA) and treated with 0 to 500 µg/mL
Cell culture and treatments. Two cell cultures of            Pyc for 24 h. H2O2 (100 µM) was used as a positive
human origin were maintained at 37 °C in a humidiﬁed         control. Carboxy-H2DCFDA (5 µM) was added and in-
atmosphere containing 5% CO2. OSE2a (immortalized            cubated for 1 h. The ﬂuorescence intensity (excitation
normal ovarian epithelial) and GC1a (immortalized            485 nm/emission 530 nm) was measured as arbitrary
normal ovarian granulosa) cell cultures were donated         ﬂuorescent units (AFU) using a model 7600 Microplate
by Dr Hitoshi Okamura at Kumamoto University,                Fluorometer (Cambridge Technology, Inc., Watertown,
Japan (Okamura et al., 2003). The cell lines were main-      MA). The percent AFU (a.k.a. % ROS generation)
tained in a 1:1 mixture of DMEM and Ham’s F-12               was calculated as the ‘treated cell-AFU’ divided by the
medium supplemented with 10% FBS and 100 IU/mL               ‘untreated cell-AFU’ multiplied by 100. Immediately
P-S. In preparation for either talc or Pyc + talc treat-     following the ﬂuorescence detection, the ﬂuorescence
ments, each cell line was seeded (1 × 105 cells/ml) and      intensity was normalized by the cell viability assay.
grown to 80% conﬂuence, unless otherwise speciﬁed.
Cells were incubated with 0–500 µg/mL talc from 24           Statistical analysis. Data were reported as mean ± SE.
to 120 h; or 0–500 µg/mL Pyc for 24 h followed by            Statistical analysis was performed with the Student’s
5 µg/mL talc for 24 or 72 h.                                 paired t-test.

Neutrophil isolation and culture. Peripheral blood
polymorphonuclear neutrophils (PMN) and monocytes
were obtained from heparinized venous blood from             RESULTS
healthy volunteers (protocol approved by Loma Linda
University Institutional Review Board for Human Stud-        All experiments were performed a minimum of three
ies) and isolated by Polymorphoprep™ density gradi-          times with reproducible results.
ent centrifugation followed by the hypotonic lysis of
erythrocytes. The purity of PMNs was determined by
Giemsa staining as greater than 95%. Puriﬁed cells were      Effect of talc on cell viability of normal ovarian cells
suspended at 5 × 105 cells/mL in RPMI-1640 containing
2 mM L-glutamine, 1 mM sodium pyruvate, supplemented         Talc caused a bell-shaped curve response in OSE2a
with 10% FBS and 100 IU/mL P-S; and treated with             cells, with a statistically signiﬁcant increase seen at 5 µg/
varying concentrations of talc for 24 or 72 h. ROS gen-      mL (24 h) and a statistically signiﬁcant decrease at
eration was detected as detailed below.                      200 µg/mL (72 h) and 500 µg/mL (24 and 72 h) (Fig. 1).
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Figure 1. Effect of talc on the cell viability of ovarian cells. Normal ovarian epithelial (OSE2a) and normal ovarian stromal (GC1a) cells
were treated with various concentrations of talc for 24 and 72 h. Cell viability was measured by the MTS assay and the percent cell
viability was calculated as the absorbance of the treated cell divided by the absorbance of the untreated-control cells multiplied by
100. Each data point represents mean ± SE of five determinations. Statistical significance was determined by the Student’s paired
t-test. * p < 0.05, ** p < 0.01 comparing the treatment with the respective untreated control.

Also seen in Fig. 1, talc caused a bell-shaped curve                    neoplastic counterparts (Leung et al., 2004; Morales
response in GC1a cells, with a statistically signiﬁcant                 et al., 2003), the study determined whether talc
increase seen at 5, 20, 50 and 100 µg/mL (72 h) and a                   would be able to induce such a transformation. As
statistically signiﬁcant decrease at 500 µg/mL (24 h).                  shown in Fig. 2, talc caused a statistically signiﬁcant
                                                                        increase in the number of transformed colonies in
                                                                        the OSE2a cells at 5 and 20 µg/mL talc and in the GC1a
Effect of talc on neoplastic transformation of normal                   cells at 5, 20 and 100 µg/mL talc, compared with
ovarian cells                                                           the untreated control. An exception was seen in the
                                                                        100 µg/mL talc treatment in the OSE2a cells in which
Since the ability to grow suspended in soft agar is                     the number of transformed colonies was reduced
a characteristic of cells being transformed to their                    signiﬁcantly.




Figure 2. Neoplastic transformation of ovarian cells by talc. Normal ovarian epithelial (OSE2a) and normal ovarian stromal (GC1a)
cells were incubated with various concentrations of talc for 72 h, collected, washed, seeded in soft agar suspension and grown for
14 days before colonies were counted. Each data point represents mean ± SE of three determinations. Statistical significance was
determined by the Student’s paired t-test. * p < 0.05, ** p < 0.01 and *** p < 0.001 comparing the treatment with the respective
untreated control (0 µg/mL talc).

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Figure 3. ROS generation of ovarian cells in response to talc treatments. Normal ovarian epithelial (OSE2a) and normal ovarian
stromal (GC1a) cells were treated with various concentrations of talc for 24, 72 and 120 h and H2O2 during the last 90 min of each
respective time point. H2O2 was used as a positive control for this assay. Fluorescence intensity were measured as arbitrary
fluorescent units (AFU) at ex 485 nm/em 530 nm and normalized with the cell viability assay. Percent AFU (a.k.a. % ROS generation)
was calculated as the average AFU of the treated cell divided by the average AFU of the untreated-control cells multiplied by 100.
(A) ROS generation in OSE2a cells in response to talc treatments. (B) ROS generation in GC1a cells in response to talc treatments.
Each data point represents mean ± SE of three determinations. Statistical significance was determined by the Student’s paired t-test.
* p < 0.05, ** p < 0.01 and *** p < 0.001 comparing the treatment with the respective untreated control (as demonstrated by the
horizontal brackets).

Effect of talc on ROS generation in normal                           ROS generation increased with time in the talc treated
ovarian cells                                                        cells. A statistically signiﬁcant increase was seen with 0.5,
                                                                     20 and 50 µg/mL (72 and 120 h), as well as 5 and 100 µg/
Talc caused an initial dose-dependent decrease in ROS                mL (120 h) compared with the respective 24 h value.
generation (24 h) which increased with time in OSE2a
cells (Fig. 3A). However, as time increased, ROS gen-
eration rebounded and increased compared with the                    Effect of talc on ROS generation in PMN
values at 24 h. A statistically signiﬁcant increase was
seen at 20 µg/mL (72 and 120 h) and 50 µg/mL (120 h).                Since oxidative stress is often a component of the tumor
Talc also caused an initial dose-dependent decrease in               microenvironment (Valko et al., 2004), the study tested
ROS generation (24 h) in GC1a cells (Fig. 3B), but                   whether talc was capable of inducing ROS generation
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Figure 4. ROS generation of polymorphonuclear neutrophils (PMN) in response to talc treatments. PMNs were treated with various
concentrations of talc for 24 and 72 h and H2O2 during the last 90 min of each respective time point. H2O2 was used as a positive
control for this assay. Fluorescence intensity were measured as arbitrary fluorescent units (AFU) at ex 485 nm/em 530 nm and
normalized with the cell viability assay. Percent AFU (a.k.a. % ROS generation) was calculated as the average AFU of the treated cell
divided by the average AFU of the untreated-control cells multiplied by 100. ROS generation of PMNs in response to talc treatments.
Each data point represents mean ± SE of three determinations. Statistical significance was determined by the Student’s paired t-test.
* p < 0.05, ** p < 0.01 and *** p < 0.001 comparing the treatment with the respective untreated control.


in human PMNs. Talc caused a dose-dependent increase                  (Fig. 5A). Pretreatment with Pyc caused a general
in ROS generation at both time points (Fig. 4). The                   decrease in cell viability in the GC1a cells (Fig. 5B)
increase was statistically signiﬁcant at 0.5, 5, 20, 50 µg/           compared with the respective untreated GC1a cells. One
mL (24 h) and 100 and 500 µg/mL (24 and 72 h). The                    exception is that of a slight, but statistically signiﬁcant,
maximum ROS generation was seen at 500 µg/mL and                      increase in cell viability at 100 µg/mL Pyc + 5 µg/mL
was increased over 4-fold at 24 h and 3.5-fold at 72 h,               talc (72 h) compared with the respective untreated GC1a
compared with the respective untreated cells.                         cells (Fig. 5B).


Effect of pretreatment with Pyc on talc-induced cell                  Effect of pretreatment with Pyc on talc-induced
viability changes in normal ovarian cells                             neoplastic transformation of normal ovarian cells

Pretreatment with Pyc did not cause a statistically                   Pretreatment with Pyc decreased the number of
different change in cell viability in the OSE2a cells                 neoplastically transformed colonies induced by talc in




Figure 5. Effect of Pyc + talc treatments on the cell viability of ovarian cells. Normal ovarian epithelial (OSE2a) and stromal (GC1a)
cells were treated with 0–500 µg/mL Pyc for 24 h followed by 5 µg/mL talc for 24 and 72 h. Cell viability was measured by the MTS
assay and percent cell viability was calculated as the absorbance of the treated cell divided by the absorbance of the untreated-
control cells multiplied by 100. (A) OSE2a cells. (B) GC1a cells. Each data represent mean ± SE of four determinations. Statistical
significance was determined by the Student’s paired t-test. * p < 0.05 comparing the treatment with the respective untreated control.

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Figure 6. Pyc-induced protection against neoplastic transformation of ovarian cells by talc. Normal ovarian epithelial (OSE2a) and
stromal (GC1a) cells were incubated with 0–500 µg/mL Pyc for 24 h followed by 5 µg/mL talc for 72 h, collected, washed, seeded
in soft agar suspension and grown for 14 days before colonies were counted. (A) OSE2a cells. (B) GC1a cells. Each data represent
mean ± SE of three determinations. Statistical significance was determined by the Student’s paired t-test. ** p < 0.01 comparing the
treatment with the respective control.



the OSE2a cells, but not in a statistically signiﬁcant               Although ROS are a byproduct of endogenous bio-
manner (Fig. 6A). Pretreatment with Pyc (5, 100                      chemical processes, ROS (such as H2O2) at high con-
and 500 µg/mL; 24 h) caused a statistically signiﬁcant               centrations or expressed in a chronic nature can damage
decrease in the number of talc-induced neoplastically                cellular macromolecules and contribute to neoplastic
transformed colonies in the GC1a cells (Fig. 6B).                    transformation and tumor growth (Nicco et al., 2005).
                                                                     A characteristic of neoplastically transformed cells is
                                                                     their ability to grow and to divide when held in suspen-
Effect of pretreatment with Pyc on talc-induced ROS                  sion without attachment or with minimal attachment to
generation in normal ovarian cells                                   a rigid surface (Leung et al., 2004; Morales et al., 2003).
                                                                     Our data show that talc not only increased cell viability
Pretreatment with Pyc caused a statistically signiﬁcant              (Fig. 1A), but also caused an increase in transformed
decrease in ROS generation at 5, 20, 50, 100 and 200 µg/             cells in both the stromal and epithelial ovarian cells by
mL Pyc + 5 µg/mL talc (24 h); and 500 µg/mL Pyc +                    their ability to grow, divide and form colonies while
5 µg/mL talc (24 and 72 h) in the OSE2a cells (Fig. 7A).             being suspended in soft agar (Fig. 2A).
Pretreatment with Pyc caused a statistically signiﬁcant                 It is known that substances that raise the intracellular
decrease in ROS generation at 5, 20, 50, 200 and 500 µg/             level of H2O2 are able to trigger normal cell prolifera-
mL Pyc + 5 µg/mL talc (24 h) in the GC1a cells (Fig. 7B).            tion and abolish tumor cell proliferation (Ness and
Pretreatment with Pyc caused a statistically signiﬁcant              Cottreau, 1999; Nicco et al., 2005). In normal cells, the
decrease in ROS generation at 5, 20, 50, 100, 200 and                basal level of H2O2 is low and its increase is initially
500 µg/mL Pyc + 5 µg/mL talc (72 h) in the GC1a cells                associated with cell growth. H2O2 at high concentra-
(Fig. 7B). The decrease seen at 100 µg/mL Pyc + 5 µg/                tions or expressed in a chronic nature in normal cells,
mL talc (24 h) was not statistically signiﬁcant (Fig. 7B).           can damage cellular macromolecules and contribute to
                                                                     neoplastic transformation and tumor growth (Nicco
                                                                     et al., 2005). In this study, talc was shown to increase
                                                                     the ROS generation, after an initial suppression, in
DISCUSSION                                                           a time-dependent manner in the normal stromal cells
                                                                     (Fig. 3B) and less strongly in the normal epithelial cells
Cancer development is a multi-step process compris-                  (Fig. 3A).
ing a series of cellular and molecular changes that                     Recent studies have expanded the concept that in-
are mediated by various endogenous and exogenous                     ﬂammation is a critical component of tumor progres-
stimuli, such as aberrantly expressed ROS (Storz, 2005).             sion. The neoplastic process (proliferation, survival and
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Figure 7. ROS generation of ovarian cells in response to Pyc + talc. Normal ovarian epithelial (OSE2a) and stromal (GC1a) cells were
treated with 0–500 µg/mL Pyc for 24 h, followed by 5 µg/mL talc for 24 or 72 h and H2O2 (the last 90 min of each time point) as a
positive control. Fluorescence intensity (AFU) was measured at ex 485 nm/em 530 nm and normalized by cell viability assay. The
percent ROS generation was calculated as the average AFU of treated divided by AFU of untreated-control multiplied by 100. (A)
OSE2a cells. (B) GC1a cells. Each data point represents mean ± SE of three determinations. Statistical significance was determined
by the Student’s paired t-test. * p < 0.05, ** p < 0.01 and *** p < 0.001 comparing the treatment with the respective untreated control.




migration) is linked with the tumor microenviron-                      cell proliferation, inducing neoplastic transformation of
ment and synchronized with inﬂammatory cells (Valko                    both the normal stromal and epithelial ovarian cells
et al., 2004). Polymorphonuclear neutrophils and macro-                in vitro; and increasing ROS generation in these cells
phages are a main source of exogenous ROS in that                      as well as the PMN cells.
they release large quantities of ROS in response to a                     Cancer chemoprevention is regarded as an efﬁcient
variety of stimuli. This exogenously produced ROS is                   strategy to prevent cancer. The most useful cancer
crucial in the innate immune system of the host for                    chemopreventive compounds will have minimal long-
killing invading bacteria but may also be responsible                  term toxicity, while signiﬁcantly reducing tumor
for tissue injury, when expressed excessively or in-                   incidence, delaying tumor onset or preventing tumor
appropriately (Lewis and Pollard, 2006). Inﬂammatory                   progression (Kapadia et al., 2003). It was hypothesized
cells are prominent in the stromal compartment of                      that Pyc, shown to induce apoptosis in various malig-
virtually all types of malignancy. These highly versatile              nant cells (Huang et al., 2005; Huynh and Teel, 2000),
cells respond to the presence of stimuli in different                  could prevent talc-induced neoplastic transformation of
parts of tumors (Balkwill and Mantovani, 2001). In                     normal ovarian cells. It was recently shown that Pyc
an in vitro study of rat cells, both macrophages and                   selectively induced cell death in established malignant
neutrophils were found to be mutagenic in response                     ovarian germ cells in vitro (Buz’Zard and Lau, 2004).
to alpha-quartz dust, talc and diesel soot; however,                   The present study showed that Pyc was capable of
neutrophils appeared to have a greater mutagenic                       inhibiting the above mentioned talc-induced changes.
effect (Driscoll et al., 1997). This study found that talc             Pretreatment with Pyc prevented the characteristic
not only increased the ROS generation in the ovarian                   talc-induced increase in cell viability of GC1a cells
cells (Fig. 3), but also increased the expression of ROS               (Fig. 5B). Pretreatment with Pyc was able to decrease
by the neutrophils (Fig. 4).                                           the ROS generation compared with the respective
   Talc has been shown to be ubiquitous in our modern                  controls both in a dose- and time-dependent manner
environment (Bremmell and Addai-Mensah, 2005)                          (Fig. 7). The data show that pretreatment with Pyc
despite concerns raised about its safety (Janssen,                     reduced the number of talc-induced transformed
2004), its role as a possible carcinogen (Cramer et al.,               colonies in both cell lines (Fig. 6). In the GC1a cells,
1999; Wong et al., 1999), and its known ability to cause               the decrease in the number of transformed colonies
irritation and inﬂammation (Holthouse and Chleboun,                    was statistically signiﬁcant at all concentrations of Pyc
2001). The data show that talc is capable of increasing                (Fig. 6B).
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  In conclusion, our in vitro data suggest that: (1) talc          Acknowledgements
may contribute to ovarian carcinogenesis in humans by
way of inducing aberrant ROS generation and (2) Pyc                This study was partially supported by a grant from Horphag Re
                                                                   search, Geneva, Switzerland (Otherwise, there is no conﬂict of inter
reduces talc-induced neoplastic transformation of                  est). We thank Dr Hitoshi Okamura for the cell lines. We thank El
ovarian cells. Taken together, Pyc may prove to be a               Chay for his guidance. We thank Vandana Shah, Marsha Yarnell and
chemopreventative agent against ovarian carcinogenesis.            Christina Wright for their assistance.



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                       Exhibit 95
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ovarian cancer associated with genital use of talc (Gates et al.,                2.2. Chemicals
2008).
    Nanopowder of talc is a recent introduction and is used for                     Fetal bovine serum, Penicillin streptomycin, DMEM F 12 med
improving quality of many industrial products. Nanopowder of talc                ium, HBSS was purchased from Invitrogen Co. (Carlsbad, CA, USA).
is being used in plastics for higher strength and stiffness, better              MTT [3 (4,5 dimethylthiazol 2 yl) 2,5 diphenyltetrazolium bro
thermal and creep resistance; in papers for higher opacity, better               mide], NADH, Pyruvic acid, L ascorbic acid, glutathione reduced
gloss and printing quality; in cosmetics and paints for better gloss,            (GSH), o phthalaldehyde (OPT), 20 ,70 dichloroﬂuorescin diacetate
smoother surface, resistance to water and cracking, etc. Owing to                (DCFH DA), 1,1,3,3 tetraethoxypropane (TEP), 2 thiobarbituric
their unique nano size, nanoparticles are provided with many spe                 acid (TBA), sodium dodecyl sulphate (SDS), Na2HPO4, NaH2PO4,
cial physicochemical properties, and thereby may yield extraordi                 were obtained from Sigma Aldrich. Ultrapure DI water was pre
nary hazards for human health (Donaldson et al., 2002; Kipen                     pared using a Milli Q system (Millipore, Bedford, MA, USA). All
and Laskin, 2005; Holsapple et al., 2005; Nel et al., 2006; Borm                 other chemicals used were of reagent grade.
et al., 2006). Since, talc with a multitude of physical and functional
characteristics is used for particular applications, so occupational             2.3. Estimation of heavy metals in indigenous and commercial talc
and consumer exposures to talc are likely to vary accordingly. Risk
of occupational and environmental exposure to nanoparticles of                      Talc samples were digested in digesting mixture (HNO3 and
talc has obviously increased.                                                    perchloric acid in a ratio of 4:1) for 24 h on hot plate in a fume
    Since, physical and functional characteristics of talc and other             hood. The digested samples were dissolved in 1% HNO3 and ﬁl
minerals depend, in part, from one geographical region/source to                 tered. The ﬁltrate was used for metal analysis by atomic absorption
other, therefore, the ﬁrst objective of the present study was to eval            spectroscopy (AAS). Before analysis, AAS was calibrated every time
uate cytotoxicity of talc nanoparticles from the two sources indig               by running at least three standard concentration (1, 3 and 5 mg/L)
enous nanotalc (Indian origin) and commercial nanotalc (American                 of each metal. Values have been expressed as% metal content in
origin) using human bronchoalveolar carcinoma derived cells                      talc samples.
(A549). Indigenous micro scale talc particle was used for compara
tive size dependent toxicity with the two types of nanotalc. The                 2.4. Measurement of hydrodynamic size of nanotalc
second objective was to study the mechanism of cytotoxicity in
duced by talc nano and micro particles. In the present study, dif                   These particles were suspended in complete cell culture media,
ferent types of talc particles were dispersed in the cell culture                ultrasonicated at 30 W for 2 min (Sonics Vibra Cell, India) and a dy
medium at varying concentrations and then exposed to cells. Cyto                 namic light scattering (DLS Malvern Instruments USA) performed
toxicity was measured by determining cell viability using MTT as                 for particle size distribution in culture media.
say and live dead staining method. To elucidate the possible
mechanisms of cytotoxicity, biomarkers for cytotoxicity and oxida                2.5. Cell culture and treatment with talc particles
tive stress, namely lactate dehydrogenase (LDH) leakage in cell
culture medium, reactive oxygen species (ROS) generation, intra                     The A549 cell line has been established in permanent culture
cellular reduced glutathione (GSH) level, and malondialdehyde                    from a human lung adenocarcinoma (Lieber et al., 1976). In vitro,
(MDA) as an indicator of lipid peroxidation and membrane dam                     these cells are largely differentiated as alveolar epithelial cells,
age, were measured. Antioxidant, ascorbic acid, was used to delin                type II (Croute et al., 1990). The A549 cells were obtained from Na
eate further the potential mechanism of oxidative stress and as a                tional Centre For Cell Science (NCCS), Pune, India. Cells were main
potential preventive measure. In the toxicity of minerals, the iron              tained in DMEM F 12 medium supplemented with 10% fetal bovine
content has been a key factor, acting through Fenton reaction                    serum, 100 U/ml penicillin, and 100 lg/ml streptomycin, and
and the Haber Weiss cycle. Some metals like Fe, Pb, and Cr was                   grown at 37 °C in a humidiﬁed, 5% CO2 incubator. For the determi
measured in the talc from two sources. A role of differential                    nation of GSH, MDA, and LDH levels, A549 cells were plated into 75
amount of iron present in indigenous and commercial talc, in the                 cm2 ﬂasks at a density of 2.0  106 cells per ﬂask in 12 ml culture
perspective of cytotoxicity and oxidative stress has, therefore, also            medium and allowed to attach for 24 h. Then, the freshly dispersed
been established.                                                                talc nanoparticles suspensions in cell culture medium were pre
                                                                                 pared and diluted to appropriate concentrations (50, 100, and
                                                                                 200 lg/ml) and immediately applied to the cells in 15 ml culture
2. Materials and methods                                                         medium. Cells not exposed to particles served as controls in each
                                                                                 experiment. The selection of the 50 200 lg/ml dosage range of talc
2.1. Nanoparticles                                                               nanoparticles was based on a preliminary dose response study
                                                                                 (data not shown). A dosage level lower than 50 lg/ml did not re
   Indigenous cosmetic grade talc was collected from Udaipur,                    sult cytotoxicity signiﬁcantly. The 48 h exposure time was chosen
Rajasthan, India and prepared into micro and nanoparticles. As a                 for investigation; the responses at 24 h exposure were not as pro
standard reference, Nanopowder of talc (i.e. commercial nanotalc)                nounced as that at 48 h. Therefore, all the data presented here is
was purchased from (M.K. Impex Canada, Catalpa Road, Mississau                   that of 48 h exposure. Throughout the studies presented in this pa
ga, Canada). As per the information provided by the supplier, the                per, we utilized a particle dose of 20 lg/cm2 = 100 lg/ml.
powder size was 70 120 nm and the country of origin was USA.
For indigenous nanotalc a stone of talc was crushed into ﬁne                     2.6. Cell viability assay
particles and fed into a ball mill (PM 100, Retsch, Germany) and
grinded for 5 days at an alternative cycles of grinding (10 min)                   Cytotoxicity was measured by determining cell viability using
and halt (30 min) at 350 rpm using a mixture of different sizes of               MTT assay and live dead staining method.
balls. The sizes of nanoparticles were measured by transmission
electron microscopy (TEM) and found to be 80 130 nm. Indian talc                 2.6.1. MTT assay
particles (i.e. indigenous micro talc) 50 65 lm served as negative                  Cell proliferation/viability was assessed by the MTT assay as
control for a comparative study on nanotoxicity of indigenous                    ﬁrst described by Mossman (1983) and later modiﬁed by Hansen
and commercial varieties of nanotalc.                                            et al. (1989). This assay is based on the ability of viable cells, but
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not of dead cells, to reduce soluble, yellow 3 (4,5 dimethyl thiazol           2.9. Determination of intracellular GSH
2 yl) 2,5 diphenyl tetrazolium bromide (MTT) into insoluble, blue
formazon product. Brieﬂy, around 10,000 A549 cells per well were                  The cellular content of GSH was quantiﬁed by the ﬂuorometric
plated in 96 well microtiter plates in a 100 ll of medium. The next            assay of Hissin and Hilf (1976). After exposure, cells were lysed in
day, the medium was changed and the cells were treated with talc               20 mM Tris (pH 7.0) by repeated cycles of freeze thaw and centri
nanoparticles at 50 , 100 , and 200 lg/ml for 48 h. After the expo             fuged at 10,000 rpm for 10 min at 4 °C. The supernatant was trans
sure time completed, the medium was aspirated off and 100 ll                   ferred to another tube and protein content was measured. For the
MTT laden media (0.5 mg MTT/ml of media without phenol red                     determination of intracellular GSH, protein in this supernatant was
and serum, ﬁltered through 0.22 lm ﬁlter) added and incubated                  precipitated at 1% perchloric acid and again centrifuged at
for 2 h. The reaction was stopped and formazan crystal thus                    10,000 rpm for 5 min at 4 °C. Now 20 ll sample was mixed with
formed was solubilised by mixing an equal volume of stop mix                   160 ll of 0.1 M phosphate 5 mM EDTA buffer, pH 8.3 and 20 ll
solution containing 20% SDS in 50% N,N dimethylformamide and                   o phthalaldehyde (OPT, 1 mg/ml in methanol) in a black 96 well
left overnight on a shaker. To minimize the interference in absor              plate. After 2 h incubation at room temperature in the dark, ﬂuo
bance caused by previously dosed talc particles (at concentrations             rescence was measured at an emission wavelength of 460 nm
like 50 200 lg/ml obviously resulting in turbidity!), the plates               and an excitation wavelength of 355 nm, along with similarly pre
were centrifuged at 3000 rpm for 5 min to settle down the particles            pared standards of GSH in 1% perchloric acid. Results are expressed
and a clear 100 ll supernatant was transferred to other fresh wells            as nmol GSH/mg of cellular protein.
of microtiter plate and then absorbance at 570 nm was taken by a
microplate reader (Omega Fluostar). Following noncellular back                 2.10. Determination of thiobarbituric acid reactive substances (TBARS)
ground (blank consisting of yellow MTT and stop mix solutions)
subtraction, all data were normalized to the MTT conversion activ                 LPO was assessed by the TBARS assay, which detects mainly
ity of media treated control cells. This value corresponds to 0% de            malondialdehyde (MDA), an end product of the peroxidation of
crease in MTT conversion activity and represents 100% cell                     polyunsaturated fatty acids and related esters. TBARS was mea
viability.                                                                     sured by slight modiﬁcation of the method of Ohkawa et al.
                                                                               (1979). Subconﬂuent cells were scraped in 75 cm2 ﬂasks, washed
2.6.2. Live dead staining (trypan blue exclusion) assay                        two times by isotonic trace element free Tris HCl buffer
   In addition to the MTT assay, the cell viability was also deter             (400 mM, pH 7.3). A 200 ll aliquot of cell suspension was subse
mined by the trypan blue exclusion method. The percentage of                   quently mixed with 800 ll of LPO assay cocktail containing (0.4%
non stained live cells was evaluated using a haemocytometer. A                 (w/v) thiobarbituric acid, 0.5% (w/v) SDS, 5% (v/v) acetic acid, pH
total of 200 cells were counted for each measurement.                          3.5 and incubated for 60 min at 95 °C. The sample was cooled using
                                                                               tap water and centrifuged at 5000 rpm for 5 min. The absorbance
2.7. LDH leakage                                                               of the supernatants was read at 532 nm against a standard curve
                                                                               prepared using the MDA standard (10 mM 1,1,3,3 tetramethoxy
   The activity of cytoplasmic LDH released into the culture media             propane in 20 mM Tris HCl, pH 7.4). Results were calculated as
was determined with the method described elsewhere (Wroblew                    nmol of MDA/mg of cellular protein.
ski and LaDue, 1955; Welder et al., 1991). A 100 ll sample from
the centrifuged culture media was collected after the cells were               2.11. Addition of L ascorbic acid
treated for 48 h. The LDH activity was assayed in 3.0 ml of reaction
mixture with 100 ll of pyruvic acid (2.5 mg/ml phosphate buffer)                  To test the potential antioxidant effects afforded by ascorbic
and 100 ll of NADH (2.5 mg/ml phosphate buffer) and the rest of                acid, 1.5 mM was applied to cell culture 30 min before exposure
the volume adjusted with phosphate buffer (0.1 M, pH 7.4). The                 with particles. A dosage of 200 lg/ml of the two varieties of talc
rate of NADH oxidation was determined by following the decrease                was then exposed for 48 h and MDA level was measured as illus
in absorbance at 340 nm for 3 min at 30 s interval at 25 °C using a            trated above.
spectrophotometer (Thermo Spectronic). The amount of LDH re
leased is represented as LDH activity (IU/L) in culture media.
                                                                               2.12. Estimation of protein
2.8. Intracellular ROS measurement
                                                                                  The total protein concentration was measured by the Bradford
                                                                               method (Bradford, 1976) using a ready to use Bradford reagent
   The generation of intracellular ROS was measured using 20 ,70
                                                                               (Sigma Aldrich, USA) and bovine serum albumin as the standard.
dichloroﬂuorescin diacetate (DCFH DA) probe (Wang and Joseph,
1999). DCFH DA passively enters the cell where it is broken down
into cell impermeable, non ﬂuorescent reduced dichloroﬂuorescin                2.13. Statistics
(DCFH) and diacetate by cellular esterases. Now DCFH becomes
oxidized with intracellular ROS to form the highly ﬂuorescent com                 Data were expressed as the mean ± SD from three independent
pound dichloroﬂuorescin (DCF) that may be cell permeable. Brieﬂy,              experiments. One way ANOVA and Dunnett’s Multiple Comparison
10 mM DCFH DA stock solution made in dimethyl sulfoxide                        Test was applied using Graph Pad prism (Version 5.0) software for
(DMSO) was diluted in culture medium without serum or other                    signiﬁcance testing, using a p value 6 0.05.
additive to yield a 100 lM working solution. After 48 h of exposure
to talc nanoparticles, the cells in the 12 well plate were washed              3. Results
twice with HBSS and then incubated in 1 ml working solution of
DCFH DA at 37 °C for 30 min. The cells were lysed in alkaline solu             3.1. Iron contamination in talc samples
tion and centrifuged at 3000 rpm. A 200 ll supernatant was trans
ferred to black 96 well plate and ﬂuorescence was then read at                    Indigenous and commercial talc samples were analyzed for con
480 nm excitation and 520 nm emission using a microplate reader                tamination of heavy metals (Fe, Pb, and Cr). The results are given in
(Omega Fluostar). The intensity of untreated control well was as               Table 1. Indigenous talc contained almost 2.3 times higher iron
sumed to be 100% and data is represented in percent of control.                level in comparison to commercial talc. Pb was not in detectable
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                                                                                             production. Consequently, redundant free radicals would interact
                                                                                             with biomolecules including proteins, enzymes, membrane lipids
                                                                                             and even DNA which could be oxidized, modiﬁed, destructured
                                                                                             and ultimately dysfunctioned (Marnett, 2000; Hensley and Floyd,
                                                                                             2002).
                                                                                                 Oxidative stress has been suggested to play an important role in
                                                                                             the mechanism of toxicity of a number of compounds whether by
                                                                                             production of free radicals or by depleting cellular antioxidant
                                                                                             capacity. Cellular integrity is affected by oxidative stress when
                                                                                             the production of ROS overwhelms antioxidant defense mecha
                                                                                             nism (Halliwell et al., 1992; Chen and Yu, 1994). ROS are oxy
                                                                                             gen containing molecules, such as hydrogen peroxide (H2O2),
                                                                                             superoxide anion (O2 ), and hydroxyl radical (HO), that have a
                                                                                             greater chemical activity than molecular oxygen. ROS are gener
                                                                                             ated in many inﬂammatory conditions in the lung and have been
                                                                                             associated with cell injury and apoptosis (Anderson et al., 1994;
                                                                                             Meyer et al., 1993). Many other studies have shown that nanopar
                                                                                             ticles may produce toxicity by generating ROS. Recently, Buz’Zard
                                                                                             and Lau (2007) have reported enhanced ROS generation in human
                                                                                             ovarian cell culture and have found an increased cell proliferation
                                                                                             and neoplastic transformation of human ovarian stromal and epi
                                                                                             thelial cells exposed with talc. In the present study too, talc micro
Fig. 6. Cellular MDA levels of A549 cells after 48-h exposure to indigenous microtalc,       and nanoparticles induced signiﬁcantly higher ROS generation
indigenous nanotalc and commercial nanotalc particles at indicated concentrations.           compared with untreated A549 cells when using the ﬂuorescent
Values are mean ± SD from three independent experiments. *Denotes a signiﬁcant               dichloroﬂuorescin probe. Moreover, indigenous nanotalc resulted
difference from the control (p < 0.05).
                                                                                             higher ROS generation than commercial nanotalc.
                                                                                                 GSH is the most abundant nonproteinous tripeptide containing
                                                                                             a sulfhydryl group in virtually all cells, and it plays a signiﬁcant
                                                                                             role in many biological processes. It also constitutes the ﬁrst line
                                                                                             of the cellular defense mechanism against oxidative injury and is
                                                                                             the major intracellular redox buffer in ubiquitous cell types (Mei
                                                                                             ster, 1989). GSH acts as a cosubstrate in the GSH peroxidase cata
                                                                                             lyzed reduction of hydrogen peroxide or lipid peroxides (Forman
                                                                                             et al., 1997) leading to its depletion. Previous studies demonstrated
                                                                                             that ROS generation following GSH depletion caused mitochondrial
                                                                                             damage (Martensson et al., 1989; Meister, 1995), which has been
                                                                                             implicated in apoptosis (Green and Reed, 1998). There was a signif
                                                                                             icant depletion of GSH between the control and the treated groups
                                                                                             except for indigenous microtalc at 50 lg/ml. In terms of GSH
                                                                                             depletion, indigenous nanotalc was found to be the most toxic.
                                                                                                 In the toxicity mechanism of minerals, the iron content has
                                                                                             been a key factor. Iron dependent ROS generation from ﬁbers re
                                                                                             sults in the generation of hydroxyl radicals through the Fenton
                                                                                             reaction and the Haber Weiss cycle. Iron dependent LPO could
                                                                                             be important, since this process requires redox cycling of iron
                                                                                             and does not necessarily require H2O2 or ROS (Halliwell and Gut
                                                                                             teridge, 1990). Indeed, iron has a key role in both the initiation
Fig. 7. Showing the inhibitory effect of ascorbic acid on cellular MDA levels of A549        and propagation of LPO, leading to the generation of peroxyl and
cells under indicated conditions of 48-h exposure. #AA (1.5 mM L-ascorbic acid); IM          alkoxyl radicals as well as lipid peroxides (Halliwell and Gutter
(200 lg/ml indigenous microtalc); IN (200 lg/ml indigenous nanotalc); CN (200 lg/            idge, 1990). It has been known for several years that the surface
ml commercial nanotalc) Values are mean ± SD from three independent experi-                  iron (II) or leachable iron (II) on mineral surfaces reduces molecu
ments. *Denotes a signiﬁcant difference from the control (p < 0.05). a indicates the
                                                                                             lar oxygen to superoxide anion, which then dismutates to hydro
signiﬁcant inhibitory effect of ascorbic acid (AA) on lipid peroxidation versus either,
IM, IN or CN.                                                                                gen peroxide. In the presence of asbestos or silica, hydrogen
                                                                                             peroxide and superoxide react via a Fenton like reaction driven
                                                                                             by iron to form the potent hydroxyl radical in vitro leading to cel
4. Discussion                                                                                lular LPO (Mossman et al., 1996). Since, LPO is a sensitive parame
                                                                                             ter for toxic effects of various environmental pollutants with
    At present, an in vitro toxicological study of talc nanoparticles is                     oxidative properties (Krug and Culig, 1991; Beck Speier et al.,
lacking. In this study, the cytotoxicity of two types of talc nanopar                        2001; Oberdorster, 2004; Sayes et al., 2005); the authors suspected
ticles was investigated in cultured human bronchoalveolar carci                              that the relatively high iron content in both the nanotalc may play
noma derived cells (A549). This cell line has been widely used in                            a key role to yield higher ROS and in turn caused higher LPO. There
in vitro cytotoxicity studies (Huang et al., 2004; Bakand et al.,                            are other nanomaterials, such as C60, which mediates cytotoxicity
2006). Present study showed that the two types of talc nanoparti                             primarily through lipid peroxidation (Sayes et al., 2005; Isakovic
cles caused signiﬁcant reduction in cell viability as a function of                          et al., 2006) whereas carboxyfullerenes (made by certain surface
concentration and their iron content. The talc nanoparticles from                            modiﬁcations of C60) have been shown to impart cytoprotective
two sources induced the enhanced generation of ROS and MDA                                   activity by eliminating reactive oxygen species (ROS) and antago
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nizing the effects of the oxidative stress dependent cytotoxicity                (RNS) (Halliwell, 1996). However, it should be noted that antioxi
(Dugan et al., 1997, 2001; Bogdanovic et al., 2004; Isakovic et al.,             dative potential of ascorbic acid has not been validated in certain
2006). Recently Scarfì et al. (2009) has reported that plasma mem                conditions (Bowry et al., 1992; Poulsen et al., 1998; Levine et al.,
brane contact with quartz, a kind of silica, is sufﬁcient to trigger             1998). Ascorbic acid contributes signiﬁcantly to cellular antioxida
membrane LPO, TNF a release and cell death in mouse macro                        tion as a water soluble chain breaking radical scavenger (Asard,
phage cell line RAW 264.7. The authors hypothesize that contact                  2008) and to the recycling of plasma membrane a tocopherol
of particles with cell membranes initiate ROS generation and LPO                 (vitamin E) via the reduction of the a tocopheroxyl radical (Aguirre
in a ratio of amount of iron present in talc nanoparticles.                      and May, 2008). The latter activity may assist ascorbic acid to pro
    For a given mass compared with larger particles, the ratio of                tect against LPO in membranes (May et al., 1998). We, therefore,
surface to total atoms or molecules increases exponentially with                 tested the LPO preventive potential of antioxidant L ascorbic acid,
decreasing particle size. Particle size is thereby an essential deter            on nanotalc and microtalc challenged A549 cells. Results show that
minant of the fraction of reactive groups on particle surface (Ober              1.5 mM L ascorbic acid effectively, but not completely, inhibited
dorster et al., 2005; Nel et al., 2006). For example, several studies            MDA level induced by talc nanoparticles. Determining the opti
found that ultraﬁne particles of titania are more toxic than its lar             mum concentration of ascorbic acid that might completely sup
ger counterparts having the same chemical composition (Donald                    press LPO without causing any side effect is a matter of concern
son et al., 1998; Gilmour et al., 1997; Oberdorster et al., 1992,                (Halliwell, 1999) and the evaluation of interrelationship between
1995; Oberdorster, 1996, 2000). Similarly, surface area dependent                LPO and chelating effect of iron present on the surface of talc par
induction of oxidative stress and consequently, proinﬂammatory                   ticles by deferoxamine mesylate on LPO is under investigation.
effects have been found to correlate in case of polystyrene particles            Oxidative stress is known to elicit varying effects on the activity
by Brown et al. (2001) and Lin et al. (2006) have reported higher                of antioxidant enzymes. The three primary scavenger enzymes in
toxicity of the two sizes (15 and 46 nm) of silica nanoparticles than            volved in detoxifying ROS in mammalian systems are catalase,
micro silica (5 lm) on A549 cells. Here two sizes (15 and 46 nm) of              superoxide dismutase and glutathione peroxidase (MatÉs et al.,
silica nanoparticles induced no signiﬁcant differences in the toxic              1999). For example the activity of GPx can provide important clue
ity and similar was the case in a study done by Sayes et al. (2006),             about the consumption rate of GSH in enzymatic detoxiﬁcation of
where smaller nanoparticles of titania had effects comparable to                 ROS. The activity of antioxidant enzymes can therefore provide fur
larger nanoparticles of titania but showed a phase dependent dif                 ther insight in understanding the mechanism of toxicity caused by
ferential toxicity where anatase titania (photoactive phase), able to            talc particles and is currently under investigation.
generate ROS more strongly, was 100 times more toxic than an
equivalent sample of rutile titania. In the present study, both nano             5. Conclusion
particles would have been resulted differential surface iron activity
per given mass resulting in differential toxicity. When indigenous                   We have presented a preliminary data on the toxicity response
nanotalc induced toxicity is compared with indigenous microtalc,                 elicited by the two types of talc nanoparticles, depending on their
size dependent factor becomes apparent because all the composi                   different geological origin. Since, talc with a multitude of physical
tional factors are constant. But when commercial nanotalc (having                and functional characteristics due to different geological context
larger surface area but lower iron content) induced toxicity is com              and deposits, is used for particular applications, so occupational
pared with indigenous microtalc, the results show a complex func                 and consumer exposures to talc and its toxic effects are likely to
tion of size and impurities. Since, micro talc size is very large (50            vary accordingly, which is obvious in this study. The cytotoxicity
65 lm), than commercial nanotalc (70 120 nm), perhaps size be                    seems to be due to primarily through induction of LPO, as a poten
comes the primary determinant of toxicity, resulting in higher tox               tial mechanism of toxicity discussed above. Addition of 1.5 mM of
icity of commercial nanotalc than indigenous micro talc.                         L ascorbic acid, a ROS scavenger, signiﬁcantly, though not com
    Another pathway of free radical generation by asbestos, silica or            pletely, reduced LPO. Data clearly suggest that exposure of talc,
particulates like these (e.g. talc particles) occurs via an oxidative            particularly nanopowder, should be protected in humans at risk
burst when ﬁbers and particles are phagocytised by AMs or other                  of occupational as well as domestic exposure.
cell types, including alveolar epithelial cells and ﬁbroblasts (Churg,
1996). Phagocytic cells can endocytose small particles, whereas                  Acknowledgments
bigger crystals and ﬁbers are subject to so called ‘‘frustrated phago
cytosis”. Experimental studies suggest that in in vivo conditions                   One of the authors (MJA) gratefully acknowledges the ﬁnancial
‘‘frustrated phagocytosis” appears to have a dramatic inﬂuence                   support provided by University Grants Commission (UGC), Govt. of
on the sustained generation of ROS (Hansen and Mossman, 1987;                    India and CSIR networked project (NWP 17). The authors thank Dr.
Vallyathan et al., 1992). Repeated ‘‘frustrated phagocytosis” would              Alok Dhawan (In Vitro Toxicology Division, IITR, Lucknow, India)
be expected to attract more phagocytes, resulting in chronic en                  for providing DLS measurements. The IITR Communication no. of
hanced generation of ROS, which in turn contribute to inﬂamma                    this article is 2782.
some activation, resulting in the secretion of IL 1b leading to the
initiation of pulmonary ﬁbrosis (Dostert et al., 2008; Cassel et al.,            References
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acid, typically prevent cellular damages caused by oxygen radicals                   for toxicity testing of selected volatile organic compounds. Journal of
by acting as ROS scavengers (Packer et al., 1979; Burton and Ingold,                 Environmental Monitoring 8, 100–105.
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                       Exhibit 96
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was markedly induced by inhibiting iNOS, indicating a strong          (Cell Applications, San Diego, California) and Medium 199
link between apoptosis and NO/iNOS pathways in these cells.6          (Fisher Scientific; 1:1). All media were supplemented with
   The cellular redox balance is maintained by key antioxi-           fetal bovine serum (Innovative Research, Novi, Michigan) and
dants including catalase (CAT), superoxide dismutase (SOD),           penicillin/streptomycin (Fisher Scientific), per their manufac-
or by glutathione peroxidase (GPX) coupled with glutathione           turer specifications. Human primary normal ovarian epithelial
reductase (GSR).5 Other important scavengers include thiore-          cells were grown in complete human epithelial cell medium
doxin coupled with thioredoxin reductase, and glutaredoxin,           (Cell Biologics).
which utilizes glutathione (GSH) as a substrate.7 We have pre-
viously reported that a genotype switch in key antioxidants is a
potential mechanism leading to the acquisition of chemoresis-
                                                                      Treatment of Cells
tance in EOC cells.7 We have studied the effects of genetic           Talcum baby powder (Johnson & Johnson, New Brunswick,
polymorphisms in key redox genes on the acquisition of the            NJ, #30027477, Lot#13717RA) was dissolved in dimethyl sulf-
oncogenic phenotype in EOC cells, including genes that con-           oxide (DMSO; Sigma Aldrich) at a concentration of 500 mg in
trol the levels of cellular reactive oxygen species and oxidative     10 mL and was filtered with a 0.2 mm syringe filter (Corning).
damage and SNPs for genes involved in carcinogen metabo-              Sterile DMSO was used as a control for all treatments. Cells
lism (detoxification and/or activation), antioxidants, and DNA        were seeded in 100-mm cell culture dishes (3  106) and were
repair pathways.4,6 Several function-altering SNPs have been          treated 24 hours later with 5, 20, or 100 mg/mL of talc for
identified in key antioxidants, including CAT, GPX, GSR, and          72 hours. Cell pellets were collected for RNA, DNA, and pro-
SOD.4                                                                 tein extraction. Cell culture media were collected for CA-125
   Several studies have suggested the possible association            analysis by enzyme-linked immunosorbent assay (ELISA).
between genital use of talcum powder and risk of EOC.7-12
Association between the use of cosmetic talc in genital hygiene
                                                                      Real-Time Reverse Transcription Polymerase Chain
and ovarian cancer was first described in 1982 by Cramer et al,
and many subsequent studies supported this finding.7-12 Talc          Reaction
and asbestos are both silicate minerals; the carcinogenic effects     Total RNA was extracted from all cells using the RNeasy mini
of asbestos have been extensively studied and documented in           kit (Qiagen, Valencia, California). Measurement of the amount
the medical literature.7-12 Asbestos fibers in the lung initiate an   of RNA in each sample was performed using a Nanodrop spec-
inflammatory and scarring process, and it has been proposed           trophotometer (Thermo Fisher Scientific, Waltham, Massachu-
that ground talc, as a foreign body, might initiate a similar         setts). A 20 mL complementary DNA reaction volume
inflammatory response.7 The objective of this study was to            containing 0.5 mg RNA was prepared using the SuperScript
determine the effects of talcum powder on the expression of           VILO Master Mix Kit (Life Technologies, Carlsbad, Califor-
key redox enzymes, CA-125 levels, and cell proliferation and          nia). Optimal oligonucleotide primer pairs were selected for
apoptosis in normal and EOC cells.                                    each target using Beacon designer (Premier Biosoft, Inc;
                                                                      Table 1). Quantitative reverse transcription polymerase chain
                                                                      reaction (RT-PCR) was performed using the EXPRESS SYBR
Material and Methods                                                  GreenER qPCR supermix kit (Life Technologies) and the Cep-
                                                                      heid 1.2f detection system (Sunnyvale, CA) previously
Cell Lines                                                            described.6 Standards with known concentrations and lengths
Ovarian cancer cells SKOV-3 (ATCC), A2780 (Sigma Aldrich,             were designed specifically for b-actin (79 bp), CAT (105 bp),
St Louis, Missouri), and TOV112D (a kind gift from Gen                NOS2 (89 bp), GSR (103 bp), GPX1 (100 bp), MPO (79 bp),
Sheng Wu at Wayne State University, Detroit, Michigan) and            and SOD3 (84 bp), allowing for construction of a standard
normal cells human macrophages (EL-1; ATCC, Manassas,                 curve using a 10-fold dilution series.6 All samples were nor-
Virginia), human primary normal ovarian epithelial cells (Cell        malized to b-actin. A final melting curve analysis was per-
Biologics, Chicago, Illinois), human ovarian epithelial cells         formed to demonstrate specificity of the PCR product.
(HOSEpiC; ScienCell Research Laboratories, Inc, Carlsbad,
California), and immortalized human fallopian tube secretory
epithelial cells (FT33; Applied Biological Materials, Rich-
                                                                      Protein Detection
mond, British Columbia, Canada) were used. All cells were             Cell pellets were lysed utilizing cell lysis buffer (20 mM Tris–
grown in media and conditions following manufacturer’s pro-           HCl [pH 7.5], 150 mM NaCl, 1 mM Na2EDTA, 1 mM EGTA,
tocol. EL-1 cells were grown in IMDM media (ATCC) supple-             1% Triton, 2.5 sodium pyrophosphate, 1 mM b-glyceropho-
mented with 0.1 mM hypoxanthine and 0.1 mM thymidine                  sphate, 1 mM Na3VO4, 1 mg/mL leupeptin) containing a cock-
solution (H-T, ATCC) and 0.05 mM b-mercaptoethanol.                   tail of protease inhibitors. Samples were centrifuged at 13 000
SKOV-3 EOC cells were grown in HyClone McCoy’s 5A                     rpm for 10 minutes at 4 C. Total protein concentration of cell
medium (Fisher Scientific, Waltham, Massachusetts), A2780             lysates from control and talc-treated cells was measured with
EOC cells were grown in HyClone RPMI-1640 (Fisher Scien-              the Pierce BCA protein assay kit (Thermo Scientific, Rockford,
tific), and both TOV112D EOC cells were grown in MCDB105              Illinois).
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Table 1. Real Time RT PCR Oligionucleotide Primers.

                                                                                                                             Annealing Time
Accession                                                                                                       Amplicon      (seconds) and
Number           Gene      Sense (50 30 )                                Antisense (30 50 )                       (bp)      Temperature ( C)

NM 001101        b actin   ATGACTTAGTTGCGTTACAC                          AATAAAGCCATGCCAATCTC                       79            10, 64
NM 001752        CAT       GGTTGAACAGATAGCCTTC                           CGGTGAGTGTCAGGATAG                        105            10, 63
NM 003102        SOD3      GTGTTCCTGCCTGCTCCT                            TCCGCCGAGTCAGAGTTG                         84            60, 64
NM 000637        GSR       TCACCAAGTCCCATATAGAAATC                       TGTGGCGATCAGGATGTG                        116            10, 63
NM 000581        GPX1      GGACTACACCCAGATGAAC                           GAGCCCTTGCGAGGTGTAG                        91            10, 66
NM 000625        NOS2      GAGGACCACATCTACCAAGGAGGAG                     CCAGGCAGGCGGAATAGG                         89            30, 59
NM 000250        MPO       CACTTGTATCCTCTGGTTCTTCAT                      TCTATATGCTTCTCACGCCTAGTA                   79            60, 63
Abbreviation: RT-PCR, reverse transcription polymerase chain reaction.


Detection of Protein/Activity by ELISA                                      Generalized linear models were fit to examine pairwise differ-
                                                                            ences in estimated least squares mean expression values by
The following ELISA kits were used (Cayman Chemical, Ann
                                                                            exposure to 0, 5, 20, or 100 mg/mL of talc. We used the
Arbor, Michigan): CAT, SOD, GSR, GPX, and MPO. Nitrite
                                                                            Tukey-Kramer adjustment for multiple comparisons, and the
(NO2 )/nitrate (NO3 ) were determined spectrophotometri-
                                                                            regression models were fit using log2 transformed analyte
cally by Griess assay as previously reported.6 CA-125 protein
                                                                            expression values after adding a numeric constant “1” to meet
levels were measured in cell media by ELISA (Ray Biotech,
                                                                            model assumptions while avoiding negative transformed val-
Norcross, Georgia).
                                                                            ues. P values below .05 are statistically significant.

TaqMan SNP Genotyping Assay
DNA was isolated utilizing the EZ1 DNA tissue kit (Qiagen)                  Results
for EOC cells. The TaqMan SNP genotyping assay set (Applied                 Talc Treatment Decreased the Expression of Antioxidant
Biosystems, Carlsbad, California; NCBI dbSNP genome build
                                                                            Enzymes SOD and CAT in Normal and EOC Cells
37, MAF source 1000 genomes) was used to genotype the SNPs
(Table 1). The Applied Genomics Technology Center (AGTC,                    Real-time RT-PCR and ELISA assays were utilized to deter-
Wayne State University) performed these assays. Analysis was                mine the CAT and SOD messenger RNA (mRNA) and protein
done utilizing the QuantStudio 12 K Flex real-time PCR system               levels in cells before and after 72 hours talc treatment, respec-
(Applied Biosystems).                                                       tively (Figure 1). The CAT (Figure 1A and C) and SOD (Figure
                                                                            1B and D) mRNA and protein levels were significantly
                                                                            decreased in a dose-dependent manner in talc-treated cells
Cell Proliferation and Apoptosis                                            compared to controls (P < .05).
Cell proliferation was assessed with the TACS MTT cell pro-
liferation assay (Trevigen, Gaithersburg, Maryland) after treat-            Talc Treatment Increased the Expression of Prooxidants
ment with talc (100 mg/mL) for 24 hours. The Caspase-3
Colorimetric Activity Assay Kit (Chemicon, Temecula, Cali-
                                                                            iNOS, NO2 /NO3 , and MPO in Normal and EOC Cells
fornia) was used to determine levels of caspase-3 activity after            Real-time RT-PCR and NO2 /NO3 assays were utilized to
treatment of normal and EOC cells with various doses of talc as             determine the iNOS mRNA and NO levels in cells before and
previously described.6 Equal concentrations of cell lysate were             after 72 hours talc treatment, respectively (Figure 2). The iNOS
used. The assay is based on spectrophotometric detection of the             mRNA and NO levels were significantly increased in a dose-
chromophore p-nitroaniline (pNA) after cleavage from the                    dependent manner in talc-treated cells as compared to their
labeled substrate DEVD-pNA. The free pNA can be quantified                  controls (Figure 2A and C, P < .05). As expected, there was
using a spectrophotometer or a microtiter plate reader at                   no detectable MPO in normal ovarian and fallopian tube cells,
405 nm. Comparison of the absorbance of pNA from an apop-                   and thus, talc treatment did not have any effect. However, MPO
totic sample with its control allows determination of the per-              mRNA and protein levels were significantly increased in a
centage increase in caspase-3 activity.                                     dose-dependent manner in talc-treated ovarian cancer cells and
                                                                            macrophages compared to controls (Figure 2B and D, P < .05).
Statistical Analysis
                                                                            Talc Treatment Decreased the Expression of Antioxidant
Normality was examined using the Kolmogorov-Smirnov test
and by visual inspection of quantile–quantile plots. Because
                                                                            Enzymes, GPX and GSR, in Normal and EOC Cells
most of the data were not normally distributed, differences in              Real-time RT-PCR and ELISA assays were utilized to determine
distributions were examined using the Kruskal-Wallis test.                  the GPX and GSR mRNA and protein levels in cells before and
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Figure 1. Decreased expression and activity of key antioxidant enzymes, CAT and SOD3. The mRNA (real time RT PCR) and protein/activity
levels (ELISA) of CAT (A and C) and SOD3 (B and D) were determined in macrophages (EL 1), human primary ovarian epithelial cells (normal
ovarian), fallopian tube (FT33), and ovarian cancer (SKOV 3, TOV112D, and A2780) cell lines before and after treatment with various doses of
talc over 72 hours. Experiments were performed in triplicate. Expression is depicted as the mean, with error bars representing standard
deviation. All changes in response to talc treatment were significant (P < .05) in all cells and in all doses as compared to controls. CAT indicates
catalase; SOD3, superoxide dismutase 3; mRNA, messenger RNA; RT PCR, reverse transcription polymerase chain reaction; ELISA, enzyme
linked immunosorbent assay.


after 72 hours of talc treatment, respectively (Figure 3). The GPX         GPX1 (C/T). Intriguingly, talc treatment reversed this SNP
(Figure 3A and C) and GSR (Figure 3B and D) mRNA and protein               genotype to the normal genotype (Table 2).
levels were significantly decreased in a dose-dependent manner
in talc-treated cells compared to controls (P < .05).
                                                                           Talc Treatment Increased CA-125 Levels in Normal and
                                                                           EOC Cells
Talc Exposure Induced Known Genotype Switches in Key                       CA-125 ELISA assay was performed in protein isolated from
Oxidant and Antioxidant Enzymes                                            cell media before and after talc treatment. CA-125 levels were
Talc treatment was associated with a genotype switch in NOS2               significantly increased in a dose-dependent manner in all cells
from the common C/C genotype in untreated cells to T/T, the                (Figure 4, P < .05). There was no detectable CA-125 protein in
SNP genotype, in talc-treated cells, except in A2780 and                   macrophages.
TOV112D (Table 2). Additionally, the observed decrease in
CAT expression and activity was associated with a genotype                 Talc Treatment Increased Cell Proliferation and
switch from common C/C genotype in CAT in untreated cells
to C/T, the SNP genotype, in TOV112D and all normal talc-                  Decreased Apoptosis
treated cells. However, there was no detectable genotype                   MTT cell proliferation assay was used to determine cell viabi-
switch in CAT in A2780, SKOV3, and TOV112D (Table 2).                      lity, and caspase-3 activity assay was utilized to determine apop-
Remarkably, there was no observed genotype switch in the                   tosis of all cell lines after 24 hours of talc treatment (Figure 5).
selected SNP for SOD3 and GSR in all talc-treated cells. All               Cell proliferation was significantly increased from the baseline
cells, except for HOSEpiC cells, manifest the SNP genotype of              in all talc-treated cells (P < .05), but to a greater degree in normal
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Figure 2. Increased expression and activity of key prooxidants, iNOS, NO2/NO3, and MPO. The mRNA (real time RT PCR) and protein/
activity levels (ELISA) of iNOS (A and C) and MPO (B and D) were determined in macrophages (EL 1), human primary ovarian epithelial cells
(normal ovarian), fallopian tube (FT33), and ovarian cancer (SKOV 3, TOV112D, and A2780) cell lines before and after treatment with various
doses of talc over 72 hours. As expected, there was no detectable MPO in normal ovarian and fallopian tube cells, and thus, talc treatment did
not have any effect. Experiments were performed in triplicate. Expression is depicted as the mean, with error bars representing standard
deviation. All changes in response to talc treatment were significant (P < .05) in iNOS and MPO positive cells and in all doses as compared to
controls. iNOS indicates inducible nitric oxide synthase; MPO, myeloperoxidase; mRNA, messenger RNA; RT PCR, reverse transcription
polymerase chain reaction; ELISA, enzyme linked immunosorbent assay.

as compared to cancer cells. As anticipated, caspase-3 was sig-            There are reports supporting the epidemiologic association
nificantly reduced in cancer as compared to normal cells. Talc          of talc use and risk of ovarian cancer.11,12 Recent studies have
treatment resulted in decreased caspase-3 activity in all cells as      shown that risks for EOC from genital talc use vary by histo-
compared to controls (Figure 6, P < .05), indicating a decrease in      logic subtype, menopausal status at diagnosis, hormone therapy
apoptosis.                                                              use, weight, and smoking. These observations suggest that
                                                                        estrogen and/or prolactin may play a role via macrophage
                                                                        activity and inflammatory response to talc. There has been
Discussion                                                              debate as to the significance of the epidemiologic studies based
The claim that regular use of talcum powder for hygiene pur-            on the fact that the reported epidemiologic risk of talc use and
pose is associated with an increased risk of ovarian cancer is          risk of ovarian cancer, although consistent, are relatively mod-
based on several reports confirming the presence of talc parti-         est (30%-40%), and there is inconsistent increase in risk with
cles in the ovaries and other parts of the female reproductive          duration of use. This observation is due, in part, to the chal-
tract as well as in lymphatic vessels and tissues of the pelvis.7-12    lenges in quantifying exposure as well as the failure of epide-
The ability of talc particles to migrate through the genital tract to   miological studies to obtain necessary information about the
the distal fallopian tube and ovaries is well accepted.10 To date,      frequency and duration of usage.11-13
the exact mechanism is not fully understood, though several                In this study, we have shown beyond doubt that talc alters
studies have pointed toward the peristaltic pump feature of the         key redox and inflammatory markers, enhances cell prolifera-
uterus and fallopian tubes, which is known to enhance transport         tion, and inhibits apoptosis, which are hallmarks of ovarian
of sperm into the oviduct ipsilateral to the ovary bearing the          cancer. More importantly, this effect is also manifested by
dominant follicle.8-12                                                  talc in normal cells, including surface ovarian epithelium,
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Figure 3. Decreased expression and activity of key antioxidant enzymes, GSR and GPX. The mRNA (real time RT PCR) and protein/activity
levels (ELISA) of GSR (A and C) and GPX (B and D) were determined in macrophages (EL 1), human primary ovarian epithelial cells (normal
ovarian), fallopian tube (FT33), and ovarian cancer (SKOV 3, TOV112D, and A2780) cell lines before and after treatment with various doses of
talc over 72 hours. Experiments were performed in triplicate. Expression is depicted as the mean, with error bars representing standard
deviation. All changes in response to talc treatment were significant (P < .05) in all cells and in all doses as compared to controls. GSR indicates
glutathione reductase; GPX, glutathione peroxidase; mRNA, messenger RNA; RT PCR, reverse transcription polymerase chain reaction; ELISA,
enzyme linked immunosorbent assay.


fallopian tube, and macrophages. Oxidative stress has been                 cancer, while decreased activity and expression have been
implicated in the pathogenesis of ovarian cancer, specifically             reported in colorectal carcinomas and pancreatic cancer
by increased expression of several key prooxidant enzymes                  cells.18-21 Collectively, this differential expression of antiox-
such as iNOS, MPO, and NAD(P)H oxidase in EOC tissues                      idants demonstrates the unique and complex redox microen-
and cells as compared to normal cells indicating an enhanced               vironment in cancer. Glutathione reductase is a flavoprotein
redox state, as we have recently demonstrated (Figure 7).6                 that catalyzes the NADPH-dependent reduction of oxidized
This redox state is further enhanced in chemoresistant EOC                 glutathione (GSSG) to GSH. This enzyme is essential for the
cells as evident by a further increase in iNOS and NO2 /NO3                GSH redox cycle that maintains adequate levels of reduced
and a decrease in GSR levels, suggesting a shift toward a                  cellular GSH. A high GSH to GSSG ratio is essential for
prooxidant state.6 Antioxidant enzymes, key regulators of                  protection against oxidative stress (Figure 5). Treatment with
cellular redox balance, are differentially expressed in various            talc significantly reduced GSR in normal and cancer cells,
cancers, including ovarian.6,14 Specifically, GPX expression               altering the redox balance (Figure 3A and C). Likewise, GPX
is reduced in prostate, bladder, kidney, and estrogen receptor             is an enzyme that detoxifies reactive electrophilic intermedi-
negative breast cancer cell lines, though GPX is increased in              ates and thus plays an important role in protecting cells from
other cancerous tissues from breast.14 Glutathione reductase               cytotoxic and carcinogenic agents. Overexpression of GPX is
levels, on the other hand, are elevated in lung cancer, although           triggered by exogenous chemical agents and reactive oxygen
differentially expressed in breast and kidney cancer.5,15 Simi-            species and is thus thought to represent an adaptive response
larly, CAT was decreased in breast, bladder, and lung cancer               to stress.15 Indeed, treatment of normal and cancer cells with
while increased in brain cancer.16-18 Superoxide dismutase is              talc significantly reduced GPX, which compromised the over-
expressed in lung, colorectal, gastric ovarian, and breast                 all cell response to stress (Figure 3B and D).
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Table 2. SNP Characteristics (A) and SNP Genotyping of Key Redox Enzymes in Untreated and Talc Treated (100 mg/mL) Human Primary
Ovarian Epithelial Cells (Normal Ovarian), Human Ovarian Surface Epithelial Cells (HOSEpiC), Fallopian Tube (FT33), and Ovarian Cancer
(A2780, SKOV 3, TOV112D) Cell Lines (B).

                                                                              Gene (rs Number)

                                       CAT (rs769217)        NOS2 (rs2297518)     GSR (rs8190955)    GPX1 (rs3448)      SOD3 (rs2536512)

A
    MAF                                     0.123                   0.173             0.191               0.176                0.476
    SNP                                    C 262T                 C2087T              G201T             C 1040T               A377T
    Chromosome location                    11p13                  17q11.2              8p12              3q21.31              4p15.2
    Amino acid switch             Isoleucine to Threonine    Serine to Leucine       Unknown            Unknown        Alanine to threonine
    Effect on activity                    Decrease                Increase           Unknown            Unknown              Decrease
B
    A2780: Control                           C/C                    C/C                 G/G               C/T                  A/A
    A2780: Talc                              C/C                    C/C                 G/G               C/C                  A/A
    SKOV 3: Control                          C/C                    C/C                 G/G               C/T                  A/A
    SKOV 3: Talc                             C/C                    T/T                 G/G               C/C                  A/A
    TOV112D: Control                         C/C                    C/C                 G/G               C/T                  A/A
    TOV112D: Talc                            C/T                    C/C                 G/G               C/C                  A/A
    HOSEpiC: Control                         C/C                    C/C                 G/G               C/T                  A/A
    HOSEpiC: Talc                            C/T                    T/T                 G/G               C/T                  A/A
    FT33: Control                            C/C                    C/C                 G/G               C/T                  A/A
    FT33: Talc                               C/T                    T/T                 G/G               C/C                  A/A
    Normal ovarian: Control                  C/C                    C/C                 G/G               C/T                  A/A
    Normal ovarian: Talc                     C/T                    T/T                 G/G               C/C                  A/A
Abbreviation: SNP, single-nucleotide polymorphism.


                                                                          reported a cross talk between iNOS and MPO in ovarian can-
                                                                          cer, which contributed to the lower apoptosis observed in
                                                                          ovarian cancer cells.6,22 Myeloperoxidase, an abundant hemo-
                                                                          protein, previously known to be present solely in neutrophils
                                                                          and monocytes, is a key oxidant enzyme that utilizes NO
                                                                          produced by iNOS as a 1-electron substrate generating NOþ,
                                                                          a labile nitrosylating species.6,23,24 We were the first to report
                                                                          that MPO was expressed by EOC cells and tissues and that
                                                                          silencing MPO gene expression utilizing MPO-specific
                                                                          siRNA induced apoptosis in EOC cells through a mechanism
                                                                          that involved the S-nitrosylation of caspase-3 by MPO. 22
                                                                          Additionally, we have compelling evidence that MPO serves
                                                                          as a source of free iron under oxidative stress, where both
                                                                          NOþ and superoxide are elevated.6 Iron reacts with hydrogen
Figure 4. Increased CA 125 levels in response to talc treatment. The      peroxide (H2O2) and catalyzes the generation of highly reac-
level of ovarian cancer biomarker CA 125 was determined by ELISA          tive hydroxy radical (HO ), thereby increasing oxidative
before and after 72 hours of talc treatment (100 mg/mL) in macro          stress, which in turn increases free iron concentrations by the
phages (EL 1), human primary ovarian epithelial cells (normal ovarian),   Fenton and Haber-Weiss reaction.6,24 We have previously
fallopian tube (FT33), and ovarian cancer (SKOV 3, TOV112D, and           highlighted the potential benefits of the combination of serum
A2780) cells. Experiments were performed in triplicate. Expression is     MPO and free iron as biomarkers for early detection and
depicted as the mean, with error bars representing standard deviation.
All changes in response to talc treatment were significant (P < .05) in
                                                                          prognosis of ovarian cancer.25 Collectively, we now have
all cells as compared to controls. ELISA indicates enzyme linked          substantial evidence demonstrating that altered oxidative
immunosorbent assay.                                                      stress may play a role in maintaining the oncogenic phenotype
                                                                          of EOC cells. Treatment of normal or ovarian cancer cells
   We have previously reported that EOC cells manifest                    with talc resulted in a significant increase in MPO and iNOS,
increased cell proliferations and decreased apoptosis.6 In this           supporting the role of talc in the enhancement of a prooxidant
study, we have shown that talc enhances cell proliferation and            state that is a major cause in the development and mainte-
induces an inhibition in apoptosis in EOC cells, but more                 nance of the oncogenic phenotype (Figure 2).
importantly in normal cells, suggesting talc is a stimulus to the            Furthermore, CA-125, which exists as a membrane-bound
development of the oncogenic phenotype. We also previously                and secreted protein in EOC cells, has been established as a
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Figure 5. Increased cell proliferation in response to talc treatment. Cell proliferation was determined by MTT cell proliferation assay after 24
hours of talc treatment (100 mg/mL) in macrophages (EL 1), human primary ovarian epithelial cells (normal ovarian), fallopian tube (FT33), and
ovarian cancer (SKOV 3, TOV112D, and A2780) cells. Experiments were performed in triplicate. Cell proliferation is depicted as the mean, with
error bars representing standard deviation. All changes in response to talc treatment were significant (P < .05) in all cells as compared to controls.




Figure 6. Decreased apoptosis in response to talc treatment. Caspase 3 activity was used to measure the degree of apoptosis in all cells.
Caspase 3 activity assay was utilized to determine caspase 3 activity in macrophages (EL 1), human primary ovarian epithelial cells (normal
ovarian), fallopian tube (FT33), and ovarian cancer (SKOV 3, TOV112D, and A2780) cell lines before and after treatment with various doses of
talc over 72 hours. Experiments were performed in triplicate. Expression is depicted as the mean, with error bars representing standard error.
All changes in response to talc treatment were significant (P < .05) in all cells and in all doses as compared to controls.
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                                                                         of chemoresistance by ovarian cancer cells is associated with a
                                                                         switch from the GPX1 SNP genotype to the normal GPX1
                                                                         genotype.6 It is not understood why a GPX1 SNP genotype
                                                                         predominates in untreated normal and ovarian cancer cells. Our
                                                                         results showed that talc treatment was associated with a geno-
                                                                         type switch from common C/C genotype in NOS2 in untreated
                                                                         cells to T/T, the SNP genotype, in talc-treated cells, except in
                                                                         A2780 and TOV112D (Table 2). Nevertheless, our results con-
                                                                         firm an increase in iNOS expression and enzymatic activity in
                                                                         all talc-treated cells (Figure 2), again suggesting the existence
                                                                         of other NOS2 SNPs. Collectively, these findings support the
                                                                         notion that talc treatment induced gene point mutations that
                                                                         happen to correspond to SNPs in locations with functional
                                                                         effects, thus altering overall redox balance for the initiation
                                                                         and development of ovarian cancer. Future studies examining
                                                                         such SNPs are important to fully elucidate a genotype switch
                                                                         mechanism induced by talc exposure.
Figure 7. Epithelial ovarian cancer (EOC) cells have been reported to
                                                                             In summary, this is the first study to clearly demonstrate that
manifest a persistent prooxidant state as evident by the upregulation
(green arrows) of key oxidants iNOS, NO, NOþ, ONOO, OH,                talc induces inflammation and alters the redox balance favoring
O2þ, and MPO (blue) and downregulation (red arrows) of key anti          a prooxidant state in normal and EOC cells. We have shown a
oxidants SOD, CAT, GPX, and GSR (orange). This redox state was           dose-dependent significant increase in key prooxidants, iNOS,
also shown to be further enhanced in chemoresistant EOC cells. In        NO2 /NO3 , and MPO, and a concomitant decrease in key
this study, talcum powder altered the redox state, as indicated by the   antioxidant enzymes, CAT, SOD, GPX, and GSR, in all talc-
arrows, of both normal and EOC cells to create an enhanced proox         treated cells (both normal and ovarian cancer) compared to
idant state. iNOS indicates inducible nitric oxide synthase; MPO, mye
                                                                         their controls. Additionally, there was a significant increase
loperoxidase; SOD, superoxide dismutase; CAT, catalase; GPX,
glutathione peroxidase; GSR, glutathione reductase.                      in CA-125 levels in all the talc-treated cells compared to their
                                                                         controls, except in macrophages. The mechanism by which talc
                                                                         alters the cellular redox and inflammatory balance involves the
biomarker for disease progression and response to treatment.2
                                                                         induction of specific mutations in key oxidant and antioxidant
CA-125 expression was significantly increased from nearly
                                                                         enzymes that correlate with alterations in their activities. The
undetectable levels in controls to values approaching clinical
                                                                         fact that these mutations happen to correspond to known SNPs
significance (35 U/mL in postmenopausal women26) in talc-
                                                                         of these enzymes indicate a genetic predisposition to develop-
treated cells (Figure 4, P < .05) without the physiologic effects
                                                                         ing ovarian cancer with genital talcum powder use.
on the tumor microenvironment one would expect to be present
in the human body, thus highlighting the implications of the             Authors’ Note
prooxidant states caused by talc alone.
                                                                         Ghassan M. Saed is also affiliated with Department of Gynecologic
   To elucidate the mechanism by which talc alters the redox             Oncology, Karmanos Cancer Institute, Detroit, MI, USA.
balance to favor a prooxidant state not only in ovarian cancer
cells, but more importantly in normal cells, we have examined            Acknowledgment
selected known gene mutations corresponding to SNPs known                Special thanks to Imaan Singh for her technical contributions in
to be associated with altered enzymatic activity and increased           acquiring the data and in development of graphics.
cancer risk.6,27 Our results show that the CAT SNP (rs769217)
resulting in decreased enzymatic activity was induced in all             Declaration of Conflicting Interests
normal cell lines tested and in TOV112D EOC lines, but was               The author(s) declared the following potential conflicts of interest with
not detected in A2780 or SKOV-3 cell lines (Table 2). Never-             respect to the research, authorship, and/or publication of this article: Dr.
theless, our results confirm a decrease in CAT expression and            Saed has served as a paid consultant and expert witness in the talcum
enzymatic activity in all talc-treated cells (Figure 1), indicating      powder litigation.
the existence of other CAT SNPs. The SOD3 (rs2536512) and
GSR (rs8190955) SNP genotypes were not detected in any cell              Funding
line, yet SOD3 and GSR activity and expression were                      The author(s) received no financial support for the research, author
decreased in all talc-treated cells, again suggesting the presence       ship, and/or publication of this article.
of other SNPs. Our results have also shown that all cells, except
for HOSEpiC cells, manifest the SNP genotype of GPX1 (C/T)               References
before talc treatment. Intriguingly, talc treatment reversed this         1. Berek JS, Bertelsen K, du Bois A, et al. Epithelial ovarian cancer
SNP genotype to the normal genotype (Table 2). Consistent                    (advanced stage): consensus conference (1998) [in French].
with this finding, we have previously reported that acquisition              Gynecol Obstet Fertil. 2000;28(7 8):576 583.
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                       Exhibit 97
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                                Shawn Levy, Ph.D.

                                                                       Page 1
                           IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF NEW JERSEY


            _______________________________________________________

            IN RE: JOHNSON & JOHNSON
            TALCUM POWDER PRODUCTS
            MARKETING, SALES PRACTICES,
            AND PRODUCTS LIABILITY
            LITIGATION
                                              Case No. 16-2738
            THIS DOCUMENT RELATES TO           (FLW)   (LHG)
            ALL CASES

            MDL Docket No. 2738
            _______________________________________________________


                                Friday, January 11, 2019

                                         - - - - -



                           The video deposition of SHAWN LEVY, Ph.D.,

                           taken pursuant to notice, was held at the

                           Embassy Suites Huntsville, 850 Monroe Street

                           S.W., Huntsville, Alabama, commencing at

                           approximately 9:04 a.m., on the above date,

                           before Lois Anne Robinson, Registered Diplomate

                           Reporter, Certified Realtime Reporter, and

                           Notary Public for the State of Alabama.




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       1             APPEARANCES                                 1                    INDEX
       2   COUNSEL FOR PLAINTIFFS' STEERING COMMITTEE:
       3        BEASLEY ALLEN, P C
                                                                 2   EXAMINATION                               PAGE
                218 Commerce Street                              3
       4        Montgomery, Alabama 36104
                BY: P LEIGH O'DELL, Esquire                      4   By Ms. Brown                          7
       5           Leigh odell@beasleyallen com                  5   By Mr. Ferguson                       307
                   JENNIFER K EMMEL, ESQUIRE
       6           Jennifer emmel@beasleyallen com               6   By Ms. O'Dell                      357
       7        BURNS CHAREST, LLP                               7   By Ms. Brown                        372
                900 Jackson Street, Suite 500
       8        Dallas, Texas 75202                              8   By Ms. O'Dell                      389
                BY: MARTIN D BARRIE, J D , Ph D                  9
       9           Mbarrie@burnscharest com
      10        NAPOLI SHKOLNIK PLLC                            10                   ******
                400 Broadhollow Road, Suite 305                 11
      11        Melville, New York 11747
                BY: ALASTAIR J M FINDEIS, ESQUIRE               12   EXHIBITS
      12           Afindeis@napolilaw com
      13   FOR THE DEFENDANT, JOHNSON & JOHNSON:
                                                                13   Deposition Exhibit Number 1                  14
      14        WEIL, GOTSHAL & MANGES, LLP                     14    Notice of Deposition
                17 Hulfish Street, Suite 201
      15        Princeton, NJ 08542-3792                        15   Deposition Exhibit Number 2                  33
                BY: ALLISON M BROWN, ESQUIRE                    16    Levy expert report
      16           Allison brown@weil com
      17        WEIL, GOTSHAL & MANGES, LLP                     17   Deposition Exhibit Number 3                  16
                767 Fifth Avenue                                18    Levy invoices of 5/2/18 and 1/8/19
      18        New York, New York 10153-0119
                BY: ALEXIS KELLERT, ESQUIRE                     19   Deposition Exhibit Number 4                  19
      19           Alexis kellert@weil com                      20    Government of Canada document regarding draft screening
      20        SKADDEN, ARPS, SLATE, MEAGHER & FLOM, LLP
                4 Times Square                                  21    assessment of talc
      21        New York, New York 10036                        22   Deposition Exhibit Number 5                  21
                BY: Benjamin Halperin, Esquire
      22           Benjamin halperin@skadden com                23    Government of Canada document regarding potential risk of
      23
      24                                                        24    lung effects and ovarian cancer from talc


                                                       Page 3                                                           Page 5
       1         A P P E A R A N C E S - (continued)             1               I N D E X - (Continued)
       2
           FOR THE DEFENDANT, IMERYS TALC AMERICA:
                                                                 2   Deposition Exhibit Number 6                  23
       3                                                         3    Draft manuscript regarding systematic review and
                GORDON & REES SCULLY MANSUKHANI, LLP
       4        816 Congress Avenue, Suite 1510
                                                                 4    meta-analysis of the association between perineal use of talc
                Austin, Texas 78701                              5    and risk of ovarian cancer
       5        BY: KENNETH J. FERGUSON, ESQUIRE
                  Kferguson@gordonrees.com
                                                                 6   Deposition Exhibit Number 7                  30
       6                                                         7    Hamilton article
       7   COUNSEL FOR PTI:
       8       TUCKER ELLIS, LLP
                                                                 8   Deposition Exhibit Number 8                  49
               233 S. Wacker Drive, Suite 6950                   9    Judith Zelikoff expert report
       9       Chicago, Illinois 60606-9997
               BY: JAMES W. MIZGALA, ESQUIRE
                                                                10   Deposition Exhibit Number 9                  59
      10         James.mizgala@tuckerellis.com                  11    Mayo Clinic website article entitled "Cancer"
      11
           COUNSEL FOR PERSONAL CARE PRODUCTS COUNCIL:
                                                                12   Deposition Exhibit Number 10                 72
      12                                                        13    Wikipedia page
                SEYFARTH SHAW LLP
      13        975 F Street N.W.
                                                                14   Deposition Exhibit Number 11                 75
                Washington, D.C. 20004-1454                     15    Coussens and Werb article
      14        BY: RENÉE B. APPEL, ESQUIRE
                  Rappel@seyfarth.com
                                                                16   Deposition Exhibit Number 12                 82
      15                                                        17    Preprint manuscript of "Molecular Basis Supporting the
      16
      17                                                        18    Association of Talcum Powder Use With Increased Risk of
      18   VIDEOGRAPHER:                                        19    Ovarian Cancer"
                JULIE ROBINSON
      19                                                        20   Deposition Exhibit Number 13                 82
      20                                                        21    December 26 Email to Dr. Saed
      21
                LOIS ANNE ROBINSON, RPR, RDR, CRR               22   Deposition Exhibit Number 14                 142
      22        COURT REPORTER                                  23    "Evaluating Biological Plausibility in Supporting Evidence
      23
      24                                                        24    For Action Through Systematic Reviews in Public Health"


                                                                                           2 (Pages 2 to 5)
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       1                I N D E X - (continued)                              1   A       Good morning.
       2   Deposition Exhibit Number 15            190                       2   Q       My name is Alli Brown. I represent
       3    NTP study                                                        3   Johnson & Johnson, and I'll start with some
       4   Deposition Exhibit Number 16            192                       4   questions for you here today.
       5    2014 Citizens Petition to FDA                                    5          Dr. Levy, have you ever been deposed
       6   Deposition Exhibit Number 17            208                       6   before?
       7    Buz'Zard study                                                   7   A       Yes.
       8   Deposition Exhibit Number 18            218                       8   Q       And tell me, how many times?
       9    "Perineal Talc Use and Ovarian Cancer," by Ross Penninkilampi    9   A       In a setting like this, once.
      10   Deposition Exhibit Number 19            249                      10   Q       Okay. What was the nature of that
      11    Heller article                                                  11   deposition?
      12   Deposition Exhibit Number 20            270                      12   A       It was a patent litigation case.
      13    Merritt paper - "Talcum Powder Chronic Pelvic Inflammation      13   Q       Were you serving as an expert witness
      14    and NSAIDs in Relation to the Risk of Epithelial Ovarian        14   in that case?
      15    Cancer"                                                         15   A       I was.
      16   Deposition Exhibit Number 21            326                      16   Q       Were you hired by the plaintiffs or the
      17    Nunes article                                                   17   defendants?
      18   Deposition Exhibit Number 22            367                      18   A       The plaintiffs.
      19    Park article                                                    19   Q       And, just generally, what were the
      20                                                                    20   issues in that case?
      21                                                                    21   A       It was entirely focused on evaluation
      22                                                                    22   of prior art in the genomic space.
      23                                                                    23   Q       And any time --
      24                                                                    24          And do you remember the name of that

                                                              Page 7                                                   Page 9
       1    VIDEOGRAPHER:                                                    1   case, by the way?
       2            We are now on the record. My name is                     2   A       I don't. It was, gosh, twelve years
       3    Julie Robinson. I'm a videographer representing                  3   ago or so.
       4    Golkow Litigation Services.                                      4   Q       I see.
       5            Today's date is January 11th, 2019, and                  5          Did that case go to trial?
       6    the time is 9:04 a m.                                            6   A       Not that I'm aware of.
       7            This video deposition is being held in                   7   Q       Have you ever testified at trial?
       8    Huntsville, Alabama, in the matter of                            8   A       I have not.
       9    Johnson & Johnson Talcum Power Product Marketing,                9   Q       Okay. And other than that one patent
      10    Sales Practices, and Products Liability                         10   case you just described for us, were there other
      11    Litigation, MDL Docket Number 2738.                             11   depositions that you've given?
      12            The deponent is Dr. Shawn Levy.                         12   A       No.
      13            Counsel will be noted on the                            13   Q       And I think, when you started to answer
      14    stenographic record.                                            14   the question in the beginning, you said "in a
      15            The court reporter is Lois Robinson,                    15   setting like this." Is there another time, in
      16    who will now swear in the witness.                              16   your mind, where you've given testimony under
      17               SHAWN LEVY, Ph.D.,                                   17   oath?
      18           the witness, after having first been                     18   A       No, not under oath. That's why I
      19    duly sworn to tell the truth, the whole truth,                  19   was --
      20    and nothing but the truth, was examined and                     20          So I've had a number of meetings, all
      21    testified as follows:                                           21   limited to the patent space of mainly prior art
      22                  EXAMINATION                                       22   discussions, where there's been representatives
      23    BY MS. BROWN:                                                   23   from both sides where we were having a
      24    Q        Good morning, Dr. Levy.                                24   discussion. But it wasn't a formal deposition


                                                                                                3 (Pages 6 to 9)
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        1   with a court reporter, under oath, et cetera.       1   with.
        2   Q       Understood.                                 2   Q        Okay. In front of you is the
        3          So this would then be the second time        3   plaintiffs' lawyer's laptop. Is that right?
        4   you've been deposed in a setting like this.         4   A        That's right.
        5   A       Correct.                                    5   Q        Okay. And what is contained on the
        6   Q       Is that fair?                               6   plaintiffs' lawyer's laptop?
        7          Okay. So a few ground rules that you         7   MS. O'DELL:
        8   may already be familiar with from your prior        8          I think I'd probably be better to speak
        9   experience. First, we'll try not to speak over      9   to it.
       10   each other. Is that fair?                          10   MS. BROWN:
       11   A       That's fair.                               11          No, no. Let's get it from the witness,
       12   Q       That way, our court reporter can get       12   and then if you want to make a statement for the
       13   down all my questions and all your answers.        13   record, of course.
       14   Okay?                                              14   Q        Let's -- let's get your understanding
       15   A       (Nods affirmatively.)                      15   of what's on this laptop in front of you.
       16   Q       If you don't understand a question of      16   A        Other than what's on the USB drive that
       17   mine, will you let me know?                        17   I've been using, I -- I don't have any knowledge
       18   A       I will.                                    18   of what's on it.
       19   Q       Okay. Try to verbalize your answers,       19   Q        Okay. Do you know what's on the USB
       20   too, so our court reporter can take them down.     20   drive?
       21   Okay?                                              21   A        I do.
       22   A       Understood.                                22   Q        What's that?
       23   Q       Okay. If you need a break, let me          23   A        It's a collection of literature cited
       24   know, and we'll be happy to accommodate you.       24   in reliance literature list that -- from


                                                 Page 11                                                 Page 13
        1         Do you understand you're under oath           1   my -- from my report.
        2   here today, same as if you were in a court of       2   Q       Did you put together the items that are
        3   law?                                                3   contained on the USB drive that you have in front
        4   A       I do.                                       4   of you?
        5   Q       Okay. I am --                               5   MS. O'DELL:
        6         And, before we get started, Doctor, I         6         Object to the form.
        7   see you have a couple of items in front of you,     7   A       Yes.
        8   and I want to identify what we have for the         8   MS. BROWN:
        9   record.                                             9   Q       Is that your USB drive?
       10         To your right is an iPad that is             10   A       No. I put together the list.
       11   showing the realtime of my questions and your      11         As far as who moved the files and
       12   answers. Will you be using that to assist you in   12   organized the files on the USB, that, I don't
       13   your testimony here today?                         13   know.
       14   A       Yes.                                       14   Q       Okay. Are all of the files on that USB
       15   Q       Okay. In front of you you have a           15   drive documents that you considered in connection
       16   laptop computer.                                   16   with your opinion in this case?
       17   A       (Nods affirmatively.)                      17   A       They are.
       18   Q       Will you be using that to assist you in    18   Q       Any other materials in front of you
       19   your testimony?                                    19   that you'll be using to assist you in your
       20   A       Yes.                                       20   testimony here today?
       21   Q       And tell me, is this your laptop?          21   A       There's a -- I have a hard copy of my
       22   A       It is not.                                 22   report.
       23   Q       Okay. Whose laptop is it?                  23   Q       Did you prepare that hard copy binder?
       24   A       The -- the attorneys I've been working     24   A       No.


                                                                                4 (Pages 10 to 13)
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        1   Q       Who -- who did?                              1          Thank you.
        2   A       My -- the -- the attorneys I've been         2          -- by marking these, and I'll ask you
        3   working with. So I -- they -- they provided the      3   some questions about what we have.
        4   printout and the nice binder that it's in.           4         (DEPOSITION EXHIBIT NUMBER 3
        5   Q       Okay. Did you, Doctor, make any notes        5          WAS MARKED FOR IDENTIFICATION.)
        6   on the report that you have in front of you?         6   MS. BROWN:
        7   A       No.                                          7   Q       I'll mark as Exhibit 3 to your
        8   Q       Okay. I'm gonna hand you what we have        8   deposition two invoices counsel for plaintiffs
        9   marked as Exhibit 1 to your deposition, which is     9   just handed me, one dated May 2nd, 2018, and the
       10   a notice of your deposition.                        10   other dated January 8th, 2019. And we only have
       11         (DEPOSITION EXHIBIT NUMBER 1                  11   one copy, so let me hand it to you and ask you,
       12          WAS MARKED FOR IDENTIFICATION.)              12   are these invoices that you created, Doctor?
       13   MS. BROWN:                                          13   A       They are.
       14   Q       And I'll ask, is this something that        14   Q       Okay. And I want to take that back for
       15   you have ever seen before?                          15   one second.
       16   A       Yes.                                        16          Looks like the first entry on your
       17   Q       When did you see it?                        17   invoice is dated May 16th, 2017. Does that sound
       18   A       I'd have to review my email, but it was     18   right to you?
       19   some -- sometime ago, some weeks ago.               19   A       That sounds right.
       20   Q       Okay. Have you brought any --               20   Q       When were you first approached about an
       21          And you understand that this Notice of       21   involvement in this case?
       22   Deposition that we've marked as Exhibit 1           22   A       Earlier in 2017.
       23   requests that you bring certain documents with      23   Q       Okay. And who approached you?
       24   you here today?                                     24   A       Leigh and Jennifer. I'd have to verify


                                                 Page 15                                                  Page 17
        1   A        Yes.                                        1   in my email whom I may have heard from first.
        2   Q        Okay.                                       2   Q       Okay. And Leigh and Jennifer are
        3   MS. O'DELL:                                          3   counsel for plaintiffs in this litigation; is
        4          Let me just insert for the record,            4   that right?
        5   we've objected to certain requests contained in      5   A       That's right.
        6   the notice, and objections have been served, and     6   Q       And did they -- had you known them
        7   materials have been brought to this deposition       7   prior to receiving contact early in 2017 --
        8   consistent with those objections.                    8   A       No.
        9   MS. BROWN:                                           9   Q       -- from plaintiffs' lawyers?
       10          And we are in receipt of your                10   A       I -- I did not know them.
       11   objections.                                         11   Q       Did they call you at your place of
       12   Q        And your counsel for the plaintiffs        12   business?
       13   represented that some materials have been brought   13   A       I believe the first contact was email.
       14   to the deposition. Do you have any materials        14   But, ultimately, yes.
       15   with you responsive to this notice?                 15   Q       Okay. And was there any connection,
       16   A        Well --                                    16   meaning did someone refer the plaintiffs' lawyers
       17   MS. O'DELL:                                         17   to you, or do you know?
       18          I'll provide to you invoices that are        18   A       I don't know.
       19   responsive to the Notice, and there are materials   19   Q       Do you have any idea how the
       20   that Dr. Levy has seen since his report was         20   plaintiffs' lawyers found you?
       21   served, and -- and those are copies.                21   A       I do not.
       22   MS. BROWN:                                          22   Q       Okay. It looks like, Doctor, that
       23          Thank you, counsel.                          23   these two invoices have a total of 33 hours.
       24   Q        So, Doctor, let's start --                 24   Does that sound right to you?


                                                                                 5 (Pages 14 to 17)
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        1   A        It does.                                   1          Your report in this case was served in
        2   Q        Looks like something's blacked out on      2   November of 2018; correct?
        3   the second page of the invoices. Do you know        3   A        Correct.
        4   what that is?                                       4   Q        Fair to say, then, that Exhibit 4,
        5   MS. O'DELL:                                         5   which you saw for the first time in December of
        6          I'll just say that redactions were made      6   2018, did not inform the opinions contained in
        7   by counsel. They referenced the subject matter      7   your report?
        8   of conversations between Dr. Levy and counsel,      8   A        That's correct.
        9   and those have been redacted because of work        9   Q        Okay. Did the -- does Exhibit 4
       10   product privilege.                                 10   contain any information regarding chronic
       11   MS. BROWN:                                         11   inflammation as the proposed mechanism of ovarian
       12          Okay.                                       12   cancer induced by talc?
       13   Q        Is it fair, Doctor, that you've spent a   13   A        I don't believe it does. I'd have to
       14   total of 33 hours forming your opinions in this    14   review -- take a look at it to be sure.
       15   case?                                              15   MS. O'DELL:
       16   A        That's fair.                              16          And if you need to look at it, I'm sure
       17   Q        Okay. Do you have any additional          17   counsel will hand it to you.
       18   invoices that you plan to submit to the lawyers    18   MS. BROWN:
       19   for the plaintiffs?                                19   Q        I'm handing you, Doctor --
       20   A        Yes.                                      20   MS. O'DELL:
       21   Q        Okay. And can you ballpark for me how     21          Excuse me. If you need to look at it
       22   much additional time you've spent since the last   22   to answer that question, you may.
       23   entry here, which appears to be December 12th,     23   A        To be sure I'm accurate in my answer,
       24   2018?                                              24   I'd like to take a look at that.


                                                Page 19                                                  Page 21
        1   A       There's probably another -- not             1   MS. BROWN:
        2   including this morning -- roughly 15 hours.         2   Q      Sure. Sitting here --
        3          Okay. I'll hand you, Doctor, what we         3         Hold on.
        4   have marked as Exhibit 4 to your deposition.        4         Sitting here today, you're not aware if
        5   This is another document counsel for the            5   Exhibit 4 contains any information regarding the
        6   plaintiffs just handed me.                          6   proposed mechanism of chronic inflammation as a
        7         (DEPOSITION EXHIBIT NUMBER 4                  7   cause for ovarian cancer?
        8          WAS MARKED FOR IDENTIFICATION.)              8   MS. O'DELL:
        9   MS. BROWN:                                          9         Object to the question.
       10   Q       Would you identify that for the record,    10         If you need to see the document,
       11   please.                                            11   Doctor, you may ask for it.
       12   A       This is a printed copy from a website      12   A      Yeah. I'm not -- I'm not able to
       13   from the government of Canada discussing their     13   answer it accurately without seeing the document.
       14   draft screening assessment of talc.                14         (DEPOSITION EXHIBIT NUMBER 5
       15   Q       Okay. Is that something you've seen        15         WAS MARKED FOR IDENTIFICATION.)
       16   before today?                                      16   MS. BROWN:
       17   A       Yes.                                       17   Q      Okay. Handing you what we've marked as
       18   Q       When did you see it first?                 18   Exhibit 5, would you tell me what that is,
       19   A       Sometime in December.                      19   Doctor?
       20   Q       Did the lawyers for plaintiffs give it     20   A      This is another document from the
       21   to you?                                            21   government -- government of Canada discussing the
       22   A       They did.                                  22   potential risk of lung effects and ovarian cancer
       23   Q       Okay. Your report in this case --          23   from talc.
       24          Can I have that back?                       24   Q      Is Exhibit 5 a final document, do you


                                                                                6 (Pages 18 to 21)
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        1   know?                                                1   Q       Does Exhibit 6 contain any information
        2   MS. O'DELL:                                          2   regarding the proposed mechanism of chronic
        3          Object to the form.                           3   inflammation?
        4   A        Yeah. That -- I don't -- I don't have       4   A       It does in reference, I believe. I'm
        5   the information available to answer that             5   reminding myself if -- if it shared the same
        6   accurately.                                          6   materials that I had referenced in my report.
        7   MS. BROWN:                                           7         So, yes, it does.
        8   Q        Have you seen Exhibit 5 prior to this       8   Q       Are you looking at a particular page,
        9   morning?                                             9   Doctor?
       10   A        I have.                                    10   A       I am.
       11   Q        When did you first see Exhibit 5?          11   Q       And would you identify that for the
       12   A        Similar in time to the earlier report      12   record.
       13   or this -- yes. Similar in time to the              13   A       I'm looking at page 23, beginning at
       14   earlier -- to the same document from Exhibit 4.     14   line 220.
       15   Q        To the best of your recollection,          15   Q       And what information does Exhibit 6 at
       16   Doctor, you first saw Exhibit 5 after completing    16   page 23 contain regarding chronic inflammation?
       17   your report in this matter; is that right?          17   A       It discusses inflammation of the
       18   A        That is right.                             18   epithelial ovarian surfaces in animal models and
       19   Q        Fair to say, then, that Exhibit 5 did      19   provides two different references.
       20   not inform the opinions contained in your MDL       20   Q       And were those references information
       21   report?                                             21   you considered in forming your opinions in this
       22   A        That's correct.                            22   case?
       23   Q        Handing you, Doctor, what we've marked     23   A       Let me make sure of that.
       24   as Exhibit 6 to your deposition, another document   24          Yes.

                                                 Page 23                                                  Page 25
        1   counsel provided, counsel for plaintiffs provided    1   Q       And would you state what they are for
        2   in response to your deposition notice.               2   the record, please?
        3         (DEPOSITION EXHIBIT NUMBER 6                   3   A       One reference is T.C. Hamilton, et al.,
        4          WAS MARKED FOR IDENTIFICATION.)               4   The British Journal of Experimental Pathology,
        5   MS. BROWN:                                           5   from 1984.
        6   Q       Would you identify for the record            6          And the other reference is "The
        7   Exhibit 6?                                           7   Pathology of Ovarian" -- "The Pathology of
        8   A       So this is a draft manuscript or             8   Ovarian Cancer Precursors," which is a review of
        9   preprint manuscript that's been submitted for        9   R.E. Scully in the Journal of Cellular
       10   peer review discussing the systematic review and    10   Biochemistry, and that is a supplement from 1995.
       11   meta-analysis of the association between perineal   11   The latter is not referenced in my report.
       12   use of talc and risk of ovarian cancer.             12   Q       Have you reviewed the Scully paper in
       13   Q       Had you seen Exhibit 6 prior to this        13   connection with your opinions in this matter?
       14   morning?                                            14   A       Not specifically, no.
       15   A       Yes.                                        15   Q       You have, however, reviewed the
       16   Q       When did you first see Exhibit 6?           16   Hamilton paper?
       17   A       It was in December as well.                 17   A       Yes.
       18   Q       Exhibit 6 did not inform your opinions      18   Q       You would agree that the Hamilton paper
       19   in this matter. Fair?                               19   does not show inflammation leading to neoplastic
       20   A       They did not inform the content of the      20   changes in animals?
       21   report.                                             21   MS. O'DELL:
       22   Q       Have you reviewed and analyzed Exhibit      22          Object to the form.
       23   6 since December?                                   23   A       I'd have to see the manu- -- or the
       24   A       I have.                                     24   manuscript to answer your specific question


                                                                                 7 (Pages 22 to 25)
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        1   regarding neoplasm.                                  1    MS. O'DELL:
        2   MS. BROWN:                                           2           -- paper in order to answer the
        3   Q        Does the Hamilton paper support your        3    question --
        4   view that chronic inflammation is a plausible        4    MS. BROWN:
        5   mechanism for talc-induced ovarian cancer?           5           Counsel --
        6   A        It supports my opinion that                 6    MS. O'DELL:
        7   inflammation is a component in the progression to    7           -- you may do that.
        8   ovarian cancer.                                      8    MS. BROWN:
        9   Q        Is it your testimony that the Hamilton      9           Counsel, he is absolutely entitled to
       10   paper supports your opinion that chronic            10    get the paper. We're going to do that.
       11   inflammation leads to neoplastic changes?           11    Q        Sitting here today, do you recall --
       12   A        No, not necessarily.                       12    MS. O'DELL:
       13   Q        Okay. Tell me how it is that the           13           But he is not --
       14   Hamilton paper supports your opinion that chronic   14    MS. BROWN:
       15   inflammation can cause ovarian cancer.              15           It's a fair question.
       16   A        Well, the -- so my opinion regarding --    16    MS. O'DELL:
       17   that the role of inflammation in ovarian cancer     17           Is it not a fair question.
       18   is not based on a single study, particularly one    18    MS. BROWN:
       19   that is now approaching or is now over 30 years     19           I'm not gonna --
       20   old.                                                20    MS. O'DELL:
       21   Q        Okay. Does --                              21           He's asking --
       22   A        So it's a -- I reviewed the -- that        22    MS. BROWN:
       23   paper as well as a large number or the totality     23           -- do this with you.
       24   of the available evidence stretching across many    24    MS. O'DELL:

                                                  Page 27                                                 Page 29
        1   years to develop the opinion that's represented      1           Yes, you are. If he's asked to see the
        2   in my report.                                        2   paper, he gets to look at the paper. Because
        3   Q       Sure.                                        3   this is not a situation where you can say, "Oh,
        4   A       And to that opinion is -- no one study       4   I'll show it to you later," ask all these
        5   or one singular piece of information is the basis    5   questions, try to get him to answer when he said
        6   of that opinion.                                     6   I want to see the paper and review it. That's
        7   Q       Okay. But, you know, having reviewed         7   the way this works.
        8   Hamilton, that what Hamilton shows is that the       8   MS. BROWN:
        9   inflammation they saw in the animals was not         9   Q        Dr. Levy, can you answer the question
       10   associated with neoplastic changes. Right?          10   without looking at the paper?
       11   MS. O'DELL:                                         11   MS. O'DELL:
       12          Excuse me.                                   12           Would you repeat the question just to
       13          Doctor, if you'd like to -- to pull up       13   make sure we've got it?
       14   Hamilton, you may do that.                          14   MS. BROWN:
       15   MS. BROWN:                                          15           Yes. Would you please keep your
       16   Q       And we'll certainly give you time to do     16   objections to form in accordance with the federal
       17   that, Doctor.                                       17   rules?
       18          Sitting here today, do you recall that       18   MS. O'DELL:
       19   to be the conclusion of Hamilton?                   19           My objections have been in accordance
       20   MS. O'DELL:                                         20   with the federal rules.
       21          Object to the form.                          21   MS. BROWN:
       22          You don't -- if you need to see the --       22   Q        Dr. Levy, my question to you was
       23   MS. BROWN:                                          23   whether the Hamilton paper, the findings of the
       24          Counsel --                                   24   Hamilton paper show that chronic inflammation led


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        1   to neoplastic changes. Do you recall that            1   Q        The Hamilton article does not support
        2   question?                                            2   the theory that chronic inflammation leads to
        3   A       I do recall the question.                    3   neoplastic changes in the ovary. Fair?
        4   Q       Can you answer that question without         4   MS. O'DELL:
        5   looking at the paper?                                5          Object to the form.
        6   A       I would need to look at the paper to         6   A        The Hamilton article looked at an
        7   accurately answer your question.                     7   interval of one month, eighteen months, in a rat
        8   Q       Absolutely. Do you have a copy on your       8   model. And, so, in the constraints of that
        9   computer?                                            9   particular experimental design and given the
       10   A       I do.                                       10   state of the art of the technology at the time,
       11   Q       Okay. We'll mark it, so we're all on        11   the authors did not conclude of a significant
       12   the same page, as Exhibit 7.                        12   progression of ovarian cancer. But there's
       13         (DEPOSITION EXHIBIT NUMBER 7                  13   clearly limitations in both their experimental
       14          WAS MARKED FOR IDENTIFICATION.)              14   design and time course of the study to draw wide
       15   MS. BROWN:                                          15   conclusions.
       16   Q       Here's a hard copy, Doctor, if that         16   MS. BROWN:
       17   assists you.                                        17   Q        The conclusions of the Hamilton
       18          Doctor, looking at the Hamilton article      18   article, Dr. Levy, do not support the hypothesis
       19   that you have in front of you, does that refresh    19   that chronic inflammation from talcum powder
       20   you that the authors found no association between   20   causes ovarian cancer. Would you agree?
       21   the talc-induced changes and neoplasm?              21   A        I would not.
       22   A       No. Their -- their conclusions were         22   Q        The authors did not find that the
       23   that the talc-induced changes -- specifically       23   inflammation seen in Hamilton led to neoplastic
       24   fibrosis and the papillary changes -- did not       24   changes. True?

                                                 Page 31                                                  Page 33
        1   appear to be a reaction to talc, but they -- I       1   A       The authors did not report observing
        2   don't see the specific inclusion that you asked      2   neoplastic change over the time course of the
        3   in the question regarding neoplasm.                  3   given study.
        4   Q        I'm looking at page 103, Doctor, the        4   Q       Doctor, I'm handing you the report that
        5   first full paragraph that begins "no evidence."      5   you've served in this case, which we'll mark as
        6           You with me?                                 6   Exhibit 2.
        7   A        One moment. "No evidence of cellular,"      7         (DEPOSITION EXHIBIT NUMBER 2
        8   that paragraph?                                      8          WAS MARKED FOR IDENTIFICATION.)
        9   Q        Yes.                                        9   MS. BROWN:
       10           And, for the record, that paragraph         10   Q       And I'd like you to -- I'd like to
       11   reads, "No evidence of cellular atypia or mitotic   11   direct you to page 14. I'd like to direct your
       12   activity was seen in the nonpapillary areas of      12   attention to the last paragraph of -- the last
       13   the surface epithelium of the injected ovaries      13   sentence -- excuse me -- of the second full
       14   and in no ovary was there any evidence of frank     14   paragraph that begins "additional studies."
       15   neoplasia."                                         15          Do you see that sentence, Doctor?
       16           Correct?                                    16   A       What's the beginning of that paragraph
       17   A        It does read that way, yes.                17   so I make sure I'm looking at the right one?
       18   Q        And that was a conclusion of the           18   Q       Sure. I'd like to direct you on page
       19   Hamilton article. Correct?                          19   14 of your report to the second full paragraph
       20   MS. O'DELL:                                         20   that begins "In addition to epidemiologic
       21           Object to the form.                         21   evidence."
       22   A        That was an observation of the Hamilton    22          Do you see that?
       23   article.                                            23   A       I do.
       24   MS. BROWN:                                          24   Q       The last paragraph, or the last


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        1   sentence of that paragraph in your report reads,     1   hypothesis that chronic inflammation leads to
        2   "Additional studies have also shown the effects      2   cancer in animals. Right?
        3   of talc on the immune response."                     3   A       The --
        4          Do you see that sentence?                     4   MS. O'DELL:
        5   A       I do.                                        5          Object to the form.
        6   Q       And you cite the Hamilton article for        6   A       The -- those two references were not
        7   that proposition that we were just reviewing?        7   included in the report to provide the opinion or
        8   A       Uh-huh.                                      8   conclusions that you just described.
        9   Q       True?                                        9   MS. BROWN:
       10   A       True.                                       10   Q       Because you know, Doctor, that there's
       11   Q       And the talc effects on the immune          11   not a single animal study that shows that talc
       12   response that were shown in Hamilton were not       12   causes changes in animals that leads to cancer;
       13   effects that the authors observed led to            13   right?
       14   neoplastic changes. Correct?                        14   MS. O'DELL:
       15   MS. O'DELL:                                         15          Object to the form.
       16          Object to the form.                          16   A       Could you -- could you phrase that
       17   A       I'm sorry. I'm not sure I understand        17   question again? Sorry.
       18   your question.                                      18   MS. BROWN:
       19   MS. BROWN:                                          19   Q       There is not a single animal study,
       20   Q       Sure.                                       20   Doctor, that supports the opinion that chronic
       21   A       Are you asking, if I could clarify, are     21   inflammation caused by talc causes ovarian
       22   you -- are you asking if Hamilton is an             22   cancer. Is that correct?
       23   appropriate reference for the effects of talc on    23   MS. O'DELL:
       24   the immune response or are you asking if            24          Object to the form.

                                                 Page 35                                                 Page 37
        1   Hamilton's an appropriate reference for something    1   A       In my review of the literature, there
        2   else?                                                2   are a number of animal studies that support the
        3   Q       In your report, you state that studies,      3   opinions in the report regarding the biological
        4   such as Hamilton, have shown effects of talc on      4   plausibility of talc leading to or contributing
        5   the immune response. Correct?                        5   to neoplastic change.
        6   A       That is correct.                             6   MS. BROWN:
        7   Q       And you said Hamilton as one of the          7   Q       Are you aware of any animal studies,
        8   articles that supports that proposition. True?       8   Doctor, that show talc causing chronic
        9   A       Of the immune response, that's true.         9   inflammation in animals that leads to neoplastic
       10   Q       Okay. The immune response that was          10   or cancerous changes in the animals?
       11   observed in Hamilton was not an immune response     11   MS. O'DELL:
       12   that led to cancer. Right?                          12          Object to the form. Compound.
       13   A       As -- as I stated earlier, on the time      13   A       There is one 1971 study that I'm aware
       14   course of the Hamilton study, the authors did not   14   of. I would have to review to remember the
       15   report specifically to neoplastic change in the     15   author. That was an earlier seminal -- or a
       16   rat or conclude or make that conclusion, nor did    16   earlier study that described the role of talcum
       17   they conclude that that was not a possibility       17   powder and the inflammatory change within the
       18   either.                                             18   ovary.
       19   Q       And on page 14 of your report you have      19   MS. BROWN:
       20   two additional cites for that proposition;          20   Q       Who's the author of that study, Doctor?
       21   correct?                                            21   A       I'm trying to think of where I have
       22   A       Correct.                                    22   that reference.
       23   Q       And you know, Doctor, that neither of       23   Q       Why don't we put that to the side and
       24   those cites, Keskin or NTP, support the             24   at a break we'll see if we can find that article


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        1   and then we can take a look at it. Okay?             1   A       And I have those on the -- available
        2   A       Uh-huh.                                      2   electronically.
        3   Q       Okay. Getting back, then, Doctor, to         3   Q       Okay. Were you provided with completed
        4   what we had marked as Exhibit 6, which is the        4   versions of all the plaintiff experts in the MDL
        5   Taher paper, fair to say you reviewed that paper     5   proceeding?
        6   after your report was submitted in this case?        6   A       I can't speak to whether it was all,
        7   A       Yes.                                         7   but I have been provided with several.
        8   Q       Okay. And did you notice throughout          8   Q       Will you list for me the expert reports
        9   Taher's paper he makes reference to a number of      9   you've been provided with?
       10   supplemental materials?                             10   A       Sure.
       11   A       Not specifically.                           11   Q        Thank you.
       12   Q       Are you in receipt from plaintiffs'         12   A       There are four on -- on this drive,
       13   counsel of those supplemental materials?            13   three -- I'm sorry. Two. Crowley and Longo.
       14   A       I'd have to -- you'd have to give me a      14   Q       Two reports from Dr. Crowley and two
       15   specific example, and I would be able to answer     15   reports from Dr. Longo?
       16   you.                                                16   MS. O'DELL:
       17   Q       So, throughout the paper, the authors       17          I don't think that's what he said.
       18   make reference to a set of supplemental materials   18   A       No. I think there are two, two expert
       19   that support their opinions. Do you recall that?    19   reports, one from Dr. Crowley and one from
       20   A       I certainly recall the reference            20   Dr. Longo.
       21   materials to support their opinion. Whether they    21   MS. BROWN:
       22   were supplemental or otherwise, that doesn't        22   Q       Okay. And the date of the Crowley
       23   stand out to me.                                    23   report, please?
       24   Q       Okay. And I'm not trying to be tricky.      24   A       The -- according to the file, the


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        1   I just want to know if you have those materials,     1   date -- the modified date is November 28, 2018.
        2   and, if so, I'm gonna request production of them.    2   Q         And --
        3   A       No. I -- I -- I don't believe that I         3   A         Whether that was the written date, I --
        4   have the full list of reference -- of literature     4   I don't know.
        5   cited from that -- from this paper --                5   Q         And the Longo report, do you know the
        6   Q       Okay.                                        6   date of that?
        7   A       -- now --                                    7   A         It is listed as August 2nd, 2017, in
        8   Q       Now, Taher --                                8   the title. And then there's a -- sorry. There's
        9   A       -- but I'd have to check.                    9   a second Longo report, 2018, which has a
       10   Q       Sorry.                                      10   November 28, 2018, date. So my -- my apologies.
       11          The Taher paper did not inform your --       11   To correct, there are two expert reports from
       12   the opinions contained in your report dated         12   Dr. Longo.
       13   November of 2018; correct?                          13   Q         Got it.
       14   A       Correct, as written.                        14   MS. O'DELL:
       15   Q       Okay. Are there any additional              15           So when you were talking about --
       16   documents that either you or your counsel have      16   MS. BROWN:
       17   brought with you here today in response to          17           Counsel, no. Huh-uh. No. We -- I'm
       18   Exhibit 1, the Notice of Deposition?                18   gonna ask questions, and he's gonna answer. We
       19   A       So I'm not sure how to answer that          19   are not going to have you testify. You are not
       20   accurately, but I would say there's a -- I've       20   to testify about the expert reports.
       21   been provided with -- since the completion of my    21   MS. O'DELL:
       22   report, I've been provided with reports from        22           I'm not gonna --
       23   other experts in the -- in the case.                23           You asked him what the date of the
       24   Q       Okay.                                       24   report was.


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        1   MS. BROWN:                                          1   MS. BROWN:
        2          He -- then he will answer, counsel.          2   Q        How did you receive them? Was it email
        3   You can't testify.                                  3   or hard copy?
        4   MS. O'DELL:                                         4   A        Neither. They were made available
        5          He gave you the date of the file -- the      5   through a shared storage.
        6   file date --                                        6   Q        And would you have received an email
        7   MS. BROWN:                                          7   alerting you to their existence on a shared file?
        8          That's fine.                                 8   MS. O'DELL:
        9   MS. O'DELL:                                         9          Dr. Levy, communications between
       10          -- not the date --                          10   counsel are -- are subject to the work product
       11   MS. BROWN:                                         11   privilege.
       12          On redirect, you are welcome to clean       12          So to the degree you're asking him to
       13   up whatever you need to. But we're not gonna       13   convey what was in a communication, then I'll
       14   have your testimony on the record about dates of   14   object to that and instruct you not to discuss
       15   expert reports.                                    15   communications between counsel.
       16   A       So, looking at the report itself, the      16   MS. BROWN:
       17   date of the Longo report is November 14th, 2018.   17   Q        Which the question does not ask for,
       18   MS. BROWN:                                         18   Doctor.
       19   Q        And were you provided --                  19   MS. O'DELL:
       20   A       The -- would you like the date of the      20          I believe it does.
       21   earlier report?                                    21   MS. BROWN:
       22   Q       That would be terrific.                    22   Q        Here's what I want to know. Did you
       23   A        It's August 2nd, 2017.                    23   rely on any other expert reports in forming your
       24   Q        Great.                                    24   opinions in this case?

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        1          Were you provided the two Longo reports      1   A        To -- to my -- the content of my
        2   and the Dr. Crowley report by plaintiffs'           2   report, no.
        3   counsel?                                            3   Q        Did you receive the Crowley and two
        4   A       Yes.                                        4   Longo reports after you had already completed
        5   Q       Do you recall when?                         5   your report in this case?
        6   A       Not specifically. It was, obviously,        6   MS. O'DELL:
        7   by their date, sometime after their completion.     7          Object to the form.
        8   So the Crowley report and the later 2018 Longo      8   A        No. There was -- if I recall -- and
        9   report were sometime in November or December        9   the -- at least the earlier Longo report -- and
       10   2018.                                              10   I'd have to review the specifics -- at least the
       11          There's -- I've also had an opportunity     11   earlier Longo report was reviewed and was
       12   to review a number of -- several other expert      12   included in the content in the report.
       13   reports which are not with me today.               13          And I would have to -- since the later
       14   Q       Do you have a listing of the additional    14   Longo report and then the final version of this
       15   expert reports you were provided with?             15   report were quite close together, I don't recall
       16   A       I'd have to -- I could certainly -- I'd    16   if they overlapped or not. I'd have to review
       17   have to provide it. I don't, off the top of my     17   the -- which references I used in here, which
       18   head, recall all of them. There was probably       18   will just take a moment.
       19   approximately a dozen.                             19          So, yes, the -- I did include both
       20   Q       Were all of the plaintiff expert           20   Longo reports.
       21   reports sent to you at once?                       21   Q        The second Longo report was finalized
       22   MS. O'DELL:                                        22   two days prior to your report. Is that right?
       23          Object to the form.                         23   A        Finalized, yes.
       24   A       I'm not -- I'm not certain.                24   Q        Did you see a draft of Longo's 2018


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        1   report?                                              1   Q       Did you type the expert report that
        2   A       Yes. And the --                              2   we've marked as Exhibit 2 yourself?
        3   Q       And did you --                               3   A       I did.
        4   A       And as to when I saw the draft, I            4   Q       Did you write all contents of Exhibit 2
        5   believe it was -- and it was sometime in the fall    5   yourself?
        6   and/or when reports were being revised and           6   A       I did.
        7   expanded as more literature became available.        7   Q       Were there parts of your report that
        8   Q       Prior to Longo finalizing and signing        8   you lifted from other published articles?
        9   his expert report in the MDL, you had access to a    9   MS. O'DELL:
       10   draft of that report; is that right?                10          Object to the form.
       11   MS. O'DELL:                                         11   A       Could you describe "lifted"?
       12          Object to the form.                          12   MS. BROWN:
       13   A       I can't speak to -- to that accurately.     13   Q       Did you take the words of other authors
       14   MS. BROWN:                                          14   and put them in your expert report as Exhibit 2?
       15   Q       I thought you just testified you saw a      15   MS. O'DELL:
       16   version of the Longo 2018 report that was not       16          Object to the form.
       17   final. Is that correct?                             17   A       No. My -- my -- so my report is a
       18   MS. O'DELL:                                         18   review of the available literature at the time
       19          Object to the form.                          19   that the report was being developed. So, as
       20   A       I'd have to -- I'd have to review           20   such, it describes that -- that literature.
       21   my -- the -- the literature that I used for the     21          As far as did I specifically copy words
       22   report to accurately answer your question.          22   from other reports, no.
       23   MS. BROWN:                                          23   MS. BROWN:
       24   Q       Well, your report doesn't say a draft,      24   Q       Did you work with another plaintiff


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        1   and I'm wondering if you ever saw a non-finalized    1   expert on the report that we've marked as
        2   copy of the Longo report.                            2   Exhibit 2?
        3   A        I didn't have an opportunity to compare     3   A       I did not.
        4   the finalized Longo report to a -- what may be a     4   Q       Do you know who Dr. Zelikoff is?
        5   draft or not to accurately answer your question      5   A       The name's not familiar to me.
        6   if I saw a draft that was substantially different    6   Q       Did you review a draft of
        7   than what's referenced as the final.                 7   Dr. Zelikoff's report before submitting your own?
        8   Q        There were two days between Longo           8   A       I did not.
        9   serving his report and you serving your report.      9   Q       Do you think that --
       10   Does that help orient you as to whether you saw a   10   A       Not that I'm aware of.
       11   draft or you saw the final version?                 11   Q       Do you have any explanation as to why a
       12   A        Certainly possible I saw the final         12   paragraph in your report is the same as a
       13   version.                                            13   paragraph in Dr. Zelikoff's report?
       14   Q        How many hours did you spend on your       14   MS. O'DELL:
       15   report in this case, Doctor?                        15          Object to the form.
       16   A        The initial draft of the report? The       16   A       I -- without knowing -- without seeing
       17   initial writing of the report?                      17   the paragraph in both reports would be -- I can't
       18   Q        In total, how many hours did you spend     18   comment.
       19   writing your report?                                19   MS. BROWN:
       20   A        It was 20 hours initially, and then it     20   Q       Let's mark as Exhibit 8 the expert
       21   would be -- it would be difficult to provide an     21   report of Dr. Judith Zelikoff, Ph.D.
       22   accurate answer for the rest of that. I would       22         (DEPOSITION EXHIBIT NUMBER 8
       23   say an additional few hours that I counted as       23          WAS MARKED FOR IDENTIFICATION.)
       24   revision.                                           24   MS. BROWN:


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        1   Q        Is this something you've seen --            1   A       They are --
        2           Oh, sorry. Can I --                          2   Q       The next sentence --
        3           It's okay, actually. It will flag it         3   A       Just one moment, please. I'm just
        4   for you?                                             4   making sure. Your question was are they exactly
        5           Is this a report that you've seen            5   the same, and I'm just confirming if they're
        6   before, Doctor?                                      6   exactly the same.
        7   A        I'll have to see it before I answer.        7          So, yes, I agree they're exactly the
        8   Q         I'm handing you what we've marked as       8   same.
        9   Exhibit 8, which is the expert report of             9   Q       You have reviewed them and satisfied
       10   Dr. Judith Zelikoff. Is this one of the reports     10   yourself that that -- those two sentences are
       11   that you reviewed prior -- you reviewed at all?     11   exactly the same; correct?
       12   A        I would have -- I would actually have      12   MS. O'DELL:
       13   to review my -- the literature that I reviewed      13          Object to the form.
       14   in -- the totality of the literature that I         14   A       There's a single sentence in each
       15   reviewed, which I could answer that after a         15   report that is exactly the same. But important
       16   break, if necessary. But I don't recall,            16   to comment that this single sentence is a -- is a
       17   specifically recall, this report under              17   basic biological premise of cancer, and, so,
       18   Dr. Zelikoff's name. But it is certainly            18   there's no surprise that two expert witnesses
       19   possible that I may have seen...                    19   offering opinions on the role of -- or the
       20   Q        Let's look at page 5 of your report,       20   biological plausibility or mechanisms of
       21   Doctor.                                             21   development of cancer would introduce a
       22   A         Okay.                                     22   fundamental premise in the same manner.
       23   Q        And why don't you put that side by side    23   MS. BROWN:
       24   with page 20 of Dr. Zelikoff's report. And the      24   Q       No surprise that you experts would have

                                                 Page 51                                                   Page 53
        1   paragraph in Dr. Zelikoff's report that I want to    1   one sentence that's the same? Is that what
        2   direct you to is the first full paragraph on         2   you're saying?
        3   page 20 that begins "Genetic mutations."             3   MS. O'DELL:
        4          Do you see that?                              4          Objection. That's not what he said.
        5   A       I do.                                        5   Misrepresents his testimony.
        6   Q       And the paragraph of your report I want      6   A        I'm saying that both would -- both
        7   to direct you to is the paragraph on page 5 that     7   reports detail a fundamental aspect as they
        8   begins "Both inherited."                             8   would -- based on the current understanding of
        9          Do you see that?                              9   the -- that both inherited and acquired gene
       10   A       I do.                                       10   mutations work in concert to cause cancer.
       11   Q       Okay. The first sentence of that            11   MS. BROWN:
       12   paragraph in your report reads, "Both inherited     12   Q        Look at the next sentence on page 20 of
       13   and acquired gene -- and acquired gene mutations    13   Dr. Zelikoff's report. It reads as follows:
       14   work together to cause cancer."                     14   "Even if one has inherited a genetic mutation
       15          Do you see that?                             15   that predisposes one to cancer," comma, "that
       16   A       I do.                                       16   doesn't mean he or she is certain to get cancer."
       17   Q       The third sentence of the paragraph I       17          Did I read that correctly?
       18   directed you to in Dr. Zelikoff's report is         18   A        You did.
       19   identical and reads, "Both inherited and acquired   19   Q        And let's go back to page 5 of your
       20   gene mutations work together to cause cancer."      20   report. Skip ahead, if you would -- one, two,
       21          Do you see that?                             21   three -- four sentences to where you were and
       22   A       I do.                                       22   find the sentence that begins "Even."
       23   Q       Those two sentences are exactly the         23          Are you with me?
       24   same, are they not?                                 24   A        I am.


                                                                              14 (Pages 50 to 53)
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        1   Q       And your report at page 5 reads, "Even       1   identical to your report; correct?
        2   if one has inherited a genetic mutation that         2   A       We have.
        3   predisposes one to cancer," comma, "that doesn't     3   Q       Do you have any explanation for why
        4   mean he or she is certain to get cancer."            4   that would be?
        5          Did I read that correctly?                    5   A       I do.
        6   A       You did.                                     6   Q       What's that?
        7   Q       That's the exact same sentence we just       7   A       That these -- each of these sentences
        8   read in Dr. Zelikoff's report; correct?              8   are describing basic introductory information
        9   A       It is.                                       9   around the relationship between cancer and
       10   Q       So now we have two sentences that are       10   genetic mutation.
       11   exactly the same in your report and                 11   Q       And each of you described it with the
       12   Dr. Zelikoff's report. Correct?                     12   exact same words?
       13   MS. O'DELL:                                         13   A       Apparently so.
       14          Object to the form.                          14   Q       Let's keep going.
       15   A       You have two sentences that are written     15         Page 20 of Dr. Zelikoff's report,
       16   the same but certainly not in precisely the same    16   picking up where we left off, Dr. Zelikoff
       17   context or organization in the total report.        17   writes: "The inherited gene mutation could
       18   MS. BROWN:                                          18   instead make one more likely to develop cancer
       19   Q       We have two sentences that are              19   when exposed to certain cancer-causing
       20   word-for-word identical in two of the plaintiffs'   20   substances."
       21   expert reports in this litigation. Is that fair?    21         Do you see that?
       22   MS. O'DELL:                                         22   A       I do.
       23          Objection. Asked and answered.               23   Q       And let's go back to where we were in
       24   A       So reading your earlier question, you       24   your report, on page 5. "The inherited gene


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        1   asked, "Is that the same exact sentence we just      1   mutation could instead make one more likely to
        2   read in Dr. Zelikoff's report; correct?" And my      2   develop cancer when exposed to a certain
        3   answer was "It is." And it remains the same.         3   cancer-causing substance."
        4   Q       Let's keep going.                            4         Do you see that?
        5          Next sentence, at page 20 in                  5   A       I do.
        6   Dr. Zelikoff's report, states as follows:            6   Q       And other than the tense in that last
        7   "Rather," comma, "one or more additional gene        7   sentence, they, too, are identical. Correct?
        8   mutations may be needed to cause cancer."            8   A       So they're -- they're certainly similar
        9          Did I read that correctly?                    9   sentences, but that -- I believe the tense is an
       10   A       You did.                                    10   important difference between them.
       11   Q       Let's go back to page 4 -- excuse me --     11         Again, as I stated, that these are
       12   page 5 of your report where we just were. And       12   introductory and fundamental perspectives on
       13   you write: "Rather," comma, "one or more            13   cancer and that, in this case, two expert
       14   additional gene mutations may be needed to cause    14   witnesses have summarized those things in a
       15   cancer." Correct?                                   15   similar fashion.
       16   A       Correct.                                    16   Q       It doesn't strike you as odd that four
       17   Q       That is the identical sentence from         17   sentences are identical from two expert reports?
       18   Dr. Zelikoff's report. Correct?                     18   MS. O'DELL:
       19   A       Starting with "Rather, one or more          19         Object to the form.
       20   additional gene mutations may be needed to cause    20   A       Four sentences are not identical.
       21   cancer."                                            21   MS. BROWN:
       22          Yes, correct.                                22   Q       There's one small change in a tense.
       23   Q       So we now have identified three             23   That's it. Right, Doctor?
       24   sentences in Dr. Zelikoff's report that are         24   MS. O'DELL:


                                                                              15 (Pages 54 to 57)
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        1          Object to the form.                          1   Q       -- next to your report, which remains
        2   A       There -- there are -- there are three       2   Exhibit 2. And I will direct you to the second
        3   sentences which are, when considered                3   page of the Mayo Clinic printout, the section
        4   individually, they are the same words. When you     4   titled "Causes."
        5   consider the -- now the group of those four         5          Are you with me?
        6   sentences together between the two reports, they    6   A       Second page.
        7   are clearly different organization with             7   Q       Double-sided. Flip it over.
        8   significantly more information between those        8   A       Yes.
        9   identical sentences in one or the other.            9   Q       Okay. And I'll direct you to page 3 of
       10          So the suggestion that they were -- one     10   your report entitled "The Role of Gene Mutations
       11   report was copied into the other, I would say it   11   in the Development of Cancer."
       12   is equally interesting that they are more          12   A       Uh-huh.
       13   different than they are alike, other than the      13   Q       Starting with Exhibit 9, the Mayo
       14   wording of three sentences.                        14   Clinic website, under a section entitled
       15   MS. BROWN:                                         15   "Causes," the Mayo Clinic writes, "Cancer is
       16   Q       Did someone other than you write the       16   caused by changes" -- parentheses --
       17   sentences we've just been looking at in your       17   "(mutations) to the DNA within cells."
       18   report?                                            18          Do you see that?
       19   A       No.                                        19   A       I do.
       20   Q       Did you consult the Mayo Clinic's          20   Q       And, looking at page 3 of your report,
       21   website in connection with writing your report?    21   Doctor, that same sentence or sentence fragment
       22   A       I don't believe so.                        22   appears in the first sentence: "Cancer is caused
       23   Q       Do you consider the Mayo Clinic's          23   by changes" -- parentheses -- "(mutations) to the
       24   website to be authoritative -- an authoritative    24   DNA within cells."

                                                 Page 59                                                 Page 61
        1   source, in your view?                               1          Correct?
        2   MS. O'DELL:                                         2   MS. O'DELL:
        3           Object to the form.                         3          Object to the form.
        4   A        I have no basis for that opinion. I --     4   A        Say your question again. Are you
        5   I haven't reviewed the Mayo Clinic website to       5   asking --
        6   determine that.                                     6   MS. BROWN:
        7          (DEPOSITION EXHIBIT NUMBER 9                 7   Q        It's the same; right, Doctor?
        8           WAS MARKED FOR IDENTIFICATION.)             8   MS. O'DELL:
        9   MS. BROWN:                                          9          Object to the form.
       10   Q        Handing you, Doctor, what we've marked    10   A        There are eight words or ten words that
       11   as Exhibit 9 to your deposition, which is a        11   are the same in this first sentence, again, both
       12   printout from the Mayo Clinic website entitled     12   describing some of the fundamental premise of
       13   "Cancer."                                          13   cancer and its -- in its description.
       14   A        Uh-huh.                                   14   MS. BROWN:
       15   Q        I'll hand it to you. And let me know      15   Q        Let's go to the second sentence in the
       16   if this is something that you've ever seen         16   Mayo Clinic website, which reads, "The DNA inside
       17   before.                                            17   a cell is packaged into a large number of
       18   A        Not that I recall.                        18   individual genes, each of which contains a set of
       19   Q        Did you take any language from the Mayo   19   instructions telling the cell what functions to
       20   Clinic website to use in your report?              20   perform," comma, "as well as how to grow and
       21   A        No.                                       21   divide."
       22   Q        Let's take a -- I want you to put the     22          Do you see that?
       23   Mayo Clinic, which we've marked as Exhibit 9 --    23   A        I do.
       24   A        Uh-huh.                                   24   Q        And a nearly identical version of that


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        1   sentence appears in your report at page 3 where     1   subparagraph titled "Loss of DNA Repair."
        2   you state, "The DNA that makes up our genetic       2          Are you with me?
        3   code is organized into a large number of            3   A       Yes.
        4   individual genes, each of which contains a          4   Q       I'm gonna read you two sentences from
        5   specific subset of instructions telling the cell    5   the Mayo Clinic. Tell me if I read them
        6   what functions to perform," comma, "as well as      6   correctly.
        7   how to grow and divide."                            7          "DNA repair genes look for errors in a
        8          Do you see that?                             8   cell's DNA and make corrections. A mutation in a
        9   A        I do.                                      9   DNA repair gene may mean that other errors aren't
       10   Q        Do you notice that nearly all the words   10   corrected, leading cells to become cancerous."
       11   are the same as the Mayo Clinic's?                 11          Do you see those two sentences, Doctor?
       12   MS. O'DELL:                                        12   A       I do.
       13          Objection to form.                          13   Q       Those are two sentences written by the
       14   A        I, again -- we -- we have another         14   folks who produce the Mayo Clinic's website;
       15   example of similar language describing             15   correct?
       16   introductory and fundamental aspects surrounding   16   A       I -- I have no knowledge of who wrote
       17   the basics of cancer biology.                      17   that.
       18   MS. BROWN:                                         18   Q       The same two sentences appear in your
       19   Q        Back to the Mayo Clinic next sentence.    19   report on page 4. Quote: "DNA repair genes look
       20   Quote: "Errors in the instructions can cause the   20   for errors in a cell's DNA and make corrections.
       21   cell to stop its normal function and may allow a   21   A mutation in a DNA repair gene may mean that
       22   cell to become cancerous."                         22   other errors aren't corrected, leading cells to
       23          Do you see that?                            23   become cancerous."
       24   A        I do.                                     24          Do you see that?


                                                 Page 63                                                 Page 65
        1   Q        Back to your report at page 3. An          1   A        I do.
        2   identical sentence: "Errors in the instruction      2   Q       Those two sentences are identical in
        3   can cause the cell to stop its normal function      3   the Mayo Clinic's website and your report. True?
        4   and may allow a cell to become cancerous."          4   MS. O'DELL:
        5           Do you see that?                            5          Object to the form.
        6   A        I do.                                      6   A       Again, we have fund- -- basic
        7   Q        Does that strike you as strange?           7   information that provides an introductory
        8   MS. O'DELL:                                         8   description of the basics of cancer which is used
        9           Object to the form.                         9   as -- as an inform- -- informatory foundation for
       10   A        Strange in what way?                      10   latter opinions in the report but is not germane
       11   MS. BROWN:                                         11   to the -- to the opinion in my report.
       12   Q        That your expert report in this           12          And, again, as stated before, that
       13   litigation contains identical sentences to the     13   succinct fundamental information regarding cancer
       14   Mayo Clinic's website.                             14   biology in two sources that state things
       15   MS. O'DELL:                                        15   succinctly and clearly in layman's language
       16           Objection. Misstates the report.           16   are -- are similar or even identical, again, does
       17   A        I -- I don't find it surprising in the    17   not surprise me.
       18   least.                                             18   MS. BROWN:
       19   MS. BROWN:                                         19   Q       We read at least four sentences that
       20   Q        Let's turn to page 4 of your report,      20   are identical to the Mayo Clinic. Would you
       21   please. And I'll direct you to the final bullet    21   agree?
       22   on the same page of the Mayo Clinic website you    22   MS. O'DELL:
       23   were just looking at. The section of your report   23          Objection to form. The sentences are
       24   on page 4 I'd like to direct you to is the         24   not identical.


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        1   MS. BROWN:                                           1   from our conversation to comment on those.
        2          Counsel, form.                                2   MS. BROWN:
        3   A       There are some similar -- there are          3   Q        You have it right in front of you. We
        4   some similarly stated sentences that                 4   just looked at them.
        5   you're -- that you've taken out of context in        5   A        We did.
        6   both cases to find them identical. So I -- I         6   Q        Right?
        7   agree that they're identical, but, again,            7   A        Yes.
        8   don't -- don't necessarily am surprised since I      8   Q        You recall reading a number of
        9   have no knowledge of where the information from      9   sentences in the Mayo Clinic website that match
       10   the Mayo website was taken from.                    10   word for word a number of sentences in your
       11   MS. BROWN:                                          11   report. True?
       12   Q       You agree a number of sentences in your     12   MS. O'DELL:
       13   report are identical to a number of sentences on    13           Object to the form.
       14   the Mayo Clinic's website. True?                    14   A        We've -- we've read information that
       15   MS. O'DELL:                                         15   is -- that is similar between the two documents.
       16          Object to the form.                          16   And, as answered, given the, again, basic
       17   A       No. I agree that they're -- I don't         17   fundamental introduction in lay language for
       18   agree. There are specific wordings that are the     18   these concepts, it is no surprise that it's the
       19   same.                                               19   same.
       20   MS. BROWN:                                          20   MS. BROWN:
       21   Q       Doctor, do you not agree that a number      21   Q        You're not surprised to find identical
       22   of the sentences we just read are identical to a    22   sentences in your report and Dr. Zelikoff's
       23   number of sentences that appear on the Mayo         23   report?
       24   Clinic's website?                                   24   A        I'm not surprised.


                                                 Page 67                                                  Page 69
        1   MS. O'DELL:                                          1   MS. O'DELL:
        2          Object to the form.                           2          Object to the form.
        3   A       I think we've -- we've specifically          3   MS. BROWN:
        4   gone over those individually and answered those      4   Q       You are not surprised to find identical
        5   questions.                                           5   sentences in your report and the Mayo Clinic?
        6   MS. BROWN:                                           6   MS. O'DELL:
        7   Q       And you'll agree the sentences are           7         Objection to form. Asked and answered.
        8   identical?                                           8   A       No. I -- I've answered that.
        9   MS. O'DELL:                                          9   MS. BROWN:
       10          Object to the form.                          10   Q       You need to answer it again.
       11   A       Again, I -- I've answered -- I've           11          Are you --
       12   answered those when we went through them            12   A       I'm not surprised.
       13   individually.                                       13   Q       -- surprised?
       14   MS. BROWN:                                          14         Did you consult Wikipedia in writing
       15   Q       Well, I want you to answer my question      15   your expert report?
       16   now.                                                16   A       I don't recall.
       17          You'll agree we've looked at a number        17   Q       Do you think it's possible you might
       18   of sentences that are identical in your report to   18   have looked at Wikipedia when writing your expert
       19   the information on the Mayo Clinic's website;       19   report in this litigation?
       20   correct?                                            20   A       I've -- I've looked -- I've looked at a
       21   MS. O'DELL:                                         21   large number of sources in published literature
       22          Object to the form. Misstates his            22   and others.
       23   testimony.                                          23   Q       Did one of those sources include
       24   A       I'd have to go back to the transcript       24   Wikipedia?


                                                                               18 (Pages 66 to 69)
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        1   A        I don't recall.                             1          And we'll mark a Wikipedia page as
        2   Q        Do you consider Wikipedia to be a           2   Exhibit 10.
        3   scientifically reliable source?                      3         (DEPOSITION EXHIBIT NUMBER 10
        4   A        What do you mean by scientifically          4          WAS MARKED FOR IDENTIFICATION.)
        5   reliable.                                            5   MS. BROWN:
        6   Q        Do you understand the concept of            6   Q       I would like to direct you, Dr. Levy,
        7   scientific reliability when answering a              7   to the first full paragraph in your expert report
        8   scientific question?                                 8   at page 7.
        9   MS. O'DELL:                                          9   A       Uh-huh.
       10           Object to the form.                         10   Q       Do you see that?
       11   A        Again, you'd have to -- that's -- you'd    11   A       I do.
       12   have to explain your -- what scientific             12   Q       And I want to direct your attention to
       13   reliability means in the context of your            13   the sentence in the middle of that paragraph that
       14   question.                                           14   begins "BRCA1 combined."
       15   MS. BROWN:                                          15          Do you see that?
       16   Q        What does it mean to you?                  16   A       Yes.
       17   A        Scientific reliability? In general         17   MS. BROWN:
       18   terms, it would mean information that comes from    18   Q       And I want to, side by side with
       19   a peer-reviewed source.                             19   Wikipedia, direct your attention to the third
       20   Q        And Wikipedia is not peer-reviewed;        20   full paragraph that begins, as well, "BRCA1
       21   correct?                                            21   combined."
       22   A        Wikipedia generally reso- -- uses          22          You with me?
       23   a -- is a summary of commonly -- at least in        23   A       I am.
       24   scientific terms, a number of peer-reviewed         24   Q       Wikipedia writes, "BRCA1 combines with


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        1   sources, but it is --                                1   other tumor suppressors, DNA damage sensors, and
        2          So from a true peer-review perspective,       2   single transducers to form a large multi-subunit
        3   Wikipedia actually is peer-reviewed in the sense     3   protein complex known as BRCA1-associated genome
        4   that anyone can contribute and edit the              4   surveillance complex" -- parens --
        5   information in Wikipedia.                            5   "BAC-" -- excuse me -- "(BASC)," end parens.
        6   Q       Including our kids; right?                   6          Do you see that?
        7   MS. O'DELL:                                          7   A       I do.
        8          Object to the form.                           8   Q       Turning to your report, page 7, you
        9   A       Possible.                                    9   write, "BRCA1 combines with other tumor
       10   MS. BROWN:                                          10   suppressors," comma, "DNA damage sensors, and
       11   Q       Anyone in the world could edit a            11   signal transducers to form a large multi-subunit
       12   Wikipedia page. True?                               12   protein complex known as the BRCA1-associated
       13   A       I believe so.                               13   genome surveillance complex" -- parens --
       14   Q       Is it your testimony, Doctor, that          14   (BASC)."
       15   information from Wikipedia is a reliable resource   15          Correct?
       16   when answering a scientific question?               16   A       That is correct.
       17   A       No, that is not my testimony. That is       17   Q       Those two sentences, Doctor, are
       18   not my testimony, no.                               18   identical.
       19   Q       Do you -- do you think you used             19   A       It appears so, yes.
       20   Wikipedia here in writing your report?              20   Q       Okay.
       21   A       Again, I -- I -- I don't recall using       21   A       Except for a -- the reference included
       22   Wikipedia specifically.                             22   on the Wikipedia page is not included in my
       23   Q       Okay. Let's take a look at your report      23   report.
       24   at page 7, Doctor.                                  24   Q       Wikipedia has cited a reference, and


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        1   your sentence stands without a reference. Is         1   Q        I'm sorry. What did we mark the
        2   that right?                                          2   Coussens as? 12?
        3   A       That's right.                                3   A        Twelve.
        4   Q       Other than the footnote, the two             4   Q        That should have been 11.
        5   sentences we just read are identical. True?          5          We have marked the Coussens' article
        6   A       Both sentences state the same fact in        6   now correctly as Exhibit 11, and I'll direct you
        7   the same way. So, similar to our earlier             7   to the last two sentences of the first full
        8   discussions, we've now seen a large collection of    8   paragraph. Put that, if you would, Doctor, side
        9   fundamental factual information with -- with         9   by side with your report at page 9, sentence that
       10   accurate information from now a number of sources   10   begins "in contrast," both sentences that begin
       11   that are stated in similar ways through             11   "in contrast."
       12   Wikipedia, other expert reports, and websites all   12          Are you with me?
       13   about the fundamentals of cancer.                   13   A        I am.
       14   Q       The two sentences we just read, Doctor,     14   Q        All right. So, in this published
       15   are identical. Correct?                             15   article, Ms. or Dr. Coussens writes, "In
       16   MS. O'DELL:                                         16   contrast, proliferating cells that sustain
       17          Object to the form.                          17   DNA" --
       18   A       We read one sentence in Wikipedia.          18   MS. O'DELL:
       19   MS. BROWN:                                          19          Excuse me, Alli. Sorry. Tell me, are
       20   Q       And it is identical. True?                  20   you in the second paragraph?
       21   A       Yes. The wording is the same. With,         21   MS. BROWN:
       22   of course, Wikipedia, as you already stated,        22          I'm on the end of the first full
       23   being editable by anybody and can pull that         23   paragraph.
       24   content from anywhere, and it's the -- I'd have     24   MS. O'DELL:


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        1   to review -- I'd have to look to see what            1          Sorry. I thought you were in the first
        2   reference 16 in Wikipedia is. But it's certainly     2   full paragraph.
        3   possible that I and Wikipedia summarized the same    3   MS. BROWN:
        4   information from the same source.                    4          Begins "In contrast."
        5   Q       Let's go to page 9 of your report. One       5   MS. O'DELL:
        6   of the articles that you relied on is an article     6          Okay.
        7   by Lisa Coussens and Zena Werb. Do you recall        7   MS. BROWN:
        8   that?                                                8          And we have that side by side with
        9   A       That does sound familiar, but I'll have      9   Dr. Levy's report, page 9, the paragraph that
       10   to verify.                                          10   also begins "In contrast."
       11   Q       Handing you what we've marked as            11   MS. O'DELL:
       12   Exhibit 12 [sic] to your report, the Coussens and   12          Thank you.
       13   Werb article.                                       13   MS. BROWN:
       14         (DEPOSITION EXHIBIT NUMBER 11                 14   Q       Dr. Coussens writes, "In contrast,
       15          WAS MARKED FOR IDENTIFICATION.)              15   proliferating cells that sustain DNA damage
       16   A       Yes, this is a -- this is a review.         16   and/or mutagenic assault" -- parens -- "(for
       17   This is an insight review article, which, similar   17   example, initiated cells), continue to
       18   to my report, is likely consolidating information   18   proliferate in microenvironments rich in
       19   from the research knowledge.                        19   inflammatory cells and growth/survival factors
       20   MS. BROWN:                                          20   that support their growth."
       21   Q       I'd like to direct you to the last two      21          Do you see that sentence?
       22   sentences of Exhibit 10, the Coussens' article,     22   A       I do.
       23   the last two sentences in the first paragraph.      23   Q       The next sentence reads, "In a sense,"
       24   A       Exhibit 10 or 12?                           24   comma, "tumors act as wounds that fail to heal."


                                                                              20 (Pages 74 to 77)
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        1          See that?                                     1   Q        My question, Doctor, was: Except for
        2   A        I do.                                       2   one word, the two sentences we just read from
        3   Q        Directing your attention to page 9 of       3   Coussens are identical to the two sentences in
        4   your report, Doctor, you write, "In contrast,"       4   your report. Is that correct?
        5   comma, "proliferating cells that sustain DNA         5   MS. O'DELL:
        6   damage and/or mutagenic insult -- parens -- "(for    6          Object to the form.
        7   example," comma, "initiated cells)," end paren,      7   A        So, I -- as -- as stated, the two
        8   "continue to proliferate in microenvironments        8   sentences are similar.
        9   rich in inflammatory cells and growth/survival       9   MS. BROWN:
       10   factors that support their growth," period. "In     10   Q        Except for one word, they are
       11   a sense, tumors act as wounds that fail to heal."   11   identical. Is that correct?
       12          Do you see that?                             12   MS. O'DELL:
       13   A        I do.                                      13          Object to the form. He's asked --
       14   Q        Except for one word, Doctor, those two     14   you've asked the question. He's answered your
       15   sentences, including the slashes and the            15   question.
       16   parentheses, are identical. Correct?                16   A        Again, the two sentences are similar.
       17   MS. O'DELL:                                         17   MS. BROWN:
       18          Object to the form.                          18   Q        Do you understand "identical," what
       19   A        Those two sentences are similar.           19   "identical" means?
       20   MS. BROWN:                                          20   A        Yes. Exactly the same.
       21   Q        Except for one word, those two             21   Q        Okay. Except for one word, those two
       22   sentences are identical. True?                      22   sentences are exactly the same in the Coussens
       23   MS. O'DELL:                                         23   article and your report. True?
       24          Object to the form. Asked and                24   MS. O'DELL:

                                                 Page 79                                                 Page 81
        1   answered.                                            1          Object to the form. Asked and
        2   A         Yeah. I'd certainly appreciate the         2   answered.
        3   similarity between the -- between the two. But       3   A       And we're -- we're saying the same
        4   that's -- again, as we've been discussing now for    4   thing in different ways, which is that the two
        5   an extensive amount of time, in the introductory     5   sentences are similar, stating factual
        6   review content of the report --                      6   information about fundamental cancer biology and
        7           In fact, I reference the Coussens and        7   in two similar review articles.
        8   Werb paper, so certainly it's not a surprise that    8   MS. BROWN:
        9   wording is similar between them and used similar     9   Q       And the only difference is one word.
       10   language to describe, again, these factual          10   Correct?
       11   aspects of fundamental cancer biology, including    11   A       Two sentences are similar.
       12   similar references.                                 12   Q       My question was: The only difference
       13   MS. O'DELL:                                         13   is one word. True?
       14           Excuse me. My microphone is broken.         14   A       Let me review again to be sure that we
       15   VIDEOGRAPHER:                                       15   would -- before answering.
       16           It's still working. You're good. You        16          Taken out of context, those two
       17   can just lay it on the table and we'll fix it at    17   sentences are similar.
       18   a break.                                            18   Q       My question was, Doctor, the only
       19   MS. O'DELL:                                         19   difference is one word. Is that correct?
       20           And we've been going about an hour and      20   MS. O'DELL:
       21   13 minutes.                                         21          Objection to the form. Asked and
       22   MS. BROWN:                                          22   answered.
       23           I'm about to finish up this section.        23   A       You know, I think we've -- we've
       24   We'll take a break.                                 24   answered this a number of times, that the two


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        1   sentences are different in their context and in     1   A       I have.
        2   terms of paragraph, but they are similar in         2   Q       Have you seen the reviewer comments
        3   structure and similar in wording.                   3   referenced in Exhibit 13?
        4          But, as you stated, with the exception       4   A       I have not seen the reviewer comments.
        5   of the -- so they're not. So in a language          5   Q       Okay. Exhibit 13 does not inform the
        6   perspective, they're not identical. They're         6   opinions of your report dated November of 2018.
        7   similar.                                            7   True?
        8   MS. BROWN:                                          8   A       Exhibit 13, being the letter, that is
        9          Let's take a break.                          9   correct. It does not.
       10   VIDEOGRAPHER:                                      10   Q       Okay. And what's Exhibit 12?
       11          Going off -- going off the record. The      11   A       Exhibit 12 appears to be a preprint
       12   time is 10:15 a m.                                 12   version of the previously mentioned paper,
       13              (OFF THE RECORD.)                       13   "Molecular Basis Supporting the Association of
       14   VIDEOGRAPHER:                                      14   Talcum Powder Use With Increased Risk of Ovarian
       15          We're back on the record. The time is       15   Cancer," with the first author, Nicole Fletcher,
       16   10:25 a m.                                         16   and Dr. Saed is listed as the senior or
       17   MS. BROWN:                                         17   corresponding author.
       18   Q       Doctor, I am handing you what I have       18   Q       Did the lawyers provide you with this
       19   marked as Deposition Exhibit 12 and 13. These      19   manuscript, Doctor?
       20   are additional documents your counsel identified   20   A       Yes, in a -- but that's -- yes, they
       21   for us this morning as something you have seen     21   did.
       22   since your report.                                 22   Q       Do you recall when you were provided
       23         (DEPOSITION EXHIBITS 12 AND 13               23   with a copy of the manuscript by the plaintiffs'
       24          WERE MARKED FOR IDENTIFICATION.)            24   lawyers?


                                                 Page 83                                                 Page 85
        1   MS. BROWN:                                          1   A        It was sometime in December toward --
        2   Q       Would you tell us what those two            2   late in the year. The exact date, I'd have to
        3   exhibits are, please.                               3   review when it came in. And I believe it was --
        4   A       Exhibit -- Exhibit 13 is a printed copy     4   and the version you have here is a more formal
        5   of an email dated December 26th informing           5   preprint version from the -- from Manuscript
        6   Dr. Saed that a manuscript --                       6   Central, whereas the version I received
        7         Is it helpful to identify the                 7   was a -- it appeared to be more of a submission
        8   manuscript?                                         8   version.
        9         -- titled "Molecular Basis Supporting         9          So commenting whether it's
       10   the Association of Talcum Powder Use With          10   exact -- precisely the same content, I -- I
       11   Increased Risk of Ovarian Cancer," submitted to    11   wouldn't be able to say.
       12   Reproductive Sciences, has been reviewed. The      12   Q        Fair to say, though, Doctor, since you
       13   comments were included in the letter.              13   received the manuscript in December of 2018, the
       14   Q       Have you seen --                           14   contents of the manuscript did not inform the
       15   A       And I'm just reading the --                15   expert report that you wrote in November of 2018;
       16   Q       Sure.                                      16   correct?
       17   A       It -- it appears that the -- so,           17   A        Actually, I would say the -- the -- I
       18   summarizing the letter, the manuscript has been    18   would not agree, from the perspective of Dr. Saed
       19   reviewed, the comments from the reviewers were     19   has a number of similar studies, as well as a
       20   provided back, and the journal has informed        20   number of abstracts that I had the opportunity to
       21   Dr. Saed that they'll accept a revised document    21   review that did inform some of the opinions in
       22   for potential publication.                         22   the report. Those same information and data were
       23   Q       Have you seen Exhibit 13 prior to this     23   included in this manuscript and expanded upon
       24   morning?                                           24   actually significantly.


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        1          So the basis of my opinion includes           1   Q       Okay. And I'll ask if you'd be kind
        2   some of the information from this manuscript, but    2   enough to do that at a break. Just let us know
        3   I -- but the report does not contain the totality    3   if you had access to something other than the
        4   of this.                                             4   abstract of Dr. Saed's 2018 report at the time
        5   Q        Right. Because the manuscript wasn't        5   you wrote your report. Fair enough?
        6   available to you until after you wrote your          6   A       I'll make a note.
        7   report. Right?                                       7   MS. O'DELL:
        8   A        No, that's not the case. The -- the --      8          Excuse me. Object to the form.
        9   the research, some of the research information       9   Abstracts, not one.
       10   from this study was available in abstract form,     10   MS. BROWN:
       11   and -- and some -- I believe a preprint from        11   Q       Dr. Levy, you are a Ph.D.; is that
       12   Dr. Saed.                                           12   correct?
       13          So it was -- so it was available.            13   A       Correct.
       14   Portions of it were available for the report.       14   Q       Okay. You are not an M.D.; correct?
       15   Q        Other than the abstract, did you have      15   A       That's correct.
       16   access to an earlier version of what we've marked   16   Q       What's your Ph.D. in, sir?
       17   as Exhibit 12?                                      17   A       Biochemistry and genetics.
       18   A        I can't accurately answer that without     18   Q       You're not an epidemiologist. Fair?
       19   comparing them.                                     19   A       I am not.
       20   Q        Where do you have stored the earlier       20   Q       Okay. And the focus of your work at
       21   version that you're referring to?                   21   HudsonAlpha is on genome sequencing. Is that
       22   A        Let's see if I -- what I have here.        22   right?
       23          So, from Dr. Saed, I have a -- used a        23   A       No. The -- the -- genome sequencing is
       24   book chapter which describes some of his            24   a tool that we apply in -- in the work of my


                                                 Page 87                                                 Page 89
        1   oxidative stress experiments that are also           1   laboratory and in my responsibilities at
        2   consistent with the information that's in the --     2   HudsonAlpha.
        3   in Exhibit 12, as well as some of his earlier        3   Q       HudsonAlpha has a team known as the
        4   review articles, and that's --                       4   Breakthrough Breast and Ovarian Cancer Team. Is
        5          Let me make sure I'm not missing              5   that right?
        6   anything from Fletcher, who's been...                6   A       I'm not familiar with that name.
        7          But, otherwise, the -- the experiments        7   Q       Okay.
        8   that were expanded upon in the formal manuscript     8   A       There is a -- a group of faculty who
        9   were described in -- in abstract or, I should        9   have some funding related to breast and ovarian
       10   say, summarized form, meaning an abstract that      10   cancer. It's -- it's certainly possible that
       11   included methods, results, and conclusions from     11   name was used in -- in press for some title.
       12   Fletcher and colleagues in Dr. Saed's group.        12   Q       Since you're not familiar with that
       13   Q        At the time you wrote your report, you     13   team, fair to say you're not a member of the
       14   had an abstract of the 2018 paper that we've        14   Breakthrough Breast and Ovarian Cancer Team?
       15   marked as Exhibit 12; correct?                      15   MS. O'DELL:
       16   MS. O'DELL:                                         16          Object to the form.
       17          Object to the form. He said plural.          17   A       Again, I don't -- my involvement with
       18   A        Yes. I had two abstracts and then          18   breast and ovarian cancer at HudsonAlpha is
       19   possibly --                                         19   specific to some projects. And whether or not I
       20          I'd have to review when I received this      20   was named on that team, I -- I don't know.
       21   preprint versus the final version of my report to   21   MS. BROWN:
       22   see if they overlapped, if they're -- if I had an   22   Q       There are folks at HudsonAlpha,
       23   opportunity to review this or not.                  23   scientists and doctors at HudsonAlpha whose
       24   MS. BROWN:                                          24   practice is devoted to studying ovarian cancer.


                                                                              23 (Pages 86 to 89)
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        1   Correct?                                             1   dating back to my early Ph.D. work, and those
        2   A        No, that's not correct.                     2   include cancer. So certainly the subject of
        3   Q        Your practice is not devoted to ovarian     3   inflammatory response in -- both chronic and
        4   cancer; correct?                                     4   acute, in controlling cancer has been a subject
        5   MS. O'DELL:                                          5   of my research for some time and certainly
        6           Object to the form.                          6   bridged into ovarian cancer as well as other
        7   A        No. My -- my practice is not devoted        7   cancer types.
        8   to ovarian cancer. And -- but that was               8   MS. BROWN:
        9   irrelevant to what I was asked to do in              9   Q        You've never published on chronic
       10   this -- in this particular case for                 10   inflammation as a potential mechanism by which
       11   the -- regarding the content of my report.          11   talcum powder causes ovarian cancer. Correct?
       12   MS. BROWN:                                          12   A        Not specific to talcum powder, no.
       13   Q        I think I saw you've published one         13   Q        You have never given a presentation on
       14   article regarding ovarian cancer over the course    14   chronic inflammation as a mechanism for causing
       15   of your career. Is that right?                      15   ovarian cancer at all; right?
       16   A        That sounds correct.                       16   MS. O'DELL:
       17   Q        You have not given any presentations       17          Object to the form.
       18   regarding ovarian cancer. Is that true?             18   A        I'm thinking through my --
       19   A        I would say that's accurate.               19          I don't recall a specific presentation
       20   Q        You have not received any government       20   with regards to talcum powder and its role in
       21   funding to study ovarian cancer. True?              21   ovarian cancer. As far as my discussions or
       22   A        I received government funding to study     22   presentations around the role of inflammation in
       23   breast and ovarian cancer -- this was in 2002,      23   cancer, including ovarian, it -- it is -- it is
       24   from the Department of Defense -- and then,         24   possible, but I can't think of a specific

                                                 Page 91                                                  Page 93
        1   subsequent to that, participated in at least one     1   presentation.
        2   review for the Department of Defense in reviewing    2   MS. BROWN:
        3   ovarian cancer research grants. So that is --        3   Q       Okay. Since you've been hired by
        4          And then my membership in the                 4   plaintiffs' lawyers, you have done some research
        5   Vanderbilt Cancer Center as well as the              5   into the potential role of inflammation and
        6   University of Alabama Birmingham Comprehensive       6   ovarian cancer. Is that right?
        7   Cancer Center certainly have been involved in a      7   MS. O'DELL:
        8   number of projects across a diversity of cancer      8          Object to the form.
        9   types, including ovarian and breast cancer.          9   A       Since -- since my -- what was requested
       10   Q       Prior to being hired by the plaintiffs'     10   of me from the plaintiffs' attorneys was to
       11   lawyers in this litigation, you had not             11   provide a review of the biological plausibility
       12   investigated the potential mechanisms by which      12   and a connection between talcum powder and
       13   talcum powder could cause ovarian cancer. Is        13   inflammation and then discuss the relationship
       14   that fair?                                          14   between inflammation and cancer.
       15   MS. O'DELL:                                         15   MS. BROWN:
       16          Object to the form.                          16   Q       Okay. As I understand you, Dr. Levy,
       17   A       Specific -- as in terms of a specific       17   you were asked by the plaintiffs' lawyers to
       18   fundamental research project?                       18   provide a review of the literature as it relates
       19   MS. BROWN:                                          19   to the biological plausibility of talcum powder
       20   Q       At all.                                     20   and ovarian cancer. Is that right?
       21   MS. O'DELL:                                         21   MS. O'DELL:
       22          Object to the form.                          22          Object to the form.
       23   A       So my research has included the role of     23   A       No, that's not correct. What I was --
       24   inflammation and a number of biological processes   24   I was asked to provide an opin- -- expert opinion


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        1   on the biological plausibility of the mechanism     1   some neurological diseases.
        2   that -- of the ability of exposure of talc and      2          So this was a similar review as -- of
        3   its constituent components to cause inflammation    3   those topics when asked to examine the biological
        4   and/or cancer.                                      4   plausibility of a cause and effect; in this case,
        5   MS. BROWN:                                          5   cause being exposure to talcum powder and effect
        6   Q        Do you see those as two different          6   being progression to cancer.
        7   things?                                             7   Q       Prior to being hired by the plaintiffs'
        8   A        Yes.                                       8   lawyers, you had not considered the biological
        9   Q        Okay. So you were asked to provide a       9   plausibility of talcum powder causing ovarian
       10   mechanism by which talcum powder could cause       10   cancer. Correct?
       11   cancer?                                            11   A       No. I would say that's not true in
       12   A        No, that's not correct.                   12   isolation. And the reason I say that's not true
       13   MS. O'DELL:                                        13   is I had been aware of some of the literature and
       14          Objection to form.                          14   certainly some of the press that surrounded the
       15   MS. BROWN:                                         15   suspected associations between talcum powder
       16   Q        Okay. Explain it to me.                   16   exposure and cancer. So I was familiar with the
       17   A        I -- I was asked to provide a -- an       17   concept, but I had not at the time, until hired
       18   opinion on the biological plausibility --          18   by the plaintiffs' attorney, spent a significant
       19   Q        Of talcum powder causing cancer?          19   amount of time reviewing the literature and
       20   A        -- of talcum powder leading to the        20   developing a written opinion as to that
       21   biological changes necessary to cause cancer.      21   biological plausibility.
       22   Q        Okay. As I understand what you just       22   Q       You have not published your opinion
       23   said, you were asked to re- -- to provide an       23   contained in -- your opinions contained in the
       24   opinion on the biological plausibility of talcum   24   report that we marked as Exhibit 2. Is that


                                                 Page 95                                                 Page 97
        1   powder leading to biologic changes that are         1   correct?
        2   needed to cause cancer. Is that fair?               2   A       That is correct.
        3   MS. O'DELL:                                         3   Q       You have not presented the opinions
        4           Object to the form.                         4   contained in Exhibit 2 at any medical or
        5   A        So I was asked from -- by the attorneys    5   scientific conference; correct?
        6   to review the available literature across the       6   A       That's correct.
        7   spectrum of cancer and talcum powder and            7   Q       You have not disclosed the opinions
        8   constituent literature to develop an opinion        8   contained in Exhibit 2 to any of your colleagues;
        9   around the biological plausibility that exposure    9   correct?
       10   of -- exposure to talcum powder is                 10   MS. O'DELL:
       11   biologically -- that there is a biologically       11          Object to the form.
       12   plausible mechanism that that can cause cancer.    12   A       Not at this time, no. Considering I
       13   MS. BROWN:                                         13   had -- I had just finalized the report a short
       14   Q        Okay. And that is not something that      14   time ago, I haven't had the opportunity to
       15   you had done prior to being hired by the           15   consider publication, presentation, or -- or
       16   plaintiffs' lawyers. Fair?                         16   discussion with colleagues.
       17   A        Developing such an opinion?               17   MS. BROWN:
       18   Q        Correct.                                  18   Q       Do you plan to seek publication of the
       19   A        Or -- or -- so writing such a report,     19   information contained in your report in Exhibit
       20   no, that is not something I -- I had done prior    20   2?
       21   to -- to this. My research has been primarily in   21   A       I -- I haven't made a determination at
       22   data integration and the examination of            22   this time. It's been a fascinating area to
       23   mechanistic effects in cancer, rare disease,       23   research. Certainly there's -- that would
       24   and -- and in diabetes specifically, as well as    24   certainly be a future possibility.


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        1   Q        Does HudsonAlpha --                         1   or -- or -- or dispute whether or not those
        2          First of all, what's your position at         2   ovarian cancer or other cancer types may have had
        3   HudsonAlpha, Doctor?                                 3   a relationship to talcum powder. So the short
        4   A        So I'm a faculty investigator, which        4   answer being I -- I don't have the information to
        5   would be analogous to a faculty member at a          5   answer that.
        6   research institution, similar to -- or I should      6   MS. BROWN:
        7   take a step back and just --                         7   Q         HudsonAlpha has a Code of Ethics. Are
        8          To be accurate, HudsonAlpha is a              8   you familiar with it?
        9   private nonprofit research institution, similar      9   A         Yes.
       10   to Broad Institute, Stowers, et cetera. So we       10   Q         Are you familiar with the financial
       11   are academic in nature, meaning that most of our    11   disclosure requirements of HudsonAlpha?
       12   funding or the vast majority of our funding comes   12   A         I am.
       13   from grants and contracts. So that's why I say      13   Q         Have you complied with those in
       14   it's analogous to faculty at a research             14   connection with your work as an expert witness
       15   institution.                                        15   for plaintiffs in this case?
       16          My other responsibilities are the            16   A         I have.
       17   management and oversight of the production and      17   Q         And tell us what you've done to comply
       18   research laboratories, so that provides us an       18   with HudsonAlpha's Code of Ethics and financial
       19   opportunity to work with approximately 1200         19   disclosure requirements.
       20   different laboratories from around the world in     20   A         Their Code of Ethics and financial
       21   support of roughly 5,000 projects over the last     21   requirement is requirement to disclose any
       22   nine and a half years. And that's -- it's           22   relationships that have a financial component
       23   provided a broad spectrum of activities and         23   over -- I don't recall the minimum amount, but it
       24   abilities to work in these types of projects.       24   is -- it is fairly modest, hundreds of dollars.


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        1           And then I also oversee the clinical         1   And that reporting requirement is the -- is -- is
        2   laboratories as well. And adult oncology is a        2   for the previous year, and it is due in July, I
        3   major focus of that research. I currently lead       3   believe is the time frame, although I'd have to
        4   the largest profiling effort in adult cancer in      4   make sure. It's -- I know it's not the end of
        5   the nation, which involves 15 national cancer        5   the calendar year. So on my next disclosure,
        6   institutes. And ovarian cancer is a component of     6   this, of course, activity would be disclosed.
        7   that research, although not the only cancer that     7          In addition to that, via
        8   we research in that -- in that's -- in that          8   conversation -- regular review with the president
        9   program.                                             9   of the institution, I provide a general report on
       10   Q        None of the 5,000 projects you just        10   consulting activities; for example, these
       11   mentioned have dealt with talc. Is that fair?       11   activities.
       12   A        That is fair.                              12          HudsonAlpha's policy is faculty members
       13   Q        And none of the work at the clinical       13   are allowed up to 20 percent of your time towards
       14   labs that you just mentioned have dealt with        14   consulting activities that have a relationship to
       15   talc; correct?                                      15   your research area, such as the evaluation of the
       16   MS. O'DELL:                                         16   biologically plausible mechanism of talc in
       17           Object.                                     17   ovarian cancer. So based on both the timing of
       18   A        I am -- I would say there's a              18   the Code of Ethics with regards to the financial
       19   statistical probability that some of the ovarian    19   disclosure as well as the ad hoc reporting of
       20   cancer samples that have been observed in the       20   consulting engagements with the president of the
       21   clinical laboratory may very well have              21   institution, I'm in compliance with the current
       22   been -- have come from patients exposed to talcum   22   policies of HudsonAlpha.
       23   powder. But I have no direct knowledge of that,     23   Q        The president of HudsonAlpha is aware
       24   nor have we performed any testing to confirm        24   of your opinions in this case?


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        1   A        I have not discussed my opinions            1   members on both institutions.
        2   specifically to this case with him; just the         2   MS. BROWN:
        3   general knowledge that I was asked to participate    3   Q       Fair to say, then, Doctor, you have not
        4   as an expert witness. He didn't ask, and I           4   participated in any work with the University of
        5   didn't provide the content.                          5   Alabama's Comprehensive Cancer Center?
        6   Q        No one at HudsonAlpha is aware of your      6   MS. O'DELL:
        7   opinion that talcum powder causes chronic            7          Object to the form.
        8   inflammation which can cause ovarian cancer? Is      8   A       No, that's not true.
        9   that right?                                          9   MS. BROWN:
       10   A        I have -- I have not specifically          10   Q       Have you worked with the University of
       11   shared the contents of the report or -- or my       11   Alabama's Comprehensive Cancer Center on projects
       12   opinions widely at HudsonAlpha.                     12   involving ovarian cancer?
       13   Q        Did you disclose last July that you had    13   MS. O'DELL:
       14   already been hired and submitted invoices to the    14          Objection. Asked and answered.
       15   plaintiffs' lawyers?                                15   A       I would -- I would have to review the
       16   A        I'm sure I did.                            16   specific projects that we've -- we've done to
       17   Q        Do you have that documentation?            17   answer that.
       18   A        No. It's -- it's an electronic             18          As the codirector of a core facility
       19   disclosure. It's not actually done on paper.        19   for the University of Alabama Comprehensive
       20   Q        One of the things that HudsonAlpha does    20   Cancer Center, it is likely that we've worked on
       21   is it partners with the University of Alabama in    21   some projects related to ovarian cancer, but I
       22   a comprehensive cancer center; correct?             22   can't specifically name them. They are -- I
       23   A        No, that wouldn't be correct.              23   would -- I would characterize them as infrequent.
       24   HudsonAlpha is very specific --                     24   MS. BROWN:


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        1          And you may be more familiar with this        1   Q        Have any of those projects attempted to
        2   than I.                                              2   research the potential causes of ovarian cancer?
        3          They're very specific with their use of       3   A        Again, I'd have -- I'd have to review
        4   the word "partnership" and they're, in fact, very    4   the projects. They're certainly --
        5   specific that they do not engage in a -- anything    5   fundamentally, most of the questions regarding
        6   titled "a partnership." So they -- I would not       6   the analysis of cancer samples are routinely to
        7   characterize them as a partner of the University     7   investigate their cause or their treatment. So I
        8   of Alabama Cancer Center.                            8   would -- I would answer that question as highly
        9          We certainly have -- there are faculty        9   likely.
       10   members at University of Alabama Birmingham who     10   Q        Would you agree the cause of ovarian
       11   are -- have adjunct appointments at HudsonAlpha,    11   cancer remains unknown today?
       12   just as I have appointments at University of        12   MS. O'DELL:
       13   Alabama Birmingham and I am a member of their       13          Object to the form.
       14   cancer center.                                      14   A        No, I would -- I would -- I would not
       15   Q        Are you aware of the work that             15   agree that it -- I would not agree to that
       16   HudsonAlpha does with the University of Alabama's   16   general statement.
       17   Comprehensive Cancer Center?                        17   MS. BROWN:
       18   MS. O'DELL:                                         18   Q        What are the causes of ovarian cancer
       19          Object to the form. Asked and                19   in your mind, Doctor?
       20   answered.                                           20   A        Well, the -- the causes of -- of
       21   A        I'm aware of some of the work, but I --    21   a -- of any number of cancers, including ovarian
       22   certainly I -- I don't -- I don't necessarily       22   cancer, are probably more well understood now
       23   have knowledge of the full spectrum of those        23   than ever, and their complexities I think now are
       24   projects, given that they involve many faculty      24   just beginning to be appreciated in the sense


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        1   that cancer is a disease of unregulated cell         1          Now, the -- whether that represents the
        2   growth.                                              2   complete milieu of possibilities is -- is what is
        3          Back to our earlier con- -- earlier           3   currently under research.
        4   conversation, some of the fundamental facts that     4   MS. BROWN:
        5   we had discussed and, in fact, I think well          5   Q       Were you aware that the University of
        6   replicated in a number of sources, as you pointed    6   Alabama Comprehensive Cancer Center is an NCI
        7   out to me, you know, illustrate that there's a       7   center, National Cancer Institute?
        8   milieu of genetic change leading to cellular         8   A       Yes. It's -- it's not only an
        9   transformation, and that cellular damage, if we      9   NCI-designated center; it's an NCI-designated
       10   consolidate that as cellular damage, then has to    10   comprehensive cancer center, which is a slightly
       11   work in concert with a number of other events       11   different classification. It's a -- there's more
       12   providing the right environment for a tumor to      12   criteria for a cancer center to meet to become
       13   grow, such as inflammation, chronic or acute.       13   comprehensive.
       14   And, so, the -- you know, the -- the -- you know,   14   Q       What does it mean to be an NCI center,
       15   giving a singular cause would be inappropriate.     15   to you, if you know?
       16          But I would say the mechanistic causes       16   A       Stated very simply, it means you have
       17   of cancer are reasonably well understood, but how   17   a -- your cancer center is funded by a support
       18   those apply to the wide diversity of cancer types   18   grant directly from the National Cancer Institute
       19   remains an area of active investigation.            19   to provide -- that supports not only patient care
       20          I think what's interesting on cancer in      20   but also supports basic research, epidemiology
       21   general is that there's no -- really no longer a    21   and -- and health outcomes research in cancer.
       22   bucket diagnosis. It is -- it -- lung cancer is     22          So, in a nutshell, it is a fairly
       23   more complex than lung cancer and ovarian cancer,   23   comprehensive grant that supports a wide variety
       24   certainly with the --                               24   of work within a cancer center that extends


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        1           As I'm sure you're well aware, with the      1   beyond basic -- basic care.
        2   molecular subtypes and other things, it's a          2   Q        The National Cancer Institute has
        3   complicated disease as well.                         3   funded a number of projects that the scientists
        4           So to summarize that is -- to summarize      4   at HudsonAlpha are working on. Is that fair?
        5   all of that complexity by saying that the cause      5   A        I'd have to certainly review the grant
        6   is known or unknown I think would vastly             6   portfolio. But I'm certain that, since I myself
        7   underestimate the -- our current state of the art    7   have funding from that cancer center, yes, the
        8   or knowledge of how complex cancer is as a           8   NCI does fund some -- some number of
        9   condition.                                           9   investigators at HudsonAlpha.
       10   Q        Sure.                                      10   Q        And you consider the NCI to be a
       11           Scientists, researchers, public health      11   reputable public health authority; correct?
       12   authorities continue to investigate the mechanism   12   A        No, not necessarily. The NCI is really
       13   by which ovarian cancer is caused. Correct?         13   not a public health authority. The N -- the NCI
       14   A        That's correct.                            14   is a -- is a scientific administration center
       15   Q        We do not, sitting here today in 2019,     15   within the National Institutes of Health.
       16   have a complete understanding of the etiology of    16           Now, I'm speaking of their extramural
       17   ovarian cancer. Correct?                            17   programs. The NCI also have intramural programs,
       18   MS. O'DELL:                                         18   where they have their own researchers and their
       19           Object to the form.                         19   own projects. I'm less familiar with those
       20   A        I would say we have substantial            20   activities.
       21   knowledge of factors and exposures that either      21           But together, I would state that the
       22   predispose or directly cause cancer in a large      22   NCI is a -- I don't have -- I guess I have not
       23   number of -- large number of cancer areas,          23   had any experience with the NCI that would lead
       24   including ovarian cancer.                           24   me to say that they are an authoritative public


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        1   health authority.                                    1   you are prepared to offer the opinion that talcum
        2   Q       Before forming your opinions in this         2   powder causes ovarian cancer.
        3   case, Dr. Levy, did you look to see what the NCI     3   A       I don't -- I don't think we have the
        4   states about whether talcum powder causes ovarian    4   complete information for a sing- -- you know, to
        5   cancer?                                              5   have the opinion of a singular cause. But, at
        6   A       I believe I did see, from a number of        6   the same time, my opinions are that, as stated in
        7   statements, certainly potentially from the NCI,      7   the report, there's a clear and well-evidenced
        8   regarding the complete opinion and -- and            8   biologically plausible role for talcum powder
        9   knowledge base for the role of talcum powder in      9   leading to ovarian cancer.
       10   ovarian cancer.                                     10   Q       On page 2 of your report, the second
       11   Q       Do you recall that the NCI has              11   full paragraph that begins "My report
       12   concluded that there's inadequate evidence that     12   consists" --
       13   talcum powder increases the risk of ovarian         13          You with me?
       14   cancer?                                             14   A       Yes.
       15   MS. O'DELL:                                         15   Q       -- you state -- you reference your
       16          Object to the form.                          16   conclusions regarding this cause-and-effect
       17   A       Which -- what specifically are you          17   relationship.
       18   referring to? I -- I wouldn't be able to answer     18          Do you see that?
       19   that accurately without knowing which specific      19   A       I do.
       20   report or statement that you're referring to.       20   Q       Do you mean by that that you have an
       21   MS. BROWN:                                          21   opinion that talcum powder causes the effect of
       22   Q       I'm wondering if, sitting here today,       22   ovarian cancer?
       23   you recall looking at information about the         23   A       No. That -- that wasn't the meaning of
       24   classification of risk factors for ovarian cancer   24   that statement of cause and effect. It was -- it

                                                Page 111                                                 Page 113
        1   as done by the NCI.                                  1   was a -- more of a general statement of a cause
        2   A        I don't recall that specifically. I         2   being exposure to talc and effect being that
        3   don't also recall seeing any statements from the     3   biologically plausible mechanism.
        4   NCI regarding safety of any product.                 4   Q        You mentioned a moment ago that you
        5   Q        In forming your opinions in this case,      5   don't think we have the complete info on a
        6   Dr. Levy, did you consider the conclusions of        6   singular cause of ovarian cancer. Is that right?
        7   public health authorities like the FDA, the NCI,     7   MS. O'DELL:
        8   NIH as it relates to talcum powder in ovarian        8          Objection to form.
        9   cancer?                                              9   A        Sorry. Let me read your question
       10   A        So I certainly considered information      10   again.
       11   from each of those entities. But I would make a     11          I have -- I have not seen any evidence
       12   statement I don't -- I don't recall from any of     12   that suggests that there is a singular cause of
       13   those entities seeing a single conclusion.          13   ovarian cancer.
       14   Q        Is it your opinion, Dr. Levy, that         14   MS. BROWN:
       15   talcum powder causes ovarian cancer?                15   Q        You have not seen sufficient evidence
       16   A        I wasn't asked to provide an opinion if    16   to suggest that talcum powder could be one of the
       17   talcum powder causes cancer. I was -- I was         17   causes of ovarian cancer; correct?
       18   asked to develop an opinion as to the biological    18   MS. O'DELL:
       19   plausibility of -- of talcum powder leading         19          Object to the form.
       20   to -- leading to change.                            20   A        I would disagree. As -- as stated,
       21           Now, that's what I was asked from the       21   the -- I have not seen evidence that there's a
       22   attorneys. If you're asking -- are you asking me    22   singular cause of ovarian cancer. I think there
       23   what my opinion is --                               23   is ample evidence that there are a multitude of
       24   Q        Well, I want to know if, in this case,     24   mechanisms that you can get cellular damage and


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        1   cellular change within the ovary which then leads    1   of observations and studies that
        2   to malignant transformation, and that, as stated     2   have -- certainly exist. And, again, their
        3   in the report, there's a biologically plausible      3   review and -- and content is what went to the
        4   mechanism that exposure to talcum powder and its     4   opinions in my report.
        5   constituents can create those necessary changes.     5   Q       And most of the studies that you cite,
        6   MS. BROWN:                                           6   Dr. Levy, talking about chronic inflammation
        7   Q        Do you believe, Doctor, there's             7   refer to chronic inflammation as a hypothesis of
        8   sufficient evidence that talcum powder, through      8   one of the ways cancer might form in the ovary.
        9   chronic inflammation, causes ovarian cancer in       9   Correct?
       10   some individuals?                                   10   MS. O'DELL:
       11   A        No. That -- that was not my -- not my      11          Object to the form.
       12   opinion or statement. And I would say               12   A       Let me -- sorry. Let me read your
       13   specifically chronic inflammation is, again,        13   question.
       14   narrowing the focus in an inappropriate way, and    14          No. I would disagree. At least,
       15   the evidence doesn't illustrate that chronic        15   certainly not most of the studies that I cite.
       16   inflammation is a singular sufficient detail or,    16   MS. BROWN:
       17   I should say, effect to result in ovarian cancer.   17   Q       Do you believe chronic inflammation is
       18   It's certainly a factor, as -- as well described    18   an established mechanism of ovarian cancer?
       19   in the -- in the literature.                        19   A       Yes, in the sense that chronic
       20          And -- and, again, I would defer to          20   inflammation is a well-established mechanism of
       21   other expert reports that have similar opinions     21   cancer in general, including ovarian cancer.
       22   regarding inflammation, chronic inflammation        22   This is first observed in the 1800s and has since
       23   being one of them.                                  23   been -- become well-established in the -- in the
       24          And it may be important to provide an        24   cancer field that inflammation plays a

                                                Page 115                                                 Page 117
        1   important distinction that cellular damage or        1   significant role in both the initiation as well
        2   what we can refer to as acute inflammation can       2   as progression of cancer.
        3   cause -- certainly has been shown and is             3   Q        What methodology did you employ for
        4   well-evidenced that it causes -- can lead to         4   coming to the opinion that chronic inflammation
        5   molecular changes that can lead to cancer.           5   is a well-established cause of ovarian cancer?
        6          Chronic inflammation is a slightly --         6   A        Just general mechanism in terms of
        7   is in a slightly different biological perspective    7   evaluating biological plausibility.
        8   in that it provides the correct environment for      8   Q        I understand, Dr. Levy, you have a
        9   those cancerous changes to take hold and allow       9   general opinion that chronic inflammation can
       10   malignant transformation, as I mentioned.           10   lead to some cancer. Is that right?
       11          So I -- I do view them as working in         11   MS. O'DELL:
       12   concert but not necessarily independent. So when    12           Objection to form. Misstates his
       13   you ask a question that specifically narrows it     13   testimony.
       14   to chronic inflammation or even acute               14   A        I -- I have an opinion regarding the
       15   inflammation in a singular fashion, you know, my    15   role and importance of inflammation in the
       16   answers will largely be the same, that that's, in   16   initiation and progression of cancer.
       17   and of itself, is too limited to describe as a      17   MS. BROWN:
       18   specific cause, singular or otherwise, of ovarian   18   Q        And, as it relates to ovarian cancer,
       19   cancer or of cancer in general.                     19   what methodology did you employ to arrive at your
       20   Q        You'd agree that the research regarding    20   conclusion that chronic inflammation is an
       21   whether chronic inflammation can cause ovarian      21   established cause of ovarian cancer?
       22   cancer is ongoing?                                  22   A        I -- I did not arrive at that specific
       23   A        Yes, I would agree it is -- it is          23   conclusion, nor was I asked to.
       24   ongoing research. But there are a large number      24   Q        You do not believe that chronic


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        1   inflammation has been established as a cause of      1   from animal models to in vitro studies, in vivo
        2   ovarian cancer; correct?                             2   studies, cohort studies, case-control studies.
        3   MS. O'DELL:                                          3   There was quite a broad spectrum of information
        4          Object to the form.                           4   across a large number of years.
        5   A       No, that -- that's not what I said.          5   Q       Do you believe you reviewed the
        6   MS. BROWN:                                           6   totality of the epidemiology on talcum powder use
        7   Q       Explain it to me.                            7   and ovarian cancer?
        8   A       I've stated that chronic inflammation        8   MS. O'DELL:
        9   or inflammation in general, including chronic and    9          Object to the form.
       10   acute infor -- inflammation, is a component and a   10   A       I -- I reviewed the available studies
       11   necessary component for the initiation and          11   that appeared to be relevant for the -- for the
       12   progression of -- of cancer as we understand it     12   opinions that are expressed in my report.
       13   today. And, in that, cancer, certainly ovarian      13   MS. BROWN:
       14   cancer as well as a variety of other cancer         14   Q       And when you say "available," what do
       15   types, is included.                                 15   you mean?
       16   Q       What methodology did you employ to          16   A       Meaning that I could -- I could
       17   arrive at the conclusion that ovarian cancer is     17   discover in the scientific literature.
       18   one of the cancers that can be caused by chronic    18   Q       Did you conduct your own literature
       19   inflammation?                                       19   searches in connection with your work in this
       20   MS. O'DELL:                                         20   case?
       21          Object to the form. Misstates his            21   A       I did.
       22   testimony.                                          22   Q       How did you go about finding the
       23   A       Yeah. Again, we're not -- I'm not           23   totality of the evidence relating to whether
       24   making a specific causal opinion with respect to    24   talcum powder causes ovarian cancer?


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        1   any -- whether -- whether inflammation, talcum       1   A        So the -- my methodology for the
        2   powder use or other exposures. I -- my -- my         2   literature review in establishing my opinion
        3   opinion in the report is -- is -- was not asked      3   regarding the biological plausibility of talcum
        4   to be a causal opinion.                              4   powder exposure inflammation and its potential
        5   MS. BROWN:                                           5   role in ovarian cancer was based on, you know, my
        6   Q       You reference on page 2 of your report       6   activities and many other literature searches, so
        7   that your opinions are based on assessing and        7   using a variety of computational tools and -- and
        8   weighing the totality of the evidence, including     8   web-based resources, from journals to, I would
        9   relevant literature and available documentation      9   say, primarily PubMed being a resource, but also
       10   and your experience as a geneticist and             10   ISI, Web of Science, Google Scholar and a variety
       11   scientific researcher. Do you see that?             11   of -- bioRxiv and I'm sure a number of other
       12   A       Yes.                                        12   sources. But those were probably the more
       13   Q       What do you mean by "the totality of        13   primary resources for establishing what
       14   the evidence"?                                      14   literature was available.
       15   A       All of the evidence available at the        15   Q        Did you ask the plaintiffs' lawyers for
       16   time that I was researching this report.            16   any scientific literature that you used in
       17   Q       All of the evidence concerning what?        17   forming your opinions in this case?
       18   A       Concerning a variety of subjects            18   A        What do you mean by "ask"? There
       19   surrounding ovarian cancer, talcum powder use,      19   is -- as far as did I ask for their similar
       20   and then inflammation and related subjects as my    20   process, no.
       21   literature review and review of available           21           There were some papers that I had
       22   information progressed.                             22   identified but was not able to access the full
       23          So there was a, I guess, a large number      23   content via the libraries that I have access to.
       24   of tangential directions that -- that I examined,   24   So in some of those cases, specific references


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        1   that I provided, those full -- that full content     1   relying on information in that article to form
        2   was provided by the plaintiffs' lawyer to allow      2   your opinions in this case?
        3   me to review it.                                     3   A        No. I'm not relying on any singular
        4   Q       Did the plaintiffs' lawyers give you a       4   article or source to form my opinion on the case.
        5   set of epidemiology on which you're relying on to    5   Q        Are you relying in part on the
        6   form your opinion?                                   6   information contained in the Blount article?
        7   A       No, they did not.                            7   A        Since I include it in the cited
        8   Q       If I look at your report, I see a            8   literature, certainly in some -- in some part.
        9   reference list and then a separate Exhibit B. Is     9   Q        What information are you relying on in
       10   that right?                                         10   the Blount article?
       11   A       Yes.                                        11   A        I would have to review the article to
       12   Q       So, for example, on page 18 of your         12   remind myself where the --
       13   report, you have a list of literature cited.        13   Q        Take a look at it. We'll pull it right
       14   Correct?                                            14   now.
       15   A       Yes.                                        15          What about Paoletti on page 22? Was
       16          Let me make sure I have the page             16   that something you found on your own or did the
       17   correct.                                            17   lawyers give you that?
       18          Yes, beginning on page 18.                   18   A        So Paoletti --
       19   Q       Is everything that appears in the           19   Q        Uh-huh.
       20   literature-cited list something that you found on   20   A        Page 22?
       21   your own, Dr. Levy?                                 21   Q        Uh-huh.
       22   A       I would have to review the -- the list.     22   A        Actually, the Paoletti one is familiar.
       23   But there are certainly --                          23   That's an interesting one because it's in
       24          Let me --                                    24   Italian.

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        1           I believe the Saed abstracts, as an          1   Q       Are you relying on the information in
        2   example --                                           2   the Paoletti article to form your opinions in the
        3           Let me see if there are --                   3   case?
        4           No. I -- I believe, in the literature        4   A       Again, the -- I wasn't relying on any
        5   cited, there are certainly some number of            5   singular article but instead tried to present and
        6   examples of information that was provided during     6   provide reference to as comprehensive a
        7   the course of the development of my report from      7   collection of relevant literature in this -- in
        8   the plaintiffs' attorneys in terms of literature     8   this space as possible, of which Paoletti,
        9   for my consideration, but that in no case -- in      9   although being in Italian, there were some --
       10   every case it was provided as a -- as               10   enough translated aspects of that that it was
       11   information.                                        11   worthy to include in the -- in that cited
       12           The vast majority or nearly the             12   literature as being relevant to the -- to
       13   totality of this was information that I had --      13   those -- to those opinions.
       14   that I indeed discovered myself and shared with     14   Q       Just to make sure we get on the same
       15   the -- the attorneys, but certainly not complete.   15   page here, Dr. Levy, when I ask are you relying
       16   Q         On page 18 you cite an article by         16   on something, I don't mean by that question to
       17   Blount.                                             17   suggest it's the only thing you're relying on.
       18           Do you see that?                            18   And I'll try to say "in part" to make it easy for
       19   A         Yes.                                      19   us. Okay?
       20   Q         Was that given to you by the              20   A       Right. Just want to be -- make sure
       21   plaintiffs' lawyers?                                21   we're clear.
       22   A         I'd have to look at my records. I         22   Q       Absolutely. So do I.
       23   don't recall.                                       23          And I want to know are you relying in
       24   Q         Off of the top of your head, are you      24   part on anything in the Paoletti article to form


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        1   your opinions in this case?                          1   presented.
        2   A       I would say in -- in part. As far as         2   MS. BROWN:
        3   my opinions regarding the biologically plausible     3   Q        Do you believe that baby talc alone can
        4   mechanism that was presented, no, it does not        4   cause inflammation that may lead to ovarian
        5   rely on that specific conclusions of that paper      5   cancer?
        6   but, rather, that paper was included because of      6   A       Based on my review of the literature,
        7   its results regarding asbestos contamination in      7   there are a number of studies, both of those
        8   industrial talc, which only support -- add           8   involving human studies in terms of case
        9   support to the mechanism that I presented in the     9   controls, as well as a number of animal studies
       10   report.                                             10   and then, more specifically, in vitro studies
       11   Q       Is your opinion in this case, Doctor,       11   that look at talcum powder and its ability to
       12   based on an assumption that baby powder contains    12   produce clear markers of inflammation.
       13   asbestos?                                           13          I am -- the -- I am not aware of any
       14   A       No, it is not.                              14   specific testing that looked at platy talc
       15   MS. O'DELL:                                         15   individually as a singular component without
       16          Object to the form.                          16   the -- or out of the context of the products we
       17   MS. BROWN:                                          17   were just describing in a similar analysis. So I
       18   Q       Is your opinion in this case based on       18   don't -- I don't know that answer.
       19   an assumption that baby powder contains             19   Q        Is it your opinion that
       20   fragrances?                                         20   Johnson & Johnson baby powder products are
       21   MS. O'DELL:                                         21   contaminated with asbestos?
       22          Objection to form.                           22   MS. O'DELL:
       23   A       My -- my opinion considers the totality     23          Object to the form. Asked and
       24   of the constituent components of baby powder,       24   answered.

                                                Page 127                                                 Page 129
        1   Shower to Shower, you know, under -- either, as      1   A        I -- I -- I have -- I have been
        2   we've been referring to it simply as talc or         2   provided expert report, and some of those are
        3   talcum powder or by trade names such as              3   referenced in the -- in the report, as we were
        4   Johnson & Johnson or Shower to Shower, so the --     4   describing, that describe testing of a number
        5   my opinions, as stated in the report, being          5   of -- number of samples,
        6   reasonably -- or trying to be reasonably             6   included -- Johnson & Johnson included in that,
        7   comprehensive. Therefore, it's not, you know,        7   that showed how they -- that the results of those
        8   limited to any -- any singular component, whether    8   reports showed contamination by asbestos or --
        9   it be majority or minority, in the -- in the         9   or -- or asbestos-like fiber. So, therefore,
       10   talcum powder products, as I just stated.           10   I've been presented with that evidence.
       11   MS. BROWN:                                          11   MS. BROWN:
       12   Q       Is your opinion in this case based on       12   Q        Have you relied on that evidence in
       13   an assumption that Johnson & Johnson baby powder    13   forming your opinions in this case?
       14   products contain heavy metals?                      14   A        Again, no, not -- not as a singular
       15   MS. O'DELL:                                         15   evidence. So, as we just discussed a moment ago,
       16          Objection to form.                           16   that is a component piece of evidence that
       17   A       Again, similar to the earlier               17   leads -- and is supportive of the biologically
       18   statement, the opinion is not subject to            18   plausible mechanism described in the report.
       19   any -- any singular component. I think the          19          You know, certainly, it is inarguable
       20   information regarding the -- in deferring to some   20   that asbestos and asbestos-like fibers cause
       21   of the other experts regarding the knowledge of     21   inflammation. There's also ample evidence of the
       22   constituent components, whether they be heavy       22   inflammatory effects of talc. And -- and talc
       23   metals or asbestos, only helps to support the       23   pleurodesis, for example, is -- is designed to
       24   biological plausibility of the mechanism I          24   produce inflammatory response as a treatment.


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        1          So I think, again, similar to the             1   in any of the above-referenced studies.
        2   relationship of asbestos and inflammation, it's a    2   MS. O'DELL:
        3   well-established scientific fact that talc has an    3          Objection. Misstates his testimony.
        4   inflammatory role now. Or I should say as of         4   A       So reading -- reading back my
        5   today.                                               5   testimony --
        6   Q       Have you attempted to quantify, based        6   MS. BROWN:
        7   on the reports of Dr. Longo that you reviewed,       7   Q       So, Doctor, I see that you're looking
        8   how much asbestos contamination is in                8   at the realtime?
        9   Johnson & Johnson baby powder products?              9   A       Yes.
       10   MS. O'DELL:                                         10   Q       To get clarification on the question?
       11          Objection. Vague as to form.                 11   A       No. To -- to remem- -- to -- you asked
       12   A       I --                                        12   me a question about my statement.
       13   MS. O'DELL:                                         13   Q       Correct.
       14          As to the volume and time contained,         14   A       And I was reviewing specifically what I
       15   et cetera.                                          15   had stated so I could answer your question
       16   A       My -- my answer is simply that I wasn't     16   accurately.
       17   asked to quantify that as part of my report.        17   Q       Terrific. So I want to know what you
       18   MS. BROWN:                                          18   were talking about when you said you were unable
       19   Q       Whether there is asbestos in Johnson &      19   to discover the contamination rate.
       20   Johnson baby powder products or not does not        20   A       To clarify, I was not asked to estimate
       21   impact your opinions in this case; is that right?   21   or determine the contamination rate, and my
       22   MS. O'DELL:                                         22   statement regarding that was in reference to the
       23          Object to the form.                          23   material I reviewed and the literature that is
       24   A       The opinions regarding the biological       24   referenced in my report. I don't recall in any


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        1   plausibility described in my report and its          1   of those studies observing a specific statement
        2   relationship to asbestos are somewhat separate,      2   of amount of asbestos in the talcum powder
        3   meaning that I have -- I was not able to discover    3   products that were under study. So, therefore, I
        4   what the contamination rate or content of            4   am not able to form an opinion surrounding that
        5   asbestos was in any of the referenced studies        5   contamination rate.
        6   through the course of my report, so, therefore, I    6   Q      Would the same be true, Doctor, for
        7   can't comment on the likelihood or -- of -- of       7   heavy metals?
        8   how many or any -- or any or all of those samples    8   A      Yes, that's correct.
        9   contain asbestos.                                    9   Q      And when I say the same would be true,
       10   MS. BROWN:                                          10   that means you were not able to calculate a rate
       11   Q        And sounds like you did some work          11   of heavy metal contamination of any of the talcum
       12   attempting to see if you could calculate a          12   powder products in the studies you reviewed?
       13   contamination rate. Is that what you were           13   MS. O'DELL:
       14   describing?                                         14         Objection. Vague.
       15   MS. O'DELL:                                         15   A      I was not asked to.
       16           Object -- object to the form.               16   MS. BROWN:
       17   Misstates his testimony.                            17   Q      Did you attempt to quantify the amount
       18   A        No. No, not at all. I stated that I        18   of heavy metals?
       19   didn't have information available to assess         19   MS. O'DELL:
       20   either -- either way.                               20         Objection.
       21   MS. BROWN:                                          21   A      I certainly reviewed the literature to
       22   Q        Tell me what you meant when you            22   understand what information was available
       23   testified that you were not able to discover what   23   regarding the products that may have been used
       24   the contamination rate or content of asbestos was   24   and what testing may have been done on


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        1   those -- on those products.                         1   fragrances as well as asbestos, I would say my
        2   MS. BROWN:                                          2   opinion now is that that information continues to
        3   Q       And, as it relates to fragrances, have      3   support the biologically plausible mechanism
        4   you calculated the amount of fragrances that are    4   presented in my report.
        5   present in Johnson & Johnson's baby powder          5   MS. BROWN:
        6   products?                                           6   Q        Your opinion that chronic inflammation
        7   MS. O'DELL:                                         7   is a biologically plausible mechanism by which
        8         Objection to form.                            8   talcum powder could cause ovarian cancer is not
        9   A       I -- I wasn't asked to -- to make those     9   dependent on heavy metals being present in talcum
       10   calculations. And I would defer to other expert    10   powder; correct?
       11   reports that I had an opportunity to review        11   MS. O'DELL:
       12   recently that did perform those calculations.      12          Object to the form. Asked and
       13   MS. BROWN:                                         13   answered.
       14   Q       Your opinions in this case are not         14   A        My -- my opinions are not based on --
       15   dependent on whether or not --                     15   on any singular component or constituent because
       16   A       I think that was --                        16   the -- the available information did not
       17   Q       -- there are fragrances in                 17   scientifically test any singular components
       18   Johnson & Johnson's baby powder; correct?          18   or -- or allow --
       19   MS. O'DELL:                                        19          I'm not aware of any studies that
       20         Objection.                                   20   examine the inflammatory or other effects of
       21   A       Sorry. Let me read that.                   21   talcum powder that contained heavy metals versus
       22         Sorry. Could you rephrase your               22   did not.
       23   question? The question that appears on the         23   MS. BROWN:
       24   monitor is that there are fragrances in            24   Q        So, for purposes of your opinions in


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        1   Johnson & Johnson baby powder, question mark.       1   this case, for your piece of the puzzle, so to
        2   MS. BROWN:                                          2   speak, it is not important to you whether or not
        3   Q       That's why it's tricky when you read        3   there are heavy metals in baby powder; correct?
        4   the realtime. Just listen to my question. It'll     4   MS. O'DELL:
        5   be more helpful.                                    5          Objection to form. Asked and answered.
        6          Your opinion in this case is not             6   A       No, that's not correct. I would say
        7   dependent on whether or not there are fragrances    7   the presence of all of the constituent components
        8   in Johnson & Johnson baby powder. Correct?          8   is very important for -- from the -- from the
        9   MS. O'DELL:                                         9   perspective of that biologically plausible
       10          Excuse me. Objection to form.               10   mechanism, and that includes the type of talc,
       11          You may refer to realtime any time you      11   the structure of the talc, you know, its -- any
       12   want to, Doctor.                                   12   potential contaminants that are there, as well as
       13          But I object to the form of the             13   the complete spectrum of other constituent
       14   question.                                          14   components, fragrances, heavy metals.
       15   A       So my -- my -- I was -- what was           15          And, of course, fragrances have their
       16   requested of me, again, stating for clarity, was   16   own milieu of constituent components that, again,
       17   to describe a biologically plausible mechanism     17   I was not asked to comment on or describe in
       18   for talc and all of its constituent components     18   detail but certainly are part of the overall
       19   having a role in inflammation and progression to   19   studies.
       20   ovarian cancer based on -- on the information at   20   MS. BROWN:
       21   hand.                                              21   Q       You have a conclusion in your report on
       22          Certainly the fact, as we've been           22   page 17, Doctor, conclusion number 2, that talcum
       23   provided later, the ex- -- the recent review of    23   powder products cause chronic inflammation.
       24   some other expert reports regarding the            24          Do you see that?


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        1   A        Yes.                                        1   don't know if any of the studies used -- used
        2          And I would -- and then my conclu- --         2   that. I'd have to, again, would have to review
        3   Q        Hold on. No question yet.                   3   some of that information to determine if there
        4   A        Okay.                                       4   was a -- if that was a variable in any of the
        5   Q        And what I want to know, Doctor, is how     5   given studies that are the basis of the report.
        6   do you define the talcum powder products that        6   Q       What methodology did you employ here in
        7   you've listed here on page 17 of your report?        7   coming to your conclusion that chronic
        8   A        Primarily the products that are -- when     8   inflammation is caused by talcum powder products?
        9   I consider the totality of everything that I've      9   MS. O'DELL:
       10   been examining, the talcum powder products,         10          Objection. Asked and answered.
       11   including Johnson & Johnson and Shower to Shower    11   A       Yeah. Again, to restate, similar to
       12   as, you know, I refer to those consumer products    12   the earlier questions, the -- my methodology was
       13   under the term "talcum powder."                     13   based on standard methodology for establishing
       14   Q        What about other consumer talcum powder    14   biological plausibility, which is a, in a
       15   products? Are they included in your conclusions     15   summary, a review of the totality of the evidence
       16   here on page 17?                                    16   and then a summary of that to establish if, based
       17   MS. O'DELL:                                         17   on established or -- or known or factual
       18          Object to the form.                          18   principles, is there a -- can -- can a mechanism
       19   A        So my -- my conclusions are based on       19   described go from cause to effect in a -- again,
       20   the -- on the literature review. And, similar to    20   in an evidence-supported biologically plausible
       21   our discussions regarding contaminants and the      21   manner.
       22   ability to quantitate those, many of the studies    22          There's a few references I can provide
       23   did not specifically delineate which product or     23   you that describe that method in a published
       24   the timing of that product.                         24   manner, if that's helpful.


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        1         In contrast, some of the more recent           1   MS. BROWN:
        2   information available specific to the                2   Q        That would be helpful.
        3   constituents did meet that definition, so I would    3   A        They are -- these are our --
        4   say these conclusions apply to both the specific     4   MS. O'DELL:
        5   products that I mentioned, Johnson & Johnson and     5          These are mine.
        6   Shower to Shower, as well as potentially other       6   THE WITNESS:
        7   products. But quant- -- quantifying which study,     7          Yeah.
        8   I would have to go through study by study to         8          There's a -- I can get them --
        9   answer any questions about which specific may be     9   MS. BROWN:
       10   included.                                           10   Q        Are the published methods referenced in
       11   MS. BROWN:                                          11   your report, Doctor?
       12   Q       Do you include talc-containing              12   A        No, actually, those are not.
       13   deodorizing sprays in your definition of a talcum   13   Q        Okay. How would you go about finding
       14   powder product?                                     14   the published methods that contain a description
       15   A       None of the literature that -- that I       15   of the methodology you employed in this case?
       16   reviewed or can recall was limited to those         16   A        No. It's that I was just saying that
       17   deodorant sprays in terms of a -- as a study        17   there's a published -- peer-reviewed published
       18   variable that I can -- that I can think of.         18   article that is the same as the method I used, if
       19   Q       I'm not sure what you mean by that.         19   you -- if you wanted to review that. I didn't
       20   A       So the -- the basis of this report was      20   reference this specific paper in the report.
       21   on the talcum powder products, and I don't recall   21   Q        Okay. And you have a -- do you have a
       22   any of the studies that delineated talcum powder    22   copy of that in front of you right now, Doctor?
       23   as a powder versus a talc-containing deodorant      23   A        I do.
       24   spray as a -- as a variable in the study. So I      24   Q        Okay. So let's mark that as Exhibit


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        1   14.                                                  1   MS. O'DELL:
        2         (DEPOSITION EXHIBIT NUMBER 14                  2          Object to the form.
        3          WAS MARKED FOR IDENTIFICATION.)               3   A        No, that's not true.
        4   MS. BROWN:                                           4   MS. BROWN:
        5   Q       The title of the document is                 5   Q        The lawyers for plaintiffs found
        6   "Evaluating Biological Plausibility in Supporting    6   Exhibit 14 in the scientific literature; correct?
        7   Evidence For Action Through Systematic Reviews in    7   A        That's correct.
        8   Public Health."                                      8   Q        In reviewing the scientific literature,
        9          When is the first time you reviewed           9   did you pay attention to the articles that
       10   this document, Doctor?                              10   classify different types of talcum powder
       11   A       In the last -- the last day or so.          11   products?
       12   Q       Was the document provided to you by the     12   MS. O'DELL:
       13   lawyers for plaintiffs?                             13          Object to the form.
       14   A       Yes.                                        14   A        Could you give a specific example, and
       15   Q       The document is not referenced in your      15   then I --
       16   report. True?                                       16          I wouldn't be able to answer without
       17   A       It is not referenced. That's correct.       17   knowing.
       18   Q       You did not review the document prior       18   MS. O'DELL:
       19   to writing your report; correct?                    19   Q        Sure.
       20   A       That's right.                               20          Do you understand that some of the talc
       21   Q       The document was something the lawyers      21   epidemiology separates use by type of talcum
       22   for plaintiffs gave you after you had already       22   powder product?
       23   written and authored your report; correct?          23   MS. O'DELL:
       24   A       That's correct. I provided that as an       24          Objection to form.

                                                Page 143                                                 Page 145
        1   example of the -- of a published example of the      1   A        Again, do you have a specific example
        2   methodology that I employed.                         2   of one of the studies so I could -- so I'd be
        3   Q       You didn't endeavor to research the          3   able to accurately answer your question?
        4   scientific literature to find a published --         4   MS. BROWN:
        5   published example of your methodology, did you?      5   Q        Here's what I want to know. Did you
        6   MS. O'DELL:                                          6   look at the studies that separated deodorizing
        7          Objection to form.                            7   sprays from powder products from cornstarch, for
        8   A       I -- it wasn't -- that wasn't what I         8   example?
        9   was -- I wasn't asked to reference the               9   A        Certainly in my review I made as
       10   methodology in my report. I was, again, asked to    10   comprehensive a review of available literature
       11   provide an opinion on a biologically plausible      11   as -- as possible. And, again, if you can name a
       12   mechanism and then, since our discussion has        12   specific study or one of the references, I can
       13   transferred to methodology, to be complete, I       13   confirm if that was -- if that was part of
       14   wanted to provide an example of a published         14   the -- my review of the epidemiology.
       15   version of the methodology that -- that is          15   Q        Do you hold the opinion that talcum
       16   similar to or at least describes in a summary or    16   powder-containing deodorant sprays causes
       17   really in that particular paper an exemplary        17   inflammation?
       18   fashion of the criteria for biological              18   MS. O'DELL:
       19   plausibility and the methods used therein.          19          Objection to form. Vague.
       20   MS. BROWN:                                          20   A        So if the --
       21   Q       Exhibit 14 is the product of research       21          Again, I was asked to provide an
       22   the lawyers for plaintiffs conducted on a           22   opinion on the biologically plausible mechanism
       23   published article regarding your methodology.       23   regarding talc and talcum powder. So,
       24   True?                                               24   presumably, any product that contains talcum


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        1   powder could possibly follow that same               1          Objection to form. Vague.
        2   biologically plausible mechanism.                    2   A        My -- my opinions are based on the
        3   MS. BROWN:                                           3   available scientific literature regarding the
        4   Q        Is there a certain amount of talcum         4   testing performed on talcum powder and talcum
        5   powder that a product must contain to cause          5   powder products.
        6   inflammation?                                        6          I -- in my review of those results, I
        7   MS. O'DELL:                                          7   did not see a specific enumeration of any one
        8           Objection to form.                           8   particular chemical composition that was -- had a
        9   A        That wasn't something I was asked           9   greater or lesser cause or effect relationship.
       10   to -- to quantify, similar to the discussions we    10   MS. BROWN:
       11   had about metals, fragrances, and asbestos.         11   Q        Do you know how much talcum powder is
       12   MS. BROWN:                                          12   in the Shower to Shower product?
       13   Q        In forming your opinion that talcum        13   A        No. I wasn't -- I wasn't asked to
       14   powder products cause inflammation, you have not    14   quantify that, and I would defer to some of the
       15   attempted to quantify how much talcum powder is     15   other expert reports regarding the composition of
       16   in those products; is that right?                   16   those products.
       17   MS. O'DELL:                                         17   Q       Do you include cornstarch as a talcum
       18           Objection to form. Asked and answered.      18   powder product?
       19   A        So my -- my review included a number of    19   MS. O'DELL:
       20   studies that looked at exposure rates, and my       20          Object to the form.
       21   review also included the review of some studies     21   A        Cornstarch was included in some of the
       22   that did not include use frequency as well as use   22   epidemiology studies, as you -- as you mentioned
       23   duration. And, so, both of those considerations     23   a moment ago.
       24   in terms of my review of the epidemiology were      24   MS. BROWN:


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        1   undertaken, but I did not attempt to quantify        1   Q       Do you consider cornstarch to be a
        2   those relationships specifically.                    2   talcum powder product that also causes
        3   MS. BROWN:                                           3   inflammation?
        4   Q        Okay. So there's two different issues       4   MS. O'DELL:
        5   there that I want to ask you about. One, I want      5          Object to the form.
        6   to talk to you about whether the talcum powder       6   A       My -- my review of the literature
        7   products you've described on page 17 of your         7   doesn't -- I'm thinking through the available
        8   report have a specific composition, in your mind.    8   studies, and I don't recall which studies that
        9   Okay?                                                9   may -- may have been a dependent variable in
       10          Two, I want to talk to you about what        10   terms of the determination. So I -- I can't
       11   you were just answering, which is is there a        11   answer that. I -- I don't have the information
       12   specific amount of the product that you believe     12   to answer that accurately.
       13   causes inflammation.                                13   MS. BROWN:
       14          Do you understand the difference?            14   Q       So, sitting here today, you're not sure
       15   A        I do.                                      15   if cornstarch would be a talcum powder product
       16   MS. O'DELL:                                         16   that causes inflammation as you described on page
       17          Objection to form.                           17   17?
       18   MS. BROWN:                                          18   MS. O'DELL:
       19   Q        Okay. So let's start, one, with the        19          Objection.
       20   product. In forming the opinion that talcum         20   A       No. So --
       21   powder products cause inflammation, is there a      21   MS. O'DELL:
       22   particular chemical composition that you are        22          Misstates the testimony.
       23   relying on?                                         23          But you may answer if you understand
       24   MS. O'DELL:                                         24   the question.


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        1   A        So corn -- cornstarch and -- and talcum     1   on knowledge of how much talcum powder is
        2   powder are -- are -- when I'm referring to talcum    2   actually in the product; correct?
        3   powder and talcum powder products, cornstarch, as    3   MS. O'DELL:
        4   a singular component -- or singular product, is      4           Objection. Misstates his testimony.
        5   not included in that definition.                     5   A        Again, not a -- it wasn't part of -- it
        6          Now, whether products that contain talc       6   wasn't an opinion I was asked to provide.
        7   also contain cornstarch, I -- I'm not able to        7           The -- the only -- or, I should say,
        8   say.                                                 8   a -- a study that looked at the -- summarizing
        9   MS. BROWN:                                           9   the epidemiology literature that I reviewed, some
       10   Q        Right. And so that's my question.          10   of those studies had a duration and component as
       11   What about a product like Shower to Shower that     11   far as general talcum powder and talcum powder
       12   contains talc and cornstarch? How have              12   product use.
       13   you -- what methodology have you employed to        13   MS. BROWN:
       14   arrive at the conclusion that the Shower to         14   Q        And I want to --
       15   Shower product causes inflammation?                 15   A        I don't --
       16   MS. O'DELL:                                         16   MS. O'DELL:
       17          Object to the form.                          17           Excuse me. Let him finish.
       18   A        So my -- what I was requested was to       18   A        I was -- I was going to say I don't
       19   write an opinion as to the, again, the              19   recall those quantitating the percentage of
       20   biologically plausible mechanism that exposure to   20   talcum powder in a -- in a given product in the
       21   talc and its constituents can lead to               21   study.
       22   inflammation.                                       22   MS. BROWN:
       23          I wasn't asked to provide as to what         23   Q        Right. And, so, you're getting a
       24   the minimum or maximum thresholds are of any        24   little into the second question, which I do want

                                                Page 151                                                 Page 153
        1   product or of any component of that product or       1   to talk about, which is how much people are
        2   constituent.                                         2   exposed to.
        3          The information I was provided was the        3           But sticking with just what's in the
        4   analysis of products like Shower to Shower and       4   product, have you made a determination that there
        5   Johnson & Johnson's product, to evaluate the         5   is a threshold amount of talcum powder that is
        6   spectrum of talc and asbestos contamination in       6   required to be in a product before you can
        7   some of the constituent components, and then --      7   conclude that that product will cause chronic
        8   and, therefore, develop an opinion as to             8   inflammation?
        9   the -- whether or not that those products are        9   MS. O'DELL:
       10   supported by the same mechanism that I developed    10           Objection to form. Asked and answered.
       11   the opinion on, meaning they have the constituent   11   A        I -- again, I wasn't asked to provide
       12   components to cause inflammation.                   12   that -- that threshold opinion.
       13   MS. BROWN:                                          13   MS. BROWN:
       14   Q       You have not made a determination of a      14   Q        And understanding whether or not there
       15   particular amount of talcum powder that is          15   is a threshold of how much talcum powder has to
       16   required to be in a product for it to cause         16   be in a product to cause inflammation is not
       17   chronic inflammation; correct?                      17   necessary for you to opine that talcum powder
       18   MS. O'DELL:                                         18   products cause chronic inflammation?
       19          Object to the form.                          19   MS. O'DELL:
       20   A       I wasn't asked to provide such an           20           Objection. Misstates his testimony.
       21   opinion.                                            21   A        So my -- my use of the terminology
       22   MS. BROWN:                                          22   "talcum powder products" includes the product and
       23   Q       Your opinion that talcum powder             23   all of its constituent components, which would
       24   products cause chronic inflammation is not based    24   be, as we earlier discussed, talcum powder,


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        1   fragrances, and any contaminating substances,        1   exposure to inflammation to the initiation of
        2   such as asbestos or -- or heavy metals.              2   core progression of cancer. And that's -- that's
        3          And, so, therefore, to -- to more -- to       3   been the focus of my opinion.
        4   answer -- to be able to answer your question         4   MS. BROWN:
        5   accurately, we would -- I think we would have to     5   Q       Have you attempted to quantify talc
        6   have some discussions as to the type of talcum       6   exposure as it relates to individuals?
        7   powder and the level of exposure to be able to       7   A       No, I have not.
        8   answer that regarding my opinion in terms of         8          Again, my -- my opinions are primarily
        9   level.                                               9   limited to the -- to the biological mechanism.
       10          You know, the -- to clarify, the --          10   Q       Well, isn't that dependent, though, on
       11   during this research and the -- and having the      11   how much talc a person is exposed to?
       12   opportunity to review much of the literature in     12   MS. O'DELL:
       13   talcum powder, it's a -- it's a fascinating field   13          Objection.
       14   because it is similar to asbestos. It appears       14   A       No. Again, separating the -- so the
       15   that the diversity of products and the diversity    15   question of the mechanism is --
       16   of talc sources are like having a thorn bush with   16          Can an exposure result in a mechanism
       17   different size thorns, and, depending on the        17   is separate from how much of an exposure is
       18   constituent components, you know, those thorns      18   required to cause that mechanism.
       19   are bigger or smaller or otherwise. And -- but      19   MS. BROWN:
       20   my opinion is based on the fact that the presence   20   Q       So you've identified two questions for
       21   of any of those thorns is sufficient to cause       21   us. One, can exposure result in a mechanism.
       22   some inflammatory response.                         22   Correct?
       23   MS. BROWN:                                          23   A       (Nods affirmatively.)
       24   Q        Does a talcum powder product with 10       24   Q       And, two, how much of an exposure do

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        1   percent talc cause chronic inflammation, in your     1   you need to produce a mechanism. Correct?
        2   view?                                                2   MS. O'DELL:
        3   MS. O'DELL:                                          3          Objection to form.
        4           Object to the form. Incomplete               4   A        Correct.
        5   hypothetical.                                        5   MS. BROWN:
        6   A        I -- I don't have the information to        6   Q        And, in this case, you have answered
        7   answer that.                                         7   question number one, can exposure to talc cause
        8   MS. BROWN:                                           8   chronic inflammation. Correct?
        9   Q        Does a talcum powder product with           9   A        So my -- yeah. My -- my report details
       10   50 percent talc cause chronic inflammation, in      10   the -- that opinion regarding a biologically
       11   your view?                                          11   plausible mechanism.
       12   A        Again, I don't have the information to     12   Q        You have not, in this case, answered
       13   answer that.                                        13   question number two, which is how much exposure
       14   MS. O'DELL:                                         14   to talc is needed to cause chronic inflammation.
       15           Object to the form.                         15   Is that right?
       16   MS. BROWN:                                          16   MS. O'DELL:
       17   Q        Is it necessary for you to determine       17          Objection to form.
       18   the level of talc in a product before determining   18   A        I wasn't asked to provide such a
       19   that it can cause chronic inflammation?             19   mechanism or such a -- such an opinion.
       20   MS. O'DELL:                                         20          Part of my review included some of the
       21           Objection. Asked and answered.              21   epidemiology studies that examine that question,
       22   A        No. My -- my -- so my opinion was          22   but I certainly would defer to the -- the number
       23   asked to answer the question of can -- is there a   23   of -- of epidemiologists who are -- who are
       24   biologically plausible mechanism from talc          24   providing testimony in this case, rather than try


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        1   and paraphrase or opine on their work.              1   epidemiology studies found that conclusion and,
        2   MS. BROWN:                                          2   as -- as reviewed in the report, you know, found
        3   Q        Do you believe --                          3   an increased risk with increasing -- increasing
        4   MS. O'DELL:                                         4   exposure appears, with the current knowledge in
        5          Excuse me. We've been going about an         5   the literature, to increase risk. But my opinion
        6   hour and 15 minutes. I'd love to take a break in    6   was not to further quantify or further describe
        7   the next two or three minutes and --                7   that.
        8   MS. BROWN:                                          8   MS. BROWN:
        9          It will probably take me a little            9   Q        Many of the studies you looked at did
       10   longer than that, but I'm mindful of the time,     10   not show a dose response; correct?
       11   and I'll just finish this subject and take a       11   MS. O'DELL:
       12   break --                                           12          Objection to form.
       13   MS. O'DELL:                                        13   A        The limitation of several of the
       14          Well, Dr. Levy, would you like a break      14   studies I reviewed was that they did not examine
       15   now?                                               15   a dose response, so that, therefore, the study
       16   THE WITNESS:                                       16   was unable -- unable to make that conclusion
       17          I think we can finish this subject.         17   because they didn't look.
       18   MS. BROWN:                                         18   MS. BROWN:
       19          Thank you.                                  19   Q        And some of the studies that did
       20   THE WITNESS:                                       20   attempt to look at duration and/or frequency did
       21          I -- I'd rather conclude it than break      21   not show a linear dose response. Correct?
       22   it up.                                             22   A        I would have to look at the specific
       23   MS. BROWN:                                         23   studies. But in -- in summary, studies that did
       24   Q        So, Doctor, as it relates to how much     24   look at dose response, particularly more recent

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        1   talc is needed to cause inflammation that can       1   studies with larger numbers of participants, the
        2   cause cancer, that wasn't what you were asked to    2   meta-analysis studies, found a significant
        3   figure out in this case. Is that right?             3   relationship between duration of use as well as
        4   MS. O'DELL:                                         4   frequency of use in terms of their -- their risk
        5           Objection to form.                          5   ratios.
        6   A        No. Well, I -- I was -- I was asked to     6   Q        And you are not going to offer the
        7   provide a review of the literature in terms of      7   opinion in this case that a woman using Johnson's
        8   talc exposure and inflammation and, in that         8   Baby Powder products perineally is exposed to
        9   review, identified a number of studies that         9   enough talcum powder to cause chronic
       10   examined some relationships to dose.               10   inflammation that can cause cancer. True?
       11           But I -- as you -- as you see in my        11   MS. O'DELL:
       12   conclusions, none of them speak to dose or         12           Object to the form.
       13   duration in terms of that -- of that mechanism.    13   A        I -- I wasn't asked to -- to provide
       14   MS. BROWN:                                         14   that opinion.
       15   Q        You are not offering an opinion in this   15   MS. BROWN:
       16   case, Doctor, that perineal use of talcum powder   16   Q        And so, as such, you haven't attempted
       17   exposes an individual to enough talc to cause      17   to quantify how much talcum powder, as used
       18   chronic inflammation than can cause cancer;        18   perineally, might get to the ovary. Is that
       19   correct?                                           19   fair?
       20   MS. O'DELL:                                        20   A        Again, wasn't -- wasn't asked. I was
       21           Objection to form.                         21   able to review some of the literature that
       22   A        My review of studies that attempted to    22   is -- appears to be long -- longstanding, well
       23   answer that specific question found a -- or a      23   established over the last greater than 40 years
       24   number of studies, both -- or a number of          24   that show a clear -- and I believe the FDA


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        1   statement is -- is describing it as inarguable --    1   talc has to reach the ovary for the chronic
        2   that talc can migrate either from perineal           2   inflammation to occur. Is that right?
        3   exposure or even from inhalation exposure and be     3   MS. O'DELL:
        4   found in the ovary.                                  4          Objection.
        5          A quantitation of how much exposure is        5   A       Not -- specific to your question,
        6   required for that migration to occur and -- or       6   chronic inflammation, no, not necessarily.
        7   how many times of exposure that migration needs      7   MS. BROWN:
        8   to occur, I think it's been a fairly wide            8   Q       Is it your opinion in this case,
        9   diversity of -- of studies on that subject.          9   Doctor, that a woman can develop ovarian cancer
       10          And, so, based on that, I'm not able to      10   from chronic inflammation from talc without any
       11   offer an opinion as to a minimal or maximum dose    11   particle of talc ever reaching the ovary?
       12   required to get there, other than -- but,           12   MS. O'DELL:
       13   instead, state that there is enough evidence to     13          Objection to form.
       14   say factually that migration through the -- or      14   A       No, I didn't -- I -- I certainly did
       15   through at least two mechanisms of exposure, talc   15   not make that statement. And the --
       16   can be found in the ovary. And I would suggest      16          Again, restating the -- this summary of
       17   that -- or I'm not aware of any study that          17   my -- my opinion, that the biologically plausible
       18   quantitates that further.                           18   mechanism for talc exposure to inflammation to
       19   Q        Is it essential to your opinion that       19   cellular damage and then potentially creating the
       20   talc causes chronic inflammation that can lead to   20   correct environment is based on evidence showing
       21   ovarian cancer that some amount of talc be          21   talc exposure in the ovary.
       22   present in the actual ovary?                        22   MS. BROWN:
       23   MS. O'DELL:                                         23   Q       Okay. So critical to your opinion,
       24          Object to the form.                          24   then, some talc has to get to the ovary at some


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        1   A       So my -- my -- my opinion regarding the      1   time; right?
        2   biologically plausible mechanism, again, does not    2   A       Well, the -- again, the -- my opinion
        3   rely on duration of exposure or amount of            3   is not based on how talc migrates or -- or when
        4   exposure.                                            4   it can migrate. It's simply based on the, again,
        5          So, therefore, I would -- I would             5   that biological premise, that exposure to talc.
        6   answer your question directly that it would be       6          So I wasn't asked to opine whether or
        7   no, it does not -- it would not necessarily          7   not talc exposure in a neighboring tissue could
        8   require talc to be present at the ovary at any       8   cause enough of an inflammatory response to
        9   given time point for there to be the potential       9   affect the ovary.
       10   that she had some inflammatory injury due to talc   10          So there is the, certainly, the
       11   exposure at a previous time.                        11   uninvestigated secondary effects that perhaps
       12          That would, of course, be two different      12   talc did not -- is not necessary or -- and
       13   questions, one being effect of exposure and         13   required to get to the ovary to cause that
       14   second question being is there clearance of that    14   effect. I'm -- I'm just not aware of any studies
       15   exposure over time if use is discontinued.          15   that have made that delineation of talc exposure
       16          So that's, again, two different -- two       16   to neighboring or surrounding organs.
       17   very different scientific studies would be --       17          There is limited or some suggestion
       18   would be necessary.                                 18   regarding the inflammatory response related to
       19   MS. BROWN:                                          19   talc exposure in the lung that suggests that any
       20   Q       And you have not undertaken either of       20   talc exposure causes an inflammatory response.
       21   those studies. Is that fair?                        21   Again, but I can't point you to evidence that
       22   A       That's fair.                                22   would take that inflammatory response and tie it
       23   Q       And -- but essential to your theory,        23   specifically to ovarian cancer.
       24   though, Doctor, at some point, some amount of       24          So, again, my answer is there is not


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        1   enough evidence to -- to support nor refute that     1   by well-established biological facts?
        2   any talc exposure can lead to an increased risk      2   A        I would say the -- that chronic
        3   of ovarian cancer. What I do know from my review     3   inflammation as a component of causing ovarian
        4   of the literature is the studies that looked at      4   cancer is well established by biologically
        5   that specific exposure --                            5   plausible facts.
        6          And, to be clear, none of the                 6   Q        And what are those facts?
        7   epidemiology studies in humans quantitated the       7   A        I think a number of studies that
        8   amount of talc reaching the ovary. It was simply     8   include the, first, the -- that talc or talcum
        9   the exposure and the -- and the perineal use of      9   powder causes inflammation. These exist in a
       10   talc. So I think any discussion about how much      10   number of forms, including very recent -- recent
       11   did it reach the ovary and how long was it in the   11   research by Dr. Saed, as we were -- touched on a
       12   ovary is all hypothetical.                          12   little bit earlier in the -- in his paper, as
       13   Q        Why don't we go off the record and take    13   well as classical studies with talc pleurodesis
       14   a break.                                            14   where there's -- you know, the fundamentals of
       15          Thank you, Doctor.                           15   that treatment is the inflammatory response
       16   VIDEOGRAPHER:                                       16   caused by talc.
       17          Going off the record. The time is            17   Q        Uh-huh.
       18   11:51 a m.                                          18   A        And, so, that would be the -- some of
       19               (LUNCH RECESS.)                         19   the -- two examples of where factual information
       20   VIDEOGRAPHER:                                       20   or at least observations that are supportive
       21          We're back on the record. The time is        21   of -- of that information, you know, being
       22   12:52 p m.                                          22   considered as a bio- -- part of a biologically
       23   MS. BROWN:                                          23   plausible mechanism.
       24   Q        Welcome back, Doctor.                      24   Q        You would agree, Doctor, that not all

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        1          You were asked in this case to assess         1   inflammation causes cancer; correct?
        2   whether perineal use of talcum powder products       2   A        I would say inflammation is not
        3   induces a biologically plausible mechanism or        3   singularly responsible for cancer. However, I
        4   mechanisms that result in ovarian cancer.            4   would clarify that the progression from cellular
        5   Correct?                                             5   transformation to malignant cancer, at least with
        6   A        Correct.                                    6   our current understanding of cancer biology,
        7   Q       And define for us, if you will,              7   appears to have an inflammatory requirement,
        8   "biologically plausible mechanism" as you used it    8   meaning that all cases of chronic inflammation
        9   in that sentence.                                    9   don't necessarily cause cancer. However, our
       10   A        Excuse me. A mechanism that is             10   understanding of malignant transformation appears
       11   biologically plausible, I mean that it is           11   to have, universally, an inflammatory component.
       12   supported by either well-established biological     12   Q        Okay. You would agree, though, that
       13   facts or supported by at least a single line of     13   not all types of inflammation that the body
       14   evidence in published literature -- you know,       14   experiences is inflammation that will lead to
       15   generally speaking, peer-reviewed literature but    15   cancer. Correct?
       16   certainly not limited to that -- where when you     16   MS. O'DELL:
       17   take -- when you consider the totality of the       17          Object to the form.
       18   mechanism, that, essentially, each of the steps     18   A        So I would -- taking a step back
       19   makes sense and is -- is supported by -- through    19   and -- and -- or to orient us to some of the
       20   either direct or indirect observations.             20   basis of my opinions and some statements on
       21   Q        Okay. And, in this case, as it relates     21   general cancer biology --
       22   to talcum powder, do you believe that the           22   MS. BROWN:
       23   biologically plausible mechanism of chronic         23   Q        Well, let's start with just the
       24   inflammation causing ovarian cancer is supported    24   question, though, Doctor.


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        1   A       Okay.                                        1   cause cancer. The -- you need a contribution of
        2   Q       Okay. Let's just keep it to an answer        2   other factors. And what those factors are is --
        3   to the question. And then if you need an             3   some are understood. Some are areas of active
        4   opportunity to make another statement on the         4   research.
        5   record, that's fine.                                 5           In the -- in the specific case of
        6   MS. O'DELL:                                          6   ovarian cancer, it does appear, given the
        7          Excuse me. Just object to the                 7   late- -- given the observations about latency
        8   direction of the witness.                            8   period, that some level of chronic inflammation
        9          Dr. Levy, you can answer a question           9   appears to be critical, but there is no
       10   however you'd like.                                 10   definition of it being required to then having
       11   MS. BROWN:                                          11   acute inflammation, again, in summary, causing
       12   Q       And, just to orient you, Doctor, what       12   cellular damage and then chronic inflammation
       13   I'm after, the question was: Not all                13   providing a -- a supportive environment for that
       14   inflammation that takes place in the body is        14   transformation.
       15   inflammation that leads to cancer; correct?         15           And, again, I'm -- I'm generalizing,
       16   MS. O'DELL:                                         16   which, as we discussed earlier in the day, cancer
       17          Object to the form.                          17   is very complex, and so we have to be cautious
       18   A       So that, yeah, it's really too general      18   with generalizations.
       19   a question. So you're -- you're -- what you're      19   Q        Talc pleurodesis is a medical procedure
       20   asking is does all inflammation have the            20   by which talc is injected into the pleura;
       21   potential to have -- have a relationship to         21   correct?
       22   cancer, and the answer to that is -- is yes, it     22   A        Correct.
       23   does.                                               23   Q        And it is done that purposefully to
       24          Now, does every inflammatory response        24   elicit an inflammatory response. Correct?

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        1   directly cause cancer? And that's a question         1   A       That's correct.
        2   that I would say would be reasonable to -- in        2   Q       And have you looked in consid- --
        3   layperson's terms, in terms of general               3   forming your opinions in this case at the body of
        4   inflammation, is unlikely.                           4   epidemiology that has followed folks who received
        5           But there -- their distinction               5   talc pleurodesis to see if they developed cancer?
        6   between -- is -- you know, stated simply, is         6   MS. O'DELL:
        7   inflammation is a -- by our current knowledge of     7          Object.
        8   cancer, is a necessary component of cancer           8   A       Somewhat, yes.
        9   progression. That does not equate to all             9   MS. BROWN:
       10   inflammation causing cancer.                        10   Q       And are you familiar with the findings
       11   MS. BROWN:                                          11   of those studies that talc, when injected
       12   Q        Does acute inflammation cause cancer,      12   directly into the pleura for the purpose of
       13   in your mind, Doctor?                               13   causing inflammation, had not caused cancer?
       14   A        It is a component of the cancer            14   MS. O'DELL:
       15   progression process. And, so, in my -- to           15          Object to the form.
       16   provide a simplistic distinction between them is    16   A       I would disagree with your conclusions.
       17   a --                                                17   And, in fact, the literature I reviewed has, I
       18           Acute inflammation which results in         18   think, two fundamental concerns. One is the time
       19   either an inflammatory response or direct           19   period that these patients were followed post
       20   cellular insult or injury can be viewed as having   20   pleurodesis, and the other that there -- there
       21   a -- causing cellular damage that results           21   have been at least one report, perhaps two -- I
       22   in -- in cellular transformation.                   22   would have to review to make sure I'm speaking
       23           Now, that is not sufficient for that --     23   accurately -- where there was indeed a
       24   for those transformed cells to then go on to        24   asbestos-like response in the formation of a


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        1   mesothelioma-like event in the -- in the -- in       1   mid-'80s to early '90s. I'd have to, again, have
        2   the pleural space following talc pleurodesis.        2   to review that --
        3          However, you know, taking a step back,        3           I gave that specific example of a
        4   given the relative rarity of that as a procedure,    4   patient or cohort of patients that were found to
        5   particularly today, I think drawing conclusions      5   have, again, asbestos-like effects in the lung
        6   from that as its -- as its relationship to cancer    6   leading to, at least in a case or more than
        7   would be difficult, but I -- I do think              7   perhaps more than one case, a mesothelioma-like
        8   fundamentally the -- my use of that as an example    8   effect like we -- like I just mentioned.
        9   was not necessarily to tie talc specifically to      9           But, again, to point you to the exact
       10   cancer. It was more to state that it's well         10   reference, I'd have to review.
       11   established that platy talc individually as it --   11   MS. BROWN:
       12   used in those procedures causes an inflammatory     12   Q         Are you relying on that reference in
       13   response. And so, you know -- and that is the       13   forming your opinions in this case?
       14   primary reason I used or reviewed that literature   14   A         No. Specifically -- again, to restate
       15   for that purpose.                                   15   the -- my description of the pleurodesis process
       16   MS. BROWN:                                          16   was to support the early part of the biological
       17   Q       Is it your opinion, Doctor, that talc       17   mechanism that talc causes inflammation. So
       18   pleurodesis leads to cancer?                        18   that -- and, so, in the lung as a tissue, that
       19   MS. O'DELL:                                         19   progression to cancer is -- is -- I think is a --
       20          Object to the form.                          20   is a -- is a supportive observation to the -- to
       21   A       It is my opinion that talc pleurodesis      21   my overall principle. But, again, it's a
       22   creates an environment supportive of cancer. And    22   separate -- separate exposure type, certainly a
       23   whether or not some number of individuals may       23   very different dosing, potentially, and, again, a
       24   progress, could progress or have progressed to      24   very different patient, or the patient is a very

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        1   cancer is -- you know, is -- is of limited           1   different individual in the sense that they
        2   knowledge right now.                                 2   obviously have reasons for going through the talc
        3   MS. BROWN:                                           3   pleurodesis which are -- which are -- which are
        4   Q        What scientific support do you have for     4   potentially compounding to the overall phenotype.
        5   your opinion that talc pleurodesis creates an        5   Q        Have you endeavored to quantify the
        6   environment supportive of cancer?                    6   difference between exposure to talc from
        7   A        Oh, just that it causes an inflammatory     7   pleurodesis versus perineal use of cosmetic
        8   response. And, as we've been discussing, there       8   talcum powder products?
        9   is ample evidence surrounding the role of            9   MS. O'DELL:
       10   inflammation in cancer. There's a -- you know,      10           Object to the form.
       11   in a number of both reference studies and I think   11   A        I have -- I have not attempted to
       12   generally, I would -- I would state that it's a     12   delineate those two simply from the perspective
       13   generally accepted fact in cancer biology.          13   that, again, to the biological mechanism, the
       14   Q        What scientific support do you have for    14   initial premise is talc causes inflammation. And
       15   your opinion that talc pleurodesis patients later   15   when I examined literature to look for evidence
       16   can and do develop cancer?                          16   of that historically, talc pleurodesis is one
       17   MS. O'DELL:                                         17   example of inflammation. There's now others, and
       18          Object to the form. Misstate his             18   there's, subsequent to that, there's been
       19   testimony.                                          19   a -- now a number of -- or, you know, probably
       20   A        I'd have to review my -- review some of    20   a --
       21   the literature. And I can take a look if we want    21           Dr. Saed is one example of a reasonably
       22   to pause for a moment.                              22   comprehensive molecular study examining specific
       23          But there was -- I recall one study          23   inflammatory markers tied specifically to
       24   involving talc pleurodesis that was maybe           24   cellular exposure to, in the case of that paper,


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        1   specific products, you know, such as the Shower      1   powder products cause chronic inflammation in
        2   to Shower and the -- and baby powder.                2   your November 2018 report before having seen the
        3   MS. BROWN:                                           3   Saed paper from 2018; correct?
        4   Q       Do you believe the inflammation caused       4   MS. O'DELL:
        5   by talc pleurodesis is chronic inflammation that     5          Object -- object to the form.
        6   leads to cancer?                                     6   Misstates his testimony.
        7   MS. O'DELL:                                          7   A       The -- so, as we discussed -- we
        8          Objection to form. Asked and answered.        8   discussed earlier, I had seen abstract
        9   A       Again, I believe the inflammatory            9   information as well as earlier publication from
       10   response to talc exposure, which would include      10   Dr. Saed's group and that the current 2018 paper,
       11   talc pleurodesis, induces an inflammatory           11   while not necessary for the opinions described in
       12   response that would be supportive of cancer         12   the report, certainly support those opinions,
       13   development and/or progression.                     13   given that it was a direct assessment of specific
       14   MS. BROWN:                                          14   products, specific -- in specific doses applied
       15   Q       And what scientific literature other        15   to cellular material and then measurements for
       16   than the one study you just referenced for us do    16   inflammation made directly on that material.
       17   you rely on for your opinion that talc              17          So while that particular study was
       18   pleurodesis induces an inflammatory response that   18   not --
       19   would be supportive of cancer development and/or    19          And, again, the -- the earlier studies
       20   progression?                                        20   that were used to inform the 2018 paper were
       21   MS. O'DELL:                                         21   certainly used in this report and referenced
       22          Object to the form.                          22   the --
       23   A       All my -- my opinion is based on            23          And I'm just recalling when. Or if
       24   connecting two basic concepts. Talc exposure        24   we've refer- -- had the opportunity to reference


                                                Page 179                                                 Page 181
        1   causes inflammation. Inflammation has a              1   the --
        2   significant role in cancer development.              2           Yeah. So we reference primarily the
        3          And, so, as far as -- each of those is        3   abstracts and then, again, as well as some of the
        4   supported by individual -- individual studies,       4   other Saed work, which is the foundation of the
        5   and -- and now -- as I mentioned, there are now      5   directed studies that are described in the
        6   studies that directly tie those together in          6   Reproductive Sciences paper that is Exhibit 12.
        7   observation.                                         7   MS. BROWN:
        8   MS. BROWN:                                           8   Q        Do you know that Dr. Saed is a paid
        9   Q       What is the scientific basis for your        9   expert for the plaintiffs' lawyers in this
       10   support that talc exposure causes the type of       10   litigation?
       11   inflammation that has been linked to cancer?        11   A        I am aware. Yes.
       12   A       The most recent is the Saed publication     12   Q        Have you considered that fact in
       13   that we discussed and -- or at least has been       13   evaluating Dr. Saed's work?
       14   mentioned. In that study, looking at -- there       14   A        I did.
       15   was a assessment and, in some cases, a              15   Q        Other than Dr. Saed's work from 2017
       16   quantitation of the specific molecular markers      16   and 2018, what evidence are you relying on to
       17   for inflammation that were induced, and many        17   support your opinion that talcum powder produces
       18   of -- some of those markers are shared with known   18   the type of inflammation that can lead to cancer?
       19   markers for -- for cancer progression, such as      19   A        There has been -- looking through
       20   CA 125, as well as others.                          20   the -- there's the Buz'Zard and Lau, 2007. We
       21   Q       Are you referring to Saed's 2018 paper,     21   were discussing the Hamilton -- Hamilton paper in
       22   Dr. Levy?                                           22   terms of immune response but then, more
       23   A       Yes.                                        23   specifically, the NTP reference in 1993. And in
       24   Q       And you formed the opinions that talcum     24   those cases, that was either looking at increases


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        1   in reactive oxygen species generation --             1   the details, and I -- there -- I am aware
        2   THE COURT REPORTER:                                  2   of -- mentioned earlier the Woodruff or Woodford,
        3          Wait a minute. You have to slow down          3   the earlier 1971 paper where I couldn't remember
        4   when you read, please.                               4   the author, is one of the earliest studies that I
        5   MS. O'DELL:                                          5   came across that had -- it has an animal model
        6          You may continue.                             6   study.
        7   A       Just to -- before I left off, I think,       7   MS. BROWN:
        8   in those mentioned references, the reactive          8   Q        Doctor, is it your testimony that --
        9   oxygen species generation, increased cell            9           First of all, do you think it's -- that
       10   proliferation, and the use of -- in the specific    10   in opining that there is a biologically plausible
       11   case of Buz'Zard and Lau, was looking at the        11   mechanism by which talcum powder causes chronic
       12   transformation in human ovarian cancer cells that   12   inflammation that can cause ovarian cancer, is it
       13   were treated with talcum powder -- sorry -- human   13   necessary, in your mind, to be able to show in
       14   ovarian cells treated with talcum powder.           14   animals that talcum powder does just that?
       15   MS. BROWN:                                          15   A        That talcum powder causes inflammation?
       16   Q       Other than Buz'Zard, Hamilton, and NTP,     16   Q        That causes ovarian cancer.
       17   is there anything else that you are relying on to   17   A        No, I don't -- I don't think that
       18   support your opinion that the inflammation caused   18   that's -- that's certainly not a requirement.
       19   by talcum powder is the type of inflammation that   19   And the reason I -- the reason I give that answer
       20   causes cancer?                                      20   is -- is quite simple; that there is a wide
       21   A       So there's additional references            21   diversity of animal model studies that have not
       22   mentioned in the report; Gates, Belot, Harper and   22   been able to mimic specifically or correctly
       23   Saed. And then, in addition to that, there was      23   human cancer for both -- both from a detection
       24   a --                                                24   and most often from a treatment perspective,


                                                  Page 183                                               Page 185
        1          Make sure I'm referring to the right          1   meaning that, fundamentally, humans and most --
        2   one.                                                 2   or at least the animal systems used as -- in
        3          So those were the -- those were the           3   scientific modeling are different. Some of their
        4   primary references. And then, of course, there       4   differences are due to different pathways, and
        5   were supporting materials and other earlier-cited    5   others of the differences are due to actually,
        6   work.                                                6   you know, fundamental immune system differences.
        7          But for the opinion regarding the type        7   Q       The Hamilton article that you
        8   of inflammation that is caused by exposure to        8   identified for me, we marked earlier in the
        9   talc and as far as its specific relationship to      9   deposition as Exhibit 7. Do you recall that?
       10   cancer, there's -- there's -- I would point to      10   MS. O'DELL:
       11   the, at least in the Saed work, the specific        11          Counsel, would you mind just placing
       12   quantitation of a very well-known tumor marker,     12   the exhibits by the witness so he can refer to
       13   CA 125, also known as mucin-16 elevation in that    13   them as he'd like, please.
       14   work, and then, in the case of Gates, some of the   14   A       Yes, I recall this.
       15   fundamental glutathione S-transferase has been      15   MS. BROWN:
       16   associated or has been observed as a higher risk.   16   Q       And you would agree with me, Doctor,
       17          And, so, that would -- those would be        17   that the Hamilton study that we discussed this
       18   some examples.                                      18   morning concluded that there were no neoplastic
       19   Q        Are you aware of any animal study,         19   changes in the animals that were injected with
       20   Dr. Levy, that shows the inflammation caused by     20   talcum powder; correct?
       21   talcum powder causing precancerous changes?         21   MS. O'DELL:
       22   MS. O'DELL:                                         22          Object to the form. Asked and
       23          Object to the form.                          23   answered.
       24   A        I would have to review the -- a few of     24   A       No. No, I -- I wouldn't agree.


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        1   MS. BROWN:                                           1   Q       So this article looked at talc that was
        2   Q        What evidence in Hamilton, Doctor, are      2   injected into animals and found no evidence of
        3   you relying on to support your position that         3   changes that lead to cancer. Correct?
        4   Hamilton showed neoplastic changes in animals        4   MS. O'DELL:
        5   injected with talc?                                  5          Objection to form.
        6   A        Well, I'm not -- I'm not stating that       6   A       Over the time period that they -- that
        7   Hamilton specifically showed that.                   7   the study was performed, they did -- they did
        8          What I'm stating is that -- that there        8   not -- they did not report, and, in fact, as you
        9   is a Hamilton study as an animal model system to     9   said, their statements are "no evidence of
       10   make the conclusion that, in this animal model      10   cellular atypia or mitotic activity."
       11   system, that talc or talcum powder does not -- or   11   MS. BROWN:
       12   that causes or does not cause ovarian cancer is     12   Q       So in opining, as you do in this case,
       13   not -- it's -- it is -- it has limitations.         13   that talcum powder can biologically induce
       14          And, as we discussed a bit earlier, the      14   chronic inflammation that causes ovarian cancer,
       15   two limitations are the very limited time points    15   what methodology did you employ to consider the
       16   of the animals. And if we look at the relative      16   findings of the Hamilton article?
       17   and observed time points that we know now, as far   17   A       Well, I considered the findings of the
       18   as latency period, these are well short of          18   Hamilton article, as -- as referenced in the
       19   those -- of those periods, even by rat standards,   19   report, primarily showing that talc has an
       20   and then the number of treated animals is           20   inflammatory or an immune response. And that was
       21   relatively small at ten. So the...                  21   the primary inclusion of the -- of the Hamilton
       22   Q        Doctor, do you rely on the Hamilton        22   paper.
       23   article to support your opinion that talcum         23   Q       Not all inflammatory or immune
       24   powder produces chronic inflammation that causes    24   responses lead to cancer; right?


                                                Page 187                                                 Page 189
        1   ovarian cancer?                                      1   MS. O'DELL:
        2   A         No, I don't rely -- again, I don't rely    2          Objection. Asked and answered.
        3   on any -- there's not a reliance on any singular     3   A        As -- as we discussed, not -- not all
        4   article.                                             4   inflammatory responses have been shown to
        5   Q         Did not mean to suggest that, Doctor.      5   conclusively lead to cancer. And, so...
        6           I asked you for the scientific support       6   MS. BROWN:
        7   that you have for the opinions you're giving in      7   Q        And Hamilton does not support the
        8   this litigation, and one of the articles you         8   opinion that the type of inflammatory response
        9   identified was the Hamilton article. Correct?        9   that talc causes is the type that causes cancer.
       10   A         Uh-huh. Yes.                              10   Fair enough?
       11   Q         And I -- and this Hamilton article, as    11   MS. O'DELL:
       12   we discussed, at page 103, found no evidence of     12          Object to the form.
       13   neoplasm in the rats injected with talc. Right?     13   A        No. I would say that's unfair.
       14   A         They -- I -- I don't -- they did          14   Because, again, the limitation of the Hamilton
       15   not -- I don't recall seeing a description of       15   study at the time it was performed was -- is a
       16   neoplasm in the Hamilton article.                   16   very short timeline. So there is -- it is an
       17   Q         Page 103, second column, begins with      17   incomplete study in the sense that there is
       18   "No evidence."                                      18   certainly the possibility that the first aspect
       19   A         "No evidence of cellular atypia."         19   or the first event that we're -- that we've been
       20   Q         Uh-huh. "And concludes that in no         20   discussing in cancer biology, the cellular damage
       21   ovary was there any evidence of frank neoplasia";   21   to lead to transformation, could have occurred in
       22   right?                                              22   some of the rat tissues but had not progressed
       23   A         Yes. That's what's written in the         23   enough or had -- or had taken hold enough to
       24   paper.                                              24   cause or to have that be detected in this


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        1   particular study performed in the early '80s.        1   Q        Did you review, Doctor, the --
        2          And, furthermore, rat -- the rat model        2           And -- and what about the findings of
        3   for human cancer, since this study has been in       3   NTP support your opinion?
        4   other cases, has some limitations as it relates      4   A        Well, first, the inflammatory response,
        5   to how applicable it is to the human condition.      5   given the evidence by the accumulation of
        6   MS. BROWN:                                           6   macrophages, and then, secondly, that in the
        7   Q       The NTP study that you identified as         7   female rats, the incidences of alveolar and
        8   supporting your opinion, Doctor, that also does      8   bronchial or adenoma, carcinoma, and adenoma in
        9   not show evidence of neoplastic changes; is that     9   the 18-milligram-per-meter group were
       10   right?                                              10   significantly greater than those of controls.
       11   MS. O'DELL:                                         11   Q        So did you consider the FDA's findings
       12          Object to the form.                          12   as it relates to the evaluation of the NTP study?
       13          Doctor, please feel free to refer to         13   MS. O'DELL:
       14   the study if you need to.                           14           Object to the form. Vague.
       15   A       Yeah. I'll do that now.                     15   A        Which -- which FDA?
       16         (DEPOSITION EXHIBIT NUMBER 15                 16   MS. BROWN:
       17          WAS MARKED FOR IDENTIFICATION.)              17   Q        Have you considered, in connection with
       18   MS. BROWN:                                          18   this case, the FDA's response to the 2014
       19   Q       Doctor, we'll mark as Exhibit 15 to         19   citizens petition?
       20   your deposition the NTP study to which you were     20   A        Yes. That's familiar. And if I recall
       21   referring.                                          21   correctly --
       22   A       Uh-huh.                                     22           Or do you have -- is that handy?
       23   Q       And this study, as well, does not show      23   Q        We'll mark that as Exhibit 16, Doctor.
       24   evidence of neoplastic changes.                     24          (DEPOSITION EXHIBIT NUMBER 16


                                                Page 191                                                 Page 193
        1   MS. O'DELL:                                          1          WAS MARKED FOR IDENTIFICATION.)
        2          Object to the form.                           2   MS. BROWN:
        3          Do you have a copy for me?                    3   Q        The reason I want to talk to you about
        4          It's what number?                             4   this is it contains a review of the NTP study we
        5   MS. BROWN:                                           5   were just discussing.
        6          Fifteen.                                      6          First of all, did you consider this
        7   A        I think the -- the important                7   document in connection with your opinions in this
        8   distinction in this particular study is this was     8   case?
        9   an aerosol-based -- based study. It certainly        9   A        Yes, this document's familiar.
       10   was longer than the Hamilton but was -- was not a   10   Q        Okay. And do you recall that a cancer
       11   study that mimics the perineal use of talc.         11   prevention coalition wrote the FDA requesting
       12   MS. BROWN:                                          12   that a warning label be placed on talcum powder
       13   Q        And, so, as it relates to your opinion     13   products?
       14   in this case, Doctor, that talc induces a chronic   14   A        Yes.
       15   inflammation that can lead to ovarian cancer, the   15   Q        And do you recall, as evidenced on
       16   NTP study does not support that, does it?           16   page 1, the FDA reviewed the data as it related
       17   MS. O'DELL:                                         17   to that question?
       18          Object to the form.                          18   A        I -- I recall that the FDA reviewed the
       19   A        I would say the study does support my      19   data and determined that it was insufficient, and
       20   opinion regarding talc and its role in              20   they did not identify any new compelling
       21   inflammation. And if we refer to page 6 within      21   literature at the time. But this was in 2014.
       22   the first -- the first paragraph, beginning with    22   Q        And the NTP --
       23   "Accumulations of macrophages."                     23   MS. O'DELL:
       24   MS. BROWN:                                          24          Excuse me, counsel.


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        1           Were you finished? If you're finished,      1   the FDA claimed serious flaws.
        2   that's fine. I just didn't know if you completed    2   MS. BROWN:
        3   your --                                             3   Q        At the bottom of page 3 --
        4   A        I'm just reading. There was one            4   A        I see.
        5   other -- I recall --                                5   Q        -- the sentence that begins, "However,
        6   MS. BROWN:                                          6   this study lacks convincing scientific support
        7   Q        Doctor, the NTP study that you pointed     7   because of serious flaws in its design and
        8   us to was from 1993. Is that right?                 8   conduct -- and conduct."
        9   A        I believe that's correct.                  9          Do you see that?
       10   Q        All right. And one of the things that     10   A        I do.
       11   the FDA did in this letter of 2014 is reviewed     11   Q        And one of the things the FDA points to
       12   that study; correct?                               12   is that the investigators used micronized talc
       13   A        Yes.                                      13   instead of consumer grade talc, resulting in the
       14   Q        And I'll direct you to page 3 of 7.       14   experimental protocol not being reflective of
       15   And what the FDA concluded was that the study      15   human exposure conditions in terms of particle
       16   lacked convincing scientific support because of    16   size.
       17   serious flaws in its design and conduct.           17          Do you see that?
       18           Do you see that?                           18   A        I do.
       19   MS. O'DELL:                                        19   Q        Have you made a determination in this
       20           Where are you reading? Sorry.              20   case, sir, about the size of the particles in
       21   MS. BROWN:                                         21   talcum powder products?
       22           Page 3. Page 3.                            22   A        I -- I've not made that distinction.
       23   MS. O'DELL:                                        23   And --
       24           Oh. Page 3. Sorry. I thought you           24   Q        There's --


                                               Page 195                                                 Page 197
        1   said page 2. I'm sorry.                             1   A        And, furthermore, I think the --
        2   MS. BROWN:                                          2   importantly, the -- the flaws that the FDA points
        3   Q        Do you see that, Doctor?                   3   out are, you know, not in disagreement with
        4   A        Starting with --                           4   our -- with our discussions surrounding both the
        5   Q        Bottom of page 3 --                        5   inflammatory response and then some of the
        6   A        -- under toxicology findings?              6   results there. I don't -- I don't see as a
        7   Q        So, to orient us here, Doctor, you         7   concern --
        8   pointed, as evidence of support of your opinions    8          In fact, the -- it appears the FDA does
        9   in this case, to the NTP study. Right?              9   not disagree with the observation of the evidence
       10   A        Correct.                                  10   of carcinogenic activity in the non-asbestiform
       11   Q        And the folks who wrote to the FDA        11   talc. I think they --
       12   requesting a warning on talc, they, too, pointed   12          I share --
       13   to that study; right?                              13   Q        Let's focus back on the question,
       14   A        Yes.                                      14   Doctor.
       15   Q        All right. And, so, the FDA reviewed      15   MS. O'DELL:
       16   that study and, in the letter denying the          16          Excuse me. Let him finish his answer.
       17   citizens petition, included its critique of that   17   He's not finished.
       18   study; correct?                                    18   A        So, the, you know, the serious flaws
       19   A        Correct.                                  19   were the, I think, in this case, the specific
       20   Q        And one of the things the FDA concluded   20   inclusion of nonasbestos talc and use of
       21   was that the study had serious flaws. True?        21   micronized talc instead of consumer grade. So I
       22   MS. O'DELL:                                        22   think in that -- in that sense, it's not
       23          Objection to form.                          23   surprising that it had a different -- perhaps a
       24   A        I don't -- do you -- I don't see where    24   different response than may be observed with


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        1   consumer products or talc that have -- may have      1   when -- when used in the perineum compared to
        2   contaminants, whether it be asbestos or other.       2   inhalation.
        3   MS. BROWN:                                           3          But I have not seen a study that tried
        4   Q        Do you remember the question I asked,       4   to distinguish that in terms of having an exposed
        5   Doctor?                                              5   group who inhaled talc only and then looked for
        6   A        Perhaps it would be helpful to restate.     6   evidence of the presence in the ovary.
        7   Q        I think, probably.                          7   Q        Back to the FDA document we were
        8          I asked if you had made a determination       8   discussing, Doctor, the FDA's critique of the NTP
        9   in this case about the size of the particles in      9   study continues on page 4, where the FDA
       10   talcum powder products.                             10   identifies that the investigators conceded they
       11   A        I -- so as far -- a determination, no.     11   have problems with the aerosol generation system
       12   I would -- I would say I have had an opportunity    12   and that the study did not include positive and
       13   to, you know, review or become more educated in     13   negative dust controls.
       14   the diversity of talc products and the              14          Did you consider those critiques in
       15   interesting geographic relationship to different    15   evaluating the NTP study in this case?
       16   size particles and -- in the presence or absence    16   MS. O'DELL:
       17   of asbestiform particles in talc, which was a,      17          Object to the form.
       18   you know, fascinating area to become educated in.   18   A        Well, I -- I certainly considered --
       19          As far as examining that in each of the      19   you know, considered them in -- as -- as I would
       20   individual studies, I certainly was able to pay     20   consider any -- any other evidence or opinion
       21   attention to earlier or later studies as it         21   on -- on these relevant subjects.
       22   applied to when there was a specific description    22   MS. BROWN:
       23   of the talc, such as in the NTP study where         23   Q        The FDA went on to conclude, Doctor,
       24   there -- that was one of the few that had a         24   that, in light of the shortcoming, a panel of


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        1   specific determination.                              1   experts at the 1994 ISRTP/FDA workshop declared
        2          But I was basing my opinions on the           2   that the 1993 NTP study has no relevance to human
        3   general behavior, summarized behavior of talc        3   risk.
        4   based on the available evidence.                     4          Do you share that conclusion?
        5   Q        In forming your opinions in this case,      5   MS. O'DELL:
        6   Doctor, have you concluded that a particular         6          Object to the form.
        7   route of exposure is more likely when women are      7   A       I do not. And I think, importantly,
        8   using talcum powder products perineally?             8   you know, even there at the bottom of page 4,
        9   MS. O'DELL:                                          9   their point number 4 saying a cogent biological
       10          Object to the form.                          10   mechanism by which talc might lead to ovarian
       11   A        Certainly it would seem logical that       11   cancer is lacking.
       12   the route of talc exposure would be related to      12   MS. BROWN:
       13   the area that the talc is used.                     13   Q       Uh-huh.
       14   MS. BROWN:                                          14   A       I believe, as we're discussing today,
       15   Q        As such, do you believe and have you       15   subsequent research and subsequent studies
       16   assumed for purposes in your -- of your opinions    16   have -- and including my report, have helped
       17   in this case that talc more likely migrates from    17   define that plausible biological mechanism
       18   the perineum to the ovaries, as opposed to talc     18   which -- by which talc may lead to ovarian
       19   being inhaled and then traveling down to the        19   cancer.
       20   ovaries?                                            20   Q       In answering my question, Doctor, you
       21   A        The evidence I've seen would suggest       21   pointed to a different portion of the same page
       22   that that migration that you described from the     22   we were discussing; correct?
       23   perineum through the vagina into the fallopian      23   A       Correct.
       24   tubes into the ovary is certainly far more likely   24   Q       And what you pointed to was the FDA's


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        1   conclusion here in 2014 that a cogent biological     1   A        I -- I disagree with the -- or I -- I
        2   mechanism by which talc might lead to ovarian        2   have found, based on a review of the literature,
        3   cancer is lacking. Correct?                          3   that there are now additional supporting studies
        4   MS. O'DELL:                                          4   that would -- that would refute some of these
        5          Object to the form.                           5   conclusions of -- by the FDA review.
        6   A        I -- I would disagree in the general        6   Q        And explain to us, then, Doctor, what
        7   nature of your statement and clarify it by saying    7   methodology you employed or what research you
        8   the FDA found a lack of that mechanism based on      8   conducted to reach a conclusion different from
        9   the submitted literature of the citizen petition.    9   the FDA's conclusion in 2014.
       10   MS. BROWN:                                          10   A        I think, similar to what the FDA
       11   Q        So do you understand, Doctor, in           11   described, my review is of the literature now,
       12   evaluating the FDA's response, that they, in        12   you know, through 2018, examining the available
       13   fact, did their own investigation in addition to    13   information regarding inflammatory response to
       14   the literature that was provided to them at the     14   talc and then talc exposure as it relates
       15   time?                                               15   to -- to the initiation of progression of cancer.
       16   MS. O'DELL:                                         16   Q        Dr. Leavy -- Dr. Levy, do you think
       17          Objection. Misstates the record.             17   that the FDA, in concluding, as they did in 2014,
       18   A        Well, my reading of it, it says            18   that a cogent biological mechanism by which talc
       19   they -- that their -- that the scientific           19   might lead to ovarian cancer is lacking, do you
       20   literature considered was submitted in support of   20   think they were wrong at that time?
       21   both citizen petitions. And...                      21   A        I would -- I -- I would say that they
       22   MS. BROWN:                                          22   were incomplete at that time. And, in fact, you
       23   Q        Are you finished, Doctor?                  23   know, one of the --
       24   A        Yes. I was just looking to see if          24           If we -- if we look at page 5 in the

                                                Page 203                                                 Page 205
        1   there was a notation about further --                1   one, two -- third full paragraph beginning with
        2   Q        I'll direct you, Doctor, to page 4, the     2   "while there exists," where the FDA does agree
        3   second full paragraph that begins "In addition,      3   about the -- that it's plausible that perineal
        4   the FDA stated."                                     4   talc and other particulates reach the endometrial
        5          "In addition, we reviewed relevant            5   cavity and -- and associated organs and may
        6   toxicity literature (consisting of 15 articles       6   elicit a foreign-body-type reaction and
        7   from 1980 to 2008) not cited in your petition to     7   inflammatory response that in some exposed women
        8   determine if there was additional support at this    8   may progress to epithelial cancers. What they do
        9   point in time for your suggested warning label."     9   state, "However, there has been no conclusive
       10          Do you see that?                             10   evidence to support causality."
       11   A        I do.                                      11           So I would suggest that this paragraph
       12   Q        And, based on the FDA's review of all      12   is in support of the biologically plausible
       13   the literature that they investigated at the        13   mechanism that I included in the report and
       14   time, they concluded that a cogent biological       14   that -- and, as we've been discussing, I
       15   mechanism by which talc might lead to ovarian       15   haven't -- we -- we've not been discussing a
       16   cancer was lacking. Right?                          16   causal or a formal causal evaluation.
       17   MS. O'DELL:                                         17   Q        What information did you rely on,
       18          Objection to form.                           18   Doctor, in reaching the conclusion that there is
       19   MS. BROWN:                                          19   a biological mechanism that the FDA did not?
       20   Q        That was their conclusion; correct?        20   MS. O'DELL:
       21   A        Yes, as written, that was their -- that    21           Object to the form. Misstates his
       22   was the FDA's conclusion.                           22   testimony.
       23   Q        And you, Dr. Levy, disagree with that      23   A        I'm stating that the -- as we
       24   conclusion; correct?                                24   discussed, as we've been discussing today, the --


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        1   the response to talc -- the response to talc         1   studies on which you're relying?
        2   exposure as an inflammatory response is supported    2   A       Not -- not for the contents of the
        3   by a number of studies, including the NTP study,     3   report. Not that I'm aware of. I think we've --
        4   which, although the FDA had some concerns with,      4   we've already discussed some of the other
        5   the FDA also made statements regarding the           5   references contained in the report
        6   exposure to talc and other particulates having an    6   below and -- or at least by mention and Gates.
        7   inflammatory response and that some exposed          7         (DEPOSITION EXHIBIT NUMBER 17
        8   women's may have progressed to epithelial            8         WAS MARKED FOR IDENTIFICATION.)
        9   cancers.                                             9   MS. BROWN:
       10          So, again, they're -- I think                10   Q       I'm gonna mark as Exhibit 17 to your
       11   they -- they're in agreement there. So even the     11   deposition the Buz'Zard study that you mentioned
       12   concerns with the study withstanding, there's --    12   a moment ago. Do you recall that?
       13   there's -- there's -- I still -- I still think      13   A       Yes.
       14   the FDA report is in support of the mechanism       14   Q       Do you rely on the Buz'Zard study in
       15   that we've been discussing.                         15   supporting your view that chronic inflammation
       16   MS. BROWN:                                          16   from talcum powder use can cause ovarian cancer?
       17   Q       The FDA concludes that a cogent             17   MS. O'DELL:
       18   biological mechanism by which talc might lead to    18         17?
       19   ovarian cancer is lacking, do they not?             19   MS. BROWN:
       20   MS. O'DELL:                                         20         Yes.
       21          Objection to form. Asked and answered.       21   A       Sorry. Can you restate your question?
       22   A       But I would al- -- I would say the FDA      22   It wasn't...
       23   contr- -- perhaps contradicts itself later in the   23   MS. BROWN:
       24   same document, stating that there is both an        24   Q       Do you rely on what we've marked as


                                                Page 207                                                 Page 209
        1   inflammatory response and that in some exposed       1   Exhibit 17, the Buz'Zard study, to support your
        2   women they may progress to epithelial cancer.        2   view that talcum powder causes chronic
        3   MS. BROWN:                                           3   inflammation that leads to ovarian cancer?
        4   Q       Other than the Woodruff article,             4   MS. O'DELL:
        5   Doctor, are you aware of any other study in          5          Object to the form.
        6   animals that shows inflammation leading to           6   A       As we've discussed, not singularly, but
        7   cancer?                                              7   the -- as part -- as part of a complete picture
        8   MS. O'DELL:                                          8   of talc causing reactive oxygen species
        9          Objection to form. Other than those           9   generation and other inflammatory responses,
       10   he's mentioned?                                     10   certainly this is a study that supports that
       11   A       Yeah. I -- I would have to -- that          11   opinion.
       12   would -- that would require review of the           12   MS. BROWN:
       13   literature to -- to speak generally to animal       13   Q       Did you consider the type of cells that
       14   studies and inflammation leading to cancer.         14   were evaluated in the Buz'Zard study?
       15   MS. BROWN:                                          15   MS. O'DELL:
       16   Q        Let me rephrase.                           16          Objection to form. Vague.
       17          In terms of your opinion here that talc      17   A       Certainly in terms of the overall
       18   causes chronic inflammation that causes ovarian     18   experimental design.
       19   cancer, you identified the Hamilton study, the      19   MS. BROWN:
       20   NTP study, and the Woodruff study as animal         20   Q       Did those -- were those normal human
       21   studies that support that view. True?               21   ovarian cells?
       22   A       I identified those studies as               22   A       The -- the author has labeled them as
       23   supportive of my -- of my opinion, yes.             23   normal human ovarian cells. But the -- you know,
       24   Q       Are you aware of any additional animal      24   one of the key characteristics and similar to our


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        1   comments on -- on animal systems is all -- all       1   MS. O'DELL:
        2   in vitro or in vivo studies that are using cell      2           Figure 3.
        3   lines or animals have limitations. And in this       3   A        Figure 3?
        4   case, you know, cell lines are particularly          4           The one interesting observation in
        5   notorious in research in general for                 5   these two figures, both Figure 3A and Figure 3B,
        6   their -- for -- having to use care in extending      6   being the percentage of reactive oxygen specie
        7   findings to, you know, broad mechanisms in a --      7   generation in two different cell types, one in --
        8   in a complex organism or in the human body.          8   one in Panel A and one in Panel B, is -- what I
        9   Q        Sure.                                       9   did not see included, if I --
       10           What you're -- what you're saying is        10           And I'm reading to see if I recall
       11   you've got to be careful taking the findings from   11   correctly.
       12   one cell study and extrapolating that to humans.    12           -- was a -- the -- the cell viability
       13   Fair?                                               13   assay that they use for normalization has
       14   MS. O'DELL:                                         14   a -- somewhat of a limitation in that it -- it
       15           Object to the form.                         15   doesn't measure cell senescence. It only
       16   A        The -- I think you have to be careful      16   measures cell death. And, so, they -- not to
       17   in evaluating each study in using the relevant      17   dis- -- not that I disagree with your observation
       18   components of that study and observations in that   18   that it did not show the sig- -- significant
       19   study as part of an overall mechanism and whether   19   increase, but there is the possibility that the
       20   it's supportive or refutes such a mechanism.        20   reason that you see an actual decrease in the RS
       21   So --                                               21   generation at the higher doses of talc is that
       22   MS. BROWN:                                          22   cells have gone senescent and are essentially no
       23   Q        Did -- did you exercise that care here     23   longer responding to that increased dose.
       24   as it relates to the Buz'Zard study?                24           So I think there's at least two

                                                Page 211                                                 Page 213
        1   A       So the Buz'Zard study, you know,             1   different ways to interpret some of these
        2   primarily, as -- as referenced, was to illustrate    2   results. But I don't disagree with your
        3   a study that showed an increase in reactive          3   observations regarding Figure 3.
        4   oxygen species generation, and that's the -- the     4   MS. BROWN:
        5   primary purpose, or I should say primary             5   Q       This study was conducted in a
        6   observation on the -- from this.                     6   nutritional lab, not a cancer lab. True?
        7          Now, certainly, the study contained           7   A       I'm -- I'm not aware of the type of
        8   more observations than that and certainly had        8   laboratory or even the...
        9   some -- you know, a number of other components.      9   Q       And the study was -- the purpose of the
       10   Q       How does the Buz'Zard study support         10   study was to assess whether there was a certain
       11   your view that talcum powder causes chronic         11   effect of pine bark supplement? Is that right?
       12   inflammation that causes ovarian cancer?            12   MS. O'DELL:
       13   A       So the Buz'Zard study supports the view     13          Objection to form.
       14   that exposure to talcum powder causes an            14   A       They were looking at the -- the effect
       15   inflammatory response.                              15   of a proprietary -- as stated by the authors, a
       16   Q       And that inflammatory response you saw      16   proprietary mixture of water soluble
       17   in the Buz'Zard study does not increase with        17   bioflavonoids extracted from French maritime pine
       18   increasing doses of talcum powder. Correct?         18   bark.
       19   A       I have to review. I believe that -- I       19   MS. BROWN:
       20   believe their figures suggest --                    20   Q       Uh-huh.
       21          You know, are you referring                  21          And did you investigate whether the
       22   specifically to their reaction -- reactive oxygen   22   ovarian cells that they used here were
       23   specie generation?                                  23   genetically altered?
       24   Q       Correct.                                    24   A       No, I did not investigate that.


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        1   Q        Did you --                                  1   Q         My question was, Doctor, what this
        2          I'm sorry. Were you done?                     2   study shows is the more talc you give, the less
        3   A        No. I would say it's fair -- it's fair      3   ROS generation there is. True?
        4   to say that, you know, that the -- whether           4   MS. O'DELL:
        5   they're genetically altered or not, the -- the --    5            Objection to form.
        6   you know, the same potential limitations as far      6   A         Again, under -- under the conditions of
        7   as extrapolation to the human system would apply     7   this particular study.
        8   for any signs.                                       8   MS. BROWN:
        9          But, again, the purpose of the Buz'Zard       9   Q         Do you think the Buz'Zard study is
       10   study, as -- as referenced in the report, was to    10   scientifically reliable?
       11   indicate that there are studies that have shown     11   A         I have no basis to -- to suggest that
       12   an increase in reactive oxygen specie generation    12   it's -- that it's not reliable.
       13   under exposure to -- to talc. And I think the       13   Q         Do you think that --
       14   study is reasonably clear on that increase          14   A         But I think there -- it does -- if
       15   relative to control.                                15   there is a -- as we discussed earlier, an
       16   Q        Except what this study showed, Doctor,     16   importance to not overgeneralize conclusions or
       17   is the more talc you give, the decrease from        17   lack of conclusions as, you know, outside of the
       18   baseline in the reactive oxygen species.            18   system under study.
       19   Correct?                                            19   Q         If -- I want you to assume that the
       20   MS. O'DELL:                                         20   Buz'Zard study used genetically altered ovarian
       21          Object to the form. Asked and                21   cells that did not have the p53 protein. Would
       22   answered. Misstates the testimony.                  22   that affect your analysis of Buz'Zard?
       23   MS. BROWN:                                          23   MS. O'DELL:
       24   Q        Take a look at Figure 3; right, Doctor?    24            Object to the form.


                                                Page 215                                                 Page 217
        1   A       No. I agree. But, as stated, and an          1   A       Well, that's -- that's an impossible
        2   important clarification is whether that decrease     2   question. Like you can't have --
        3   is significant relative to the biology is -- is      3          Well, you can't call a cell type a
        4   unknown.                                             4   normal ovarian cell and -- absent p53 protein.
        5   Q       Right.                                       5   You're -- it'd be -- you're fundamentally
        6          This study certainly does not                 6   changing the biology of the cell as it relates to
        7   conclusively show that the more talc you give,       7   ovarian cancer or cancer in general.
        8   the more ROS is generated. Correct?                  8   MS. BROWN:
        9   MS. O'DELL:                                          9   Q       Because p53 is something that you have
       10          Object to the form.                          10   in your genes that prevents against ovarian
       11   A       In these particular cell lines under        11   cancer. True?
       12   these conditions, the -- the study certainly did    12   MS. O'DELL:
       13   not draw that conclusion.                           13          Objection.
       14   MS. BROWN:                                          14   A       So p5- -- p53 is a well-known, often
       15   Q       In fact, what this study shows is the       15   mutated gene in a number of human cancers.
       16   more talc you give, the less of -- of ROS           16   MS. BROWN:
       17   generation you have. Doesn't it?                    17   Q        And, so, if the ovarian cells that were
       18   MS. O'DELL:                                         18   studied in Buz'Zard did not have p53, it will
       19          Object to the form.                          19   call into question the study. Fair?
       20   A       I think importantly in this study, the      20   MS. O'DELL:
       21   time dependency for each of the doses is more       21          Object to the form.
       22   important at the doses rather than comparing dose   22   A       It would be difficult to answer. From
       23   to dose.                                            23   the perspective of the presence or absence
       24   MS. BROWN:                                          24   of -- of p53 having an effect on the ability of a


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        1   cell to generate reactive oxygen species under --    1   available literature and, in this case, review a
        2   under exposure to a substance like talcum powder     2   meta-analysis of some reasonably large-scale
        3   would need to be tested directly.                    3   studies to try to bring the proposed biologically
        4   MS. BROWN:                                           4   plausible mechanism and include the -- the
        5   Q        Fair to say, in your mind, a cell           5   available epidemiological information for those,
        6   missing p53 is not a normal human ovarian cell.      6   such as the Penninkilampi and Eslick paper we're
        7   True?                                                7   discussing.
        8   A        That is true.                               8   Q        What methodology did you employ in
        9         (DEPOSITION EXHIBIT NUMBER 18                  9   terms of reviewing the Penninkilampi findings as
       10          WAS MARKED FOR IDENTIFICATION.)              10   it relates to the question you addressed in your
       11   MS. BROWN:                                          11   report?
       12   Q        Handing you what we've marked as           12   MS. O'DELL:
       13   Exhibit 18 to your deposition, it's a review        13           Object to the form.
       14   article titled "Perineal Talc Use and Ovarian       14   A        I -- I used the same methodology for
       15   Cancer," by Ross Penninkilampi.                     15   the other studies as a review of the paper and
       16          Do you see that?                             16   its -- and its methods and conclusions.
       17   A        I do.                                      17   MS. BROWN:
       18   Q        This is an article that you cited in       18   Q        Do you believe this review, systematic
       19   your report; correct?                               19   review and meta-analysis, provides evidence that
       20   A        Correct.                                   20   there's a biologically plausible mechanism by
       21   Q        Does this article support your view        21   which talc can cause ovarian cancer?
       22   that there is a biolo -- in part --                 22   A        Yes. It provided -- it shows an
       23          Strike that.                                 23   association between talc use and ovarian cancer.
       24          Does this article, in part, support          24   I don't -- I don't believe this particular study

                                                Page 219                                                 Page 221
        1   your opinion in this case that there is a            1   goes on to specifically elucidate causation, but
        2   biologically plausible mechanism by which talcum     2   it certainly shows the association.
        3   powder can cause ovarian cancer which can            3   Q        Well, the study specifically says that
        4   cause --                                             4   causation cannot be found, based on the results.
        5          Strike that. Gonna do it again.               5   Right?
        6          Does this article support your view, in       6   MS. O'DELL:
        7   part, that talcum powder can cause chronic           7          Objection to form.
        8   inflammation that can cause ovarian cancer?          8   MS. BROWN:
        9   A        This is an article I considered in          9   Q        If you look at page 42, Doctor, the
       10   the -- in the overall review and, in the            10   very end of that first paragraph, "A certain
       11   conclusions of this article, found a -- an          11   causal link between talc use and ovarian cancer
       12   association between perineal talc use and ovarian   12   has not been established."
       13   cancer, according to the authors.                   13          Do you see that?
       14          So it was supportive of the proposed         14   MS. O'DELL:
       15   mechanism but was, again, in part.                  15          Where are you? Page 42. Where are you
       16   Q        And, on page 13 and 14 of your report,     16   reading, please?
       17   you, in fact, reference the Penninkilampi study     17   MS. BROWN:
       18   and some of its conclusions; correct?               18          Page 42, the end of the first
       19   A        Correct. On the -- on the bottom of        19   paragraph.
       20   page 13, yes.                                       20   A        Yes, I see that.
       21   Q        And what was the purpose of including      21   MS. BROWN:
       22   this description of Penninkilampi in your expert    22   Q        Do you agree with that statement,
       23   report, Doctor?                                     23   Doctor, that a causal link between talc use and
       24   A        Just to be sure to be -- to include        24   ovarian cancer has not yet been established?


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        1   MS. O'DELL:                                         1   examine that comprehensively, when you consider
        2          Objection.                                   2   the etiology of a disease and the latency periods
        3   A        No, I wouldn't. But, again, my review      3   that have been observed in ovarian cancer in
        4   of this was to tie the biologically plausible       4   general and the meta review by both this earlier
        5   mechanism to, you know, human observation, not      5   paper by Penninkilampi and then their subsequent
        6   provide a evaluation of the -- of the causal        6   later work, you have a challenge of a -- in a
        7   link.                                               7   cohort study, a disease that is somewhat rare,
        8          And I think the -- I would suspect that      8   coupled with a exposure and latency period that's
        9   the --                                              9   been, in the -- in the limited number of studies
       10          I'm also not aware of a study that has      10   that have looked at this, appears to be quite
       11   been able to -- or a -- or a -- what would be      11   long, and then when you couple in the -- the
       12   necessary --                                       12   ethical concerns of actually performing a trial,
       13          I'm not aware of a study that has been      13   where it becomes a very difficult causation bar
       14   able to provide all of the recognized and          14   to reach.
       15   established methodology for causation and have     15          And, so, instead, we rely on the
       16   that applied in -- in talc.                        16   case -- the available case-control data and then
       17   MS. BROWN:                                         17   systematic and meta-analysis reviews such as some
       18   Q        You're not aware of any study in the      18   of the epidemiologists have performed to make
       19   talc epidemiology that has concluded that talcum   19   assessments into the likelihood that -- and the
       20   powder causes ovarian cancer; correct?             20   strength of the association between talc use and
       21   MS. O'DELL:                                        21   ovarian cancer.
       22          Objection to form.                          22   Q       Are you intending to provide an opinion
       23   A        I'm aware of a number of studies that     23   on the strength of the association between talc
       24   have shown a strong correlation between the two.   24   use and ovarian cancer as evidenced in the


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        1   But I would have to defer to the epidemiology       1   epidemiology?
        2   expert witnesses as to their opinion on             2   MS. O'DELL:
        3   causation.                                          3           Object to the form.
        4   MS. BROWN:                                          4   A        No. My -- my opinions are limited to
        5   Q       One of the things you told us that you      5   the biologically plausible mechanism and then
        6   reviewed in connection with your opinion was the    6   examining whether that biologically plausible
        7   talc epidemiology. Is that right?                   7   mechanism presented is supported by observations
        8   A       That's right.                               8   in -- in available human studies.
        9   Q       Did you conduct a review of all of the      9   MS. BROWN:
       10   available epidemiology on talcum powder use and    10   Q        And when you say your opinion is
       11   ovarian cancer?                                    11   limited to a biological plausible mechanism, are
       12   A       I certainly tried to review it as          12   you talking of the theoretical concept or are you
       13   comprehensively as -- as possible.                 13   talking about in the context of women using
       14   Q       And, in connection with that review,       14   talcum powder perineally?
       15   you'll agree there is not a single study that      15   A        In the context --
       16   concludes there is a causal association between    16   MS. O'DELL:
       17   talcum powder use and ovarian cancer; correct?     17           Object to the form.
       18   MS. O'DELL:                                        18   THE WITNESS:
       19          Objection to form.                          19           Sorry.
       20   A       So I would -- I would -- interestingly,    20   MS. O'DELL:
       21   there -- it's -- it becomes a -- as more -- as     21           Excuse me.
       22   more and more information has become available     22   A        In the -- in the context of women using
       23   over the last few years, that becomes a more and   23   talcum powder perineally specifically, and
       24   more difficult bar to meet, simply because, to     24   then -- and then certainly also the -- some of


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        1   the fundamental aspects of that mechanism may        1   trial that would examine that in a well-powered
        2   apply to other exposures as well.                    2   fashion to answer that question directly. And,
        3   MS. BROWN:                                           3   certainly, as of today, there would be some
        4   Q       Like what?                                   4   significant ethical concerns with that design.
        5   A       Well, the -- the other exposure we've        5           So, instead, we rely on the cohort and
        6   been discussing, in -- in that some of the           6   case-control studies that are available. And
        7   studies looked at inhalation exposure, et cetera.    7   those, again, studies are supporting an
        8         But the primary review and the primary         8   association between talc use and ovarian cancer.
        9   opinion is based on the perineal use of talcum       9   MS. BROWN:
       10   powder and that exposure that, as -- as we          10   Q        Right. But I'm talking about for your
       11   discussed earlier, has a -- certainly a strong      11   opinion that it's biologically plausible for
       12   association with perineal use and an exposure --    12   perineal use of talc to cause ovarian cancer,
       13   exposure in the ovaries.                            13   have you made a determination, in your mind, of
       14   Q       Your opinion is that if a woman uses        14   how long that perineal use has to take place for?
       15   talcum powder perineally, there is a biologically   15   MS. O'DELL:
       16   plausible mechanism by which enough talcum powder   16           Object to the form.
       17   can migrate from outside of her vagina to her       17   A        I wasn't asked to provide -- to provide
       18   ovary to cause chronic inflammation that can lead   18   that opinion on -- and it -- on that length or
       19   to ovarian cancer?                                  19   exposure or duration.
       20   MS. O'DELL:                                         20           Again, it was -- the focus was on the
       21         Object to the form.                           21   biologically plausible mechanism that if you have
       22   A       So I'd say that the first part of your      22   a single exposure and that -- that that single
       23   question is well established and included in the    23   exposure through to any other may be sufficient
       24   statements from FDA and others that that            24   to trigger that mechanism.

                                                Page 227                                                Page 229
        1   migration does occur.                                1   MS. BROWN:
        2          And then the next step in the -- in the       2   Q       That's helpful, Doctor.
        3   mechanism is that that causes inflammation which,    3         So, as I understand your opinion, your
        4   again, as we've discussed, in a number of            4   piece of the puzzle here was to look at whether
        5   studies, that the inflammation occurs and then,      5   one single application of talcum powder to the
        6   in these human studies, in their systematic          6   perineum could lead to chronic inflammation that
        7   review, that there is a clear association or a --    7   could cause ovarian cancer.
        8   a observed association between perineal use of       8   MS. O'DELL:
        9   talc and the detection of ovarian cancer at some     9         Objection.
       10   point in the -- in the women's lives and, in the    10   MS. BROWN:
       11   case of the Penninkilampi, with a relationship to   11   Q       Correct?
       12   the number of lifetime applications.                12   A       No, no.
       13          So considering those things together,        13   MS. O'DELL:
       14   yes, there is a biologically plausible mechanism    14         Object to the form of the question.
       15   for perineal talc use through to ovarian cancer.    15   A       No. That's not my -- my statement.
       16   MS. BROWN:                                          16         My statement was that, based on the
       17   Q       Have you -- is -- is your opinion that      17   evidence available, that there's a biologically
       18   there's a biologically plausible mechanism          18   plausible mechanism for the -- for the cellular
       19   dependent on a particular number of years of        19   changes that -- that is independent of the
       20   perineal use?                                       20   exposure.
       21   MS. O'DELL:                                         21   MS. BROWN:
       22          Objection to form.                           22   Q       You've made a determin- --
       23   A       The -- so the -- as we just discussed,      23   A       But certainly a single exposure would
       24   there's no -- I can't point to a formal clinical    24   be the physically minimum number. And I


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        1   believe -- I think we --                             1   effect, it doesn't matter at all how much of the
        2   Q        That's what I want to understand. And       2   product is used?
        3   how you -- how you make this biological              3   MS. O'DELL:
        4   plausibility determination is to evaluate a          4          Objection.
        5   single exposure? Is that right?                      5   MS. BROWN:
        6   MS. O'DELL:                                          6   Q        Do you see what I'm struggling with?
        7          Object to the form.                           7   Can you help me understand? If I'm trying to
        8   A        No.                                         8   figure out does X cause Y, it sounds like what
        9   MS. O'DELL:                                          9   you're saying is it doesn't matter how much X you
       10          Misstates his testimony.                     10   have.
       11   A        That's -- that's not what I'm stating.     11   MS. O'DELL:
       12          My -- my statement is that the -- the        12          Objection to form.
       13   biologically plausible mechanism is a mechanism     13   A        So we're -- we're talking about
       14   that is independent of the exposure and that, as    14   mech- -- so mechanistic action --
       15   part of the description of that mechanism and the   15   MS. BROWN:
       16   evaluation of the studies supporting that           16   Q        Okay.
       17   mechanism through an inflammatory response, the     17   A        -- which means the -- you set aside the
       18   question of exposure, number, and duration,         18   "how much." And the question is, from -- on a
       19   length of time, et cetera, would be a separate      19   molecular level, can the presence of a particular
       20   evaluation.                                         20   compound in a particular location cause a
       21   MS. BROWN:                                          21   biological effect. And, so, that is the primary
       22   Q        Is your opinion that talcum powder         22   focus of the opinion in the -- in the paper or --
       23   products cause chronic inflammation that cause      23   sorry -- in my report.
       24   ovarian cancer limited to perineal use, or have     24          And then extending that to how much,


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        1   you also evaluated body use of talcum powder         1   how long, and the dur- -- and then the intensity
        2   products?                                            2   or duration of the biological effect, again, is a
        3   MS. O'DELL:                                          3   separate -- would be a separate discussion or
        4          Object to the form.                           4   separate study.
        5   A       My -- my focus was on the perineal use,      5          So, again, to clarify, the focus had
        6   and that's where the majority of the studies         6   been on that -- some of the fundamental
        7   have -- have examined. So the focus was on           7   mechanisms, talc -- a talcum powder exposure to
        8   perineal use of talcum powder.                       8   an inflammatory response to the inflammatory
        9   MS. BROWN:                                           9   response causing cancer.
       10   Q       And in conducting that evaluation, the      10          Again, the -- I would refer to and
       11   results of which are contained in your report,      11   defer to the other experts in epidemiology
       12   you did not endeavor to quantify how much talcum    12   regarding their opinions on the validity of
       13   powder used perineally could possibly migrate to    13   the asso- -- validity and strength of the
       14   the ovaries; is that right?                         14   associations, again, from a formal epidemiology
       15   MS. O'DELL:                                         15   perspective.
       16          Object to the form. Asked and answered       16          My review of those studies has ind- --
       17   maybe ten times already today.                      17   has relied on their conclusions, and, then, in my
       18          But you may answer the question.             18   own review of their -- of their methodology
       19   A       Yeah. I -- I wasn't asked to -- to          19   showing a increasing association, that is the
       20   provide that opinion or attempt that                20   bookends of my -- of the mechanism I proposed.
       21   quantitation.                                       21          So what this study is looking at is
       22   MS. BROWN:                                          22   perineal use of talc, getting cancer.
       23   Q       So when you conduct your analysis of        23          The -- what I've proposed is in the
       24   whether something can biologically cause an         24   middle. But this, again, the epidemiology


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        1   studies are asking how many times, what, and         1   that opinion from the observations of a couple of
        2   where, but there's been no evaluation that I'm       2   different studies, including the recent Saed
        3   aware of that looks at exactly how the talc was      3   paper that did look at the specific consumer
        4   applied, when and where. Instead, it was asked       4   product every -- you know, showing a -- if we do
        5   number of lifetime applications, duration of use,    5   it by way of comparison, between the Buz'Zard
        6   and examining latency period.                        6   paper and the recent Saed, seemingly a larger
        7          And when I examine that information           7   magnitude of reactive oxygen species generation.
        8   from the perspective of that biological              8   But, again, that is a -- extrapolating against
        9   mechanism, I, you know, notice some parallels in     9   two different studies.
       10   between latency period averaging roughly twenty     10   Q        Do you --
       11   years, which -- which mimics somewhat what's        11   MS. O'DELL:
       12   observed in the asbestos field as far as, you       12          Excuse me. We've been going about an
       13   know, lung effect latency.                          13   hour and 20 minutes, maybe a little more.
       14          And then that continues into the             14   MS. BROWN:
       15   constituent -- or the other constituent             15          I think a little less. But I'm gonna
       16   components of some of the products, including       16   finish up. Then we'll take a quick break.
       17   testing into asbestos and some of the -- and        17   Q        Does that work for you, Doctor?
       18   heavy metal exposure, et cetera, that those are,    18          I just want to finish Penninkilampi if
       19   again, supportive and offer a potential             19   we can.
       20   amplifying effect in that -- in that mechanism,     20   MS. O'DELL:
       21   given the nature of those other components.         21          How much more do you have to go?
       22   Q       What's the scientific support for the       22   MS. BROWN:
       23   amplification effect you just described?            23          About five or ten minutes.
       24   A       Just that the presence of                   24   MS. O'DELL:

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        1   more -- the --                                       1          If you need a break, we can break now.
        2          So if we extend beyond the opinion that       2   Or we can keep -- if you would like to wait five
        3   talc, as a com- -- as a singular compound, causes    3   or ten minutes, that's fine. Whatever's best for
        4   inflammation and then also, based on the reviewed    4   you, Doctor.
        5   expert reports, find that testing of talc has        5   THE WITNESS:
        6   been shown to contain asbestos or asbestos           6          Yeah, if we could break now, that would
        7   fibers, that the presence of now two potential       7   be great.
        8   insulting --                                         8   VIDEOGRAPHER:
        9          I'm making a hypothesis or making a           9          Going off the record. The time is
       10   statement that the -- you can have -- the more      10   2:10 p.m.
       11   biologically active compounds you have in an        11              (OFF THE RECORD.)
       12   exposure such as talc plus asbestos plus chromium   12   VIDEOGRAPHER:
       13   and then plus a milieu of chemicals that are in     13          We're back on the record. The time is
       14   fragrances may have an amplification effect on      14   2:26 p.m.
       15   that exposure and as part of that overall           15   MS. BROWN:
       16   biological mechanism.                               16   Q       Welcome back, Doctor.
       17   Q        Are you relying on a particular article    17          Before we took a break, we were
       18   or any published scientific support for the         18   discussing the Penninkilampi article. Do you
       19   amplification argument?                             19   remember that?
       20   MS. O'DELL:                                         20   A       I do.
       21          Object to the form. He's answered the        21   Q       And one of the things the authors of
       22   question.                                           22   this very recent meta-analysis discussed is the
       23   A        No. I -- I don't know of a study that      23   potential mechanism of ovarian cancer. Correct?
       24   is delineated. The -- it would be synthesizing      24          And I'll direct your attention to the


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        1   discussion that begins on page 45. In the second     1   presence of the talc or a continued chronic
        2   sentence, the authors conclude here that the         2   immune response or chronic inflammatory response,
        3   mechanism by which perineal talc use may increase    3   again, either directly or indirectly related to
        4   the risk of ovarian cancer is uncertain.             4   the exposure, would help support a environment
        5           Do you see that?                             5   that would allow the cancer progression to occur.
        6   A        I see that sentence, yes.                   6         So that is simply delineating those --
        7   Q        And they go on to discuss the theory        7   those two things as it relates to inflammation
        8   that talc could produce a chronic inflammatory       8   and talc exposure.
        9   response which could predispose to the               9   Q       So you described two potential
       10   development of ovarian cancer.                      10   responses to talc right now. Correct?
       11           Do you see that?                            11   MS. O'DELL:
       12   A        Yes.                                       12         Objection to form.
       13   Q        Okay. And they go on to explain a          13   A       At least two, yes.
       14   little bit more about the theory. Do you see        14   MS. BROWN:
       15   that?                                               15   Q       Okay. And one is an acute inflammatory
       16   MS. O'DELL:                                         16   response; correct?
       17           Object to the form.                         17   A       Yes.
       18   A        Specifically the sentence beginning        18   Q       And for that you point to the Saed data
       19   with "it is argued"?                                19   on reactive oxygen species; is that right?
       20   MS. BROWN:                                          20   MS. O'DELL:
       21   Q        Uh-huh. "It is argued that cellular        21         Objection to form.
       22   injury, oxidative stress, and local increase in     22   A       That is one example, yes.
       23   inflammatory mediators such as cytokines,           23   MS. BROWN:
       24   prostaglandins may be mutagenic and, hence,         24   Q       Okay. Are there -- is there other


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        1   promote carcinogenesis."                             1   scientific support for your opinion that talc can
        2           Do you see that?                             2   cause acute inflammation?
        3   A        I see that.                                 3   A       So it's any of the similar studies to
        4   Q        This sentence refers to chronic             4   Saed. And I would have to double-check the
        5   inflammation promoting cancer. Correct?              5   references, but they would have -- you know, any
        6   MS. O'DELL:                                          6   of the --
        7           Object to the form.                          7   MS. O'DELL:
        8   A        No. This -- this refers to that the         8          Feel free to --
        9   presence of -- proposed that talc as a               9   MS. BROWN:
       10   foreign -- that the presence of a foreign body      10   Q       Buz'Zard?
       11   would instigate a chronic inflammatory response.    11   A       So Buz'Zard would be one. Harper and
       12   That's the statement in the paper.                  12   Saed is -- is another.
       13   MS. BROWN:                                          13   Q       In your --
       14   Q        Is it your opinion that talcum powder      14   A       And so -- yeah. Yes, Buz'Zard and Lau
       15   can cause chronic inflammation that initiates       15   and then -- yeah. So that would --
       16   cancer?                                             16   Q       Okay. So for your opinion that talc
       17   A        It's -- so it is -- it is my opinion       17   causes an acute inflamm- -- inflammatory
       18   is, part of the mechanism, that talcum powder can   18   response, you rely on the cell studies done by
       19   have two effects related to inflammation. The       19   Saed and Buz'Zard; correct?
       20   first effect is an acute effect resulting in        20   MS. O'DELL:
       21   cellular damage, and that is supported by the       21          Object to the form.
       22   study showing increase in reactive oxygen species   22   A       Yes, among others.
       23   related to talc.                                    23   MS. BROWN:
       24           The -- beyond that, the continued           24   Q       In your opinion, Doctor, does that


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        1   acute inflammatory response resolve?                 1   they're not -- I don't have evidence to -- to
        2   A        I don't -- I don't have any evidence to     2   delineate those specifically, other than -- other
        3   suggest it resolves or not. The --                   3   than the supported mechanism that an acute
        4          Again, getting back to the mechanism          4   response can cause cellular damage, and then a
        5   that has been -- that I've described and is          5   chronic response can cause cellular damage and be
        6   supported by the literature we've been discussing    6   supportive of that continued -- that continued
        7   is that there is a acute response as well as         7   transformation.
        8   evidence for talc causing a more chronic             8           So they are -- they -- those -- those
        9   inflammatory response. And so I've proposed a        9   two delineated immune responses can either work
       10   mechanism by which both of those can contribute     10   in -- in concert with each other, but there is no
       11   to or enhance the development of cancer.            11   evidence to suggest that one is insufficient
       12   Q        Can both of those inflammatory             12   relative to the other in terms of progression of
       13   responses that you just described initiate          13   the disease.
       14   cancer?                                             14           And I think specific to the -- to the
       15   MS. O'DELL:                                         15   supported mechanism is that there -- I'm not
       16          Object to the form. Asked and                16   making that distinction in the -- in the report.
       17   answered.                                           17   MS. BROWN:
       18   A        They are certainly a component of that.    18   Q        Right. In your report, you don't talk
       19          And so, again, to restate the                19   about acute versus chronic inflammation.
       20   mechanism, the acute inflammatory response or       20   Correct?
       21   the -- the formation of reactive oxygen species     21   A        That's correct. I don't delineate the
       22   has been known for decades to cause cellular        22   two. Right.
       23   damage, and then cellular damage can result in      23   Q        But, here today, as we discuss in more
       24   mutation of -- of DNA.                              24   detail your opinions, you're explaining that


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        1           And then when you also consider the          1   you're -- in your mind, you see two potential
        2   full constituents of the products, the potential     2   inflammatory responses from talc. Right?
        3   presence --                                          3   MS. O'DELL:
        4           And this gets back to our earlier            4           Object to the form.
        5   discussions about amplification.                     5   A         I would disagree. I would say that
        6           Components such as chromium, which have      6   I -- I -- based on the information and studies,
        7   a direct DNA-damaging effect, can also               7   the -- the review of other expert reports, that
        8   ampli- -- again, add to the level of cellular        8   it presents a supported opinion that talc has an
        9   damage present.                                      9   ability to cause an acute response as well as a
       10           And then the continued inflammatory         10   chronic response.
       11   response, whether it is a -- related to the         11           And, so, then, today we are discussing
       12   initial acute response and a continuation of that   12   using that data in support of the -- of the
       13   or is a separate chronic inflammatory response      13   mechanism as to how those -- those two responses
       14   would then support the environment necessary for    14   can work together or separately in the
       15   the malignant transformation or the malignancy of   15   progression of ovarian cancer.
       16   the cancer to become what we -- what we would       16   MS. BROWN:
       17   generally refer to as ovarian cancer.               17   Q         At the time you wrote your report in
       18   Q        In your opinion, the chronic               18   November of 2018, were you of the view that talc
       19   inflammation promotes the cancer but does not       19   can cause both acute and chronic inflammatory
       20   initiate it?                                        20   response?
       21   MS. O'DELL:                                         21   A         Yes. I mean, it was -- I was of the
       22           Object to the form. Asked and               22   view it causes an inflammatory response. And
       23   answered.                                           23   then, as I continued to review information
       24   A        No. So I wouldn't -- I would say           24   available, it became clear that the talc


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        1   response, being an inflammatory response in          1   important.
        2   totality, may have the ability to have               2   Q        So there is a length of time or an
        3   those -- to -- to have two independent responses     3   amount of exposure that would cause a chronic
        4   in tissues.                                          4   inflammation that is different from the length of
        5   Q        And, in your opinion, can both the          5   time and the magnitude of exposure that will
        6   acute inflammatory response and the chronic          6   cause an acute inflammation?
        7   inflammatory response separately cause ovarian       7   MS. O'DELL:
        8   cancer?                                              8          Object to the form. Misstates his
        9   A        Under the -- the mechanism I've             9   testimony.
       10   proposed, yes, that would be a -- a possibility     10   A        Yeah, no. Not -- that's not what
       11   that they could separately cause, given that        11   I -- that's not what I've stated.
       12   they -- they're both inflammatory responses, they   12          I've simply stated that if we -- if we
       13   both cause cellular damage.                         13   look at the -- what is known about inflammation
       14          And in the case -- in this case,             14   and the biological response to foreign bodies,
       15   delineating the acute from chronic was more to      15   you can have an initial acute response mediated
       16   clarify the cellular damage aspect, the             16   by the immune system and mediated by some of the
       17   transformative aspect of cancer from the -- the     17   cellular damage that takes place, and then that
       18   necessary tumor progression aspects of cancer to    18   same response may continue in a chronic form for
       19   actually progress to disease.                       19   some period of time and at some level of
       20   Q        In your opinion, Doctor, does talc         20   magnitude.
       21   always first cause an acute reaction and then a     21          Now, certainly there is likely a
       22   chronic reaction?                                   22   dependency or, I should say, likely a
       23   MS. O'DELL:                                         23   relationship to the amount of exposure and the
       24          Object to the form.                          24   magnitude of that response.


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        1   A        I -- I -- I don't have evidence             1          But, again, the -- the opinions here
        2   to -- to state that and would defer to some of       2   are specific to the mechanism and the initial
        3   the other expert witnesses, like Dr. Saed, for       3   elucidation of that response and, you know,
        4   opinions on acute response versus chronic.           4   not -- not on a quantitation of a -- a
        5   MS. BROWN:                                           5   dose-response relation -- or a dose-response
        6   Q        In your opinion, though, you have at        6   curve or relationship.
        7   least delineated in your mind two different types    7   MS. BROWN:
        8   of inflammatory responses. Correct?                  8   Q       Do you believe that every time a talc
        9   MS. O'DELL:                                          9   particle enters the human body, it produces a
       10           Objection to form.                          10   inflammatory response?
       11   A        I've -- I have described two mechanisms    11   A       All of the evidence would suggest yes.
       12   for inflammation that -- that both can -- are       12   Q       Have you considered Heller's 1996 study
       13   both supportive of the overall mechanism that       13   on that score?
       14   we're discussing.                                   14   A       I would have to --
       15   MS. BROWN:                                          15          On the score of inflammatory response?
       16   Q        And is it -- is there a length of time     16   Q       Do you recall that Heller looked at
       17   that differentiates an acute inflammatory           17   benign ovarian tissue and identified the
       18   response from a chronic inflammatory response?      18   potential presence of talc?
       19   A        Certainly I would say there -- in my       19   A       Sounds familiar.
       20   opinion, there would -- it would be a potential     20   Q       I'll hand it to you.
       21   time dependency or a magnitude dependency to        21         (DEPOSITION EXHIBIT NUMBER 19
       22   delineate an acute versus chronic response. But,    22          WAS MARKED FOR IDENTIFICATION.)
       23   again, for the purpose of the biological            23   MS. BROWN:
       24   mechanism, separating them on those lines is not    24   Q       Handing you, Doctor, what we've marked


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        1   Heller's '96 article as Exhibit 19.                  1   mechanism that talc causes inflammation and then
        2          And what I want to ask you about is           2   inflammation has a role in ovarian cancer.
        3   Heller's finding as it relates to no reaction to     3          Extending that to circumstances where
        4   the talc particle. Did you consider that --          4   an exposure would not cause inflammation is -- is
        5   MS. O'DELL:                                          5   not germane to that -- to that mechanism and, in
        6          Object to the form.                           6   fact, again, not supported by literature to show
        7   MS. BROWN:                                           7   that, you know, that a single exposure or some
        8   Q       -- in forming your opinion here?             8   number of exposures are necessary or sufficient
        9   MS. O'DELL:                                          9   for a particular phenotype.
       10          Excuse me. Object to the form.               10   MS. BROWN:
       11   MS. BROWN:                                          11   Q        So this Heller study purports to have
       12   Q       I'll direct you, Doctor.                    12   found talc in ovarian tissue without an
       13          On page 1508 of the Heller article,          13   inflammatory response; right?
       14   right above the comments section, "The              14   MS. O'DELL:
       15   investigators on this study concluded no evidence   15          Object to the form.
       16   or response to talc, such as foreign body giant     16   A        In looking at their --
       17   cell reactions or fibrosis in the tissue."          17          Just one moment.
       18          My question is whether, in your              18          So this was a --
       19   opinion, every time talc is -- enters the body,     19          So is your -- is your question that
       20   it necessarily produces an inflammatory response.   20   the -- if the -- if the author showed talc being
       21   MS. O'DELL:                                         21   present in normal ovarian tissue?
       22          Object to the form.                          22   Q        Well, first my question is did you
       23   A       No. My opinion is that every time talc      23   consider this article in connection with your
       24   enters the body, that has the potential to cause    24   opinions in the case?


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        1   an immune response.                                  1   A        I don't recall this article
        2   MS. BROWN:                                           2   specifically, and I don't believe I cited it.
        3   Q       Have you made a determination about          3          I guess there's -- no.
        4   whether or not that always happens?                  4   Q        And then my second question, Doctor, is
        5   A       I'll have --                                 5   is it your opinion that every time the human body
        6   MS. O'DELL:                                          6   is exposed to particles of talc, it necessarily
        7         Object to the form. It's vague.                7   produces an inflammatory response that can either
        8   A       I'm not aware of any --                      8   promote or initiate cancer of the ovaries?
        9         There -- there -- these -- none of the         9   MS. O'DELL:
       10   studies that have been reviewed have been           10           Object to the form.
       11   designed to answer the question of "if ever."       11   A        No. My --
       12   MS. BROWN:                                          12   MS. O'DELL:
       13   Q       So, in your view, then, it's an open        13          Vague.
       14   question about whether talc can be inside the       14   A        My comment was that the -- that any
       15   body and not produce an inflammatory response.      15   exposure to talc, particularly the perineal
       16   MS. O'DELL:                                         16   exposure to talc, has the potential to cause an
       17         Object.                                       17   inflammatory reaction.
       18   MS. BROWN:                                          18          I don't have any evidence that all of
       19   Q       Is that fair?                               19   the studies that we've been reviewing are in
       20   MS. O'DELL:                                         20   support -- are in support of that mechanism, but
       21         Excuse me. Objection to form.                 21   I don't know of a study that perhaps has been
       22   Misstates his testimony.                            22   able to draw a conclusion, from a similar size
       23   A       So my -- my -- my testimony regarding       23   study, to show that you can get significant talc
       24   the mechanism is that there is a well-supported     24   accumulation without an inflammatory response.


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        1   MS. BROWN:                                           1   A        In -- in terms of cancer, the
        2   Q       Do you think you need significant talc       2   epidemiology would suggest -- or I would say
        3   accumulation in the human body to cause or           3   the -- the evidence in the literature is -- does
        4   promote ovarian cancer?                              4   not allow that question to be answered, and the
        5   MS. O'DELL:                                          5   reason being is when you look at the latency of
        6          Objection to form.                            6   the disease and the progression of the disease
        7   A       I wasn't asked to -- to provide --           7   and the challenges in detecting it, there just
        8   provide that opinion.                                8   has not been enough time with the, perhaps, rigor
        9          And, again, referring to the studies          9   of analysis that is undergoing now to make that
       10   that have -- that were reviewed and included in     10   assessment of is it 100 percent of the time or is
       11   the report, there is a relationship between         11   it something less than 100 percent of the time.
       12   lifetime exposure and an increased risk in the      12          I think, statistically speaking,
       13   epidemiology reports.                               13   there -- the only data that -- that is available
       14          But more detail on that in this              14   for review is -- is what is contained in some of
       15   discussion, I would defer to the epidemiology       15   the meta-analysis and epidemiology studies
       16   experts. But the -- there -- there does appear      16   showing a significant increased risk to ovarian
       17   to be a -- more of a response based on more talc    17   cancer based on exposure to talc. And it
       18   in the -- in the studies referenced.                18   would -- it would only be -- I think it would be
       19   MS. BROWN:                                          19   inappropriate at this time to try to infer what
       20   Q       So on --                                    20   percentage of time that would be indicative of
       21          Do you have any reason to dispute the        21   for exposure.
       22   findings of Heller here of talc in the ovaries      22   Q        Have the plaintiffs' lawyers shared
       23   without a foreign body reaction?                    23   with you expert reports from their expert
       24   MS. O'DELL:                                         24   pathologists who have looked at ovarian tissue of

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        1           Objection.                                   1   plaintiffs in this litigation, purported to find
        2   A        I guess my -- I have some -- I guess I      2   talc with no foreign body reaction?
        3   have some concerns with some of the methodology      3   MS. O'DELL:
        4   as it relates to the detection of the...             4           Objection. There have been no
        5   MS. BROWN:                                           5   case-specific pathology reports disclosed in the
        6   Q        Do you think it's possible, Doctor, for     6   litigation we're here about today. And if
        7   talc to enter the body and -- and be completely      7   there's something else you're talking about, you
        8   inert and not cause any reaction?                    8   should be specific.
        9   MS. O'DELL:                                          9   A        The -- I don't recall a pathology
       10           Object to the form.                         10   report. I've seen expert reports from
       11   A        So my -- the -- the mechanism I've         11   epidemiologists, OB-GYN and -- and some -- and
       12   proposed is -- is based -- you know, based on the   12   other scientists. But I don't recall a specific
       13   literature, is that talc causes an inflammatory     13   pathology report.
       14   response and that inflammatory response is          14   MS. BROWN:
       15   supportive of progression to ovarian cancer.        15   Q        If the biologically plausible mechanism
       16   MS. BROWN:                                          16   that you posit in your report is true, would you
       17   Q        Does that happen 100 percent of the        17   expect that the pathology slides of women with
       18   time?                                               18   ovarian cancer who have used talc would evidence
       19   MS. O'DELL:                                         19   talcum powder with a foreign body reaction?
       20           Object to the form. In terms of             20   MS. O'DELL:
       21   inflammatory response or in terms of cancer?        21           Object to the form. Incomplete
       22   MS. BROWN:                                          22   hypothetical.
       23   Q        If you don't understand the question,      23   A        That, I would have to ask how you're
       24   you'll let me know.                                 24   defining a foreign body reaction.


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        1   MS. BROWN:                                           1   mentioned some of the other subtypes and the
        2   Q       Well, would you expect to see some           2   common gene mutations that go along with them and
        3   evidence of inflammation in the ovarian tissue of    3   as, again, supportive of the same mechanism. And
        4   women who used talcum powder products?               4   I think, if anything, the -- the current data
        5   MS. O'DELL:                                          5   would suggest a -- a higher prevalence of a
        6          Object to the form. Incomplete                6   particular subtype of cancer but certainly not
        7   hypothetical.                                        7   the -- the mechanism doesn't -- is not exclusive
        8   A       Overall, speaking to, as we were             8   to any one type.
        9   discussing earlier, the potential for that           9   Q        In your view, all types of epithelial
       10   inflammatory response remains. But given the        10   ovarian cancer can be caused by inflammation?
       11   heterogeneity in individuals, their overall         11   A        No. That's -- that's not my statement.
       12   health, their natural variation in the levels of    12   I would say all types of ovarian cancer are
       13   activities of antioxidants, et cetera, I -- I       13   supported by an inflammatory response but that,
       14   would state that I would expect a variety of        14   as from a causative perspective, that's not what
       15   magnitude of response to a foreign body like talc   15   the mechanism is provided as an opinion as to
       16   among the individuals exposed to it.                16   cause. It's more that the -- an inflammatory
       17   MS. BROWN:                                          17   response plays a role in disease initiation
       18   Q       You'd expect to see something; right?       18   and/or progression.
       19   MS. O'DELL:                                         19   Q        In your view, Dr. Levy, it is
       20          Object to the form.                          20   biologically plausible for inflammation to cause
       21   A       No, not necessarily, because it -- it       21   all types of epithelial ovarian cancer; true?
       22   very much depends on the timing that's -- that is   22   A        Again, I'm not -- I've not been
       23   observed, how -- what methodology is used to        23   speaking to inflammation as a causative -- as a
       24   detect the presence of talc or detect the           24   cause of ovarian cancer. It is a factor in --


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        1   presence of the inflammatory response, if it's,      1   in -- in disease progression.
        2   you know, done histopathologically, if it is         2   Q        So when you conclude, as you do in your
        3   based on a reactive oxygen species assay.            3   report, that talcum powder products cause chronic
        4          So given the -- speaking in general           4   inflammation, you do not conclude that that
        5   terms, I think it's just inappropriate to make a     5   chronic inflammation causes ovarian cancer?
        6   conclusion as to that, yes, you would always         6   MS. O'DELL:
        7   expect to see something.                             7           Object to the form.
        8          I would -- again, to restate what was         8   A        I wasn't asked to provide a causation.
        9   stated earlier, any -- any exposure has the          9   MS. BROWN:
       10   potential to cause that inflammatory response,      10   Q        Your opinion here is limited to the
       11   and then the time, scale, and magnitude of that     11   potential for talcum powder products to produce
       12   response is going to vary by person. Therefore,     12   inflammation; correct?
       13   I would expect there would be a variability in      13   MS. O'DELL:
       14   individuals exposed to talc.                        14           Object to the form.
       15   MS. BROWN:                                          15   A        No. My -- so my opinion is a -- is a
       16   Q        Uh-huh. Is your opinion related to all     16   supported plausible biological mechanism by which
       17   the different histologic types of epithelial        17   the exposure to talc can lead to ovarian cancer.
       18   ovarian cancer?                                     18   And, in my opinion, as supported in the -- in the
       19   A        My -- my opinion is not exclusive to       19   report, that is through an inflammatory response.
       20   any -- any one type. Certainly, the epithelial      20   MS. BROWN:
       21   serous being the more common and most virulent      21   Q        I must be missing you, Doctor. So are
       22   type of cancers I think represents the most         22   you of the opinion that inflammation can cause
       23   common.                                             23   ovarian cancer?
       24          From a mechanistic perspective, I            24   A        I'm of the opinion that inflammation is


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        1   a component of ovarian cancer.                       1           Well, first, we're -- I want to be
        2   Q        Well, I'm not sure what you mean by         2   cautious with our use of the word "cause"
        3   that. Can inflammation cause ovarian cancer?         3   and -- because that's, as we've been discussing,
        4   MS. O'DELL:                                          4   this is a -- it is -- it is not controversial
        5           Object to the form. Asked and                5   that ovarian cancer -- inflammation plays a role
        6   answered.                                            6   in ovarian cancer and -- and, again, my opinion
        7   A        I'm asked -- I suppose -- again, the        7   is not towards causation.
        8   opinion here is of a mechanistic opinion, not a      8   MS. BROWN:
        9   causation. I would defer to some of the              9   Q        Well, I mean, tumors themselves elicit
       10   epidemiology experts to have opinions on            10   inflammatory responses; right?
       11   causation.                                          11   A        What -- so what -- specifically, what
       12   MS. BROWN:                                          12   are you referring to?
       13   Q        You don't have an opinion on whether or    13   Q        Well, you talk about tumor-activated
       14   not inflammation can cause ovarian cancer?          14   macrophages in your report; right?
       15   MS. O'DELL:                                         15   A        Yes.
       16           Different question.                         16   Q        There is an inflammatory response
       17   A        Correct. That's a --                       17   that's produced by the tumor itself; correct?
       18           As we've been discussing, my opinions       18   A        Yes. There are -- there -- there --
       19   are that inflammation is a component of ovarian     19   there are absolutely cancer progression markers
       20   cancer and can be attributed to aspects, not        20   that are associated with continued inflammation.
       21   exclusively, but contributing to aspects of its     21   Q        And that has nothing to do necessarily
       22   initiation and aspects of its progression. But I    22   with the events that cause the cancer. Right?
       23   did not say that ovarian cancer is caused by        23   MS. O'DELL:
       24   inflammation.                                       24           Object to the form.

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        1   MS. BROWN:                                           1   A        Well, so the -- we -- we would be going
        2   Q        And what scientific support do you have     2   down a slightly different road. And if
        3   for your opinion that inflammation is a component    3   we're -- so cancer as a complex disorder, you
        4   of ovarian cancer and can be attributed to           4   know, begins with an initiating event. But there
        5   aspects of ovarian cancer, including its             5   is -- there is absolutely tumor evolution from
        6   initiation?                                          6   that initial event through the progression of the
        7   A        So, again, the synthesis of the -- of       7   disease.
        8   the papers we've been discussing, including Saed     8           So to state that the -- in the initial
        9   and others, showing the reactive oxygen species      9   inflammatory response to the tumor is -- is not
       10   produced from talc. And, then, as far as            10   causative to the continuation of the disease I
       11   inflammation and its role in cancer, there          11   think would be incorrect.
       12   are -- and it's a fundamentally accepted aspect     12   MS. BROWN:
       13   of cancer biology that's been around for -- for     13   Q        The Penninkilampi authors -- to
       14   quite some time. And we mentioned earlier that      14   conclude our discussion here -- concluded that
       15   there's a variety of review articles, including     15   the paragraph you were looking at with the
       16   the ones we were comparing sentences to earlier     16   sentence "The potential mechanism by which
       17   today, that describe that in great detail.          17   genital talc is associated with an increased risk
       18   Q        It's not generally accepted, though,       18   of ovarian cancer, hence, remains unclear," do
       19   that ovarian cancer is caused by inflammation.      19   you see that?
       20   Fair?                                               20   A        Yes.
       21   MS. O'DELL:                                         21   Q        And this meta-analysis was published in
       22           Object to the form.                         22   January of 2018; correct?
       23   A        I think there's a number of studies        23   A        Correct.
       24   that --                                             24   Q        And it is, in fact, cited in the


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        1   majority of the plaintiff expert reports in this     1   available data that there is a biologically
        2   litigation. Did you see that?                        2   plausible mechanism surrounding and, indeed, in
        3   MS. O'DELL:                                          3   the previous paragraph at the end of it where
        4           Object to the form. If you know that.        4   they discuss use of -- or expression of
        5   Don't speculate.                                     5   cyclooxygenase 1 and 2 as well as the action of
        6   MS. BROWN:                                           6   NSAIDs, again, supportive of -- somewhat
        7   Q        That's why I asked "Did you see that?"      7   supportive of the inflammatory model. But...
        8   A        So I didn't specifically look at if         8   MS. BROWN:
        9   this was referenced. I -- I certainly referenced     9   Q        Well, as it relates to the NSAIDs,
       10   it. But I would also point out another important    10   Doctor, they point to the fact that the NSAID
       11   part of the -- of this same reference, a -- about   11   data is inconsistent, at best, as evidence
       12   halfway down the following paragraph, beginning     12   supportive of their conclusions that the
       13   with "If chronic inflammation due to ascending      13   mechanism is unclear; right?
       14   foreign bodies is indeed the mechanism by which     14   A       No. They point to it as -- they
       15   talc use is associated with ovarian cancer risks,   15   actually try to clarify that the -- the seemingly
       16   then these results fit the picture."                16   contradictory data regarding the NSAID use can be
       17           So I think the authors were both            17   explained by the relatively low expression of
       18   describing some things that remain unclear but      18   cyclooxygenase 1 and cyclooxygenase 2, which are
       19   also offering some comments that are supportive     19   the targets of most common NSAIDs.
       20   of our earlier discussions today on this            20   Q       What they say is that the use of
       21   mechanism.                                          21   nonsteroidal anti-inflammatory drugs, NSAIDs, is
       22   Q        And your opinion here today, Doctor, is    22   not inversely associated with the incidence of
       23   limited to the potential mechanism; right?          23   ovarian cancer as may be expected if the etiology
       24   MS. O'DELL:                                         24   was related to chronic inflammation. Right?


                                                Page 267                                                 Page 269
        1          Object to the form.                           1   MS. O'DELL:
        2   A        So my -- my opinion is -- is -- is          2          Objection to form.
        3   regarding a biologically plausible mechanism.        3   A       Yes, that statement is made. But,
        4   But, then -- and, in doing so, have reviewed some    4   importantly, it is incomplete without the next
        5   of these studies that we're discussing now.          5   sentence, again, explaining that -- that
        6   MS. BROWN:                                           6   apparent -- that apparent question.
        7   Q        Good.                                       7          So if the -- if NSAIDs are not
        8          And, as it relates to that potential          8   effective in ovarian cancer and the -- and, in
        9   mechanism, these Penninkilampi authors conclude      9   turn -- and if the observation is also made that
       10   that the potential mechanism remains unclear.       10   ovarian cancer cells don't express cyclooxygenase
       11   Right?                                              11   1 and 2, then they would not -- they would be
       12   MS. O'DELL:                                         12   nonresponsive to NSAIDs.
       13          Objection to form.                           13   Q       You state on page 12 of your report,
       14   A        They -- the article makes a statement,     14   Doctor, in the last paragraph, the second-to-last
       15   "The potential mechanism by which genital talc is   15   sentence that begins "moreover," that the effect
       16   associated with an increased risk of ovarian        16   of nonsteroidal anti-inflammatory drugs, NSAIDs,
       17   cancer, hence, remains unclear."                    17   to reduce the risk of ovarian cancer provides
       18          However, as we've been discussing, they      18   additional support for what you're discussing
       19   go on to state, "If chronic inflammation due to     19   here, which is that chronic inflammation plays a
       20   ascending foreign body is indeed the mechanism,"    20   key role in the development of ovarian cancer.
       21   then there -- the results in this paper             21          Right?
       22   are -- fit that model.                              22   A       Correct.
       23          So I think they're making reason- --         23   Q       And that is, in fact, the opposite of
       24   making reasonable statements based on the           24   what the authors in Penninkilampi report as


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        1   relates to NSAIDs; right?                            1   statement.
        2   MS. O'DELL:                                          2          And then there was, I think,
        3           Object to the form.                          3   importantly, the Lin 2011 paper is also relevant.
        4   A         Not -- not necessarily. So there's --      4   Q       Well, as it relates to the Merritt
        5   getting back to the -- the specific cells under      5   paper, this cite is wrong; right?
        6   question and the inflammatory response being         6   A       I need a moment to --
        7   examined. And, so, if we are lowering overall        7   Q       Let's look at what Merritt actually
        8   chronic inflammation through the use of an NSAID     8   found about pelvic inflammatory disease.
        9   is -- is one question. A separate question is is     9          If you look --
       10   a -- is a ovarian cancer cell responsive to         10   MS. O'DELL:
       11   NSAIDs. So they're two separate biological          11          If you need a moment --
       12   phenomenon.                                         12          Excuse me. I'm sorry. I didn't mean
       13           And, in one case, if those cells are        13   to interrupt you.
       14   not expressing the cyclooxygenase 1 and 2,          14          If you need a moment to refresh
       15   they'll be nonresponsive.                           15   yourself, Dr. Levy, please do.
       16           I would speculate that NSAID use in the     16   MS. BROWN:
       17   rest of the body would still result in the          17   Q       Sure. And if you -- when you're ready,
       18   expected effect due to, you know, the -- due to     18   Doctor, I'll direct you to the second column on
       19   the inhibition of cyclooxygenase 1 and 2.           19   page 174, and I want to talk about the last
       20           So I don't think they're necessarily in     20   paragraph there that begins "if inflammation."
       21   conflict with each other.                           21   A       Page?
       22          (DEPOSITION EXHIBIT NUMBER 20                22   Q       And I'll read it into the record while
       23           WAS MARKED FOR IDENTIFICATION.)             23   you orient yourself. It's page 174, right-hand
       24   MS. BROWN:                                          24   column. Final paragraph states, "If inflammation

                                                Page 271                                                 Page 273
        1   Q       Handing you what we've marked as             1   plays a role in the etiology of ovarian cancer,
        2   Defense Exhibit 20 to your deposition, this is a     2   then it would be expected that PID would be
        3   paper by Merritt entitled "Talcum Powder Chronic     3   associated with increased risks of ovarian
        4   Pelvic Inflammation and NSAIDs in Relation to the    4   cancer. PID is not associated with elevated risk
        5   Risk of Epithelial Ovarian Cancer."                  5   of ovarian tumors in our data, confirming several
        6          Do you see that?                              6   previous reports of no association with PID in
        7   A       I do.                                        7   studies of all subtypes of ovarian cancer."
        8   Q       And, in fact, on page 12 of your             8          Did I read that correctly?
        9   report, you cite this Merritt article. Correct?      9   A       You did.
       10   A       Yes. Uh-huh.                                10   Q       All right. So you cited this study for
       11   Q       And you cite it for the proposition         11   the proposition that studies have found a
       12   that studies have found a relationship between      12   relationship between PID and ovarian cancer risk.
       13   pelvic inflammatory disease and ovarian cancer      13   Right?
       14   risk. Correct?                                      14   A       No. I said -- I cited -- I said
       15   A       Correct.                                    15   studies have found a relationship, yes, between
       16   MS. O'DELL:                                         16   PID and ovarian cancer risk.
       17          Object to the form.                          17   Q       And, in fact, this study did not find a
       18   MS. BROWN:                                          18   relationship between PID and ovarian cancer risk.
       19   Q       And you point to Merritt when you           19   Right?
       20   determine here as a finding of a relationship       20   A       I think this study found a -- I'm just
       21   between pelvic inflammatory disease and ovarian     21   looking at the...
       22   cancer in support of your opinion that              22          So -- I'm sorry. Would you ask your
       23   inflammation can cause ovarian cancer. True?        23   question again? This -- this study did not
       24   A       I'd have to double-check that               24   find your --


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        1          Yes, I --                                    1   quote, "We conclude that, on balance, chronic
        2   Q       Sure. I just -- you cited this study        2   inflammation does not play a major role in the
        3   for the proposition that it showed there was a      3   development of ovarian cancer."
        4   relationship between pelvic inflammatory disease    4   Q       Do you see that, Doctor?
        5   and ovarian cancer risk, but, in fact, the study    5   A       I see that.
        6   showed the opposite. Correct?                       6   Q       And what this study did was it
        7   A       Well, to be clear on the wording,           7   endeavored to look into factors potentially
        8   stated that the studies have found a                8   associated with ovarian inflammation to see if it
        9   relationship. I didn't indicate whether it was      9   could support the theory that chronic
       10   positive or negative.                              10   inflammation plays a role in ovarian cancer;
       11          But I think, importantly, the study         11   right?
       12   also has an important paragraph that is probably   12   MS. O'DELL:
       13   more related to its inclusion, which is on the     13          Object to the form.
       14   same page we were just on, 174, second full        14   A       I would need to -- this one limitation
       15   paragraph in the discussion.                       15   of this particular paper is that it is connecting
       16   Q       One of the things on this page,            16   inflammation as evidenced by pelvic inflammatory
       17   Doctor --                                          17   disease and assuming that that source and type of
       18   MS. O'DELL:                                        18   inflammation would be -- the fact that there's
       19          Are you finished, Doctor?                   19   not a direct association between -- or an
       20   A       I think important to at least finish       20   increased risk of ovarian cancer in the presence
       21   that thought.                                      21   of pelvic inflammatory disease; therefore,
       22          That paragraph reads, "Focusing on talc     22   inflammation must not play a role in ovarian
       23   use, we found that any use of perineal talc was    23   cancer. So that is their conclusions.
       24   associated with a small but significantly          24   MS. BROWN:


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        1   increased risk of ovarian cancer overall and        1   Q        Well, they looked at a bunch of
        2   specifically amongst the invasive and LNP serous    2   different inflammatory conditions, didn't they?
        3   tumors, although no clear dose response with        3   That was the focus of the study. The authors
        4   increase in duration of use was identified. This    4   endeavored to look at a number of different
        5   finding is consistent with results of previous      5   pro-inflammatory factors and see if they
        6   studies."                                           6   influenced ovarian cancer. Do you recall
        7          So in the case of the report and the         7   reviewing that?
        8   biologically plausible mechanism that's been        8   A        I do. I think -- but, more
        9   supported by these studies, these studies           9   importantly, when we look at the -- their
       10   differentiating the process of pelvic              10   specific statements that are surrounding the
       11   inflammatory disease doesn't ex- -- doesn't        11   mechanism we're discussing today, which has to do
       12   exclude or refute the inflammatory role or the     12   with talc exposure and perineal talc use, I think
       13   role inflammation may play in ovarian cancer.      13   their -- their statements in that sense, which
       14   Q       What this study concludes is that, on      14   have already been read, quite stand on their own.
       15   balance, chronic inflammation does not play a      15          So what this may indicate is a variety
       16   major role in the development of ovarian cancer.   16   of types of inflammation do -- as present in
       17   Do you recall reviewing this in connection with    17   other diseases, those individually do not or may
       18   your opinions in this case?                        18   not have a specific role in the progression of
       19   MS. O'DELL:                                        19   ovarian cancer.
       20          Object to the form. Misstates the           20          But it does not -- again, it does not
       21   exhibit.                                           21   mean that ovarian inflammation at the site of
       22   MS. BROWN:                                         22   talc exposure in the ovary can't have a role in
       23          Counsel, I'll direct you to the last        23   the progression of disease where -- again, as we
       24   paragraph of the abstract on page 1 which reads,   24   were discussing earlier, with inflammation, we're


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        1   now connecting independent biological processes.     1   couple times, and that's a 1.17 relative risk
        2          And I think you're -- I want to be sure       2   that you're referring to. Is that right?
        3   we're clear and not drawing the use of the word      3   A        Where is that?
        4   "chronic inflammation" as meaning any                4   Q        I'm looking at -- in the abstract.
        5   inflammation and, therefore, if it's not             5   A        Yes.
        6   associated with ovarian cancer, that inflammation    6   Q        Right. And the confidence interval is
        7   can't have a role.                                   7   1.01 to 1.36. Right?
        8          What we're speaking about in terms of         8   A        Correct.
        9   this mechanism is inflammation caused by the         9   MS. O'DELL:
       10   perineal use of talcum powder in the ovary and      10           As to what finding?
       11   the -- and the -- to explain that increased risk    11   MS. BROWN:
       12   of ovarian cancer, what is a plausible mechanism.   12           The one we're discussing.
       13   Q       The authors write, on page 74 -- 174,       13   Q        And, Doctor, you know that one -- a
       14   Doctor, second column, paragraph that begins with   14   confidence interval that begins with one is not
       15   "It has been hypothesized," "It has been            15   statistically significant?
       16   hypothesized that talc is linked to ovarian         16   MS. O'DELL:
       17   cancer development through inflammation," comma,    17           Object to the form.
       18   "however evidence linking an inflammatory           18   MS. BROWN:
       19   response with talc contamination of the ovaries     19   Q        Did you know that?
       20   is lacking."                                        20   MS. O'DELL:
       21          Do you see that?                             21           Object to the form.
       22   A       I do.                                       22   A        Well, I would say the authors have
       23   Q       And you disagree with that statement?       23   stated in that abstract that it is statistically
       24   A       I would -- I would suggest that a           24   significant.

                                                Page 279                                                 Page 281
        1   number of studies in the literature since the        1   MS. BROWN:
        2   publication of this paper would -- would suggest     2   Q        Sure, because it's 1.01. My question
        3   that these conclusions may have been premature.      3   to you was do you know that a confidence interval
        4   Q       Do you think that, at the time this          4   that begins with one is not statistically
        5   paper was published in 2008, that Merritt was        5   significant?
        6   accurately representing the data as it related to    6           This finding, Doctor, is barely
        7   whether chronic inflammation could play a role in    7   statistically significant, isn't it?
        8   the development of ovarian cancer?                   8   MS. O'DELL:
        9   MS. O'DELL:                                          9           Object to the form.
       10          Object to the form.                          10   A        Again -- again, it's a -- whether it's
       11   A       I would say that Merritt has an             11   barely or whether it's tremendously statistically
       12   unresolved -- has a number of unresolved            12   significant, it -- it's still a finding that I
       13   conclusions or partial conclusions in their         13   would say is in support of -- has been supported
       14   paper, again, including the paragraph we've         14   by other studies with similar relative risk
       15   discussed where they comment on the talc use with   15   numbers in the -- in the 1.2 range and above, as
       16   an increased risk of ovarian cancer.                16   indicated.
       17   MS. BROWN:                                          17   MS. BROWN:
       18   Q       Did you see the confidence interval on      18   Q        Finally, Doctor, at the very -- the
       19   that finding, Doctor?                               19   very last sentence of this Merritt study we're
       20   A       I'd have to -- in --                        20   discussing, on page 175, concludes, "However,
       21          Is this in this paper or in the number       21   experimental evidence that perineal talc use
       22   of the --                                           22   elicits an inflammatory response in the ovaries
       23   Q       You reference the finding of an             23   is lacking, and overall we conclude that chronic
       24   association between talc use and ovarian cancer a   24   inflammation does not play a major role in the


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        1   development of ovarian cancer."                      1          Again, the observations in this paper
        2          And my question for you is what               2   are regarding chronic inflammation and its -- and
        3   methodology did you employ to consider the           3   its major role in the development of ovarian
        4   findings of the Merritt paper in coming to your      4   cancer; and, again, in this -- in the specific
        5   opinions contained in your report?                   5   individuals that they've looked at, it's in
        6   MS. O'DELL:                                          6   regards to pelvic inflammatory disease.
        7          Object to the form.                           7          And, so, as far as weighting that
        8   A        Again, as we've discussed earlier here      8   paper, it would be similar to other papers and
        9   today, the -- there's been no singular paper that    9   other observations in the sense that it was --
       10   had a specific role in -- in developing the         10   that the mechanism that is supported by a wide
       11   biologically plausible mechanism contained in the   11   variety of work considers a history of -- history
       12   report. And, so, this -- this paper, among many     12   of work in the talc, inflammation, and ovarian
       13   others, was -- was used.                            13   cancer fields both in basic research and
       14   MS. BROWN:                                          14   epidemiology to come up -- to come to the
       15   Q        Right. But the findings of this paper      15   conclusions and mechanisms that are proposed.
       16   is that talcum powder doesn't produce an            16          I don't -- I can't give you a specific
       17   inflammatory response that leads to cancer.         17   weighting algorithm that was used on any -- any
       18   Right?                                              18   given paper.
       19   A        The -- the findings of this paper was      19   MS. BROWN:
       20   that there's not an association of pelvic           20   Q        Did you consider Merritt's finding that
       21   inflammatory disease and risk of ovar- -- of        21   evidence linking an inflammatory response with
       22   epithelial ovarian cancer.                          22   talc of the ovaries is lacking?
       23   Q        They conclude that chronic inflammation    23   A        I certainly considered their -- I
       24   doesn't play a role in the development of ovarian   24   considered their statements in the -- in the

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        1   cancer; right?                                       1   paper. And I would question the dichotomy of
        2   A       I think they've -- they've extended          2   the -- of some of their statements regarding talc
        3   that observation regarding pelvic inflammatory       3   risk to cancer.
        4   disease to that conclusion.                          4           And the first question that would come
        5          But I think the studies that have come        5   to mind for this particular study is how they
        6   after this and other -- certainly other areas of     6   assessed talc-related inflammation in --
        7   review would suggest that those specific -- the      7   specifically in the ovary. I don't recall seeing
        8   wording of those specific statements may not be      8   how they made that assessment.
        9   the most appropriate representation of the -- of     9           It, instead, seemed to me that their
       10   the observations made in the -- in the Merritt      10   assessments were based on chronic inflammation as
       11   paper.                                              11   it related to other biological conditions and
       12   Q       So did you weight the Merritt paper         12   then extrapolating that to rate of ovarian
       13   less than some other papers that came after it?     13   cancer.
       14   Or how did you --                                   14   Q         How do you think one should measure
       15          What I'm trying to understand is your        15   talc-related inflammation in the ovary?
       16   methodology for considering this paper, which       16   MS. O'DELL:
       17   seems to squarely conclude talc doesn't cause       17           Object to the form.
       18   inflammation.                                       18   A         Again, I wasn't asked to -- to provide
       19   MS. O'DELL:                                         19   that opinion. But I would reference the more
       20          Object to the form.                          20   recent Saed paper which -- and other molecular --
       21   A       I'm not -- so I would -- I would            21   and other molecular studies and certainly defer
       22   disagree that -- this paper does not make those     22   to Dr. Saed as an expert witness to discuss
       23   conclusions that talc does not cause                23   appropriate measurements for talc-related
       24   inflammation. What they --                          24   inflammation in the -- in the ovary or ovarian


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        1   cells.                                               1   biologically plausible mechanism that was also
        2   MS. BROWN:                                           2   peer-reviewed, and I would rely on or point you
        3   Q        Have you spoken with Dr. Saed?              3   to a number of other expert reports, particularly
        4   A        I have not.                                 4   in the epidemiology space from this case, where
        5   Q        Have you requested any information from     5   you'll find a great many parallels to -- to this
        6   Dr. Saed?                                            6   case.
        7   A        No, I have not.                             7          So I, instead, would state
        8   Q        Have you -- would you hold to the same      8   independently myself and other respected
        9   opinion if you did not consider the work of          9   scientists have essentially developed the same
       10   Dr. Saed?                                           10   opinions regarding mechanism in this -- in this
       11   MS. O'DELL:                                         11   particular space.
       12           Objection to form. Vague.                   12   MS. BROWN:
       13   A        I -- the work of Dr. Saed is -- is a       13   Q       Is there another plaintiffs' expert
       14   consideration among the wide variety of other       14   that you're aware of who holds the same opinion
       15   literature contained in here. And Dr. Saed's        15   as you do on biological plausibility?
       16   work for in vitro analysis and the quantitation     16   A        Yes.
       17   of specific reactive oxygen species is -- is a      17   Q        Who's that?
       18   factor in and it is in support of the mechanism     18   A       Patricia Moorman, who is an
       19   that I've proposed, which is that that mechanism    19   epidemiologist whose report I had the opportunity
       20   does not rely on that study or any singular study   20   to read yesterday.
       21   for it to be valid.                                 21   Q       Is there -- and -- and even though
       22   MS. BROWN:                                          22   she's an epidemiologist, Dr. Moorman has a view
       23   Q        The mechanism you proposed, Doctor, is     23   on biological plausibility? Is that right?
       24   not yet generally accepted in the scientific        24   MS. O'DELL:


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        1   community. Would you agree?                          1          Object to the form.
        2   MS. O'DELL:                                          2   A        She has a view on --
        3          Object to the form.                           3          In her report was a -- a view on
        4   A       I wouldn't have a basis for that             4   mechanism -- on mechanism, which included the
        5   opinion. As -- as we talked about earlier, I         5   discussion of inflammatory response and its role
        6   haven't shared this mechanism to ask for that        6   in ovarian cancer, which parallels this report.
        7   opinion.                                             7   MS. BROWN:
        8   MS. BROWN:                                           8   Q        Do you consider your proposed mechanism
        9   Q       You haven't published the proposed           9   that is the subject of your report to be a novel
       10   mechanism that is the subject of your report. Is    10   concept in the scientific world?
       11   that right?                                         11   MS. O'DELL:
       12   A       That's right.                               12          Object to the form.
       13   Q       You haven't discussed the proposed          13   A        Which part?
       14   mechanism that is the subject of your report with   14   MS. BROWN:
       15   any of your colleagues at HudsonAlpha; correct?     15   Q        Any part.
       16   A       That's correct.                             16   MS. O'DELL:
       17   Q       So whether or not the proposed              17          Object to the form.
       18   mechanism that is the subject of your report        18   A        Again, I -- my -- the -- what was
       19   would be accepted by your peers in the scientific   19   requested of me was not to develop a novel
       20   community, that's not something you have yet        20   concept or even to describe an untested
       21   evaluated; correct?                                 21   hypothesis. What was requested of me was to
       22   MS. O'DELL:                                         22   review the available literature and provide a
       23          Object to the form.                          23   biologically plausible mechanism for talc
       24   A       My -- I wasn't requested to provide a       24   exposure to ovarian cancer. And, so, that's


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        1   what -- that's what my report provides.              1   for you here, Doctor, is, were -- was there any
        2   MS. BROWN:                                           2   limitation placed on you that you relied on in
        3   Q        Do you think there could be other           3   trying to develop your biologically plausible
        4   biologically plausible mechanisms by which talcum    4   mechanism?
        5   powder would be associated with ovarian cancer?      5   MS. O'DELL:
        6   A        I haven't been asked to -- to make a        6          What's allowed -- you're well aware of
        7   review related to other biological mechanisms. I     7   this, counsel, I know -- that what's discoverable
        8   was asked to develop a biologically plausible        8   is are there materials considered -- you can ask
        9   mechanism. And upon review of the totality of        9   him that -- was there assumptions that he was
       10   the literature, this mechanism that -- that I've    10   asked to make -- that's discoverable -- and the
       11   presented and provided in the report is, in my      11   compensation. Those are the three things. Not
       12   opinion, the correct mechanism.                     12   conversations between counsel and Dr. Levy.
       13   Q        Did you have complete autonomy in your     13   So --
       14   task to develop a biologically plausible            14   MS. BROWN:
       15   mechanism?                                          15          Counsel, you can instruct or we'll get
       16   A        Yes.                                       16   the judge. We do not have time for your
       17   Q        Were there any limitations on how you      17   speeches. We're trying to finish up and let
       18   should go about developing this biologically        18   other people -- other people ask questions.
       19   plausible limita- -- mechanism?                     19   MS. O'DELL:
       20   MS. O'DELL:                                         20          That's straight from the rules. You're
       21          Object to the form of the question to        21   well aware of that.
       22   the degree that the question seeks --               22   MS. BROWN:
       23   MS. BROWN:                                          23          So here's the question. If you want to
       24          Form.                                        24   instruct, we'll take a break and get the judge.


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        1   MS. O'DELL:                                          1   Q        Did you rely on any instruction from
        2          No, no. If it goes to conversations           2   counsel regarding any limitations on how you were
        3   with counsel, it is not form. It is                  3   to attempt to develop your biologically plausible
        4   attorney-client privilege and it's protected.        4   mechanism?
        5   Work product privilege is protected.                 5   A        No. I was -- I was not provided --
        6          And, so, Dr. Levy --                          6   there were no --
        7   MS. BROWN:                                           7          I'm trying to make sure I answer to be
        8          No. Counsel --                                8   correct. But my very simple and direct answer is
        9   MS. O'DELL:                                          9   the requests for the report were very succinct
       10          Excuse me. Excuse me. I'm directing          10   and were given without limitation.
       11   my witness based on privilege, and I can do that.   11   Q        Did you try to develop any mechanism
       12          To the degree that counsel is trying to      12   that you rejected in connection with your report?
       13   seek the substance of discussions you had with      13   MS. O'DELL:
       14   counsel, those are protected, and I direct you      14          Object to the form. Vague.
       15   not to answer.                                      15   A        So I would best answer that by saying I
       16          To the degree there's something in your      16   did not develop an initial mechanism and,
       17   mind to respond that's not that, you may -- you     17   instead, began a literature review looking at the
       18   may respond.                                        18   available literature in talcum powder
       19   MS. BROWN:                                          19   inflammation in cancer, ovarian cancer, and then
       20   Q       And as -- as counsel well knows,            20   in related subjects, and then, through the course
       21   because we've had this discussion earlier this      21   of that review, was able to synthesize the
       22   week, the federal rules allow discovery of any      22   opinion that you have, that we've been
       23   material you relied on in forming your opinions.    23   discussing, in the report.
       24          And, so, my answer here -- my question       24   MS. BROWN:


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        1   Q         Do you consider the biologically           1   mechanism, you mean other experts in this
        2   plausible mechanism that is the subject of your      2   litigation?
        3   report to be a hypothesis?                           3   MS. O'DELL:
        4   MS. O'DELL:                                          4           Object to the form. Misstates his
        5            Object to the form. Asked and               5   testimony.
        6   answered.                                            6   A        Other -- other material -- the
        7   A         No, no. In fact, it is not. And            7   materials that I was -- that I was provided.
        8   it's -- I think it's very fundamentally different    8   MS. BROWN:
        9   than a hypothesis.                                   9   Q        And those materials are in the form of
       10            Because, again, to state, the              10   other expert reports like yours; right?
       11   activities that were undertaken was a review of     11   MS. O'DELL:
       12   the literature and then, based on that review, a    12           Object to the form.
       13   mechanism that was biologically plausible. It is    13   A        They are.
       14   not hypothetical.                                   14   MS. BROWN:
       15   MS. BROWN:                                          15   Q        Are you aware of any nonlitigation
       16   Q         Have you tested your biologically         16   expert that has arrived at the same biologically
       17   plausible mechanism?                                17   plausible proposed mechanism as you?
       18   MS. O'DELL:                                         18   MS. O'DELL:
       19            Object to the form.                        19           Object to the form.
       20   A         Tested in the sense of --                 20   A        Well, I think -- yeah, in the sense --
       21            So I would -- I would answer that as --    21   in the sense of the number of publications we've
       22   in -- in my opinion, I would suggest that this      22   been discussing and some of the more recent both
       23   has been tested based on following the completion   23   reviews and -- and Saed's paper, I suppose, as
       24   of the report and reading other similarly derived   24   we've been discussing, Dr. Saed has been funded

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        1   or similarly requested both literature, some of      1   for some of this work, but I would counter that
        2   the publications that we've been discussing, as      2   with sponsorship of -- of studies that are
        3   well as other expert reports that have, as we've     3   subsequently peer-reviewed, I think are generally
        4   just discussed, some parallel aspects.               4   held to a scientific standard and rigor, and
        5          So, from a formal scientific process,         5   would suggest that his most recent work would
        6   that is -- would not, I think, be considered a       6   fall under that and -- and, therefore, I would
        7   formal test. But from the perspective of this        7   not consider that in the same realm as an expert
        8   biologically plausible mechanism, other              8   report.
        9   scientists undertaking similar methodology came      9   MS. BROWN:
       10   up with similar results.                            10   Q        Are you aware that the plaintiffs'
       11          And, so, therefore, I would say that         11   lawyers funded Dr. Saed's studies?
       12   this report is -- continues to be supported by      12   A        I am.
       13   independent reviews and content.                    13   Q        How do you know that?
       14   MS. BROWN:                                          14   MS. O'DELL:
       15   Q        The other scientists that you just         15          Don't speculate. If you know it,
       16   referenced are also paid experts for the            16   testify to it.
       17   plaintiffs; is that right?                          17   A        No. I'm thinking of --
       18   MS. O'DELL:                                         18          That was disclosed during the
       19          Object to the form.                          19   discussion of the -- of the paper, and the
       20   A        I don't have knowledge of that             20   question I asked and actually looked on the paper
       21   specifically.                                       21   was to --
       22   MS. BROWN:                                          22          And this -- this was getting to my own
       23   Q        Well, when you said other experts          23   opinion as to the appropriateness and the
       24   looking at the same thing came up with a similar    24   potential scientific rigor of the paper, and that


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        1   was whether or not Dr. Saed disclosed that           1   Q       Why is it important, in your mind, to
        2   relationship, which is, of course, ethically a       2   disclose funding for a study?
        3   requirement for sponsored research. And, indeed,     3   A       Well, it's, you know, ethical premise
        4   that sponsorship is made in the paper.               4   of -- of most scientific research or really all
        5   MS. BROWN:                                           5   extramurally funded research that the funding
        6   Q       Was it important to you --                   6   sources are -- are always disclosed. And that's
        7          Did you ask Dr. Saed about the funding        7   true for publication as well as presentation.
        8   for his paper?                                       8          And, so, I think most -- most
        9   A       I did not. As we -- as we discussed, I       9   scientists, during presentation, will present a
       10   haven't spoken with him.                            10   slide that shows their -- their funning support
       11   Q       Were you troubled by the fact that          11   and all of its sources regard- -- whether it's
       12   Dr. Saed's disclosure does not reference which      12   public or private.
       13   side of the litigation he's working for?            13          And then you'll notice in vast majority
       14   MS. O'DELL:                                         14   of publications, if they are grant supported,
       15          Object to the form.                          15   again, whether that grant is from a public or a
       16   A       Are you asking for my opinion on if it      16   private institution, those things are referenced.
       17   troubled me?                                        17   And, in fact, the U. S. Government has a
       18   MS. BROWN:                                          18   requirement that grants be referenced in their --
       19   Q       Yeah.                                       19   in any publications that were supported by that
       20   A       No.                                         20   money.
       21   Q       It sounds like you did a little             21   Q       Do you have any critiques of either of
       22   investigation and you were satisfied with the       22   Saed's papers?
       23   disclosure. Was that your testimony?                23   A       No. Not at this time.
       24   MS. O'DELL:                                         24   Q       Do you have any questions or anything


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        1           Object to the form. He didn't use the        1   that doesn't make sense to you, having reviewed
        2   word "investigation."                                2   the most recent one or the 2017 one?
        3   A         I was satisfied seeing a disclosure        3   A        No. My focus, particularly on the most
        4   made regarding funding, which, again, in the         4   recent one, I actually found his molecular
        5   scientific climate I would -- or I would state       5   studies to be quite comprehensive and --
        6   simply I viewed the support of that study which      6          So there was -- there was no specific
        7   subsequently goes out to peer review functionally    7   concerns that -- that I was able to identify.
        8   equivalent to pharmaceutical support of a study      8   And, again, the -- in the -- in the version of
        9   involving a drug or a condition or a treatment.      9   the paper that -- that I -- that I was given.
       10           The reality of the scientific space         10   Q        And did you have any opportunity to
       11   is -- is -- is funding sponsorship comes from a     11   check to see if you had an earlier version of
       12   variety of cases. And in each institution,          12   that paper?
       13   HudsonAlpha certainly, I'm positive Wayne State     13   A        Oh, I -- I'll be sure and do that at
       14   has a conflict of interest review board which       14   the next break.
       15   Dr. Saed has to report to as far as the -- how he   15   Q        Okay. Why don't we go ahead and take a
       16   manages that potential conflict of interest. And    16   break now. You'll take a look, if you wouldn't
       17   given that he's at a reputable institution that     17   mind, to see if you have something other than
       18   I've actually done a fair amount of review work     18   what we've marked at the deposition.
       19   with over the years, being Wayne State, I'm         19          I'm going to renew -- review my notes.
       20   reasonably -- or I would say I'm quite confident    20   I'm close to finishing, and then I'll hand it
       21   that his conflict of interest has been managed      21   over to my colleague, Mr. Ferguson, who I think
       22   appropriately for the -- for the study that was     22   will have some questions for you as well. Okay,
       23   reviewed.                                           23   Doctor?
       24   MS. BROWN:                                          24   A        Uh-huh.


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        1   Q        Thank you, Doctor.                          1   MS. BROWN:
        2   VIDEOGRAPHER:                                        2   Q        And if that's not the one you were
        3          Going off the record. The time is 3:33        3   thinking of, Doctor, we can move on.
        4   p m.                                                 4   A        I was thinking Henderson 1971.
        5               (OFF THE RECORD.)                        5   Q        And that's not an animal study; right?
        6   VIDEOGRAPHER:                                        6   A        Maybe this -- this isn't the same one,
        7          We're back on the record. The time is         7   then. I can certainly find it at the end if --
        8   3:48 p.m.                                            8          The -- it was a 1971 study involving a
        9   MS. BROWN:                                           9   rat model that the major point and conclusion of
       10   Q        Welcome back, Doctor.                      10   the study was perhaps something that we've
       11          Did you have an opportunity to take a        11   discussed that's been now well accepted that the
       12   look if you had an earlier version of Dr. Saed's    12   talc can migrate, after exposure, into the
       13   manuscript?                                         13   ovarian tissue.
       14   A        I did.                                     14   Q        Are you aware of any study, Doctor,
       15          I did not.                                   15   that talc on the exterior of a woman's vagina can
       16   Q        Okay. And, so, during this deposition,     16   migrate up the fallopian tubes to the ovary?
       17   you've referred from time to time to Dr. Saed's     17   MS. O'DELL:
       18   2018 paper. Is that right?                          18          Object to the form.
       19   A        (Nods affirmatively.)                      19   A        I am not aware of a study that tested
       20   MS. O'DELL:                                         20   that specifically.
       21          Object to the form. Excuse me.               21   MS. BROWN:
       22   MS. BROWN:                                          22   Q        And did you consider, in connection
       23   Q        And you received that paper after you      23   with your opinions here, IARC's finding that the
       24   authored your report in this case; right?           24   science regarding migration is, quote, "weak"?

                                               Page 303                                                  Page 305
        1   MS. O'DELL:                                          1   MS. O'DELL:
        2         Object to the form.                            2           Object to the form.
        3   A       So I was referring --                        3   A        My -- my primary consideration of IARC
        4         Yes. I -- I -- the manuscript we were          4   was their classification of the talc and the --
        5   discussing was received after the completion of      5   and the fibrous talc, and I don't recall their
        6   this. But, as we discussed earlier, the              6   conclusions of the migration science being weak.
        7   materials in the paper were presented in abstract    7           And, in fact, it appears, as stated by
        8   form or long abstract form, and those are            8   the FDA, that the -- the migration question is --
        9   referenced in the report.                            9   is well resolved.
       10   MS. BROWN:                                          10   MS. BROWN:
       11   Q       And just to close the loop on one thing     11   Q        Finally, Doctor, in connection with
       12   before I hand it over to my colleague,              12   your opinions in this case, did you consider
       13   Mr. Ferguson, you had referenced an animal study    13   articles regarding whether stick lesions evidence
       14   by Woodruff earlier in the day. Do you remember     14   inflammation?
       15   that?                                               15   A        I'd have to review some of the
       16   A       Yes.                                        16   literature for stick lesions specifically. But
       17   Q       That paper doesn't have anything to do      17   that --
       18   with talc; right?                                   18           Can you -- what are you referring to by
       19   MS. O'DELL:                                         19   stick lesions?
       20         Object to the form.                           20   Q        So do you understand that it's now
       21   A       Let me --                                   21   believed, in terms of the -- where ovarian cancer
       22         Yes, I -- you're -- the Woodruff 1979         22   begins, that it begins in the fallopian tubes,
       23   paper is not the one I was -- I was wrong on the    23   epithelial ovarian cancer?
       24   author. Give me a moment to...                      24   A        I certainly would agree that a -- the


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        1   site of initiation, whether -- that it can begin     1   the Genomic Services Laboratory --
        2   in the fallopian tubes, yes, that there's been       2          Right? There's one of those at
        3   studies that have shown that evidence.               3   HudsonAlpha; right?
        4   Q        And some of the early lesions that have     4   A        There is.
        5   been found in the fallopian tubes are sometimes      5   Q        Do you perform services there such as
        6   referred to as stick lesions. Are you familiar       6   running clinical samples to report results to
        7   with that?                                           7   healthcare providers? Is that the kind of things
        8   MS. O'DELL:                                          8   you do?
        9          Object to the form.                           9   A        To be -- to be clear and to,
       10   A        I'm not.                                   10   importantly, differentiate the regulated lab
       11   MS. BROWN:                                          11   versus the research laboratory, the Genomic
       12          So you haven't looked at any studies         12   Services Laboratory is a -- is a entity of
       13   that have looked at stick lesions that have been    13   HudsonAlpha that is responsible for research
       14   removed from women to see if there was any          14   activities.
       15   evidence of inflammation?                           15          There is a separate wholly owned
       16   MS. O'DELL:                                         16   subsidiary of HudsonAlpha creatively named the
       17          Object to the form.                          17   Clinical Services Laboratory. So that laboratory
       18   A        That -- that -- I don't recall that as     18   is the laboratory that performs the testing. And
       19   part of the review.                                 19   to hopefully not provide a level of confusion,
       20   MS. BROWN:                                          20   but the two laboratories coexist in the same
       21   Q        Fair enough.                               21   space. And what this means is I have staff and
       22          No further questions. I'll hand it           22   equipment. Some is dedicated to clinical, some
       23   over to Mr. Ferguson.                               23   is dedicated to research, and some are shared
       24   MR. FERGUSON:                                       24   between the two.

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        1          Thank you.                                    1          So, in summary, the best way to
        2                 EXAMINATION                            2   consider the laboratory is that it's a clinical
        3   BY MR. FERGUSON:                                     3   regulated laboratory that also performs research.
        4   Q        Good afternoon, Dr. Levy. My -- my          4          Any projects under that research
        5   name is Ken Ferguson, and I represent Imerys in      5   umbrella are referred to as being in the Genomic
        6   this matter. Do you know who Imerys is?              6   Services Laboratory. Anything clinical is
        7   A        Only that they're a mining company.         7   referred to the Clinical Services Laboratory.
        8   Q        Okay. And I have some questions for         8   That lab has been CLIA-licensed now for going on
        9   you. I apologize for my voice. I've kind of had      9   five -- just past four years and has been
       10   my allergies and then going into a cold, so it's    10   CAP-accredited for three and a half.
       11   kind of -- kind of stuffy. So I apologize.          11   Q        So is it the Clinical Services
       12          If you have trouble hearing me or            12   Laboratory, then, that would perform services
       13   understanding me, let me know. Okay?                13   like running clinical samples to get results to
       14   A        Okay.                                      14   healthcare providers?
       15   Q        And -- and just -- I know you've been      15   A        That's correct.
       16   at this with Miss Brown for a little while, but     16   Q        And -- and among those things that the
       17   if there's any question that you don't understand   17   Clinical Services Laboratory does, is that
       18   that I'm asking you, just let me know, and I'll     18   restricted to whole genome sequencing?
       19   restate it so I can make sure that we're            19   A        Our currently -- the only publicly
       20   communicating. Okay?                                20   disclosed and validated test for the Clinical
       21   A        Okay.                                      21   Services Laboratory is whole genome sequencing.
       22   Q        I want to talk to you, first of all,       22          We have two other laboratory-developed
       23   about a little bit more about what you do at        23   tests, or commonly referred to as LDTs, that are
       24   HudsonAlpha Institute. So in the what's called      24   run in a -- as a private assay for some clinical


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        1   trials, so they're not publicly available and to     1   of pre-reviews for tenure. There were no
        2   date have not been publicly disclosed. They're       2   concerns with that progress. But, based on both
        3   protected under confidentiality agreement.           3   funding as well as publication records, I wasn't
        4           And the Clinical Services Laboratory         4   overly concerned with that.
        5   this year will launch a number of other tests        5           But the opportunity to be able to do --
        6   that we have publicly disclosed. Those include       6   and the scale of operations at HudsonAlpha was --
        7   whole exome sequencing, an oncology panel known      7   was too good to turn down, as far as remaining at
        8   as the TruSight Tumor 170, which profiles 170        8   Vanderbilt.
        9   genes with -- that have been -- that have known      9   Q         So you were neither granted tenure nor
       10   involvement in cancer risk and progression, and     10   denied tenure. Is that fair to say?
       11   as well as a 500 panel of similar form.             11   A         That's fair to say.
       12   Q        So let me talk to you a little bit         12           I think the best evidence for the
       13   about your prior position. You were at              13   relationship at Vanderbilt after my leaving was I
       14   Vanderbilt University Medical Center; correct?      14   continued as an adjunct faculty in the same
       15   A        Correct.                                   15   department, again with change in title, for a
       16   Q        And you were an assistant professor?       16   number of years after joining HudsonAlpha. So it
       17   Is that correct?                                    17   was a -- certainly, I wouldn't characterize it as
       18   A        The titles I held there was research       18   a negative departure from the institution. And I
       19   assistant professor and then assistant professor,   19   still remain a collaborator with a number of
       20   and then I was a associate professor as an          20   colleagues there.
       21   adjunct faculty for a number of years after         21   Q         Do you have a copy of your report in
       22   joining HudsonAlpha. So I had to progress           22   front of you?
       23   through a few of the academic ranks at              23   A         I do.
       24   Vanderbilt, but all of them in the professor        24   Q         Okay. What I'm gonna do is I'm gonna


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        1   realm.                                               1   try to go through, probably in -- in order,
        2   Q       As an assistant professor, were you          2   portions of your report that I want to ask about
        3   appointed on a tenure track?                         3   and try to make sure I don't cover things that
        4   A       Yes.                                         4   Miss Brown's already covered.
        5   Q       And do you know generally how many           5          Can you look at page 5 of your report?
        6   years after appointment as an assistant professor    6   A        Yes.
        7   is a tenure decision at Vanderbilt typically made    7   Q        So there -- and I'm looking at number 2
        8   in that department?                                  8   on page 5, Acquired Somatic Gene Mutation.
        9   A       It varies from probably five to nine.        9          Do you see that?
       10   Q       Did you ever achieve tenure at              10   A        I do.
       11   Vanderbilt?                                         11   Q        And you say there that --
       12   A       Actually, I was up for tenure the year      12          I'm skipping the sentences. If you
       13   that I moved to HudsonAlpha.                        13   need to go back, feel free.
       14   Q       So --                                       14          -- "Biological and lifestyle exposures,
       15   A       So, technically, I, which will sound        15   such as viruses, obesity, hormones and chronic
       16   odd, I was promoted to associate professor upon     16   inflammation, are also known to result in
       17   leaving.                                            17   cancer-causing mutations."
       18   Q       Okay.                                       18          Right?
       19   A       In an adjunct role.                         19   A        I see that sentence.
       20   Q       So were you turned down for tenure          20   Q        Okay. Wouldn't you agree that the
       21   or --                                               21   association between obesity and cancer risk is
       22   A       I was not. I never -- I -- the              22   just that, an association and not a known
       23   opportunity at HudsonAlpha predated the time that   23   cause-and-effect relationship?
       24   I would have gone up for tenure. I had a number     24   MS. O'DELL:


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        1           Object to the form.                          1   A       It varies. So the -- the --
        2   A        I would state that it is known that         2   "inflammatory response" is a bit general. So
        3   cancer rates increase in a number of unhealthy       3   depending on specific type of cellular
        4   conditions, including obesity. But I am not          4   recruitment and cellular damage through the
        5   aware of a -- of any studies that have               5   release of cytokines, the release of oxidative
        6   illustrated a causal effect directly between         6   damaging materials from cells like granulocytes,
        7   obesity and cancer.                                  7   you know, or the -- even the cell's own
        8   MR. FERGUSON:                                        8   production of reaction to -- reactive oxygen
        9   Q        And, specifically, isn't it true that       9   species, such as from the mitochondria, which is
       10   there is no direct in vivo experimental evidence    10   the most common sync -- or most common source of
       11   that obesity causes cancer-causing mutations?       11   reactive oxygen species in the cell.
       12   A        I would have to review the literature      12          And, so, those are some examples of --
       13   to -- before answering that question. But the       13   of that relationship between an inflammatory
       14   relationship between obesity and cancer risk        14   response and that cellular reaction.
       15   is -- is quite well established. And I think for    15   Q       Reactive oxygen species are not the
       16   us to discuss that in more detail, we'd have to     16   same thing as inflammation; correct?
       17   start delving into some of the specifics around     17   A       I would say reactive oxygen species are
       18   the physiological changes related to obesity and    18   a hallmark of inflammation.
       19   whether those specific physiological changes play   19   Q       But they're not the same thing.
       20   a role in cancer.                                   20   MS. O'DELL:
       21   Q        And, just below that, the last sentence    21          Object to the form.
       22   in that paragraph, you say, "These mechanisms may   22   A       The -- well, they are --
       23   be direct, such as radiation directly damaging      23          Again, reactive oxygen species are a
       24   DNA, as well as indirect, such as an external       24   component of inflammation. So they're -- the


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        1   agent causing a cellular -- cellular reaction or     1   words are two -- two different definitions, but
        2   inflammatory response that then leads to DNA         2   they are a component.
        3   damage or mutation."                                 3   MR. FERGUSON:
        4          What cellular reactions are you               4   Q        Would you agree that reactive oxygen
        5   referring to that result in DNA damage or            5   species are a normal part of cell physiology?
        6   mutation?                                            6   A        Yes, absolutely.
        7   A       So the presence of reactive -- so a few      7   Q        And the major source of reactive oxygen
        8   different things. Primarily, along the               8   species comes from inside the cell and is
        9   discussions for today, the presence of reactive      9   produced in mitochondria?
       10   oxygen species which can directly -- which are a    10   A        A source, and depending on the site of
       11   cellular reaction that can then cause -- directly   11   the physiology. So a normal, healthy cell not
       12   cause DNA damage.                                   12   under stress or injury would be -- then, yes,
       13          There's protein oxidation effects that       13   that's a true statement.
       14   are similar to that, in the sense that you have a   14          Under different physiological
       15   chemical change and a cellular component that       15   conditions, that statement may not be true.
       16   results in a -- in a protein activity change,       16   Q        Can you distinguish reactive oxygen
       17   again leading to potential DNA damage.              17   species produced inside a cell from reactive
       18          And then you can have --                     18   oxygen species produced outside the cell?
       19          So those are two -- two examples of          19   A        What do you mean? So by -- by
       20   cellular reactions to that.                         20   "distinguish," you mean --
       21   Q       And -- and maybe you just explained it,     21   Q        Can you tell the difference?
       22   but I wanted to make sure I'm clear. What is the    22   A        I'm just thinking if there's a way to
       23   mechanism by which an inflammatory response         23   measure.
       24   results in DNA damage?                              24          So you can measure the effects of


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        1   exogenously introduced reactive oxygen species       1   would be very difficult.
        2   and then compare that to the measurement of          2   MR. FERGUSON:
        3   endogenously produced reactive oxygen species.       3   Q        In your report, on this same page, you
        4           But as far as determining the                4   discuss the fact that, even if someone has a
        5   difference if the cellular integrity is not          5   genetic mutation that predisposes them to cancer
        6   intact, I'm not aware of a method to do that.        6   doesn't mean that he or she is certain to get
        7   Q        Would you agree that generation of          7   cancer. Correct?
        8   reactive oxygen species is an inevitable             8   A        That is correct.
        9   consequence of aging in aerobic organisms?           9   Q        So there is a -- a random component to
       10   MS. O'DELL:                                         10   the effects of known cancer-causing agents.
       11           Object to the form.                         11   Right?
       12   A        So reactive oxygen species are a --        12   MS. O'DELL:
       13   are present at all stages of life. And aging, as    13           Objection to form.
       14   a biological phenomenon, is probably one of the     14   A        There is a complicated relationship
       15   most variable phenomenon that exists.               15   between genetics, environment, and expose -- or
       16          And specific to reactive oxygen              16   environment, including exposure and lifestyle,
       17   species, the diet, lifestyle, and genetics of       17   and the progression of cancer.
       18   that individual will drastically change that.       18           Perhaps the -- a summary analogy is the
       19           And a new area of research that my          19   more predisposing mutations that an individual
       20   laboratory has been undertaking for a short         20   has, it's -- it's equivalent to their body is
       21   time --                                             21   rolling the dice more often to collect a mutation
       22           And, so, I don't have specific              22   sufficient to cause cancer than somebody who does
       23   publications, and it's really not -- I promise      23   not have the same genetic background.
       24   it's not taking us too far afield.                  24           And there's -- there's many, many lines


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        1          -- but is the concept of your annual          1   of evidence. Probably the most prominent is
        2   age versus biological age. And my lab has some       2   BRCA1 and 2 mutation and the role it plays in
        3   assays that are based on epigenetics as well as      3   increased risk of breast and ovarian cancer.
        4   some metabolomic markers. And what we found --       4   MR. FERGUSON:
        5   now, in very, again, preliminary data -- that        5   Q        Wouldn't you agree that even the
        6   individuals will vary by plus or minus 15 years      6   inherited susceptibility cannot entirely explain
        7   from physiological age to annual age based on,       7   this random component of some people getting
        8   again, a number of lifestyle factors not             8   cancer when exposed and some people not?
        9   important for this study.                            9   MS. O'DELL:
       10          But the point I'm making is the              10          Objection to form.
       11   discussion about level of reactive oxygen species   11   A        DNA -- so that, it's very
       12   and its association with age is actually quite      12   gene-dependent. So BRCA1 and 2 is the example
       13   variable based on the long -- or based on the       13   given. That is correct, that if you have a BRCA1
       14   current physiological activity of that person.      14   and -- 1 or 2 mutation, you are not guaranteed to
       15          Stated very simply, which is probably        15   get cancer.
       16   something we all know, the better shape you're      16          Corollary to that is if you do not have
       17   in, the younger your physiology will appear. And    17   a BRCA1 and 2 mutation, your relative risk for
       18   you can actually modulate that quite quickly,       18   canner does not change, meaning that you're at no
       19   meaning that a person who's 60 and has made poor    19   less of a risk than somebody -- somebody else who
       20   lifestyle choices can actually gain back quite a    20   doesn't have that mutation.
       21   bit of that physiological age quite quickly.        21          I should state that there are other
       22          And so, again, to directly answer your       22   genes. P53 is a good example that was mentioned
       23   question, a annual age-related conclusion           23   earlier. If you carry a mutation in that gene,
       24   regarding production of reactive oxygen species     24   the probability that you'll get cancer, assuming


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        1   you don't die from something else, is almost         1          And the point of my mentioning this is
        2   certain, meaning that it's in the mid to high 90     2   to illustrate that an early predisposition to --
        3   percents if you -- if you live until a late age.     3   or a significant predisposition to cancer that
        4   MR. FERGUSON:                                        4   results in a early cancer event, those
        5   Q       Further down this paragraph, you             5   individuals show a lifetime increase in risk of
        6   indicate that "An inherited gene mutation could      6   approximately -- they're -- they're approximately
        7   instead make one more likely to develop cancer       7   six times, depending on the disease, to 13 times
        8   when exposed to certain cancer-causing               8   more likely to get that -- to get a secondary
        9   substances."                                         9   disease.
       10          Correct? That's your statement?              10          So there clearly is a relationship to
       11   A       Yes.                                        11   predisposition in -- in oncology -- or in rate of
       12   Q       Can you provide any examples in which a     12   cancer event.
       13   woman with an inherited mutation in a particular    13   Q        Okay. And I appreciate your response.
       14   gene has been demonstrated to have more             14   But remember that my question was related to
       15   sensitivity to developing ovarian cancer as a       15   ovarian cancer, and -- and we went a little
       16   result of exposure to an environmental agent?       16   afield from ovarian cancer.
       17   A       Not for ovarian cancer specifically. I      17          And I want to ask you another question
       18   would need to review --                             18   in that regard. Can you provide any example in
       19          There is a -- I've seen report of a          19   which a woman with an inherited mutation in a
       20   single gene related to ovarian cancer, which,       20   particular gene has been demonstrated to have
       21   again, I would have to do a bit of searching to     21   more sensitivity to developing ovarian cancer as
       22   be sure I'm naming the correct gene, but I --       22   a result of exposure to talcum powder?
       23   where that has a much high- -- increased risk       23   MS. O'DELL:
       24   specific to ovarian cancer, but I do not recall     24          Object to the form.

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        1   if there was a measurement of any exogenous          1         Answer the question.
        2   exposure risk that amplified that effect or not.     2   A      So the mechanism we proposed would be
        3          But I think the -- as a general               3   independent of -- of that predisposition. But I
        4   premise, it is a -- well established in cancer       4   would have the opinion that an individual with
        5   biology that any mu- -- any mutation that results    5   any predisposition mutation, regardless of the
        6   in a burden related to DNA repair, related to        6   gene but -- and -- in ovarian cancer, that they
        7   cell cycle control, you are more susceptible to      7   would be a more fragile individual as -- when it
        8   cancer.                                              8   comes to this exposure under the mechanism that
        9          In one of our lines of research where         9   we've been discussing today.
       10   we do have some publications, in pediatric          10   MR. FERGUSON:
       11   cancer, I would simply point to in approximately    11   Q      Okay. And what I'm looking for is some
       12   50 percent of adults who are survivors of           12   example or some literature in that regard.
       13   childhood cancer will develop a second cancer       13   A      I would -- I would have to -- I would
       14   event primarily because their -- the fact that      14   have to look --
       15   they developed a childhood cancer generally means   15   Q      Okay.
       16   you are predisposed to that condition.              16   A      -- to see.
       17          And -- and, as evidenced in the              17   Q      So what you've told me is that's your
       18   observations we've done in the analysis of          18   opinion, but you don't have any references for it
       19   thousands of patients in collaboration with         19   as you sit here?
       20   St. Jude and the children's oncology group, we've   20   MS. O'DELL:
       21   identified now a ability to do genetic counseling   21         Objection to form.
       22   in those individuals and predict with very high     22   A      So my -- what was -- I was requested to
       23   accuracy what their secondary cancer is likely to   23   provide this biologically plausible mechanism,
       24   be.                                                 24   and part of that request was not necessarily


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        1   include the influence on that mechanism that         1   further and you have a sentence that starts
        2   specific gene mutations or inherited risks may       2   "epithelial ovarian cancer." Correct?
        3   have within relation to ovarian cancer.              3   MS. O'DELL:
        4          So I'd certainly be delighted to pause        4          On page 6 there?
        5   for a moment and take -- you know, and -- and        5   MR. FERGUSON:
        6   work on that -- give you that -- see if I can        6          Yeah. I apologize. Yeah, it is.
        7   give you that specific example.                      7   A       Yep.
        8   MR. FERGUSON:                                        8   MR. FERGUSON:
        9   Q       But you can't as you sit here?               9   Q       It's on page 6. It's the, I believe,
       10   A       I cannot.                                   10   the last sentence of the partial paragraph at the
       11   Q       Okay. So let's look at -- further down      11   top of 6. See it?
       12   on page 5, you have a section entitled "The Role    12   A       I do.
       13   of Genetics in Ovarian Cancer." Correct?            13   Q       Okay. And you say, "Epithelial ovarian
       14   A       Correct.                                    14   cancer (EOC) includes most malignant ovarian
       15   Q       And I want to look at a reference that      15   neoplasms" -- you cite Chan, 2006 -- "that can be
       16   you -- you have cited. And let me mark this as      16   classified based on morphologic and molecular
       17   an exhibit, please. I guess I can mark it.          17   genetic features into the following types:
       18         (DEPOSITION EXHIBIT NUMBER 21                 18   Serous" -- and, in parentheses, "(OSC) low and
       19          WAS MARKED FOR IDENTIFICATION.)              19   high grade); endometrioid (EC), clear cell,
       20   MR. FERGUSON:                                       20   (OCCC), and mucinous (MC) carcinomas."
       21   Q       Exhibit 21 is the Nunes article. Have       21          Correct?
       22   you seen that?                                      22   A       Correct.
       23   A       I have, yes.                                23   Q       Okay. And then if we look back at page
       24   Q       Okay. So if we look at page 5, at top       24   2 of Nunes, in the second sentence of the first

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        1   of the page, you indicate that ovarian cancer is     1   paragraph under "Ovarian Cancer, an Overview,"
        2   the major cause of death from gynecologic disease    2   the nearly identical sentence appears there.
        3   and the second most common gynecologic malignancy    3   Correct?
        4   worldwide; correct?                                  4   MS. O'DELL:
        5   A        Correct.                                    5           Object to the form.
        6   Q        And then in your report you cite Nunes      6   A        The two sentences stating the same
        7   and Serpa, the article we've just marked as          7   fundamental facts regarding ovarian cancer and
        8   Exhibit 21, as well as Siegel and Torre; correct?    8   the histological types are -- yes, I agree.
        9   A        Yes.                                        9   MR. FERGUSON:
       10   Q        If we look at page 2 of the Nunes          10   Q         With almost the same wording.
       11   article, the exact same sentence appears on -- at   11   MS. O'DELL:
       12   the bottom of page 2 under the heading of           12           Object to the form.
       13   "Ovarian Cancer, an Overview"; correct?             13   A         They have similar wording.
       14   A        Correct.                                   14   MR. FERGUSON:
       15   Q        Right.                                     15   Q         Remarkably similar; correct?
       16   A        That's correct.                            16   MS. O'DELL:
       17   Q        Okay. And it's --                          17           Object to the form.
       18   A        It's not quite the same sentence, given    18   A         I wouldn't call it -- so they --
       19   that it's the same initial statement, not an        19           Again, we're stating fundamental basic
       20   identical sentence.                                 20   facts around histological type and following a
       21   Q        Very close to identical?                   21   number of, again, factual observations for what
       22   A        Well, they -- they both -- they both       22   the state of the art for genetic knowledge
       23   introduce the same facts.                           23   in -- in different genes and different proteins
       24   Q        Okay. Then if we go down a little bit      24   is as it relates to our understanding of -- of


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        1   cancer with, again, appropriate reference for        1   MS. O'DELL:
        2   those -- for those studies.                          2          I'm sorry.
        3   MR. FERGUSON:                                        3   MR. FERGUSON:
        4   Q        And then if we look at the following        4   Q        -- on page 2.
        5   paragraphs, the first full paragraph there on        5   A        Yes.
        6   page 6, in your report you have a sentence that      6   MR. FERGUSON:
        7   starts "low grade OSC cases generally have           7          Sorry. Leigh, it's on page -- the
        8   genetic alterations" in a number of items you've     8   bottom of page 2.
        9   listed; correct?                                     9   MS. O'DELL:
       10   A        Correct.                                   10          Oh, I'm there. When you said the top,
       11   Q        Okay. And that sentence ends with the      11   I got --
       12   words or "p13/Ras/Notch/FOXM1." Correct?            12   MR. FERGUSON:
       13   A        Correct.                                   13          No worries. That's -- my mistake.
       14   Q        Okay. And then if we go back to Nunes,     14   Q        Okay. It says "EC subtypes," and then
       15   if you look at that same paragraph we've been       15   it goes to mucin-coding genes on the top of page
       16   talking about -- and those -- there's an            16   3. Correct?
       17   introductory phrase that you don't have, and then   17   A        Correct.
       18   it starts with "low grade OSC generally             18   Q        Again, that paragraph is nearly
       19   comprising." Slightly different wording, but you    19   identical to the one in your report. Correct?
       20   list the same types of receptors and the same       20   MS. O'DELL:
       21   types of items. Correct?                            21          Object to the form.
       22   A        Yes. That's providing a review of,         22   MR. FERGUSON:
       23   again, the known associations between specific      23   Q        Same word, same order, same citations;
       24   ovarian subtypes and their most commonly referred   24   correct?

                                                Page 331                                                Page 333
        1   genetic information or genetic predis- --            1   MS. O'DELL:
        2   sorry -- mutated genes. So I'm -- that's right.      2          Object to the form.
        3   Q        Okay.                                       3   A       So my -- my report is similar to the
        4   A        They are -- they are similar in that        4   review article. It -- it's listing the subtypes
        5   both are, again, introducing factual information     5   of ovarian cancer and -- based on the Nunes
        6   about the current knowledge in ovarian cancer in     6   paper, which is a 2018 publication, so a more
        7   this literature, again pointing out that             7   current review. I'm, again, providing that
        8   referencing the papers that they both came from,     8   referenced information about the -- the -- this
        9   being the Nunes as well as the appropriate           9   observation.
       10   references.                                         10   Q       You're citing the same references as
       11   Q        Okay. And, then, the paragraph below       11   Nunes; correct?
       12   that starts endo- -- "endometrioid carcinoma,"      12   A       Yes.
       13   paren, "(EC)." Correct?                             13   Q       You cite the -- the various gene --
       14   A        Correct.                                   14   expression of gene in the same order they do,
       15   Q        If we look --                              15   so --
       16           And then that goes all the way to the       16          Correct?
       17   word "mucin-coding genes" with two citations;       17   A       Yes.
       18   correct?                                            18   Q       And is that just coincidental? That's
       19   A        Correct.                                   19   just happened? You happened to have put this
       20   Q        If we look at 2 and the top of page 3      20   paragraph in the same order with the same
       21   in Nunes, there's a sentence that starts "EC."      21   notations as -- as Nunes?
       22   It does not spell out endometrioid carcinoma. Do    22   MS. O'DELL:
       23   you see that four lines from the top? I'm sorry.    23          Object to the form.
       24   Four lines from the bottom --                       24   A       Well, I'm listing the same information


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        1   that's contained in the Nunes paper. And seeing      1   or p53 mutations can be considered causes of
        2   as that -- this was a review of the literature       2   cancer?
        3   with -- you know, based on the state of the art,     3   MS. O'DELL:
        4   the Nunes review is exactly that. And, again,        4          Object to the form.
        5   I'm -- I'm repeating the information regarding       5   A        No. Not -- not specifically causal. I
        6   the specific gene information as it relates to       6   think the -- each of these -- as we've discussed,
        7   this -- this ovarian cancer risk and -- and --       7   each of these genes, BRCA1 and BRCA2, or starting
        8   and, again, appropriately citing the basic           8   with BRCA1 and BRCA2, increase the probability of
        9   studies as Nunes did.                                9   a -- of a person -- generally women -- getting
       10   MR. FERGUSON:                                       10   breast or ovarian cancer but do not exclusively
       11   Q        With virtually the same wording?           11   mean somebody with that mutation will get cancer.
       12   A        With similar wording, yes.                 12          So, with that knowledge, I would not
       13   Q        Let's look at page -- page 7.              13   consider BRCA1 and BRCA2 mutation alone
       14   MS. O'DELL:                                         14   sufficient to cause cancer. It increased the
       15           His report?                                 15   risk.
       16   MR. FERGUSON:                                       16          And, as we talked about, p53 is a bit
       17   Q        Yeah. I apologize. Your report.            17   more of a higher-risk gene, and the question as
       18          We can set Nunes aside now.                  18   to whether or not it is possible for someone to
       19          You have a paragraph starts -- that          19   have a -- what the rate of someone having a p53
       20   starts "individuals can inherit mutations in        20   mutation and not getting cancer, I believe, is
       21   BRCA1, BRCA2 or p53."                               21   currently unknown. But there, again, is a much
       22           See it?                                     22   higher probability of developing -- developing
       23   A        Uh-huh.                                    23   cancer.
       24   Q        And you say, "These defects allow          24   MR. FERGUSON:


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        1   additional mutations to accumulate in cells and      1   Q       And then the last line there of page 7,
        2   lead to a higher probability of cells being          2   you say, "The lifetime risk for ovarian cancer is
        3   cancerous."                                          3   approximately 40 percent for BRCA1 carriers and
        4          Correct?                                      4   15 to 20 percent for BRCA2 carriers."
        5   A       Correct.                                     5          Correct?
        6   Q       And you've indicated earlier in your         6   A       Correct. Based on -- based on the
        7   report that cancer is caused by mutations.           7   study that I referenced, yes.
        8   Correct?                                             8   Q       Right.
        9   A       Correct.                                     9          And -- and the -- the -- if we look at
       10   Q       And you say here that mutations in          10   the increased risk of 40 percent as compared to
       11   BRCA1, BRCA2 or p53 can result in the               11   the risk of cancer in the -- of ovarian cancer in
       12   accumulation of additional mutations in cells.      12   the general population, that's a 25-fold increase
       13   Correct?                                            13   for BRCA1 and about a 7- or 8-fold increase for
       14   MS. O'DELL:                                         14   BRCA2; correct?
       15          Object to the form.                          15   MS. O'DELL:
       16   A       Yeah. I made the statement that BRCA1,      16          Object to the form.
       17   BRCA2 and p53, they can be inherited and then, in   17   A       I -- I would have to -- to determine
       18   turn, positive for those gene mutations.            18   that. But I would say so. I'm certainly
       19   MR. FERGUSON:                                       19   comfortable stating that the lifetime risk for
       20   Q       Okay. Would you --                          20   ovarian cancer is approximately 40 percent. I'd
       21   A       So I guess if you could ask the             21   have to verify your -- your math about that
       22   question again to make sure I understand it.        22   indicating a 25-fold increase.
       23   Q       Well, let me -- doesn't this paragraph      23   MR. FERGUSON:
       24   mean, in your comments here, that BRCA1, BRCA2,     24   Q       Do you know what the rate in the


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        1   general population of ovarian cancer is?             1          So the -- the Park paper does discuss
        2   A        It's fairly low. If I -- thinking of        2   the relationship of ovarian cancer risk relative
        3   the cohort studies that were reviewed as part of     3   to benign gynecological conditions.
        4   this, it was roughly a hundred to 200 cases per      4   Q       And -- and your comment that you've
        5   30- to 40,000 women in those -- in those studies,    5   cited these studies for is the presence of these
        6   so relatively low.                                   6   mutations increases a person's risk of developing
        7   Q        And if we go to the top of the next         7   cancer when exposed to a carcinogen. And these
        8   page, you say -- it's page 8 -- "Therefore, the      8   mutations would be what you've been talking about
        9   presence of mutations in the BRCA genes do not       9   in this paragraph, the B -- the BRCA1, BRCA2, and
       10   guarantee that carriers will get cancer. The        10   p53; correct?
       11   presence of these mutations increases a person's    11   MS. O'DELL:
       12   risk of developing cancer when exposed to a         12          Object to the form.
       13   carcinogen."                                        13   A       The sentence is worded, "The presence
       14           Correct?                                    14   of these mutations increases a person's risk of
       15   A        Correct.                                   15   developing cancer when exposed to a carcinogen."
       16   Q        And you cite Park, Vitonis, and Wu for     16   MR. FERGUSON:
       17   that. Is that correct?                              17   Q       Right. Right.
       18   A        That's correct.                            18          And, for example, in Vitonis, isn't it
       19   Q        Looking at Park, isn't it true that        19   true that BRCA1, BRCA2 and p53 were not even
       20   Park does not supply any evidence to support your   20   determined in that study and, instead, Jewish
       21   claim that mutations in BRCA1, BRCA2 and/or p53     21   ethnicity was used as a surrogate for a woman's
       22   increase a person's risk of developing cancer       22   risk of having a mutation in one of these genes?
       23   when exposed to a carcinogen?                       23          Do you recall that --
       24   A        I'd have to remind myself of what's in     24   A       Again, I would have --


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        1   Park.                                                1   Q         -- one way or the other?
        2   Q        Are you going through the entirety of       2   MS. O'DELL:
        3   the article?                                         3            Objection.
        4   A        I'm just reminding myself the content       4   A         I would have to review the -- review
        5   to see if I could find something that was            5   the paper. Because part of the review is to
        6   specifically related to your question about the      6   be -- include appropriate references with regards
        7   presence of a BRCA1 or 2 mutation.                   7   to ovarian cancer risk, and those may -- I think
        8   Q        Okay. Is the BRCA1, BRCA2, p53, any of      8   those publications provide some information in
        9   those even mentioned in the article?                 9   that space.
       10          And -- and I'm not sure we'll have time      10   MR. FERGUSON:
       11   for you to go through each one of them in this      11   Q         All right. But when you cite studies
       12   much --                                             12   for a statement in your report, shouldn't the
       13          You've got -- you cited them for these       13   studies relate to that statement?
       14   propositions. I'm trying to ask you why you         14   MS. O'DELL:
       15   cited them for this proposition.                    15            Object to the form.
       16   A        I -- I'd have to look in more detail.      16   A         Well, the studies relate to a person's
       17   I don't have a specific answer regarding the --     17   risk of developing cancer. But I -- I think
       18   regarding BRCA1 --                                  18   it -- it doesn't change the accuracy of the
       19   Q        Okay.                                      19   presence of the mutation relative to that risk.
       20   A        -- I'm sorry -- BRCA genes.                20   But the -- I don't have a -- a good answer as far
       21          I would suspect the Park reference was       21   as relationship of BRCA1 and 2 to the Park paper.
       22   more in the discussion of overall relative risk     22   MR. FERGUSON:
       23   of developing cancer and not necessarily            23   Q         And -- and, then --
       24   exclusive to the presence of a mutation.            24            Well, we talked about Vitonis, too.


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        1   And then let's get to Wu.                            1   syndrome patients have an increased risk of
        2   MS. O'DELL:                                          2   cancer when exposed to a carcinogen. Correct?
        3          Object to the form. You didn't comment        3   A       Correct.
        4   specifically about Vitonis, if you've got an         4   Q       What carcinogens are you referring to?
        5   issue with Vitonis. You know, it's not fair to       5   A       I'm not -- not referring to a specific
        6   assume that because I don't think you asked a        6   carcinogen. I'm using the term "carcinogen" to
        7   direct question.                                     7   refer to an insult that would result in DNA
        8   MR. FERGUSON:                                        8   damage specifically because, similar to the BRCA
        9          Okay. I thought I did, but I could be         9   mutations, Lynch syndrome impairs DNA mismatch
       10   mistaken.                                           10   repair.
       11   MS. O'DELL:                                         11          So that defect alone is not sufficient
       12          You mentioned it, but I don't think          12   to result in a cellular transformation, so
       13   you -- I think it was more you rather than asking   13   something else has to occur. And when we
       14   a question.                                         14   consider that carcinogens are -- the term
       15   MR. FERGUSON:                                       15   "carcinogen" generally refers to something that
       16   Q       With regard to Wu, do you recall that,      16   has the potential to damage cellular components
       17   in Wu, BRCA1, BRCA2, and p53 inherited carrier      17   or DNA, it's putting the --
       18   mutation status were not even determined in that    18          Inability to repair along with the
       19   study? Do you recall that --                        19   presence of a carcinogen is where that sentence
       20   A       The --                                      20   comes from.
       21   Q       -- one way or the other?                    21   Q       So -- and I want to make sure I
       22   MS. O'DELL:                                         22   understand what you're saying. Are you saying
       23          Object to the form.                          23   that Lynch syndrome patients have an increased
       24   A       The Wu paper specifically discussed         24   risk of developing cancer after exposure to a


                                                Page 343                                                 Page 345
        1   nongenetic risk factors.                             1   carcinogen, just like everyone else?
        2   MR. FERGUSON:                                        2   A       No. I'm stating that Lynch syndrome --
        3   Q        Let's go to the next paragraph, and         3   MS. O'DELL:
        4   there you talk about single nucleotide variance,     4          Object to the form. Excuse me.
        5   SNVs; correct?                                       5   A       Lynch syndrome is a hereditary
        6   A        Towards the bottom of the paragraph.        6   condition that increases the overall risk of
        7   As -- in terms of modifiers, yes.                    7   cancer to an individual, similar to BRCA1 and 2
        8   Q        Yeah. Are -- are single nucleotide          8   mutation.
        9   variants mutations?                                  9   MR. FERGUSON:
       10   A        Yes.                                       10   Q       So you -- are you claiming that Lynch
       11   Q        Do most SNVs result in functionally        11   syndrome patients have a greater increase in
       12   defective proteins?                                 12   relative risk when exposed to a particular
       13   A        Statistically speaking on a genome-wide    13   carcinogen than do people without Lynch syndrome?
       14   basis, no.                                          14   MS. O'DELL:
       15           So a -- a single nucleotide variant is      15          Object to the form.
       16   a variant at any point. And if we consider          16   A       No, I'm not making that statement, to a
       17   statistically that about 1 percent of the genome    17   specific carcinogen.
       18   encodes proteins, again, it's statistically less    18   MR. FERGUSON:
       19   likely that any SNV would affect a protein.         19   Q       In your next paragraph you talk of --
       20   Q        Okay. Let's look at the next               20   you start with "Myriad Genetics," and you say,
       21   paragraph. There you talk about Lynch syndrome;     21   "As with all inherited traits, a positive family
       22   correct?                                            22   history is the strongest indicator of the
       23   A        Correct.                                   23   presence of genetic risk alleles in an
       24   Q        And you make a statement that Lynch        24   individual."


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        1           Correct?                                     1   number higher than that if you're looking at
        2   A        Correct.                                    2   indirect or genetic complex formation.
        3   Q        Isn't it true that many women who have      3          You know, depends how far down the
        4   inherited mutations like BRCA1 or BRCA2 and genes    4   cellular control and signal transduction and
        5   that predispose to ovarian cancer development do     5   growth and proliferation road that we go as far
        6   not have a family history of breast or ovarian       6   as how many genes. But I'm sure, as everyone
        7   cancer?                                              7   well appreciates, everything in biology is
        8   A        So the -- your -- your question is a        8   interrelated in some form.
        9   little bit different than the statement. So          9          And, so, it -- but I would say this
       10   the -- if I could clarify the statement in the      10   statement here is that our ability to look at
       11   report, it is more that a positive family history   11   large-scale genetic analysis in individuals of a
       12   would be a likely indicator that someone has a      12   variety of cancer types, given the number of
       13   genetic risk variant such as BRCA1 and 2.           13   individuals affected by cancer and the analysis
       14   Q        Isn't it true that family history is       14   of their genetics, we've been able to identify
       15   not a sensitive or specific indicator of            15   many of -- many of the fundamental or most --
       16   whether -- of whether a particular woman has        16   perhaps most of the fundamental genes involved in
       17   inherited a mutation in a gene associated with      17   that initial disease initiation or progression.
       18   increased risk of ovarian cancer?                   18          It's important that it is not a
       19   MS. O'DELL:                                         19   comprehensive list. Hence, it is not "all," but
       20           Object to the form.                         20   there are a large number of genes that are well
       21   A        I would say that family -- I would ask     21   established.
       22   to define "sensitive" or "specific," because in     22   Q        Okay. Let's look at the next page, 10.
       23   genetics overall, family history remains a          23   And you have a paragraph that starts
       24   valuable and important characteristic in terms of   24   "Macrophages."


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        1   determining the genetic component of -- of any       1   A         Uh-huh.
        2   disease, cancer included. And, so, if there's        2   Q         And the last sentence says, "Generally
        3   something exact regarding its sensitivity or         3   speaking, macrophages can increase inflammation
        4   specificity that I can comment on, I will if I       4   or decrease inflammation, depending on the
        5   know the answer. But...                              5   cytokines released."
        6   MR. FERGUSON:                                        6           Correct?
        7   Q        In -- in the top of the page -- of          7   A         Correct.
        8   page 9, the next page, you indicate, "Because of     8   Q         So, with that statement, do you agree
        9   the large number of individuals tested and the       9   that inflammation can have both protumorigenic
       10   ability to trace their genetic inheritance, the     10   and antitumorigenic effects, depending on
       11   genes involved in cancer development are well       11   context, just as you state here for macrophages?
       12   established."                                       12   MS. O'DELL:
       13          Is that correct?                             13           Object to the form.
       14   A        Correct. That's what I state. I did        14   A         No, I -- I would not agree with that.
       15   make that statement.                                15   I -- I don't know of any evidence of that, that
       16   Q        And given that they're well                16   inflammation, as a physiological phenomenon, acts
       17   established, can you name all of the inherited      17   as an antitumor effect.
       18   genes that have been identified as being            18   MR. FERGUSON:
       19   associated with an increased risk of ovarian        19   Q         Going to the next page, the page 11 --
       20   cancer?                                             20           I'm trying to get through this
       21   A        No, not -- I can't name them all off       21   hopefully within the next 15 minutes.
       22   the top of my head, no. There's something in the    22           -- under the role of inflammation in
       23   neighborhood of 500 to -- 500 genes of strong       23   ovarian cancer --
       24   association of cancer risk and progression, some    24           Are you with me there?


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        1   A       I am.                                        1   anything on that, so that's -- that's fine.
        2   Q       And you're obviously talking about the       2   Let's move on.
        3   role of inflammation there. Isn't it true that       3   A        Okay.
        4   no published animal model has ever shown that        4   Q        I think you've stated earlier that your
        5   inducing inflammation induces the development of     5   opinion in this case is based on the totality of
        6   ovarian cancer?                                      6   what is included in the product, the talcum
        7   MS. O'DELL:                                          7   powder products. Is that correct?
        8          Object to the form.                           8   A        Correct.
        9   A       We've been -- earlier today we were          9   Q        So you're -- you cannot distinguish
       10   discussing some animal models as it relates to --   10   the -- the carcinogenicity of the constituent
       11   MR. FERGUSON:                                       11   parts of the talcum powder products, correct,
       12   Q       Yeah. You and Miss Brown talked about       12   including the fragrance?
       13   a number of animal models.                          13   MS. O'DELL:
       14   A       Yeah.                                       14          Object to the form.
       15   Q       And -- and what I'm trying to ask you,      15   A        I -- I was -- I was not asked to -- to
       16   is there any of those animal models or any others   16   provide that delineation. And, so, instead,
       17   that have ever shown that inducing inflammation     17   subsequent to seeing some of the other expert
       18   induces the development of ovarian cancer?          18   reports, we began with talcum powder as a product
       19   A       I didn't -- I didn't look specifically      19   and then have since learned more about the
       20   for an animal study of that type in the process     20   constituent components, including asbestos,
       21   of developing the report.                           21   fragrance, potential for heavy metals, which I
       22   Q       Later down that page, you talk about        22   understand or I've observed that there's a
       23   two models. "The literature reviews as well as      23   variety of testing documents that -- that show a
       24   many direct studies feature the immune system as    24   variety of results.


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        1   being an important mediator of ovarian               1           So, to answer your question, I did not
        2   carcinogenesis via two models, chronic               2   specifically evaluate the individual specific
        3   inflammation and incessant ovulation."               3   components in any -- in any individual product as
        4          Correct?                                      4   it relates. Instead, remained focused on the
        5   A        Correct.                                    5   mechanism for the complete -- complete product.
        6   Q        Is it your opinion that incessant           6   MR. FERGUSON:
        7   ovulation is a form of chronic inflammation?         7   Q         And you've made reference to heavy
        8   A        It is not.                                  8   metals throughout your testimony on occasion. Do
        9   Q        Isn't it true that there's no               9   you recall that?
       10   pathological evidence in humans that perineal       10   A         I do.
       11   talc users have ovarian inflammation?               11   Q         Do you have any opinions that any of
       12   MS. O'DELL:                                         12   these heavy metals contribute to the inflammation
       13          Object to the form.                          13   process that you've been talking about?
       14   A        I'm thinking.                              14   A         The -- to the inflammation --
       15          I would have to review the --                15           I'm not aware of any direct evidence
       16          I'm sorry. That's -- it's --                 16   for heavy metal contribution to the inflammation
       17   MR. FERGUSON:                                       17   process that we've been discussing. Instead, the
       18   Q        Okay.                                      18   heavy metals, particularly chromium, caught my
       19   A        I would -- again, I would have to look     19   attention because of its well-established ability
       20   more carefully for that. I can't -- I can't name    20   to directly damage DNA and, therefore, you know,
       21   a study of that type right now.                     21   potentially play a role in carcinogenesis.
       22   Q        So I think you've said previously --       22   Q         Do you have any knowledge or opinion
       23          Are you done looking?                        23   about how much chromium you claim is in the -- in
       24          I understood you couldn't give me            24   the body powder products?


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        1   MS. O'DELL:                                          1   talc with asbestiform bodies, I think would be
        2          Object to the form.                           2   very reasonable to state that it has mutagenic
        3   A       I wasn't asked to evaluate the amount        3   properties.
        4   of chromium or whether it was sufficient for         4   MR. FERGUSON:
        5   damage. It was more reviewing. I would have to       5   Q        And can you cite me any literature for
        6   defer to other experts who have done the testing     6   that?
        7   on the products.                                     7   A        I would simply refer to the -- much of
        8   MR. FERGUSON:                                        8   the body of asbestos literature for the -- for
        9   Q       So you have no opinion on that?              9   that.
       10   MS. O'DELL:                                         10   MR. FERGUSON:
       11          Object to the form.                          11          I think that's all I have. I'll turn
       12   A       I'm sorry. An opinion on the amount of      12   it over to someone else to ask some questions.
       13   chromium?                                           13   MS. BROWN:
       14   MR. FERGUSON:                                       14          Anybody with some more?
       15   Q       Correct.                                    15   MS. O'DELL:
       16   A       Again, I wasn't asked to generate such      16          I'm going to take a break for a few
       17   an opinion.                                         17   minutes.
       18   Q       I think -- I think I'm almost done.         18   VIDEOGRAPHER:
       19          Isn't it true that published data have       19          Going off the record. The time is
       20   demonstrated that talc is not genotoxic and does    20   4:54 p m.
       21   not cause mutations?                                21               (OFF THE RECORD.)
       22   MS. O'DELL:                                         22   VIDEOGRAPHER:
       23          Object to the form.                          23          We're back on the record. The time is
       24   A       I'm not aware of a study that               24   5:20 p m.

                                                Page 355                                                 Page 357
        1   specifically looked at the genotoxicity of -- of     1                  EXAMINATION
        2   talc. And I think it would certainly warrant         2   BY MS. O'DELL:
        3   defining which type of talc and components           3   Q        Dr. Levy, I have just a few follow-up
        4   therein. But I'm -- I'm not aware of a study         4   questions for you.
        5   that has concluded that there are no genotoxic       5          I'm gonna ask you to turn to page 14 of
        6   effects of any type of talc.                         6   your report.
        7   MR. FERGUSON:                                        7          And earlier today --
        8   Q        Would you agree there's no evidence         8          I'm going to ask, Doctor, if you could
        9   that talc causes sister chromatid exchange or        9   put the exhibits in front of you, and we'll pull
       10   unscheduled DNA synthesis?                          10   those out.
       11   MS. O'DELL:                                         11          But earlier today you were asked about
       12          Object to the form.                          12   a letter from the FDA that was marked as Exhibit
       13   A        I didn't -- I didn't review the            13   Number 16, and if you could pull that out of your
       14   literature for those two specific phenomenon. I     14   stack there. And, specifically, if you'll turn
       15   would have to, again, specifically look or review   15   to page 4 of the letter.
       16   for that.                                           16          And you'll recall that this letter was
       17   MR. FERGUSON:                                       17   written in 2014. Do you remember that?
       18   Q        So, as you sit here, you have no           18   A        Yes.
       19   opinion as to whether talc is or is not             19   Q        And if you look, however, at page 4 of
       20   mutagenic?                                          20   the letter, it appears that the FDA's review of
       21   MS. O'DELL:                                         21   the relevant toxicity literature stopped at the
       22          Object to the form.                          22   year 2008. Fair?
       23   A        No. We've -- so talc in general,           23   MS. BROWN:
       24   particularly in its -- in its form of fibrous       24          Objection to the form.


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        1   MS. O'DELL:                                          1          Objection to the form of the question.
        2   Q       Did the FDA's review of the toxicity         2   A       Yes, we -- we had a discussion
        3   literature stop in 2008?                             3   regarding the results shown in Figure 3, the
        4   A        Yes.                                        4   level of exposure of talc as well as its
        5   Q       And if you look at page 14 of -- of          5   duration. Sorry. The talc dose as well as
        6   your report, your review of the literature           6   duration.
        7   included multiple references that were published     7   MS. O'DELL:
        8   after 2008?                                          8   Q       And in the -- if you'll look at
        9   MS. BROWN:                                           9   Figure 1, Doctor, explain to us, please, what
       10          Form.                                        10   Figure 1 describes in terms of the viability of
       11   A       That's correct.                             11   the cells at the 72-hour mark.
       12   MS. O'DELL:                                         12   A       So the -- so Figure 1 is a graph
       13   Q       And, in fact, you cited Shukla that was     13   describing percent cell viability versus the
       14   published in --                                     14   different normal or variant cells at a 24-hour
       15          Was Shukla published in 2009?                15   and 72-hour time point, two different ovarian
       16   A       Yes. The reference is in the report to      16   cancer cell lines, as well as doses of talc from
       17   2009.                                               17   zero micrograms per milliliter up to 500
       18   Q        Yes.                                       18   micrograms per milliliter, and each of those is
       19          And, in addition to that, did you cite       19   applied.
       20   other references in support of your opinion that    20          And at the 72-hour time point in both
       21   talc powder causes inflammation that were dated     21   cell lines, OSE2a and GCA1 -- GC1a shows a
       22   and published after 2008?                           22   decrease in cellular viability that is
       23   A       I did.                                      23   dose-dependent in each of the four cell lines.
       24   Q       And, so, the suggestion by counsel for      24   Q       Okay. And --

                                               Page 359                                                  Page 361
        1   Johnson & Johnson that somehow the FDA had           1   A        Sorry. Each of the two cell lines.
        2   reviewed the literature for toxicity up until the    2   Q        And is it fair to say that the reason
        3   date of this letter would have been incorrect?       3   you don't see dose response, you know, at the --
        4   MS. BROWN:                                           4   at the greatest magnitude is because the cells
        5           Objection to the form of the question.       5   essentially die?
        6   A        As -- as we discussed, the -- the           6   MS. BROWN:
        7   letter from the FDA dated April 1st, 2014, states    7          Objection to the form.
        8   to include literature from 1980 to 2008.             8   A        Well, I would say if we consider the
        9   MS. O'DELL:                                          9   results displayed in Figure 1 in relation to the
       10   Q        Let me ask you --                          10   results displayed in Figure 3, an ex- -- an
       11           You can put that aside, Dr. Levy.           11   explanation for the concentrating on the 500 --
       12   Thank you.                                          12   the highest dose, the 500 micrograms per
       13           And I want to ask you to pull out of        13   milliliter, in the talc exposure, the decrease in
       14   the stack the Exhibit 17, which is the Buz'Zard     14   cellular viability is an -- is an explanation --
       15   paper.                                              15   could be an explanation for the decrease in
       16   A        I have it.                                 16   reactive oxygen species.
       17   Q        And if you'll turn to page 581.            17   MS. O'DELL:
       18   A        Okay.                                      18   Q        Okay. Thank you, Doctor.
       19   Q        And just to orient our discussion,         19          And if you'll put that aside and turn
       20   counsel for Johnson & Johnson suggested that --     20   to Exhibit 7, which was the Hamilton paper we
       21   that this paper showed a decrease in reaction or    21   spent quite a lot of time on earlier.
       22   reactive oxygen species at the longest time         22          Do you recall the -- that discussion
       23   interval. Do you recall that discussion?            23   regarding the Hamilton paper?
       24   MS. BROWN:                                          24   A        I do.


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        1   Q        And what was the purpose for which you      1   principle been published in the peer-reviewed
        2   cited the Hamilton paper?                            2   literature?
        3   A        That it was one of the available animal     3   A        It has.
        4   studies looking at the effects of talc on a rat      4   Q        And, in regard to ovarian cancer, prior
        5   ovary.                                               5   to becoming involved in the litigation, did you
        6   Q        And did the paper show that there was a     6   hold the opinion that inflammation was a part of
        7   increase in inflammation as result of talc?          7   the development of ovarian cancer?
        8   A        Yes, in the form of foreign body            8   A        Yes.
        9   granulomas observed in five of the injected          9   Q        And has that been researched and that
       10   ovaries.                                            10   research published in the peer-reviewed
       11   Q        And you're looking at, I guess, that       11   literature?
       12   last sentence on page 103 and carrying over to      12   A        It has.
       13   the -- to the narrative on page 105?                13   Q        In the same way, has the fact that
       14   A        Cellular foreign body?                     14   talc, talcum powder, induces inflammation been
       15   Q        Yes.                                       15   published in the peer-reviewed literature?
       16   A        Foreign body granulomas without any        16   MS. BROWN:
       17   surrounding inflammation were seen in five of the   17           Objection to the form.
       18   injected ovaries. And similar lesions were not      18   A        Yes.
       19   uncommonly noted in the supracapsular fat in the    19   MS. O'DELL:
       20   connective tissue matrix of the capsule.            20   Q        And you were asked whether there was
       21   Q        And if you'll look down in the             21   evidence that talc caused inflammation in humans.
       22   discussion section, Dr. Levy, the first paragraph   22   Do you recall that question?
       23   there in your -- where -- beginning                 23   A        I do.
       24   "Unfortunately," does it appear that talc also      24   Q        And based on your exhaustive review of


                                                Page 363                                                 Page 365
        1   induced fibrosis --                                  1   the literature, what evidence would you point to
        2   MS. BROWN:                                           2   undergirding your opinion that talc causes
        3           Objection to form.                           3   inflammation in humans?
        4   MS. O'DELL:                                          4   A        I think considering the molecular
        5   Q        -- in the rats?                             5   mechanism we were discussing of the recent paper
        6   A        The manuscript makes the statement          6   by Saed, et al., again, that we discussed earlier
        7   that, "Unfortunately, bursal distention occurred     7   today is a fairly in-depth set of experiments to
        8   as an unforeseen complication" and further states    8   examine the specific inflammatory response
        9   that this probably resulted from talc-induced        9   of -- of human cells to -- to talcum powder.
       10   fibrosis and obliteration of the small channel      10   Q        In addition to the Saed publications,
       11   which normally allows communication between the     11   would you -- would you include the Shukla 2009
       12   cavity where the ovary lies and the perineum.       12   paper in your consideration of talc causing
       13   Q        And though the authors concluded that      13   inflammation in humans?
       14   neoplastic changes were not seen, the authors did   14   A        Yes.
       15   find evidence of inflammation in their study?       15   MS. BROWN:
       16   A        That's correct.                            16          Form.
       17   Q        Prior to becoming involved in the          17   MS. O'DELL:
       18   litigation, Dr. Levy, did you hold the opinion      18   Q        You were asked about your methodology
       19   that inflammation is a cause of cancer?             19   numerous times today, and can -- would you
       20   A        As -- as we've discussed earlier, I        20   describe in -- in general the methodology you
       21   certainly held the opinion that, you know,          21   have used in reaching your opinions in this case?
       22   inflammation is a significant and necessary         22   A        Yes. To clarify or perhaps expand on
       23   component of cancer progression.                    23   the earlier discussions, my methodology involved
       24   Q        And has that been -- that general          24   a literature review to examine the totality of


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        1   the information available to the role that talcum    1   Q         Is this the Park paper that you
        2   powder plays in inflammation in ovarian cancer.      2   referenced --
        3           And, so, that methodology involved,          3   MS. BROWN:
        4   first, a review of the literature and then a         4           Counsel, do you have a copy for us?
        5   development of a report and then a synthesis of a    5   MS. O'DELL:
        6   biologically plausible mechanism where the basis     6           I don't. I'm assuming -- I don't think
        7   of that plausibility was to ask if each of the       7   Ken marked it, but I'm assuming he has a copy.
        8   different component steps that are described in      8   Q         Is that the Park paper that you
        9   that mechanism was supported by peer-reviewed        9   referenced in your report, Dr. Levy?
       10   research. First, does talc cause inflammation?      10   A         It is.
       11   Second, does inflammation cause cancer? And         11   Q         And if you'll turn to page 8 of the
       12   then, third -- or does inflammation cause ovarian   12   paper, about midway down the first column, maybe
       13   cancer? And then, third, is there -- is that        13   a little bit less, see the paragraph starting "We
       14   supportive of a overall mechanism of cancer         14   did find an association"? Page 8.
       15   progression and metastasis?                         15   A         I'm looking for the page number.
       16   Q         Can that methodology be replicated?       16   Q         Sorry. Let me give you a page number.
       17   A         Certainly. I think, you know, anyone      17   I'm not sure it has a page number.
       18   with a similar -- similar background and            18   A         No, it doesn't.
       19   experience who -- who undertook the same            19   Q         Do you see the paragraph beginning "We
       20   activities would likely -- certainly likely come    20   did find associations between overall cancer and
       21   up with the same -- same conclusions.               21   history of fibroid or ovarian cysts"? Do you see
       22   Q         Did you rely on the IARC monograph in     22   that paragraph?
       23   relation to nickel, chromium, and cobalt in         23   A         Well, actually -- yes, I see that
       24   reaching your opinions in this case?                24   paragraph.


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        1   MS. BROWN:                                           1   Q       If you'll look further, the sentence
        2           Objection to the form.                       2   beginning "This observation may suggest," do you
        3   A        I -- so the -- the number of IARC           3   see that?
        4   publications were certainly in the material that     4   A       Yes. Uh-huh.
        5   was reviewed for -- for my -- for my report.         5   Q       And the paper says, "This observation
        6   MS. O'DELL:                                          6   may suggest a possible additive or synergistic
        7   Q        Based on your review of the literature,     7   effect on tumor- -- tumorigenesis influenced by
        8   is it your opinion that nickel causes                8   the proinflammatory milieu from an increased
        9   inflammation?                                        9   burden in the number of benign conditions.
       10   A        Yes. The IARC -- the -- the                10   Increased risk of serous cancer, ovarian cancer,
       11   characterization of those compounds, nickel as      11   women with other proinflammatory risk factors has
       12   well as chromium, among others, are -- would have   12   been reported -- reported, most notably in talc
       13   an inflammatory response.                           13   users."
       14   Q        You were asked questions earlier           14          Do you see that?
       15   today -- actually, not so much earlier -- a few     15   A       I do.
       16   minutes ago regarding the Park paper. And you       16   Q       Is that the section you were thinking
       17   cited the Park paper on page -- I think it was 8    17   of when you cited it in your report?
       18   of your report.                                     18   MS. BROWN:
       19   A        Yes.                                       19          Objection to the form.
       20   Q        And let me show you what I'm marking as    20   A       Yes, it is.
       21   Exhibit 22 to your deposition.                      21   MS. O'DELL:
       22          (DEPOSITION EXHIBIT NUMBER 22                22   Q       Let me ask you to -- a couple of other
       23           WAS MARKED FOR IDENTIFICATION.)             23   final questions, Dr. Levy.
       24   MS. O'DELL:                                         24          Excuse me. Give me one moment.


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        1           In regard to opinions in relation to         1   Q        And did you have the opportunity to
        2   the pathology of ovarian tissue, would you defer     2   consider his report prior to finalizing your
        3   to a gynecologist or gynecologic oncologist or a     3   report?
        4   pathologist regarding that matter?                   4   A        I did.
        5   A        Yes, of course.                             5   Q        I have nothing further. Thank you.
        6   Q        You testified earlier today that you        6                 EXAMINATION
        7   relied on the Longo testing in -- in reaching        7   BY MS. BROWN:
        8   your opinions in this case.                          8   Q        Dr. Levy, would you take Exhibit 16
        9   MS. BROWN:                                           9   out, please, the FDA's response to the citizens
       10           Objection to the form.                      10   petition?
       11   MS. O'DELL:                                         11   A        I have it.
       12   Q        Did you rely on Dr. Longo's testing        12   Q        Counsel asked you some questions that
       13   in -- in reaching your opinions in this case?       13   involved questions that I asked you. Remember
       14   A        Yes. They were -- they were one of         14   she asked you the lawyer for J & J didn't point
       15   the -- among many of the manuscripts we've been     15   out the articles that were reviewed from 1980 to
       16   discussing.                                         16   2008 on page 4? Do you recall those questions
       17   Q        Yeah.                                      17   from plaintiffs' counsel?
       18           In fact, you cite Dr. Longo's report on     18   A        Yes.
       19   page 15 of your report. Is that right?              19   Q        Would you look at the last page of the
       20   MS. BROWN:                                          20   letter, page 6 of 7? I'd like to direct your
       21           Objection to the form.                      21   attention to the second sentence on this page
       22   A        Yes.                                       22   that begins "In consideration of your request."
       23   MS. O'DELL:                                         23   Do you see that?
       24   Q        And -- and in terms of Dr. Longo's         24   A        I do.


                                                Page 371                                                 Page 373
        1   report, his findings of 37 of 56 historical talc     1   Q        And it states, "In consideration of
        2   samples being positive for asbestos and 41 of the    2   your request, we conducted an expanded literature
        3   42 samples tested containing fibrous talc,           3   search dating from the filing of the petition in
        4   was -- was that information you had prior to         4   2008 through January 2014. The results of this
        5   reaching your opinions and finalizing your           5   search failed to identify any new compelling
        6   report?                                              6   literature data or new scientific data."
        7   MS. BROWN:                                           7          Do you see that?
        8          Objection to the form.                        8   A        I see that.
        9   A       Yes.                                         9   Q        And putting together, then, the
       10   MS. O'DELL:                                         10   information from page 4 and page 6, you see that
       11   Q       And in relation to Dr. Crowley's report     11   the FDA considered literature from 1980 to 2014.
       12   regarding the fragrance chemicals, do you defer     12   Is that correct?
       13   to Dr. Crowley regarding his analysis of the        13   MS. O'DELL:
       14   fragrance chemicals?                                14          Object to the form.
       15   A       Yes.                                        15   A        Yes, that is correct.
       16   Q       And did you rely on the opinions he         16   MS. BROWN:
       17   reached in relation to the fragrance chemicals in   17   Q        And what the FDA concluded, contrary to
       18   reaching your opinions in this case?                18   your opinion here, Doctor, is that a cogent
       19   A       Yes. My -- my review of that just, in       19   biological mechanism by which talc might lead to
       20   addition to deferring it, was -- just made the      20   ovarian cancer is lacking; correct?
       21   general -- or made the statement that I was in      21   MS. O'DELL:
       22   general agreement with his opinions in those        22          Object to the form.
       23   matters, seeing as that's not a -- not an area of   23   A        That's in this --
       24   expertise of mine.                                  24   MS. BROWN:


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        1   Q       Directing your attention to page 4,         1   talc was causing in the body. True?
        2   number 4, the conclusion regarding a cogent         2   MS. O'DELL:
        3   biological mechanism lacking. Do you see that?      3          Object to the form.
        4   MS. O'DELL:                                         4   A       I'm aware of a number of studies that
        5         Object to the form.                           5   looked at inflammatory response in model systems
        6   A       Yes. I see where they -- they made the      6   and cell lines, and additional studies that
        7   statement that cogent biological mechanism by       7   looked at inflammation in humans I believe were
        8   which talc might lead to ovarian cancer is          8   referenced.
        9   lacking and that exposure to talc does not          9          Certainly the Penninkilampi manuscripts
       10   account for all cases of ovarian cancer.           10   described inflammatory observations and -- as
       11   MS. BROWN:                                         11   well as the Buz'Zard and Lau were on human cells.
       12   Q       Next, Doctor, do you rely on the           12   Q       Dr. Levy, is it your testimony that the
       13   findings of the Hamilton article in forming your   13   Penninkilampi meta-analysis of prior
       14   opinions in this case?                             14   case-controlled studies demonstrated a
       15   A       Similar to as we've discussed, in a        15   inflammatory response of -- from perineal use of
       16   portion, yes.                                      16   talc that led to ovarian cancer?
       17   Q       You, Dr. Levy, cannot point us to a        17   MS. O'DELL:
       18   single paper showing an inflammatory response      18          Object to the form.
       19   leading to ovarian cancer in humans from talc      19   A       No. That's not my statement. It was
       20   use. True?                                         20   that those -- those papers reported an
       21   A       There is -- I do not know of a single      21   inflammatory observation as part of those
       22   paper that -- in a controlled fashion in humans    22   studies.
       23   provided talc exposure that then was --            23   MS. BROWN:
       24   subsequently led to cancer in humans. That's       24   Q       Not in the tissue from talc; right,


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        1   correct.                                            1   Doctor?
        2   Q       Controlled aside, you're not aware of       2   MS. O'DELL:
        3   any observational case report, any kind of study    3          Object to the form.
        4   that shows talcum powder use causing an             4   A       It would be those studies in the meta
        5   inflammatory response leading to cancer in          5   review were not examining the tissue content for
        6   humans; correct?                                    6   talc. So they're unable to make that
        7   MS. O'DELL:                                         7   determination.
        8          Object to the form.                          8   MS. BROWN:
        9   A       I would -- my review and development of     9   Q       So we must be missing. I'm -- what I'm
       10   the biological plausibly -- plausible mechanism    10   asking you is for any study at all in the whole
       11   examined literature that led to the conclusions    11   world that shows that talcum powder in somebody's
       12   described in the report. I'm not aware of a --     12   body causing an inflammatory response that led to
       13          The human-based studies were all case       13   ovarian cancer. Can you name one?
       14   cohort and -- or case-controlled and cohort        14   MS. O'DELL:
       15   studies that showed an association with talc       15          Object to the form.
       16   exposure and cancer, but I'm not aware of a        16   A       I mean, we've -- we've discussed a
       17   direct study.                                      17   number of studies that described the risk and
       18   MS. BROWN:                                         18   association of talc in ovarian cancer. But the
       19   Q       There have been some reports of alleged    19   limitation of the -- of your question or the
       20   findings of talc in tissues or in other parts of   20   limitation of the studies relative to your
       21   the body. Are you familiar with those?             21   question is those particular studies may not have
       22   A       Yes.                                       22   also assessed the inflammatory response or an
       23   Q       And you're not aware of any one of them    23   inflammatory response, given the nature of the
       24   demonstrating an inflammatory response that the    24   studies.


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        1   MS. BROWN:                                           1   MS. O'DELL:
        2   Q       Well, we got one. We got the Heller          2          Actually, that wasn't your question.
        3   study that purported to find talc in ovarian         3   But you've clarified it, so --
        4   tissue; right?                                       4   A       The -- so you're excluding -- are you
        5   MS. O'DELL:                                          5   excluding cell lines?
        6          Object to the form. Different --              6   MS. BROWN:
        7   MS. BROWN:                                           7   Q       Yeah. Human beings. Do you know of
        8          Counsel, it's form, please.                   8   any study like Heller in human beings that
        9   MS. O'DELL:                                          9   purports to find talc in human women ovarian
       10          Object to the form.                          10   tissue that shows an inflammatory response?
       11   A       Yeah. What was the -- the Heller            11   MS. O'DELL:
       12   study, here it is.                                  12          Objection to form.
       13          Yes, I recall our discussion of this         13   A       I'm not aware of a study showing that
       14   paper.                                              14   specifically.
       15   MS. BROWN:                                          15   MS. BROWN:
       16   Q        Right.                                     16   Q       Counsel asked you some questions about
       17          And this study reported that there was       17   nickel causing inflammation that leads to ovarian
       18   no inflammatory response around the talc that       18   cancer. Do you recall those?
       19   they claimed to have found in the ovarian tissue.   19   MS. O'DELL:
       20   True?                                               20          Object to the form.
       21   A       They make those statements in the           21   A       No. I was asked if -- if heavy
       22   paper, but the -- the -- I would have some          22   metal -- or components like nickel have been
       23   concern with the histological methods, but I        23   shown to have a potential inflammatory response.
       24   would certainly defer to a pathologist in the       24   MS. BROWN:

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        1   sense of being able to determine the both            1   Q       Uh-huh. Because you're not aware of
        2   presence of talc and the inflammatory response in    2   any published scientific literature that shows
        3   that.                                                3   heavy metals cause inflamma- -- inflammation that
        4   Q       So you have some critiques of the            4   leads to ovarian cancer; right?
        5   Heller study. Is that fair?                          5   A       I wasn't asked to -- to review for
        6   MS. O'DELL:                                          6   that. I would state that there's a number of
        7          Object to the form.                           7   studies that show the role of metals --
        8   A       I would say I would need a -- I would        8   particularly chromium -- and its -- and its
        9   need a -- a -- I would need a further evaluation     9   damaging effect on DNA, which I think by -- would
       10   of the methodology for detecting both talc as       10   certainly have both an inflammatory as well as
       11   well as inflammation in the same materials using    11   carcinogenic effect.
       12   the methods of the Heller paper.                    12   Q       And we're here on an issue of ovarian
       13   MS. BROWN:                                          13   cancer. And, as it relates to ovarian cancer,
       14   Q       Are you aware of any other paper that       14   you're not aware of any scientific support for
       15   you think is methodologically superior that shows   15   the proposition that heavy metals can lead to
       16   the presence of talc in ovarian tissue exhibiting   16   inflammation that causes ovarian cancer. Fair
       17   an inflammatory response?                           17   enough?
       18   MS. O'DELL:                                         18   A       Well, I was -- certainly, I was asked
       19          Object to the form.                          19   to review the literature to develop a -- and
       20   A       Well, we've discussed the rat studies.      20   develop conclusions of that literature as it
       21   MS. BROWN:                                          21   related to a -- a potential or possible
       22   Q       Human tissue. That's my question.           22   biological mechanism.
       23   A       Human --                                    23          In doing that, in part of that review,
       24   Q       Human tissue.                               24   we certainly made the observation that talc and


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        1   its components, as we discussed earlier, may         1   mineralogy of talc.
        2   have -- there's the possibility of having            2   Q       And whether what Dr. Longo is finding
        3   additional component effects, such as heavy          3   in the samples that he tested is the asbestiform
        4   metals and their effects, asbestiforms and their     4   or nonasbestiform variety of the minerals, you
        5   effects and the like; therefore, really              5   would defer to others? Is that fair?
        6   considering the complete components of the           6   A       I'd certainly defer to Dr. Longo.
        7   product overall.                                     7   Q       And have you looked at any other
        8   Q       And, as it relates to the testimony you      8   testing of the samples that Dr. Longo has tested?
        9   just gave, you're talking about just a               9   MS. O'DELL:
       10   theoretical possibility; right?                     10          Object to the form. Vague.
       11   MS. O'DELL:                                         11   A       Within the literature, there's -- there
       12          Objection to form.                           12   was a number of tables describing testing,
       13   A       Sure. And, then, from that review           13   described tests from previous testimony.
       14   developing a -- a conclusion of a biologically      14   MS. BROWN:
       15   plausible mechanism.                                15   Q       Have you looked at the testing that
       16   MS. BROWN:                                          16   public health authorities like the FDA have done
       17   Q       Has that conclusion been published in       17   on Johnson & Johnson's baby powder?
       18   the peer-reviewed literature, Doctor?               18   A       I believe some of that was provided,
       19   A       No, it has not.                             19   yes.
       20   Q       And, in fact, as you -- all of the          20   Q       Are you relying on any finding of
       21   opinions that you gave here today, those opinions   21   asbestos from Dr. Longo in forming your opinions
       22   have not been published in the peer review          22   here today?
       23   literature. True?                                   23   A       The --
       24   MS. O'DELL:                                         24   MS. O'DELL:


                                                Page 383                                                 Page 385
        1          Object to the form.                           1          Object to the form.
        2   A       Not at this time.                            2   A        The inclusion of the asbestos, again,
        3   Q       Counsel asked you some questions about       3   as -- as -- as we've discussed a few times today,
        4   Dr. Longo. Do you recall that?                       4   the conclusion I developed from the report were
        5   A       Yes.                                         5   not dependent or independent of any one or
        6   Q       You've done nothing to validate the          6   another component of -- of the talcum powder.
        7   findings that Dr. Longo writes about in his          7          As we discussed a bit ago, the presence
        8   reports. Is that fair?                               8   of asbestos as a known inflammatory mediator, as
        9   A       No, I have not done any experiments to       9   well as potential carcinogen, I think just helps
       10   validate those findings.                            10   lend additional support to the biological
       11   Q       Okay. Are you aware that some of the        11   plausibility of the mechanism. But I think that
       12   samples that Dr. Longo tests and purports to find   12   biological mechanism is not dependent on the
       13   asbestos were purchased off of eBay?                13   presence of asbestos.
       14   MS. O'DELL:                                         14   MS. BROWN:
       15          Misstates -- well --                         15   Q        Other than plaintiffs' expert,
       16   A       My review of the report, I was -- did       16   Dr. Longo, are you relying on anything else to
       17   not include the -- I guess the specific history     17   support the potential for asbestos in baby
       18   of each of the samples.                             18   powder?
       19   MS. BROWN:                                          19   MS. O'DELL:
       20   Q       Do you understand that asbestos -- that     20          Object to the form.
       21   minerals like tremolite or anthophyllite, they      21   A        There's -- so I saw reference to
       22   exist in both the asbestiform and nonasbestiform    22   asbestos content in some of the other literature
       23   way?                                                23   that was reviewed during the time, and, so, there
       24   A       I would defer to other experts on the       24   were other publications that made mention of the


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        1   asbestos content in talc during the overall          1   opinion is independent of Dr. Crowley's findings.
        2   review.                                              2   Is that fair?
        3   MS. BROWN:                                           3   MS. O'DELL:
        4   Q       Sitting here today, are you aware            4          Objection to form. Vague.
        5   whether or not that was Johnson & Johnson's          5   A        Well, my -- my -- my opinion, again,
        6   cosmetic talc?                                       6   similar to -- as we've been discussing that, it
        7   MS. O'DELL:                                          7   considers the totality of the information
        8          Object to the form.                           8   available, including Dr. Crowley's report, but
        9   A       I would have to look closely. I'm not        9   does not rely on any one specific report or
       10   aware of that specifically.                         10   otherwise.
       11   MS. BROWN:                                          11          And, so, the -- again, restating
       12   Q       Counsel asked you some questions about      12   similar to the asbestos, the presence of
       13   Dr. Crowley and whether or not you were relying     13   potential irritants as another component in
       14   on the opinions he reached. Do you remember         14   the -- in the product just provides additional
       15   those questions?                                    15   support for that inflammatory mechanism playing a
       16   A       I do.                                       16   significant role.
       17   Q       What opinions did Dr. Crowley reach on      17   MS. BROWN:
       18   which you rely?                                     18   Q        If none of the chemicals Dr. Crowley
       19   A       Dr. Crowley performed an analysis of        19   identified were present in baby powder, would you
       20   the fragrance components and made assessments of    20   hold the same opinion of biological plausibility?
       21   the individual chemical components and their        21   A        I would.
       22   relationship to -- or I should say their -- their   22   Q        If no asbestos was present in baby
       23   inclusion on various lists for their -- their       23   powder, would you hold the same opinion on
       24   chemical properties or safety. And in most -- in    24   biological plausibility?


                                                Page 387                                                 Page 389
        1   the majority of cases, the chemicals were not        1   A       Yes.
        2   listed. In a number of cases, there were large       2   MS. BROWN:
        3   numbers of chemicals listed as either irritants      3         No further questions. Thank you.
        4   and, therefore, able to cause inflammation, or,      4   MS. O'DELL:
        5   in a few cases, as potential carcinogens.            5         I have just one follow-up.
        6           And, so, it was that review of that          6         Or do you have anything --
        7   information, similar to our discussions around       7   MR. FERGUSON:
        8   asbestos, that I included or agreed with his         8         Nothing further.
        9   opinions regarding that on the last paragraph or     9   MS. O'DELL:
       10   close to the last paragraph of the report that      10         Excuse me. I'm sorry.
       11   stated I was just in agreement that these -- that   11                EXAMINATION
       12   those chemicals contribute to the inflammatory      12   BY MS. O'DELL:
       13   properties observed.                                13   Q       Dr. Crowley, are your opinions in this
       14   Q        Do you know in what quantity the           14   case contained in your report as well as in the
       15   chemicals Dr. Crowley identifies are present, if    15   testimony that you've given here today?
       16   at all, in Johnson & Johnson's products?            16   A       You said Dr. Crowley.
       17   A        No. I wasn't asked to provide that         17   Q       Oh. Excuse me. Sorry. I had
       18   review. I would defer to Dr. Crowley's report       18   Dr. Crowley on my mind.
       19   regarding any quantitative analysis of those        19         Dr. Levy --
       20   chemicals.                                          20         It's getting late in the day.
       21   Q        And, as it relates to your opinion,        21         Dr. Levy, are your opinions in this
       22   Dr. Levy, it makes no difference whether            22   case expressed in your report and your testimony
       23   Dr. Crowley's list has ten chemicals in             23   today?
       24   Quantity X or five chemicals in Quantity Y. Your    24   A       Yes.


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        1    Q       And do you hold those opinions to a         1           ERRATA PAGE
        2    reasonable degree of scientific certainty?          2
                                                                 3         I, SHAWN LEVY, Ph.D., the witness herein,
        3    A       Yes.
                                                                     have read the transcript of my testimony, and the
        4    MS. O'DELL:                                         4   same is true and correct, to the best of my
        5          I have nothing further.                           knowledge, with the exceptions of the following
        6    MS. BROWN:                                          5   changes noted below, if any:
        7          Thanks for your time, Doctor.                 6   Page/Line Word(s) to be changed/reason Correct Word
        8          I think we're off the record.                 7   _________ ________________________ _____________
        9    VIDEOGRAPHER:                                       8   _________ ________________________ _____________
       10          We're off the record. The time is             9   _________ ________________________ _____________
       11    6 p.m.                                             10   _________ ________________________ _____________
                                                                11   _________ ________________________ _____________
       12        (Deposition concluded at 6:00 p.m.)
                                                                12   _________ ________________________ _____________
       13
                                                                13   _________ ________________________ _____________
       14                                                       14   _________ ________________________ _____________
       15                                                       15   _________ ________________________ _____________
       16                                                       16   _________ ________________________ _____________
       17                                                       17   _________ ________________________ _____________
       18                                                       18   _________ ________________________ _____________
       19                                                       19   _________ ________________________ _____________
       20                                                       20   _________ ________________________ _____________
                                                                21
       21
                                                                                 ____________________________
       22                                                       22               SHAWN LEVY, Ph.D.
       23                                                       23
       24                                                       24


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        1           CERTIFICATE                                  1           DECLARATION OF WITNESS
        2                                                        2
        3         I do hereby certify that the above and         3          I, the undersigned, declare under penalty
        4   foregoing transcript of proceedings in the matter    4   of perjury that I have read the foregoing
        5   aforementioned was taken down by me in machine       5   transcript, and I have made any corrections,
        6   shorthand, and the questions and answers thereto     6   additions, or deletions that I was desirous of
        7   were reduced to writing under my personal            7   making; that the foregoing is a true and correct
        8   supervision, and that the foregoing represents a     8   transcript of my testimony contained herein.
        9   true and correct transcript of the proceedings       9          EXECUTED this ______ day of ____________,
       10   given by said witness upon said hearing.            10   2019, at ____________________, ___________________.
       11         I further certify that I am neither of                    (City)           (State)
       12   counsel nor of kin to the parties to the action,    11
       13   nor am I in anywise interested in the result of     12
       14   said cause.                                         13
       15                                                       14
       16                                                       15
       17                                                                      _______________________________
       18                                                       16             SHAWN LEVY, Ph.D.
                      LOIS ANNE ROBINSON, RPR, RMR              17
       19             REGISTERED DIPLOMATE REPORTER             18
                      CERTIFIED REALTIME REPORTER               19
       20                                                       20
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       22                                                       22
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